                     EXHIBIT D




Case 3:23-cv-01092   Document 49-6   Filed 11/16/23   Page 1 of 434 PageID #: 1027
  Lyrics
  Hey girl you know you drive me crazy
  One look puts the rhythm in my hand
  Still I'll never understand why you hang around
  I see what's going down.


  Cover up with make up in the mirror
  Tell yourself it's never gonna happen again
  You cry alone and then he swears he loves you.


  Do you feel like a man
  When you push her around?
  Do you feel better now, as she falls to the ground?
  Well I'll tell you my friend, one day this world's got to end
  As your lies crumble down, a new life she has found.


  A pebble in the water makes a ripple effect
  Every action in this world will bear a consequence
  If you wait around forever you will surely drown
  I see what's going down.


  I see the way you go and say you're right again,
  Say you're right again,
  Heed my lecture.


  Do you feel like a man
  When you push her around?
  Do you feel better now, as she falls to the ground?
  Well I'll tell you my friend, one day this world's got to end
  As your lies crumble down, a new life she has found.


  Face down in the dirt
  She said "This doesn't hurt!"
  She said "I finally had enough!"


  Face down in the dirt
  She said "This doesn't hurt!"
  She said "I finally had enough!"


  One day she will tell you that she has had enough
  It's coming round again


  Do you feel like a man
  When you push her around?
              Case 3:23-cv-01092             Document 49-6      1 11/16/23
                                                             Filed           Page 2 of 434 PageID #: 1028
BCG_ID_10009_LF.txt[11/10/23, 10:57:38 AM]
  Do you feel better now, as she falls to the ground?
  Well I'll tell you my friend, one day this world's got to end
  As your lies crumble down, a new life she has found.


  Do you feel like a man
  When you push her around?
  Do you feel better now, as she falls to the ground?
  Well I'll tell you my friend, one day this world's got to end
  As your lies crumble down, a new life she has found.


  Face down in the dirt
  She said "This doesn't hurt!"
  She said "I finally had enough!"

  WRITERS

  Ronnie Winter

  PUBLISHERS

  Lyrics © Universal Music Publishing Group




              Case 3:23-cv-01092             Document 49-6      2 11/16/23
                                                             Filed           Page 3 of 434 PageID #: 1029
BCG_ID_10009_LF.txt[11/10/23, 10:57:38 AM]
  Lyrics
  Memories are just where you laid them
  Drag the waters till the depths give up their dead
  What did you expect to find?
  Was there something you left behind?
  Don't you remember
  Anything I said when I said


  Don't fall away
  And leave me to myself
  Don't fall away
  And leave love bleeding in my hands
  In my hands again
  And leave love bleeding in my hands
  In my hands
  Love lies bleeding


  Oh, hold me now, I feel contagious
  Am I the only place that you've left to go?
  She cries her life is like
  Some movie, black and white
  Dead actors faking lines
  Over and over and over again she cries


  Don't fall away
  And leave me to myself
  Don't fall away
  And leave love bleeding in my hands
  In my hands again
  And leave love bleeding in my hands
  In my hands
  Love lies bleeding


  And I wanted, but you turned away
  You don't remember, but I do
  You never even tried


  Don't fall away
  And leave me to myself
  Don't fall away
  And leave love bleeding in my hands
  In my hands again
  Leave love bleeding in my hands
  In my hands again
  Leave love bleeding in my hands
  In my hands again, oh

  WRITERS
              Case 3:23-cv-01092             Document 49-6      3 11/16/23
                                                             Filed           Page 4 of 434 PageID #: 1030
BCG_ID_10013_LF.txt[11/10/23, 10:57:38 AM]
  Carl William Bell

  PUBLISHERS

  Lyrics © Universal Music Publishing Group




              Case 3:23-cv-01092             Document 49-6      4 11/16/23
                                                             Filed           Page 5 of 434 PageID #: 1031
BCG_ID_10013_LF.txt[11/10/23, 10:57:38 AM]
  Lyrics
  Sweet wonderful you
  You make me happy with the things you do
  Oh, can it be so
  This feeling follows me wherever I go


  I never did believe in miracles
  But I've a feeling it's time to try
  I never did believe in the ways of magic
  But I'm beginning to wonder why


  I never did believe in miracles
  But I've a feeling it's time to try
  I never did believe in the ways of magic
  But I'm beginning to wonder why


  Don't, don't break the spell
  It would be different and you know it will
  You, you make loving fun
  And I don't have to tell you but you're the only one


  You, you make loving fun
  It's all I want to do
  You, you make loving fun
  It's all I want to do
  You, you make loving fun
  It's all I want to do
  You, you make loving fun
  It's all I want to do

  WRITERS

  Christine McVie

  PUBLISHERS

  Lyrics © Universal Music Publishing Group




              Case 3:23-cv-01092             Document 49-6      5 11/16/23
                                                             Filed           Page 6 of 434 PageID #: 1032
BCG_ID_10014_LF.txt[11/10/23, 10:57:38 AM]
  Lyrics
  I don't care if Monday's blue
  Tuesday's grey and Wednesday too
  Thursday, I don't care about you
  It's Friday, I'm in love
  Monday you can fall apart
  Tuesday, Wednesday break my heart
  Oh, Thursday doesn't even start
  It's Friday, I'm in love


  Saturday, wait
  And Sunday always comes too late
  But Friday, never hesitate


  I don't care if Monday's black
  Tuesday, Wednesday, heart attack
  Thursday, never looking back
  It's Friday, I'm in love


  Monday you can hold your head
  Tuesday, Wednesday, stay in bed
  Or Thursday watch the walls instead
  It's Friday, I'm in love


  Saturday, wait
  And Sunday always comes too late
  But Friday, never hesitate


  Dressed up to the eyes
  It's a wonderful surprise
  To see your shoes and your spirits rise
  Throw out your frown
  And just smile at the sound
  Sleek as a shriek, spinning 'round and 'round
  Always take a big bite
  It's such a gorgeous sight
  To see you eat in the middle of the night
  You can never get enough
  Enough of this stuff
  It's Friday, I'm in love


  I don't care if Monday's blue
  Tuesday's grey and Wednesday too
  Thursday, I don't care about you
  It's Friday, I'm in love
  Monday you can fall apart
  Tuesday, Wednesday, break my heart
              Case 3:23-cv-01092             Document 49-6      6 11/16/23
                                                             Filed           Page 7 of 434 PageID #: 1033
BCG_ID_10026_LF.txt[11/10/23, 10:57:38 AM]
  Thursday doesn't even start
  It's Friday, I'm in love


  (Oh)
  Do-do, do-do, do-do, do
  Do-do, do-do, do-do, do
  (Oh, oh, whoa, whoa)

  WRITERS

  Boris Williams, Porl Thompson, Perry Bamonte, Robert James Smith, Simon Johnathon Gallup

  PUBLISHERS

  Lyrics © Universal Music Publishing Group




              Case 3:23-cv-01092             Document 49-6      7 11/16/23
                                                             Filed           Page 8 of 434 PageID #: 1034
BCG_ID_10026_LF.txt[11/10/23, 10:57:38 AM]
  Lyrics
  And I love you so
  The people ask me how
  How I've lived till now
  I tell them I don't know


  I guess they understand
  How lonely life has been
  But life began again
  The day you took my hand


  And yes, I know how lonely life can be
  The shadows follow me 'n' the night won't set me free
  But I don't let the evening get me down
  Now that you're around me


  And you love me, too
  Your thoughts are just for me
  You set my spirit free
  I'm happy that you do


  The book of life is brief
  And once a page is read
  All but life is dead
  That is my belief


  And yes, I know how lonely life can be
  The shadows follow me and the night won't set me free
  But I don't let the evening get me down
  Now that you're around me

  WRITERS

  Don Mclean

  PUBLISHERS

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              Case 3:23-cv-01092             Document 49-6      8 11/16/23
                                                             Filed           Page 9 of 434 PageID #: 1035
BCG_ID_10028_LF.txt[11/10/23, 10:57:38 AM]
  Lyrics
  I remember the thirty-five sweet goodbyes
  When you put me on the Wolverine up to Annandale
  It was still September
  When your daddy was quite surprised
  To find you with the working girls in the county jail
  I was smoking with the boys upstairs when I
  Heard about the whole affair, I said oh no
  William and Mary won't do


  Well, I did not think the girl
  Could be so cruel
  And I'm never going back
  To my old school


  Oleanders growing outside her door
  Soon they're gonna be in bloom up in Annandale
  I can't stand her
  Doing what she did before
  Living like a gypsy queen in a fairy tale
  Well, I hear the whistle but I can't go, I'm gonna
  Take her down to Mexico, she said oh no
  Guadalajara won't do


  Well, I did not think the girl
  Could be so cruel
  And I'm never going back
  To my old school


  California tumbles into the sea
  That'll be the day I go back to Annandale
  Tried to warn you
  About Chino and Daddy Gee
  But I can't seem to get to you through the U.S. Mail
  Well I hear the whistle but I can't go, I'm gonna
  Take her down to Mexico, she said oh no
  Guadalajara won't do


  Well, I did not think the girl
  Could be so cruel
  And I'm never going back
  To my old school

  WRITERS

  DONALD JAY FAGEN, WALTER CARL BECKER

  PUBLISHERS
             Case 3:23-cv-01092              Document 49-6      9 11/16/23
                                                             Filed           Page 10 of 434 PageID #: 1036
BCG_ID_10034_LF.txt[11/10/23, 10:57:38 AM]
  Lyrics © Universal Music Publishing Group




             Case 3:23-cv-01092              Document 49-6      10 11/16/23
                                                             Filed            Page 11 of 434 PageID #: 1037
BCG_ID_10034_LF.txt[11/10/23, 10:57:38 AM]
  Lyrics
  Have you seen the well to do?
  Up and down Park Avenue?
  On that famous thoroughfare,
  With their noses in the air?
  High hats and arrowed collars,
  Wide spats and fifteen dollars.
  Spending every dime,
  For a wonderful time

  If you're blue and you don' know,
  Where to go to, why don't you go,
  Where fashion sits?
  Putting On The Ritz.
  Different types, who wear a day,
  Co-pants with stripes, and cut away,
  Coat, perfect fits?
  Putting On The Ritz.

  Dressed up like a million dollar trooper,
  Trying hard to look like Gary Cooper.
  Super-duper

  Come, let's mix where Rockerfellas,
  Walk with sticks, or umbrellas,
  In their mitts.
  Putting On The Ritz.
  Spangled gowns upon a beauty of hand-me-downs, on clown and cutie,
  All misfits.
  Putting On The Ritz.

  Tips his hat just like an English chappie,
  To a lady with the wealthy happy.
  Very Snappy

  You'll declare it's simply topping,
  To be there, and hear them swapping,
  Smart titbits.
  Putting On the Ritz
  Putting On the Ritz
  Putting On the Ritz
  WRITERS
  IRVING BERLIN




             Case 3:23-cv-01092              Document 49-6      11 11/16/23
                                                             Filed            Page 12 of 434 PageID #: 1038
BCG_ID_10040_LF.txt[11/10/23, 10:57:38 AM]
  Lyrics
  You keep sayin' you've got somethin' for me
  Somethin' you call love but confess
  You've been a'messin' where you shouldn't 've been a'messin'
  And now someone else is getting all your best


  These boots are made for walkin'
  And that's just what they'll do
  One of these days these boots are gonna walk all over you
  Ya


  You keep lyin' when you oughta be truthin'
  And you keep losing when you oughta not bet
  You keep samin' when you oughta be a'changin'
  Now what's right is right but you ain't been right yet


  These boots are made for walkin'
  And that's just what they'll do
  One of these days these boots are gonna walk all over you


  You keep playin' where you shouldn't be playin'
  And you keep thinkin' that you'll never get burnt (ha)
  I just found me a brand new box of matches, yeah
  And what he knows you ain't had time to learn
  These boots are made for walkin'
  And that's just what they'll do
  One of these days these boots are gonna walk all over you


  Are you ready, boots? Start walkin'

  WRITERS

  Lee Hazlewood

  PUBLISHERS

  Lyrics © Universal Music Publishing Group




             Case 3:23-cv-01092              Document 49-6      12 11/16/23
                                                             Filed            Page 13 of 434 PageID #: 1039
BCG_ID_10059_LF.txt[11/10/23, 10:57:38 AM]
  Lyrics
  Her name was Lola, she was a showgirl
  With yellow feathers in her hair and a dress cut down to there
  She would merengue and do the cha-cha
  And while she tried to be a star
  Tony always tended bar
  Across the crowded floor, they worked from eight til four
  They were young and they had each other
  Who could ask for more?


  At the copa (co) Copacabana (Copacabana)
  The hottest spot north of Havana (here)
  At the copa (co) Copacabana
  Music and passion were always the fashion
  At the copa they fell in love


  Copa, Copacabana
  His name was Rico
  He wore a diamond
  He was escorted to his chair, he saw Lola dancing there
  And when she finished,he called her over
  But Rico went a bit to far
  Tony sailed across the bar
  And then the punches flew and chairs were smashed in two
  There was blood and a single gun shot
  But just who shot who?


  At the copa (co) Copacabana (Copacabana)
  The hottest spot north of Havana (here)
  At the copa (co) Copacabana
  Music and passion were always the fashion
  At the copa, she lost her love
  (Copa, Copacabana)
  (Copa, Copacabana)
  (Copacabana)


  (Copa, Copacabana)
  (Copa, Copacabana)like in Havana
  (Copa, banana)
  Music and passion were always in fashion


  Her name is Lola, she was a showgirl
  But that was thirty years ago, when they used to have a show
  Now it's a disco, but not for Lola
  Still in dress she used to wear
  Faded feathers in her hair
  She sits there so refined, and drinks herself half-blind
  She lost her youth and she lost her Tony
             Case 3:23-cv-01092              Document 49-6      13 11/16/23
                                                             Filed            Page 14 of 434 PageID #: 1040
BCG_ID_10069_LF.txt[11/10/23, 10:57:38 AM]
  Now she's lost her mind


  At the copa (co) Copacabana (Copacabana)
  The hottest spot north of Havana (here)
  At the copa (co) Copacabana
  Music and passion were always in fashion
  At the copa don't fall in love


  (Copa, Copacabana) don't fall in love
  (Copacabana)
  (Copacabana)


  (Copa, Copacabana)
  (Copacabana)
  (Copacabana)
  (Copacabana)
  (Copacabana)
  (Copacabana)
  (Copacabana)
  (Copacabana)

  WRITERS

  Barry Manilow, Bruce H. Sussman, Jack A. Feldman

  PUBLISHERS

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             Case 3:23-cv-01092              Document 49-6      14 11/16/23
                                                             Filed            Page 15 of 434 PageID #: 1041
BCG_ID_10069_LF.txt[11/10/23, 10:57:38 AM]
  Lyrics
  You were standing in the wake of devastation
  You were waiting on the edge of the unknown
  And with the cataclysm raining down, insides crying save me now
  You were there impossibly alone.


  Do you feel cold and lost in desperation
  You build up hope but failure's all you've known
  Remember all the sadness and frustration
  And let it go, let it go.


  And in the burst of light that blinded every angel
  As if the sky had blown the heavens into stars
  You felt the gravity of temper grace falling into empty space
  No one there to catch you in their arms


  Do you feel cold and lost in desperation
  You build up hope but failure's all you've known
  Remember all the sadness and frustration
  And let it go, let it go.


  Let it go
  Let it go
  Let it go
  Let it go


  Do you feel cold and lost in desperation
  You build up hope but failure's all you've known
  Remember all the sadness and frustration
  And let it go, let it go.

  WRITERS

  BRAD DELSON, CHESTER CHARLES BENNINGTON, DAVE FARRELL, JOSEPH HAHN, MIKE SHINODA,
  ROBERT G. BOURDON

  PUBLISHERS

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              Case 3:23-cv-01092             Document 49-6      15 11/16/23
                                                             Filed            Page 16 of 434 PageID #: 1042
BCG_ID_10070_LF.txt[11/10/23, 10:57:39 AM]
  Lyrics
  Are you lost
  In your lies?
  Do you tell yourself "I don't realize"?


  Your crusade's a disguise
  Replace freedom with fear
  You trade money for lives


  I'm aware of what you've done


  No, no more sorrow
  I've paid for your mistakes
  Your time is borrowed
  Your time has come to be replaced


  I see pain
  I see need
  I see liars and thieves
  Abuse power with greed
  I had hope
  I believed
  But I'm beginning to think that I've been deceived


  You will pay for what you've done


  No, no more sorrow
  I've paid for your mistakes
  Your time is borrowed
  Your time has come to be replaced


  Thieves and hypocrites
  Thieves and hypocrites
  Thieves and hypocrites


  No, no more sorrow
  I've paid for your mistakes
  Your time is borrowed
  Your time has come to be replaced


  No more sorrow
  I've paid for your mistakes
  Your time is borrowed
  Your time has come to be replaced
             Case 3:23-cv-01092              Document 49-6      16 11/16/23
                                                             Filed            Page 17 of 434 PageID #: 1043
BCG_ID_10072_LF.txt[11/10/23, 10:57:39 AM]
  Your time has come to be replaced
  Your time has come to be erased

  WRITERS

  Brad Delson, Chester Charles Bennington, Dave Farrell, Joseph Hahn, Mike Shinoda, Robert G. Bourdon

  PUBLISHERS

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             Case 3:23-cv-01092              Document 49-6      17 11/16/23
                                                             Filed            Page 18 of 434 PageID #: 1044
BCG_ID_10072_LF.txt[11/10/23, 10:57:39 AM]
  Lyrics
  All the leaves are brown (all the leaves are brown)
  And the sky is gray (and the sky is gray)
  I've been for a walk (I've been for a walk)
  On a winter's day (on a winter's day)
  I'd be safe and warm (I'd be safe and warm)
  If I was in L.A. (if I was in L.A.)


  California dreamin' (California dreamin')
  On such a winter's day


  Stopped into a church
  I passed along the way
  Well, I got down on my knees (got down on my knees)
  And I pretend to pray (I pretend to pray)
  You know the preacher like the cold (preacher like the cold)
  He knows I'm gonna stay (knows I'm gonna stay)


  California dreamin' (California dreamin')
  On such a winter's day


  All the leaves are brown (all the leaves are brown)
  And the sky is gray (and the sky is gray)
  I've been for a walk (I've been for a walk)
  On a winter's day (on a winter's day)
  If I didn't tell her (if I didn't tell her)
  I could leave today (I could leave today)


  California dreamin' (California dreamin')
  On such a winter's day (California dreamin')
  On such a winter's day (California dreamin')
  On such a winter's day

  WRITERS

  John Edmund Andrew Phillips, Michelle Gilliam Phillips

  PUBLISHERS

  Lyrics © Universal Music Publishing Group




             Case 3:23-cv-01092              Document 49-6      18 11/16/23
                                                             Filed            Page 19 of 434 PageID #: 1045
BCG_ID_10075_LF.txt[11/10/23, 10:57:39 AM]
  Lyrics
  L.A. proved too much for the man
  (Too much for the man, he couldn't make it)
  So he's leavin' the life he's come to know, ooh
  (He said he's goin')
  He said he's goin' back to find
  (Goin' back to find)
  Ooh ooh ooh, what's left of his world
  The world he left behind
  Not so long ago


  He's leavin' (leavin')
  On that midnight train to Georgia
  (Leavin' on the midnight train)
  Yeah, said he's goin' back
  (Goin' back to find)
  To a simpler place in time
  (Whenever he takes that ride) oh yes he is
  (Guess who's gonna be right by his side)


  And I'll be with him (I know you will)
  On that midnight train to Georgia
  (Leavin' on the midnight train to Georgia)
  I'd rather live in his world (live in his world)
  Than live without him in mine
  (Her world is his, his and hers alone)


  He kept dreamin' (dreamin')
  Ooh, that someday he'd be a star
  (A superstar, but he didn't get far)
  But he sure found out the hard way
  That dreams don't always come true
  (Dreams don't always come true) oh no
  (Uh uh) uh uh (no, uh uh)
  So he pawned all his hopes (ooh ooh ooh)
  And he even sold his old car (woo woo woo)
  Bought a one way ticket back
  To the life he once knew
  Oh, yes, he did
  He said he would


  Oh, oh, he's leavin' (leavin')
  On that midnight train to Georgia
  (Leavin' on the midnight train)
  Yeah, said he's goin' back to find
  (Goin' back to find)
  Ooh, a simpler place in time
  (Whenever he takes that ride) ooh
  (Guess who's gonna be right by his side)
             Case 3:23-cv-01092              Document 49-6      19 11/16/23
                                                             Filed            Page 20 of 434 PageID #: 1046
BCG_ID_10078_LF.txt[11/10/23, 10:57:39 AM]
  And I'm gonna be with him (I know you will)
  On that midnight train to Georgia
  (Leavin' on the midnight train to Georgia)
  I'd rather live in his world (live in his world)
  Than live without him in mine
  (Her world is his, his and hers alone)


  Oh, he's leavin' (leavin')
  On the midnight train to Georgia
  (Leavin' on the midnight train)
  Yeah, ooh, y'all
  Said he's goin' back to find
  (Goin' back to find)
  Ooh, a simpler place in time
  (Whenever he takes that ride) ooh
  (Guess who's gonna be right by his side)


  And I've got to be with him (I know you will)
  On that midnight train to Georgia
  (Leavin' on the midnight train to Georgia, ooh ooh)
  I'd rather live in his world (live in his world)
  Than live without him in mine
  (Her world is his, his and hers alone)


  (For love) for love (gonna board) gonna board
  The midnight train to ride
  For love (for love) gonna board (gonna board)
  Gotta board the midnight train to go
  For love (for love) gonna board (gonna board)
  The midnight train to go


  My world (for love), his world (gonna board)
  Our world (the midnight train to go) now I'm his alone
  My world (for love), his world (gonna board)
  Our world (the midnight train to go) now I'm his alone
  I've got to go (for love), I've got to go (gonna board)
  I've got to go (the midnight train to go) hey
  I've got to go (for love), I've got to go (gonna board)
  (The midnight train to go)
  My world (for love), his world (gonna board)
  My man (the midnight train to go) his girl
  I've got to go (for love), I've got to go (gonna board)
  (The midnight train to go) I've got to go
  My world (for love), his world (gonna board)
  Our world

  WRITERS

             Case 3:23-cv-01092              Document 49-6      20 11/16/23
                                                             Filed            Page 21 of 434 PageID #: 1047
BCG_ID_10078_LF.txt[11/10/23, 10:57:39 AM]
  James D. Weatherly

  PUBLISHERS

  Lyrics © Universal Music Publishing Group




             Case 3:23-cv-01092              Document 49-6      21 11/16/23
                                                             Filed            Page 22 of 434 PageID #: 1048
BCG_ID_10078_LF.txt[11/10/23, 10:57:39 AM]
  Lyrics
  When you're lost in the rain in Juarez when it's Easter time, too
  And your gravity fails and negativity don't pull you through
  Don't put on any airs when you're down on Rue Morgue Avenue
  They got some hungry women there and they really make a mess outta you


  Now, if you see Saint Annie, please tell her thanks a lot
  I cannot move, my fingers are all in a knot
  I don't have the strength to get up and take another shot
  And my best friend, my doctor, won't even say what it is I've got


  Sweet Melinda, the peasants call her the goddess of gloom
  She speaks good English and she invites you up into her room
  And you're so kind and careful not to go to her too soon
  And she takes your voice and leaves you howling at the moon


  Up on Housing Project Hill, it's either fortune or fame
  You must pick one or the other, though neither of them are to be what they claim
  If you're lookin' to get silly, you better go back to from where you came
  Because the cops don't need you, and man, they expect the same


  Now, all the authorities, they just stand around and boast
  How they blackmailed the sergeant-at-arms into leaving his post
  And picking up Angel, who just arrived here from the coast
  Who looked so fine at first but left looking just like a ghost


  I started out on burgundy but soon hit the harder stuff
  Everybody said they'd stand behind me when the game got rough
  But the joke was on me, there was nobody even there to bluff
  I'm going back to New York City, I do believe I've had enough

  WRITERS

  Bob Dylan

  PUBLISHERS

  Lyrics © Universal Music Publishing Group




             Case 3:23-cv-01092              Document 49-6      22 11/16/23
                                                             Filed            Page 23 of 434 PageID #: 1049
BCG_ID_10084_LF.txt[11/10/23, 10:57:39 AM]
  Lyrics
  Another suburban family morning
  Grandmother screaming at the wall
  We have to shout above the din of our rice crispies
  We can't hear anything at all


  Mother chants her litany of boredom and frustration
  But we know all her suicides are fake
  Daddy only stares into the distance
  There's only so much more that he can take
  Many miles away something crawls from the slime
  At the bottom of a dark Scottish lake


  Another industrial ugly morning
  The factory belches filth into the sky
  He walks unhindered through the picket lines today,
  He doesn't think to wonder why


  The secretaries pout and preen like cheap tarts in a red light street,
  But all he ever thinks to do is watch,
  And every single meeting with his so-called superior
  Is a humiliating kick in the crotch
  Many miles away something crawls to the surface
  Of a dark Scottish loch


  Another working day has ended
  Only the rush hour hell to face
  Packed like lemmings into shiny metal boxes
  Contestants in a suicidal race


  Daddy grips the wheel and stares alone into the distance
  He knows that something somewhere has to break
  He sees the family home now, looming in his headlights
  The pain upstairs that makes his eyeballs ache
  Many miles away there's a shadow on the door
  Of a cottage on the shore
  Of a dark Scottish lake


  Many miles away
  Many miles away
  Many miles away
  Many miles away
  Many miles away
  Many miles away

  WRITERS

             Case 3:23-cv-01092              Document 49-6      23 11/16/23
                                                             Filed            Page 24 of 434 PageID #: 1050
BCG_ID_10088_LF.txt[11/10/23, 10:57:39 AM]
  Gordon Sumner

  PUBLISHERS

  Lyrics © Universal Music Publishing Group




             Case 3:23-cv-01092              Document 49-6      24 11/16/23
                                                             Filed            Page 25 of 434 PageID #: 1051
BCG_ID_10088_LF.txt[11/10/23, 10:57:39 AM]
  Lyrics
  Johnny's in the basement
  Mixing up the medicine
  I'm on the pavement
  Thinking about the government
  The man in the trench coat
  Badge out, laid off
  Says he's got a bad cough
  Wants to get it paid off
  Look out kid
  It's somethin' you did
  God knows when
  But you're doing it again
  You better duck down the alley way
  Lookin' for a new friend
  A man in the coonskin cap, in the pig pen
  Wants eleven dollar bills, you only got ten


  Maggie comes fleet foot
  Face full of black soot
  Talkin' that the heat put
  Plants in the bed but
  The phone's tapped anyway
  Maggie says that many say
  They must bust in early May
  Orders from the D.A., look out kid
  Don't matter what you did
  Walk on your tip toes
  Don't tie no bows
  Better stay away from those
  That carry around a fire hose
  Keep a clean nose
  Watch the plain clothes
  You don't need a weather man
  To know which way the wind blows


  Oh, get sick, get well
  Hang around a ink well
  Hang bail, hard to tell
  If anything is goin' to sell
  Try hard, get barred
  Get back, write braille
  Get jailed, jump bail
  Join the army, if you fail
  Look out kid
  You're gonna get hit
  But losers, cheaters
  Six-time users
  Hangin' 'round the theaters
  Girl by the whirlpool
  Lookin' for a new fool
             Case 3:23-cv-01092              Document 49-6      25 11/16/23
                                                             Filed            Page 26 of 434 PageID #: 1052
BCG_ID_10090_LF.txt[11/10/23, 10:57:39 AM]
  Don't follow leaders, watch the parkin' meters


  Oh, get born, keep warm
  Short pants, romance
  Learn to dance, get dressed, get blessed
  Try to be a success
  Please her, please him, buy gifts
  Don't steal, don't lift
  Twenty years of schoolin'
  And they put you on the day shift
  Look out kid
  They keep it all hid
  Better jump down a manhole
  Light yourself a candle
  Don't wear sandals
  Try to avoid the scandals
  Don't want to be a bum
  You better chew gum
  The pump don't work
  'Cause the vandals took the handles

  WRITERS

  Bob Dylan

  PUBLISHERS

  Lyrics © Universal Music Publishing Group




             Case 3:23-cv-01092              Document 49-6      26 11/16/23
                                                             Filed            Page 27 of 434 PageID #: 1053
BCG_ID_10090_LF.txt[11/10/23, 10:57:39 AM]
  Lyrics
  Sometimes I need to remember just to breathe
  Sometimes I need you to stay away from me
  Sometimes I'm in disbelief, I didn't know
  Somehow I need you to go


  Don't stay
  Forget our memories
  Forget our possibilities
  What you were changing me into
  (Just give me myself back and)
  Don't stay
  Forget our memories
  Forget our possibilities
  Take all your faithlessness with you
  (Just give me myself back and)
  Don't stay


  Sometimes I feel like I trusted you too well
  Sometimes I just feel like screaming at myself
  Sometimes I'm in disbelief, I didn't know
  Somehow I need to be alone


  Don't stay
  Forget our memories
  Forget our possibilities
  What you were changing me into
  (Just give me myself back and)
  Don't stay
  Forget our memories
  Forget our possibilities
  Take all your faithlessness with you
  (Just give me myself back and)
  Don't stay


  I don't need you anymore, don't want to be ignored
  I don't need one more day, of you wasting me away
  I don't need you anymore, I don't want to be ignored
  I don't need one more day, of you wasting me away
  (With no apologies)


  Don't stay
  Forget our memories
  Forget our possibilities
  What you were changing me into
  (Just give me myself back and)
  Don't stay
  Forget our memories
             Case 3:23-cv-01092              Document 49-6      27 11/16/23
                                                             Filed            Page 28 of 434 PageID #: 1054
BCG_ID_10094_LF.txt[11/10/23, 10:57:39 AM]
  Forget our possibilities
  Take all your faithlessness with you
  (Just give me myself back and)
  Don't stay
  Don't stay
  Don't stay

  WRITERS

  Brad Delson, Chester Charles Bennington, Dave Farrell, Joseph Hahn, Mike Shinoda, Robert G. Bourdon

  PUBLISHERS

  Lyrics © Universal Music Publishing Group




             Case 3:23-cv-01092              Document 49-6      28 11/16/23
                                                             Filed            Page 29 of 434 PageID #: 1055
BCG_ID_10094_LF.txt[11/10/23, 10:57:39 AM]
  Lyrics
  If I could turn the page
  In time then I'd rearrange
  Just a day or two
  Close my, close my, close my eyes


  But I couldn't find a way
  So I'll settle for one day
  To believe in you
  Tell me, tell me, tell me lies


  Tell me lies
  Tell me sweet little lies
  (Tell me lies, tell me, tell me lies)
  Oh, no, no, you can't disguise
  (You can't disguise, no, you can't disguise)
  Tell me lies
  Tell me sweet little lies


  Although I'm not making plans
  I hope that you understand
  There's a reason why
  Close your, close your, close your eyes


  No more broken hearts
  We're better off apart
  Let's give it a try
  Tell me, tell me, tell me lies


  Tell me lies
  Tell me sweet little lies
  (Tell me lies, tell me, tell me lies)
  Oh, no, no, you can't disguise
  (You can't disguise, no, you can't disguise)
  Tell me lies
  Tell me sweet little lies


  If I could turn the page
  In time then I'd rearrange
  Just a day or two
  Close my, close my, close my eyes


  But I couldn't find a way
  So I'll settle for one day
  To believe in you
  Tell me, tell me, tell me lies
             Case 3:23-cv-01092              Document 49-6      29 11/16/23
                                                             Filed            Page 30 of 434 PageID #: 1056
BCG_ID_10096_LF.txt[11/10/23, 10:57:39 AM]
  Tell me lies
  Tell me sweet little lies
  (Tell me lies, tell me, tell me lies)
  Oh, no, no, you can't disguise
  (You can't disguise, no, you can't disguise)


  Tell me lies
  Tell me sweet little lies
  (Tell me lies, tell me, tell me lies)
  Oh, no, no, you can't disguise
  (You can't disguise, no, you can't disguise)
  Tell me lies
  Tell me sweet little lies
  (Tell me, tell me lies)

  WRITERS

  Christine McVie, Eddy Quintela Mendonca

  PUBLISHERS

  Lyrics © Universal Music Publishing Group




             Case 3:23-cv-01092              Document 49-6      30 11/16/23
                                                             Filed            Page 31 of 434 PageID #: 1057
BCG_ID_10096_LF.txt[11/10/23, 10:57:39 AM]
  Lyrics
  If you wake up and don't want to smile
  If it takes just a little while
  Open your eyes and look at the day
  You'll see things in a different way


  Don't stop thinking about tomorrow
  Don't stop, it'll soon be here
  It'll be, better than before
  Yesterday's gone, yesterday's gone


  Why not think about times to come?
  And not about the things that you've done
  If your life was bad to you
  Just think what tomorrow will do


  Don't stop thinking about tomorrow
  Don't stop, it'll soon be here
  It'll be, better than before
  Yesterday's gone, yesterday's gone


  All I want is to see you smile
  If it takes just a little while
  I know you don't believe that it's true
  I never meant any harm to you


  Don't stop thinking about tomorrow
  Don't stop, it'll soon be here
  It'll be, better than before
  Yesterday's gone, yesterday's gone


  Don't stop thinking about tomorrow
  Don't stop, it'll soon be here
  It'll be, better than before
  Yesterday's gone, yesterday's gone


  Ooh, don't you look back
  Ooh, don't you look back
  Ooh, don't you look back
  Ooh

  WRITERS

  Christine McVie

  PUBLISHERS
             Case 3:23-cv-01092              Document 49-6      31 11/16/23
                                                             Filed            Page 32 of 434 PageID #: 1058
BCG_ID_10097_LF.txt[11/10/23, 10:57:39 AM]
  Lyrics © Universal Music Publishing Group




             Case 3:23-cv-01092              Document 49-6      32 11/16/23
                                                             Filed            Page 33 of 434 PageID #: 1059
BCG_ID_10097_LF.txt[11/10/23, 10:57:39 AM]
  Lyrics
  Wash away my troubles, wash away my pain
  With the rain in Shambala
  Wash away my sorrow, wash away my shame
  With the rain in Shambala


  Ah, ooh, yeah
  Yeah, yeah, yeah, yeah, yeah
  Ah, ooh, yeah
  Yeah, yeah, yeah, yeah, yeah


  Everyone is helpful, everyone is kind
  On the road to Shambala
  Everyone is lucky, everyone is so kind
  On the road to Shambala


  Ah, ooh, yeah
  Yeah, yeah, yeah, yeah, yeah
  Ah, ooh, yeah
  Yeah, yeah, yeah yeah, yeah


  How does your light shine
  In the halls of Shambala?
  How does your light shine
  In the halls of Shambala?


  I can tell my sister by the flowers in her eyes
  On the road to Shambala
  I can tell my brother by the flowers in his eyes
  On the road to Shambala


  Ah, ooh, yeah
  Yeah, yeah, yeah, yeah, yeah
  Ah, ooh, yeah
  Yeah, yeah, yeah, yeah, yeah


  How does your light shine
  In the halls of Shambala?
  How does your light shine
  In the halls of Shambala?
  Tell me how does your light shine
  In the halls of Shambala?
  (Tell me how) How does your light shine
  In the halls of Shambala?


             Case 3:23-cv-01092              Document 49-6      33 11/16/23
                                                             Filed            Page 34 of 434 PageID #: 1060
BCG_ID_10099_LF.txt[11/10/23, 10:57:39 AM]
  Ah, ooh, yeah
  Yeah, yeah, yeah, yeah, yeah
  Ah, ooh, yeah
  On the road to Shambala


  Ah, ooh, yeah
  Shambala, la
  Ah, ooh, yeah
  On the road to Shambala

  WRITERS

  Daniel Joseph Moore

  PUBLISHERS

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             Case 3:23-cv-01092              Document 49-6      34 11/16/23
                                                             Filed            Page 35 of 434 PageID #: 1061
BCG_ID_10099_LF.txt[11/10/23, 10:57:39 AM]
  Lyrics
  Where it began, I can't begin to knowing
  But then I know it's growing strong
  Was in the spring
  And spring became the summer
  Who'd have believed you'd come along


  Hands, touching hands
  Reaching out, touching me, touching you


  Sweet Caroline
  Good times never seemed so good
  I've been inclined
  To believe they never would
  But now I


  Look at the night and it don't seem so lonely
  We filled it up with only two
  And when I hurt
  Hurting runs off my shoulders
  How can I hurt when holding you


  One, touching one
  Reaching out, touching me, touching you


  Sweet Caroline
  Good times never seemed so good
  I've been inclined
  To believe they never would
  Oh no, no


  Sweet Caroline
  Good times never seemed so good
  Sweet Caroline
  I believe they never could
  Sweet Caroline
  Good times never seemed so good

  WRITERS

  Neil Diamond

  PUBLISHERS

  Lyrics © Universal Music Publishing Group


             Case 3:23-cv-01092              Document 49-6      35 11/16/23
                                                             Filed            Page 36 of 434 PageID #: 1062
BCG_ID_10101_LF.txt[11/10/23, 10:57:39 AM]
  Lyrics
  Roll another blunt, yeah (ooh ooh ooh)
  La la da da da da, la da da
  La da da da, la da da da, la da da da


  I was gonna clean my room until I got high
  I was gonna get up and find the broom but then I got high
  My room is still messed up and I know why (why, man?)
  Yeah, hey
  'Cause I got high
  Because I got high
  Because I got high


  La da da da da da da


  I was gonna go to class before I got high (come on, y'all)
  (Check it out)
  I coulda cheated and I coulda passed but I got high
  I am taking it next semester and I know why (why, man?)
  Yeah, hey
  'Cause I got high
  Because I got high
  Because I got high


  (Go to the next one, go to the next one, go to the next one)


  I was gonna go to court before I got high
  I was gonna pay my child support but then I got high (no, you wasn't)
  They took my whole paycheck and I know why (why, man?)
  Yeah, hey
  'Cause I got high
  Because I got high
  Because I got high


  La da da da da da


  I wasn't gonna run from the cops but I was high
  (I'm serious, man)
  I was gonna pull right over and stop but I was high
  Now I am a paraplegic, and I know why (why, man?)
  Yeah, hey
  'Cause I got high
  Because I got high
  Because I got high


             Case 3:23-cv-01092              Document 49-6      36 11/16/23
                                                             Filed            Page 37 of 434 PageID #: 1063
BCG_ID_10103_LF.txt[11/10/23, 10:57:39 AM]
  La da da da da da


  I was gonna make love to you but then I got high
  I was gonna eat yo pussy, too, but then I got high
  Now I'm jacking off and I know why (turn this shit off)
  Yeah, hey
  'Cause I got high (keep going)
  Because I got high (ayy, do that over again)
  Because I got high (come on, man, come on)


  La da da da da da


  I messed up my entire life because I got high
  I lost my kids and wife because I got high (say what, say what, say what, say what)
  Now I'm sleeping on the sidewalk and I know why (why, man?)
  Yeah, hey
  'Cause I got high
  Because I got high
  Because I got high


  La da da da da da


  I'ma stop singing this song because I'm high (present tense, baby, oh)
  I'm singing this whole thing wrong because I'm high (bring it back, bring it back)
  And if I don't sell one copy I'll know why (why, man?)
  'Cause I'm high
  'Cause I'm high
  'Cause I'm high (are you really high though, man?)


  La da da da da da


  La da da da da da, la da da da
  He really is high, man
  Shoop shooby doo wop
  Get jiggy wit it, skibbidy bee bop diddy do wah

  WRITERS

  Joseph Foreman

  PUBLISHERS

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             Case 3:23-cv-01092              Document 49-6      37 11/16/23
                                                             Filed            Page 38 of 434 PageID #: 1064
BCG_ID_10103_LF.txt[11/10/23, 10:57:39 AM]
  Lyrics
  Come closer and see
  See into the trees
  Find the girl
  While you can
  Come closer and see
  See into the dark
  Just follow your eyes
  Just follow your eyes


  I hear her voice
  Calling my name
  The sound is deep
  In the dark
  I hear her voice
  And start to run
  Into the trees
  Into the trees


  Into the trees


  Suddenly, I stop
  But I know it's too late
  I'm lost in a forest
  All alone
  The girl was never there
  It's always the same
  I'm running towards nothing
  Again and again and again and again
  And again and again and again and again
  And again-gain-gain and again and again
  And again and again-gain-gain and again
  And again and again and again and again
  And again

  WRITERS

  Robert James Smith, Laurence Andrew Tolhurst, Matthieu Aiden Hartley, Simon Johnathon Gallup

  PUBLISHERS

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             Case 3:23-cv-01092              Document 49-6      38 11/16/23
                                                             Filed            Page 39 of 434 PageID #: 1065
BCG_ID_10109_LF.txt[11/10/23, 10:57:40 AM]
  Lyrics
  Clouds so swift
  Rain won't lift
  Gate won't close
  Railings froze
  Get your mind of wintertime
  You ain't goin' nowhere


  Whoo-ee ride me high
  Tomorrow's the day
  My bride's gonna come
  Oh, oh, are we gonna fly
  Down in the easy chair


  I don't care
  How many letters they sent
  The morning came and morning went
  Pack up your money
  And pick up your tent
  You ain't goin' nowhere


  Whoo-ee ride me high
  Tomorrow's the day
  My bride's gonna come
  Oh, oh, are we gonna fly
  Down in the easy chair


  Buy me a flute
  And a gun that shoots
  Tailgates some substitutes
  Strap yourself
  To the tree with roots
  You ain't goin' nowhere


  Whoo-ee ride me high
  Tomorrow's the day
  My bride's gonna come
  Oh, oh, are we gonna fly
  Down in the easy chair


  Genghis Khan
  He could not keep
  All his kings
  Supplied with sleep
  We'll climb that hill no matter how steep
  When we come up to it

             Case 3:23-cv-01092              Document 49-6      39 11/16/23
                                                             Filed            Page 40 of 434 PageID #: 1066
BCG_ID_10111_LF.txt[11/10/23, 10:57:40 AM]
  Whoo-ee ride me high
  Tomorrow's the day
  My bride's gonna come
  Oh, oh, are we gonna fly
  Down in the easy chair


  Whoo-ee ride me high
  Tomorrow's the day
  My bride's gonna come
  Oh, oh, are we gonna fly
  Down in the easy chair

  WRITERS

  Bob Dylan

  PUBLISHERS

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                                                             Filed            Page 41 of 434 PageID #: 1067
BCG_ID_10111_LF.txt[11/10/23, 10:57:40 AM]
  Lyrics
  Well, I never been to Spain
  But I kinda like the music
  Say the ladies are insane there
  And they sure know how to use it
  They don't abuse it
  Never gonna lose it
  I can't refuse it, mhm


  Well, I never been to England
  But I kinda like the Beatles
  Well, I headed for Las Vegas
  Only made it out to Needles
  Can you feel it?
  Must be near it
  Feels so good
  Whoa, feels so good


  Well, I never been to heaven
  But I been to Oklahoma
  Oh, they tell me I was born there
  But I really don't remember
  In Oklahoma, not Arizona
  What does it matter?
  What does it matter?


  Whoa, I never been to Spain
  But I kinda like the music
  Say the ladies are insane there
  And they sure know how to use it
  They don't abuse it
  Never gonna lose it
  I can't refuse it, whoa


  Well, I never been to heaven
  But I been to Oklahoma
  Well, they tell me I was born there
  But I really don't remember
  In Oklahoma, not Arizona
  What does it matter?
  What does it matter?

  WRITERS

  Hoyt Wayne Axton

  PUBLISHERS

  Lyrics © Universal Music Publishing Group
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                                                             Filed            Page 42 of 434 PageID #: 1068
BCG_ID_10113_LF.txt[11/10/23, 10:57:40 AM]
             Case 3:23-cv-01092              Document 49-6      42 11/16/23
                                                             Filed            Page 43 of 434 PageID #: 1069
BCG_ID_10113_LF.txt[11/10/23, 10:57:40 AM]
  Lyrics
  Hey, Mr. Tambourine Man, play a song for me
  I'm not sleepy and there is no place I'm going to
  Hey, Mr. Tambourine Man, play a song for me
  In the jingle jangle morning I'll come following you


  Though I know that evening's empire has returned into sand
  Vanished from my hand
  Left me blindly here to stand, but still not sleeping
  My weariness amazes me, I'm branded on my feet
  I have no one to meet
  And the ancient empty street's too dead for dreaming


  Hey, Mr. Tambourine Man, play a song for me
  I'm not sleepy and there is no place I'm going to
  Hey, Mr. Tambourine Man, play a song for me
  In the jingle jangle morning I'll come following you


  Take me on a trip upon your magic swirling ship
  My senses have been stripped
  My hands can't feel to grip
  My toes too numb to step
  Wait only for my boot heels to be wandering
  I'm ready to go anywhere, I'm ready for to fade
  Into my own parade
  Cast your dancing spell my way, I promise to go under it


  Hey, Mr. Tambourine Man, play a song for me
  I'm not sleepy and there is no place I'm going to
  Hey, Mr. Tambourine Man, play a song for me
  In the jingle jangle morning I'll come following you


  Though you might hear laughing, spinning, swinging madly across the sun
  It's not aimed at anyone
  It's just escaping on the run
  And but for the sky there are no fences facing
  And if you hear vague traces of skipping reels of rhyme
  To your tambourine in time
  It's just a ragged clown behind
  I wouldn't pay it any mind
  It's just a shadow you're seeing that he's chasing


  Hey, Mr. Tambourine Man, play a song for me
  I'm not sleepy and there is no place I'm going to
  Hey, Mr. Tambourine Man, play a song for me
  In the jingle jangle morning I'll come following you

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                                                             Filed            Page 44 of 434 PageID #: 1070
BCG_ID_10114_LF.txt[11/10/23, 10:57:40 AM]
  And take me disappearing through the smoke rings of my mind
  Down the foggy ruins of time
  Far past the frozen leaves
  The haunted frightened trees
  Out to the windy beach
  Far from the twisted reach of crazy sorrow
  Yes, to dance beneath the diamond sky
  With one hand waving free
  Silhouetted by the sea
  Circled by the circus sands
  With all memory and fate
  Driven deep beneath the waves
  Let me forget about today until tomorrow


  Hey, Mr. Tambourine Man, play a song for me
  I'm not sleepy and there is no place I'm going to
  Hey, Mr. Tambourine Man, play a song for me
  In the jingle jangle morning I'll come following you

  WRITERS

  Bob Dylan

  PUBLISHERS

  Lyrics © Universal Music Publishing Group




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                                                             Filed            Page 45 of 434 PageID #: 1071
BCG_ID_10114_LF.txt[11/10/23, 10:57:40 AM]
  Lyrics
  When I pretend everything is what I want it to be
  I look exactly like what you had always wanted to see
  When I pretend I can forget about the criminal I am
  Stealing second after second just 'cause I know I can
  But I can't pretend this is the way it will stay
  I'm just trying to bend the truth
  I can't pretend I'm who you want me to be so I'm
  Lying my way from you


  (No, no turning back now)
  I want to be pushed aside so let me go (no, no turning back now)
  Let me take back my life I'd rather be all alone (no turning back now)
  Anywhere on my own 'cause I can see (no, no turning back now)
  The very worst part of you is me


  I remember what they taught to me
  Remember condescending talk of who I ought to be
  Remember listening to all of that and this again
  So I pretended up a person who was fitting in
  And now you think this person really is me and I'm
  (Trying to bend the truth)
  But the more I push the more I'm pulling away
  'Cause I'm lying my way from you


  (No, no turning back now)
  I want to be pushed aside so let me go (no, no turning back now)
  Let me take back my life I'd rather be all alone (no turning back now)
  Anywhere on my own 'cause I can see (no, no turning back now)
  The very worst part of you
  The very worst part of you
  Is me


  This isn't what I wanted to be
  I never thought that what I said would have you running from me
  Like this


  This isn't what I wanted to be
  I never thought that what I said would have you running from me
  Like this


  This isn't what I wanted to be
  I never thought that what I said would have you running from me
  Like this


  This isn't what I wanted to be
             Case 3:23-cv-01092              Document 49-6      45 11/16/23
                                                             Filed            Page 46 of 434 PageID #: 1072
BCG_ID_10115_LF.txt[11/10/23, 10:57:40 AM]
  I never thought that what I said would have you running from me
  Like this


  You (no turning back now)
  I want to be pushed aside so let me go (no, no turning back now)
  Let me take back my life I'd rather be all alone (no turning back now)
  Anywhere on my own 'cause I can see (no, no turning back now)
  The very worst part of you
  The very worst part of you
  Is me

  WRITERS

  Brad Delson, Chester Charles Bennington, Dave Farrell, Joseph Hahn, Mike Shinoda, Robert G. Bourdon

  PUBLISHERS

  Lyrics © Universal Music Publishing Group




             Case 3:23-cv-01092              Document 49-6      46 11/16/23
                                                             Filed            Page 47 of 434 PageID #: 1073
BCG_ID_10115_LF.txt[11/10/23, 10:57:40 AM]
  Lyrics
  Ain't no sunshine when she's gone
  It's not warm when she's away
  Ain't no sunshine when she's gone
  And she's always gone too long
  Anytime she goes away


  Wonder this time where she's gone
  Wonder if she's gone to stay
  Ain't no sunshine when she's gone
  And this house just ain't no home
  Anytime she goes away


  And I know, I know, I know, I know
  I know, I know, I know, I know, I know
  I know, I know, I know, I know, I know
  I know, I know, I know, I know, I know
  I know, I know, I know, I know, I know
  I know, I know
  Hey, I oughta leave young thing alone
  But ain't no sunshine when she's gone


  Ain't no sunshine when she's gone
  Only darkness every day
  Ain't no sunshine when she's gone
  And this house just ain't no home
  Anytime she goes away
  Anytime she goes away
  Anytime she goes away
  Anytime she goes away

  WRITERS

  Bill Withers

  PUBLISHERS

  Lyrics © Universal Music Publishing Group




             Case 3:23-cv-01092              Document 49-6      47 11/16/23
                                                             Filed            Page 48 of 434 PageID #: 1074
BCG_ID_10120_LF.txt[11/10/23, 10:57:40 AM]
  Lyrics
  Don't think sorry's easily said
  Don't try turning tables instead
  You've taken lots of Chances before
  But I'm not gonna give anymore
  Don't ask me
  That's how it goes
  Cause part of me knows what you're thinkin'


  Don't say words you're gonna regret
  Don't let the fire rush to your head
  I've heard the accusation before
  And I ain't gonna take any more
  Believe me
  The sun in your Eyes
  Made some of the lies worth believing


  I am the eye in the sky
  Looking at you
  I can read your mind
  I am the maker of rules
  Dealing with fools
  I can cheat you blind
  And I don't need to see any more
  To know that
  I can read your mind, I can read your mind


  Don't leave false illusions behind
  Don't cry cause I ain't changing my mind
  So find another fool like before
  Cause I ain't gonna live anymore believing
  Some of the lies while all of the signs are deceiving


  I am the eye in the sky
  Looking at you
  I can read your mind
  I am the maker of rules
  Dealing with fools
  I can cheat you blind
  And I don't need to see any more
  To know that
  I can read your mind, I can read your mind

  WRITERS

  Alan Parsons, Eric Norman Wolfson

  PUBLISHERS

             Case 3:23-cv-01092              Document 49-6      48 11/16/23
                                                             Filed            Page 49 of 434 PageID #: 1075
BCG_ID_10123_LF.txt[11/10/23, 10:57:40 AM]
  Lyrics © Warner Chappell Music, Inc.




             Case 3:23-cv-01092              Document 49-6      49 11/16/23
                                                             Filed            Page 50 of 434 PageID #: 1076
BCG_ID_10123_LF.txt[11/10/23, 10:57:40 AM]
  Lyrics
  You can tell the world you never was my girl
  You can burn my clothes up when I'm gone
  Or you can tell your friends just what a fool I've been
  And laugh and joke about me on the phone
  You can tell my arms go back into the farm
  Or you can tell my feet to hit the floor
  Or you can tell my lips to tell my fingertips
  They won't be reaching out for you no more


  But don't tell my heart
  My achy breaky heart
  I just don't think he'd understand
  And if you tell my heart
  My achy breaky heart
  He might blow up and kill this man
  Ooh


  You can tell your ma I moved to Arkansas
  Or you can tell your dog to bite my leg
  Or tell your brother Cliff whose fist can tell my lip
  He never really liked me anyway


  Or tell your Aunt Louise, tell anything you please
  Myself already knows I'm not okay
  Or you can tell my eyes to watch out for my mind
  It might be walking out on me today


  But don't tell my heart
  My achy breaky heart
  I just don't think he'd understand
  And if you tell my heart
  My achy breaky heart
  He might blow up and kill this man
  Ooh


  Don't tell my heart
  My achy breaky heart
  I just don't think he'd understand
  And if you tell my heart
  My achy breaky heart
  He might blow up and kill this man


  Don't tell my heart
  My achy breaky heart
  I just don't think he'd understand
  And if you tell my heart
             Case 3:23-cv-01092              Document 49-6      50 11/16/23
                                                             Filed            Page 51 of 434 PageID #: 1077
BCG_ID_10124_LF.txt[11/10/23, 10:57:40 AM]
  My achy breaky heart
  He might blow up and kill this man
  Ooh ooh

  WRITERS

  Donald L. Von Tress

  PUBLISHERS

  Lyrics © Universal Music Publishing Group




             Case 3:23-cv-01092              Document 49-6      51 11/16/23
                                                             Filed            Page 52 of 434 PageID #: 1078
BCG_ID_10124_LF.txt[11/10/23, 10:57:40 AM]
  Lyrics
  Well I came home
  Like a stone
  And I fell heavy into your arms
  These days of dust
  Which we've known
  Will blow away with this new sun


  But I'll kneel down
  Wait for now
  And I'll kneel down
  Know my ground


  And I will wait, I will wait for you
  And I will wait, I will wait for you


  So break my step
  And relent
  You forgave and I won't forget
  Know what we've seen
  And him with less
  Now in some way
  Shake the excess


  'Cause I will wait, I will wait for you
  And I will wait, I will wait for you
  And I will wait, I will wait for you
  And I will wait, I will wait for you


  Now I'll be bold
  As well as strong
  And use my head alongside my heart
  So take my flesh
  And fix my eyes
  A tethered mind free from the lies


  And I'll kneel down
  Wait for now
  I'll kneel down
  Know my ground, woo


  Raise my hands
  Paint my spirit gold
  And bow my head
  Keep my heart slow

             Case 3:23-cv-01092              Document 49-6      52 11/16/23
                                                             Filed            Page 53 of 434 PageID #: 1079
BCG_ID_10128_LF.txt[11/10/23, 10:57:40 AM]
  'Cause I will wait, I will wait for you
  And I will wait, I will wait for you
  And I will wait, I will wait for you
  And I will wait, I will wait for you

  WRITERS

  Benjamin Walter David Lovett, Marcus Oliver Johnstone Mumford, Edward James Milton Dwane, Winston Aubrey
  Aladar Marshall

  PUBLISHERS

  Lyrics © Universal Music Publishing Group




             Case 3:23-cv-01092              Document 49-6      53 11/16/23
                                                             Filed            Page 54 of 434 PageID #: 1080
BCG_ID_10128_LF.txt[11/10/23, 10:57:40 AM]
  Lyrics
  Look at the stars
  Look how they shine for you
  And everything you do
  Yeah, they were all yellow
  I came along
  I wrote a song for you
  And all the things you do
  And it was called, "Yellow"
  So then I took my turn
  Oh, what a thing to have done
  And it was all yellow


  Your skin
  Oh yeah, your skin and bones
  Turn into something beautiful
  You know
  You know I love you so
  You know I love you so


  I swam across
  I jumped across for you
  Oh, what a thing to do
  'Cause you were all yellow
  I drew a line
  I drew a line for you
  Oh, what a thing to do
  And it was all yellow


  Your skin
  Oh yeah, your skin and bones
  Turn into something beautiful
  And you know
  For you I'd bleed myself dry
  For you I'd bleed myself dry


  It's true
  Look how they shine for you
  Look how they shine for you
  Look how they shine for
  Look how they shine for you
  Look how they shine for you
  Look how they shine


  Look at the stars
  Look how they shine for you
  And all the things that you do

             Case 3:23-cv-01092              Document 49-6      54 11/16/23
                                                             Filed            Page 55 of 434 PageID #: 1081
BCG_ID_10130_LF.txt[11/10/23, 10:57:40 AM]
  WRITERS

  Guy Rupert Berryman, Jonathan Mark Buckland, William Champion, Christopher Anthony John Martin

  PUBLISHERS

  Lyrics © Universal Music Publishing Group




             Case 3:23-cv-01092              Document 49-6      55 11/16/23
                                                             Filed            Page 56 of 434 PageID #: 1082
BCG_ID_10130_LF.txt[11/10/23, 10:57:40 AM]
  Lyrics
  Such a feelin's comin' over me
  There is wonder in 'most every thing I see
  Not a cloud in the sky, got the sun in my eyes
  And I won't be surprised if it's a dream


  Everything I want the world to be
  Is now comin' true especially for me
  And the reason is clear, it's because you are here
  You're the nearest thing to heaven that I've seen


  I'm on the top of the world lookin' down on creation
  And the only explanation I can find
  Is the love that I've found ever since you've been around
  Your love's put me at the top of the world


  Somethin' in the wind has learned my name
  And it's tellin' me that things are not the same
  In the leaves on the trees and the touch of the breeze
  There's a pleasin' sense of happiness for me


  There is only one wish on my mind
  When this day is through I hope that I will find
  That tomorrow will be just the same for you and me
  All I need will be mine if you are here


  I'm on the top of the world lookin' down on creation
  And the only explanation I can find
  Is the love that I've found ever since you've been around
  Your love's put me at the top of the world


  I'm on the top of the world lookin' down on creation
  And the only explanation I can find
  Is the love that I've found ever since you've been around
  Your love's put me at the top of the world

  WRITERS

  John Bettis, Richard Lynn Carpenter

  PUBLISHERS

  Lyrics © Universal Music Publishing Group, Royalty Network




             Case 3:23-cv-01092              Document 49-6       56 11/16/23
                                                              Filed            Page 57 of 434 PageID #: 1083
BCG_ID_10134_LF.txt[11/10/23, 10:57:40 AM]
  Lyrics
  There's another world inside of me that you may never see
  There's secrets in this life that I can't hide
  Somewhere in this darkness there's a light that I can't find
  Well maybe it's too far away, yeah
  Or maybe I'm just blind
  Or maybe I'm just blind


  So hold me when I'm here, right me when I'm wrong
  Hold me when I'm scared and love me when I'm gone
  Everything I am and everything in me
  Wants to be the one you wanted me to be


  I'll never let you down even if I could
  I'd give up everything if only for your good
  So hold me when I'm here, right me when I'm wrong
  You can hold me when I'm scared, you won't always be there
  So love me when I'm gone
  Love me when I'm gone


  But when your education x-ray cannot see under my skin
  I won't tell you a damn thing that I could not tell my friends
  Been roaming through this darkness, I'm alive but I'm alone
  And part of me is fighting this but part of me is gone


  So hold me when I'm here, right me when I'm wrong
  Hold me when I'm scared and love me when I'm gone
  Everything I am and everything in me
  Wants to be the one you wanted me to be


  I'll never let you down even if I could
  I'd give up everything if only for your good
  So hold me when I'm here, right me when I'm wrong
  You can hold me when I'm scared, you won't always be there
  So love me when I'm gone


  Maybe I'm just blind


  So hold me when I'm here, right me when I'm wrong
  Hold me when I'm scared and love me when I'm gone
  Everything I am and everything in me
  Wants to be the one you wanted me to be


  I'll never let you down even if I could
  I'd give up everything if only for your good
             Case 3:23-cv-01092              Document 49-6      57 11/16/23
                                                             Filed            Page 58 of 434 PageID #: 1084
BCG_ID_10135_LF.txt[11/10/23, 10:57:40 AM]
  So hold me when I'm here, right me when I'm wrong
  You can hold me when I'm scared, you won't always be there
  So love me when I'm gone


  Love me when I'm gone, whoa, whoa
  Love me when I'm gone, when I'm gone
  When I'm gone, when I'm gone

  WRITERS

  Bradley Kirk Arnold, Christopher Lee Henderson, Matthew Darrick Roberts, Robert Todd Harrell

  PUBLISHERS

  Lyrics © Universal Music Publishing Group




             Case 3:23-cv-01092              Document 49-6      58 11/16/23
                                                             Filed            Page 59 of 434 PageID #: 1085
BCG_ID_10135_LF.txt[11/10/23, 10:57:40 AM]
  Lyrics
  There were nights when the wind was so cold
  That my body froze in bed if I just listened to it
  Right outside the window


  There were days when the sun was so cruel
  That all the tears turned to dust
  And I just knew my eyes were drying up forever (forever)


  I finished crying in the instant that you left
  And I can't remember where or when or how
  And I banished every memory you and I had ever made


  But when you touch me like this
  And you hold me like that
  I just have to admit
  That it's all coming back to me
  When I touch you like this
  And I hold you like that
  It's so hard to believe but it's all coming back to me
  It's all coming back, it's all coming back to me now


  There were moments of gold and there were flashes of light
  There were things I'd never do again
  But then they'd always seemed right
  There were nights of endless pleasure
  It was more than any laws allow
  Baby, baby


  If I kiss you like this
  And if you whisper like that
  It was lost long ago but it's all coming back to me
  If you want me like this
  And if you need me like that
  It was dead long ago but it's all coming back to me
  It's so hard to resist and it's all coming back to me
  I can barely recall
  But it's all coming back to me now
  But it's all coming back


  There were those empty threats and hollow lies
  And whenever you try to hurt me
  I just hurt you even worse and so much deeper


  There were hours that just went on for days
  When alone at last we'd count up all the chances
             Case 3:23-cv-01092              Document 49-6      59 11/16/23
                                                             Filed            Page 60 of 434 PageID #: 1086
BCG_ID_10140_LF.txt[11/10/23, 10:57:40 AM]
  That were lost to us forever (forever)


  But you were history with the slamming of the door
  And I made myself so strong again somehow
  And I never wasted any of my time on you since then


  But if I touch you like this
  And if you kiss me like that
  It was so long ago but it's all coming back to me
  If you touch me like this
  And if I kiss you like that
  It was gone with the wind
  But it's all coming back to me
  It's all coming back, it's all coming back to me now


  There were moments of gold
  And there were flashes of light
  There were things we'd never do again
  But then they'd always seemed right
  There were nights of endless pleasure
  It was more than all your laws allow
  Baby, baby, baby


  When you touch me like this
  And when you hold me like that
  It was gone with the wind but it's all coming back to me
  When you see me like this
  And when I see you like that
  Then we see what we want to see all coming back to me
  The flesh and the fantasies all coming back to me
  I can barely recall but it's all coming back to me now


  If you forgive me all this
  If I forgive you all that
  We forgive and forget and it's all coming back to me
  When you see me like this
  And when I see you like that
  We see just what we want to see all coming back to me
  The flesh and the fantasies all coming back to me
  I can barely recall but it's all coming back to me now


  (It's all coming back to me now)
  And when you kiss me like this
  (It's all coming back to me now)
  And when I touch you like that
  (It's all coming back to me now)
  And if you do it like this
  (It's all coming back to me now)
              Case 3:23-cv-01092             Document 49-6      60 11/16/23
                                                             Filed            Page 61 of 434 PageID #: 1087
BCG_ID_10140_LF.txt[11/10/23, 10:57:40 AM]
  And if we

  WRITERS

  Jim Steinman

  PUBLISHERS

  Lyrics © Universal Music Publishing Group




              Case 3:23-cv-01092             Document 49-6      61 11/16/23
                                                             Filed            Page 62 of 434 PageID #: 1088
BCG_ID_10140_LF.txt[11/10/23, 10:57:40 AM]
  Lyrics
  And I am telling you
  I'm not going
  You're the best man I'll ever know
  There's no way I can ever go
  No, no, no, no way
  No, no, no, no way I'm livin' without you
  I'm not livin' without you
  I don't want to be free
  I'm stayin'
  I'm stayin'
  And you, and you, you're gonna love me
  Oh, you're gonna love me


  And I am telling you
  I'm not going
  Even though the rough times are showing
  There's just no way
  There's no way
  We're part of the same place
  We're part of the same time
  We both share the same blood
  We both have the same mind
  And time and time we have so much to share


  No, no, no, no, no
  I'm not wakin' up tomorrow mornin'
  And findin' that there's nobody there
  Darling, there's no way
  No, no, no, no way I'm livin' without you
  I'm not livin' without you
  You see, there's just no way
  There's no way


  Tear down the mountains
  Yell, scream and shout
  You can say what you want
  I'm not walkin' out
  Stop all the rivers
  Push, strike, and kill
  I'm not gonna leave you
  There's no way I will


  And I am telling you
  I'm not going
  You're the best man I'll ever know
  There's no way I could ever, ever go
  No, no, no, no way
  No, no, no, no way I'm livin' without you
             Case 3:23-cv-01092              Document 49-6      62 11/16/23
                                                             Filed            Page 63 of 434 PageID #: 1089
BCG_ID_10141_LF.txt[11/10/23, 10:57:41 AM]
  Oh, I'm not livin' without you
  I'm not livin' without you
  I don't wanna be free
  I'm stayin'
  I'm stayin'
  And you, and you, and you
  You're gonna love me
  Oh, yeah, you're gonna love me
  Yes, you are, love me
  Oh, oh, oh, love me
  Love me
  Love me
  Love me
  Love me
  You're gonna love
  Me

  WRITERS

  Henry Krieger, Tom Eyen

  PUBLISHERS

  Lyrics © Kanjian Music, Universal Music Publishing Group




             Case 3:23-cv-01092              Document 49-6      63 11/16/23
                                                             Filed            Page 64 of 434 PageID #: 1090
BCG_ID_10141_LF.txt[11/10/23, 10:57:41 AM]
  Lyrics
  L.A.'s fine, the sun shines most the time
  And the feeling is "lay back"
  Palm trees grow and rents are low
  But you know I keep thinkin' about
  Making my way back


  Well I'm New York City born and raised
  But nowadays
  I'm lost between two shores
  L.A.'s fine, but it ain't home
  New York's home
  But it ain't mine no more


  "I am"... I said
  To no one there
  And no one heard at all
  Not even the chair


  "I am"... I cried
  "I am"... said I
  And I am lost and I can't
  Even say why
  Leavin' me lonely still


  Did you ever read about a frog
  Who dreamed of bein' a king
  And then became one
  Well except for the names
  And a few other changes
  If you talk about me
  The story is the same one


  But I got an emptiness deep inside
  And I've tried
  But it won't let me go
  And I'm not a man who likes to swear
  But I never cared
  For the sound of being alone


  "I am"... I said
  To no one there
  And no one heard at all
  Not even the chair
  "I am"... I cried
  "I am"... said I
  And I am lost and I can't
             Case 3:23-cv-01092              Document 49-6      64 11/16/23
                                                             Filed            Page 65 of 434 PageID #: 1091
BCG_ID_10146_LF.txt[11/10/23, 10:57:41 AM]
  Even say why
  "I am"... I said
  "I am"... I cried
  "I am"

  WRITERS

  Neil Diamond

  PUBLISHERS

  Lyrics © Universal Music Publishing Group




             Case 3:23-cv-01092              Document 49-6      65 11/16/23
                                                             Filed            Page 66 of 434 PageID #: 1092
BCG_ID_10146_LF.txt[11/10/23, 10:57:41 AM]
  Lyrics
  This is my December
  This is my time of the year
  This is my December
  This is all so clear
  This is my December
  This is my snow-covered home
  This is my December
  This is me alone


  (And I) just wish that I didn't feel
  Like there was something I missed
  (And I) take back all the things I said
  To make you feel like that
  (And I) just wish that I didn't feel
  Like there was something I missed
  (And I) take back all the things that I said to you


  And I'd give it all away
  Just to have somewhere to go to
  Give it all away
  To have someone to come home to


  This is my December
  These are my snow-covered dreams
  This is me pretending
  This is all I need


  (And I) just wish that I didn't feel
  Like there was something I missed
  (And I) take back all the things I said
  To make you feel like that
  (And I) just wish that I didn't feel
  Like there was something I missed
  (And I) take back all the things I said to you


  And I'd give it all away
  Just to have somewhere to go to
  Give it all away
  To have someone to come home to


  This is my December
  This is my time of the year
  This is my December
  This is all so clear


             Case 3:23-cv-01092              Document 49-6      66 11/16/23
                                                             Filed            Page 67 of 434 PageID #: 1093
BCG_ID_10156_LF.txt[11/10/23, 10:57:41 AM]
  Give it all away
  Just to have somewhere to go to
  Give it all away
  To have someone to come home to
  Give it all away
  Just to have somewhere to go to
  Give it all away
  To have someone to come home to

  WRITERS

  Brad Delson, Chester Charles Bennington, Joseph Hahn, Mike Shinoda, Robert G. Bourdon

  PUBLISHERS

  Lyrics © Universal Music Publishing Group




             Case 3:23-cv-01092              Document 49-6      67 11/16/23
                                                             Filed            Page 68 of 434 PageID #: 1094
BCG_ID_10156_LF.txt[11/10/23, 10:57:41 AM]
  Lyrics
  They're selling postcards of the hanging, they're painting the passports brown
  The beauty parlor is filled with sailors, the circus is in town
  Here comes the blind commissioner, they've got him in a trance
  One hand is tied to the tight-rope walker, the other is in his pants
  And the riot squad they're restless, they need somewhere to go
  As Lady and I look out tonight, from Desolation Row


  Cinderella, she seems so easy, "It takes one to know one," she smiles
  And puts her hands in her back pockets Bette Davis style
  And in comes Romeo, he's moaning. "You Belong to Me I Believe"
  And someone says, "You're in the wrong place, my friend, you'd better leave"
  And the only sound that's left after the ambulances go
  Is Cinderella sweeping up on Desolation Row


  Now the moon is almost hidden, the stars are beginning to hide
  The fortune telling lady has even taken all her things inside
  All except for Cain and Abel and the hunchback of Notre Dame


  Everybody is making love or else expecting rain
  And the Good Samaritan, he's dressing, he's getting ready for the show
  He's going to the carnival tonight on Desolation Row


  Ophelia, she's 'neath the window for her I feel so afraid
  On her twenty-second birthday she already is an old maid
  To her, death is quite romantic she wears an iron vest
  Her profession's her religion, her sin is her lifelessness
  And though her eyes are fixed upon Noah's great rainbow
  She spends her time peeking into Desolation Row


  Einstein, disguised as Robin Hood with his memories in a trunk
  Passed this way an hour ago with his friend, a jealous monk
  Now he looked so immaculately frightful as he bummed a cigarette
  And he when off sniffing drainpipes and reciting the alphabet
  You would not think to look at him, but he was famous long ago
  For playing the electric violin on Desolation Row


  Dr. Filth, he keeps his world inside of a leather cup
  But all his sexless patients, they're trying to blow it up
  Now his nurse, some local loser, she's in charge of the cyanide hole
  And she also keeps the cards that read, "Have Mercy on His Soul"
  They all play on the penny whistles, you can hear them blow
  If you lean your head out far enough from Desolation Row


  Across the street they've nailed the curtains, they're getting ready for the feast
  The Phantom of the Opera in a perfect image of a priest
             Case 3:23-cv-01092              Document 49-6      68 11/16/23
                                                             Filed                Page 69 of 434 PageID #: 1095
BCG_ID_10157_LF.txt[11/10/23, 10:57:41 AM]
  They are spoon feeding Casanova to get him to feel more assured
  Then they'll kill him with self-confidence after poisoning him with words
  And the Phantom's shouting to skinny girls, "Get outta here if you don't know"
  Casanova is just being punished for going to Desolation Row"


  At midnight all the agents and the superhuman crew
  Come out and round up everyone that knows more than they do
  Then they bring them to the factory where the heart-attack machine
  Is strapped across their shoulders and then the kerosene
  Is brought down from the castles by insurance men who go
  Check to see that nobody is escaping to Desolation Row


  Praise be to Nero's Neptune, the Titanic sails at dawn
  Everybody's shouting, "Which side are you on?!"
  And Ezra Pound and T.S. Eliot fighting in the captain's tower
  While calypso singers laugh at them and fishermen hold flowers
  Between the windows of the sea where lovely mermaids flow
  And nobody has to think too much about Desolation Row


  Yes, I received your letter yesterday, about the time the doorknob broke
  When you asked me how I was doing, was that some kind of joke
  All these people that you mention, yes, I know them, they're quite lame
  I had to rearrange their faces and give them all another name
  Right now, I can't read too good, don't send me no more letters no
  Not unless you mail them from Desolation Row

  WRITERS

  Bob Dylan

  PUBLISHERS

  Lyrics © Universal Music Publishing Group, Royalty Network




             Case 3:23-cv-01092              Document 49-6      69 11/16/23
                                                             Filed            Page 70 of 434 PageID #: 1096
BCG_ID_10157_LF.txt[11/10/23, 10:57:41 AM]
  Lyrics
  I walked across an empty land
  I knew the pathway like the back of my hand
  I felt the earth beneath my feet
  Sat by the river, and it made me complete


  Oh, simple thing, where have you gone?
  I'm getting old, and I need something to rely on
  So tell me when you're gonna let me in
  I'm getting tired, and I need somewhere to begin


  I came across a fallen tree
  I felt the branches of it looking at me
  Is this the place we used to love?
  Is this the place that I've been dreaming of?


  Oh, simple thing, where have you gone?
  I'm getting old, and I need something to rely on
  So tell me when you're gonna let me in
  I'm getting tired, and I need somewhere to begin


  And if you have a minute, why don't we go
  Talk about it somewhere only we know?
  This could be the end of everything
  So why don't we go
  Somewhere only we know?
  Somewhere only we know


  Oh, simple thing, where have you gone?
  I'm getting old, and I need something to rely on
  So tell me when you're gonna let me in
  I'm getting tired, and I need somewhere to begin


  And if you have a minute, why don't we go
  Talk about it somewhere only we know?
  This could be the end of everything
  So why don't we go?
  So why don't we go?


  Ah
  Oh


  This could be the end of everything
  So why don't we go
  Somewhere only we know?
             Case 3:23-cv-01092              Document 49-6      70 11/16/23
                                                             Filed            Page 71 of 434 PageID #: 1097
BCG_ID_10160_LF.txt[11/10/23, 10:57:41 AM]
  Somewhere only we know
  Somewhere only we know

  WRITERS

  Richard David Hughes, Timothy James Rice-Oxley, Tom Chaplin

  PUBLISHERS

  Lyrics © Universal Music Publishing Group




             Case 3:23-cv-01092              Document 49-6      71 11/16/23
                                                             Filed            Page 72 of 434 PageID #: 1098
BCG_ID_10160_LF.txt[11/10/23, 10:57:41 AM]
  Lyrics
  You've got a lotta nerve to say you are my friend
  When I was down you just stood there grinnin'
  You've got a lotta nerve to say you got a helping hand to lend
  You just want to be on the side that's winnin'


  You say I let you down, ya know its not like that
  If you're so hurt, why then don't you show it?
  You say you've lost your faith, but that's not where its at
  You have no faith to lose, and ya know it


  I know the reason, that you talked behind my back
  I used to be among the crowd you're in with
  Do you take me for such a fool, to think I'd make contact
  With the one who tries to hide what he don't know to begin with?


  You see me on the street, you always act surprised
  You say "how are you?", "good luck", but ya don't mean it
  When you know as well as me, you'd rather see me paralyzed
  Why don't you just come out once and scream it


  No, I do not feel that good when I see the heartbreaks you embrace
  If I was a master thief perhaps I'd rob them
  And tho I know you're dissatisfied with your position and your place
  Don't you understand, its not my problem?


  I wish that for just one time you could stand inside my shoes
  And just for that one moment I could be you
  Yes, I wish that for just one time you could stand inside my shoes
  You'd know what a drag it is to see you

  WRITERS

  Bob Dylan

  PUBLISHERS

  Lyrics © Universal Music Publishing Group




             Case 3:23-cv-01092              Document 49-6         72 11/16/23
                                                                Filed            Page 73 of 434 PageID #: 1099
BCG_ID_10161_LF.txt[11/10/23, 10:57:41 AM]
  Lyrics
  When I was young, it seemed that life was so wonderful
  A miracle, oh, it was beautiful, magical
  And all the birds in the trees, well they'd be singing so happily
  Oh, joyfully, oh, playfully watching me
  But then they sent me away to teach me how to be sensible
  Logical, oh, responsible, practical
  Then they showed me a world where I could be so dependable
  Oh, clinical, oh, intellectual, cynical


  There are times when all the world's asleep
  The questions run too deep
  For such a simple man
  Won't you please, please tell me what we've learned?
  I know it sounds absurd
  Please tell me who I am


  I said, now, watch what you say, they'll be calling you a radical
  A liberal, oh, fanatical, criminal
  Oh, won't you sign up your name? We'd like to feel you're acceptable
  Respectable, oh, presentable, a vegetable
  Oh, take, take, take it, yeah


  But at night, when all the world's asleep
  The questions run so deep
  For such a simple man
  Won't you please (oh, won't you tell me)
  Please tell me what we've learned?
  (Can you hear me?) I know it sounds absurd
  (Oh, won't you tell me) please tell me who I am
  Who I am, who I am, who I am


  Ooh
  Hey


  'Cause I was feeling so logical
  Yeah
  D-D-D-D-D-D-D-Digital
  Yeah, one, two, three, five
  Oh, oh, oh, oh, yeah
  Ooh, it's getting unbelievable
  Yeah
  Getting, getting, yeah, yeah
  Uh, uh, uh, uh

  WRITERS

  Richard Davies, Roger Hodgson
             Case 3:23-cv-01092              Document 49-6      73 11/16/23
                                                             Filed            Page 74 of 434 PageID #: 1100
BCG_ID_10164_LF.txt[11/10/23, 10:57:41 AM]
  PUBLISHERS

  Lyrics © Kanjian Music, Universal Music Publishing Group




             Case 3:23-cv-01092              Document 49-6      74 11/16/23
                                                             Filed            Page 75 of 434 PageID #: 1101
BCG_ID_10164_LF.txt[11/10/23, 10:57:41 AM]
  Lyrics
  Lightning crashes a new mother cries
  Her placenta falls to the floor
  The angel opens her eyes
  The confusion sets in
  Before the doctor can even close the door


  Lightning crashes an old mother dies
  Her intentions fall to the floor
  The angel closes her eyes
  The confusion that was hers
  Belongs now to the baby down the hall


  Oh now feel it, coming back again
  Like a rolling, thunder chasing the wind
  Forces pulling from
  The center of the earth again
  I can feel it


  Lightning crashes a new mother cries
  This moment she's been waiting for
  The angel opens her eyes
  Pale blue colored iris
  Presents the circle
  Puts the glory out to hide, hide


  Oh now feel it, coming back again
  Like a rolling, thunder chasing the wind
  Forces pulling from
  The center of the earth again
  I can feel it
  I can feel it


  Oh, I
  Oh, I
  Oh, I


  I can feel it, coming back again
  Like a rolling, thunder chasing the wind
  Forces pulling from
  The center of the earth again
  I can feel it


  I can feel it, coming back again
  Like a rolling, thunder chasing the wind
  Forces pulling from
             Case 3:23-cv-01092              Document 49-6      75 11/16/23
                                                             Filed            Page 76 of 434 PageID #: 1102
BCG_ID_10168_LF.txt[11/10/23, 10:57:41 AM]
  The center of the earth again
  I can feel it


  I can feel it, coming back again
  Like a rolling, thunder chasing the wind
  Forces pulling from
  The center of the earth again
  I can feel it
  I can feel it
  I can feel it

  WRITERS

  Chad Alan Gracey, Chad David Taylor, Edward Joel Kowalczyk, Patrick Dahlheimer

  PUBLISHERS

  Lyrics © Universal Music Publishing Group, Warner Chappell Music, Inc.




             Case 3:23-cv-01092              Document 49-6      76 11/16/23
                                                             Filed            Page 77 of 434 PageID #: 1103
BCG_ID_10168_LF.txt[11/10/23, 10:57:41 AM]
  Lyrics
  Like anyone would be
  I am flattered by your fascination with me
  Like any hot blooded woman
  I have simply wanted an object to crave


  But you, you're not allowed
  You're uninvited
  An unfortunate slight


  Must be strangely exciting
  To watch the stoic squirm
  Must be somewhat heartening
  To watch Shepard meet Shepard


  But you, you're not allowed
  You're uninvited
  An unfortunate slight


  Like any uncharted territory
  I must seem greatly intriguing
  You speak of my love like
  You have experienced love like mine before


  But this is not allowed
  You're uninvited
  An unfortunate slight


  I don't think you unworthy
  I need a moment to deliberate

  WRITERS

  Alanis Morissette

  PUBLISHERS

  Lyrics © Universal Music Publishing Group




             Case 3:23-cv-01092              Document 49-6      77 11/16/23
                                                             Filed            Page 78 of 434 PageID #: 1104
BCG_ID_10182_LF.txt[11/10/23, 10:57:41 AM]
  Lyrics
  She's all laid up in bed with a broken heart
  While I'm drinkin' Jack all alone in my local bar
  And we don't know how
  How we got into this mad situation
  Only doing things out of frustration
  Tryna make it work, but man, these times are hard
  She needs me now, but I can't seem to find the time
  I got a new job now on the unemployment line
  And we don't know how
  How we got into this mess, is it God's test?
  Someone help us 'cause we're doin' our best
  Tryna make it work, but man, these times are hard


  But we're gonna start by
  Drinkin' old cheap bottles of wine
  Shit talkin' up all night
  Sayin' things we haven't for a while, a while, yeah
  We're smilin' but we're close to tears
  Even after all these years
  We just now got the feelin' that we're meetin'
  For the first time


  Ooh
  Ooh
  Ooh


  She's in line at the dole with her head held high
  While I just lost my job but didn't lose my pride
  And we both know how
  How we're gonna make it work when it hurts
  When you pick yourself up, you get kicked to the dirt
  Tryna make it work, but man, these times are hard


  But we're gonna start by
  Drinkin' old cheap bottles of wine
  Shit talkin' up all night
  Doin' things we haven't for a while, a while, yeah
  We're smilin' but we're close to tears
  Even after all these years
  We just now got the feelin' that we're meetin'
  For the first time


  Ooh
  Ooh
  Ooh
  Yeah

             Case 3:23-cv-01092              Document 49-6      78 11/16/23
                                                             Filed            Page 79 of 434 PageID #: 1105
BCG_ID_10186_LF.txt[11/10/23, 10:57:41 AM]
  Drinkin' old cheap bottles of wine
  Shit talkin' up all night
  Sayin' things we haven't for a while
  We're smilin' but we're close to tears
  Even after all these years
  We just now got the feelin' that we're meetin'
  For the first time


  Ooh (yeah, for the first time)
  Ooh (oh, for the first time)
  Ooh (yeah, for the first time)
  We just now got the feelin' that we're meetin'
  For the first time


  Oh, these times are hard
  Yeah, they're makin' us crazy
  Don't give up on me, baby
  Oh, these times are hard
  Yeah, they're makin' us crazy
  Don't give up on me, baby


  Oh, these times are hard
  Yeah, they're makin' us crazy
  Don't give up on me, baby
  Oh, these times are hard
  Yeah, they're makin' us crazy
  Don't give up on me, baby

  WRITERS

  Daniel John O'Donoghue, Mark Anthony Sheehan

  PUBLISHERS

  Lyrics © Universal Music Publishing Group




             Case 3:23-cv-01092              Document 49-6      79 11/16/23
                                                             Filed            Page 80 of 434 PageID #: 1106
BCG_ID_10186_LF.txt[11/10/23, 10:57:41 AM]
  Lyrics
  Wouldn't it be nice if we were older?
  Then we wouldn't have to wait so long
  And wouldn't it be nice to live together
  In the kind of world where we belong?


  You know it's gonna make it that much better
  When we can say goodnight and stay together


  Wouldn't it be nice if we could wake up
  In the morning when the day is new?
  And after having spent the day together
  Hold each other close the whole night through


  Happy times together we've been spending
  I wish that every kiss was never ending
  Oh, wouldn't it be nice?


  Maybe if we think and wish and hope and pray
  It might come true
  Baby, then there wouldn't be a single thing we couldn't do
  Oh, we could be married (oh, we could be married)
  And then we'd be happy (and then we'd be happy)
  Oh, wouldn't it be nice?


  You know it seems the more we talk about it
  It only makes it worse to live without it
  But let's talk about it
  Oh, wouldn't it be nice?


  Goodnight, my baby
  Sleep tight, my baby
  Goodnight, my baby
  Sleep tight, my baby

  WRITERS

  Brian Douglas Wilson, Michael E. Love, Tony Asher

  PUBLISHERS

  Lyrics © Universal Music Publishing Group




             Case 3:23-cv-01092              Document 49-6      80 11/16/23
                                                             Filed            Page 81 of 434 PageID #: 1107
BCG_ID_10187_LF.txt[11/10/23, 10:57:41 AM]
  Lyrics
  Listen, children, to a story
  That was written long ago
  'Bout a kingdom on a mountain
  And the valley-folk below


  On the mountain was a treasure
  Buried deep beneath the stone
  And the valley-people swore
  They'd have it for their very own


  Go ahead and hate your neighbor
  Go ahead and cheat a friend
  Do it in the name of heaven
  You can justify it in the end
  There won't be any trumpets blowing
  Come the judgment day
  On the bloody morning after
  One tin soldier rides away


  So the people of the valley
  Sent a message up the hill
  Asking for the buried treasure
  Tons of gold for which they'd kill


  It came an answer from the mountain
  With our brothers we will share
  All the secrets of our mountain
  All the riches buried there


  Go ahead and hate your neighbor
  Go ahead and cheat a friend
  Do it in the name of heaven
  You can justify it in the end
  There won't be any trumpets blowing
  Come the judgment day
  On the bloody morning after
  One tin soldier rides away


  Now the valley cried with anger
  "Mount your horses! Draw your sword!"
  And they killed the mountain-people
  So they won their just reward


  Now they stood beside the treasure
  On the mountain, dark and red
             Case 3:23-cv-01092              Document 49-6      81 11/16/23
                                                             Filed            Page 82 of 434 PageID #: 1108
BCG_ID_10188_LF.txt[11/10/23, 10:57:41 AM]
  Turned the stone and looked beneath it
  "Peace on Earth" was all it said


  Go ahead and hate your neighbor
  Go ahead and cheat a friend
  Do it in the name of heaven
  You can justify it in the end
  There won't be any trumpets blowing
  Come the judgment day
  On the bloody morning after
  One tin soldier rides away


  Go ahead and hate your neighbor
  Go ahead and cheat a friend
  Do it in the name of heaven
  You can justify it in the end
  There won't be any trumpets blowing
  Come the judgment day
  On the bloody morning after
  One tin soldier rides away

  WRITERS

  Dennis Earle Lambert, Brian Potter

  PUBLISHERS

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             Case 3:23-cv-01092              Document 49-6      82 11/16/23
                                                             Filed            Page 83 of 434 PageID #: 1109
BCG_ID_10188_LF.txt[11/10/23, 10:57:41 AM]
  Lyrics
  Talkin' to myself and feelin' old
  Sometimes I'd like to quit
  Nothin' ever seems to fit
  Hangin' around
  Nothin' to do but frown
  Rainy days and Mondays always get me down


  What I've got they used to call the blues
  Nothin' is really wrong
  Feelin' like I don't belong
  Walkin' around
  Some kind of lonely clown
  Rainy days and Mondays always get me down


  Funny, but it seems I always wind up here with you
  Nice to know somebody loves me
  Funny, but it seems that it's the only thing to do
  Run and find the one who loves me (the one who loves me)


  What I feel has come and gone before
  No need to talk it out (talk it out)
  We know what it's all about
  Hangin' around (hangin' around)
  Nothin' to do but frown
  Rainy days and Mondays always get me down


  Funny, but it seems that it's the only thing to do (only thing to do)
  Run and find the one who loves me (ooh)


  What I feel has come and gone before
  No need to talk it out (to talk it out)
  We know what it's all about
  Hangin' around (hangin' around)
  Nothin' to do but frown
  Rainy days and Mondays always get me down
  Hangin' around (hangin' around)
  Nothin' to do but frown
  Rainy days and Mondays always get
  Me down

  WRITERS

  Paul H. Williams, Roger S. Nichols

  PUBLISHERS

  Lyrics © Universal Music Publishing Group
             Case 3:23-cv-01092              Document 49-6      83 11/16/23
                                                             Filed            Page 84 of 434 PageID #: 1110
BCG_ID_10190_LF.txt[11/10/23, 10:57:42 AM]
             Case 3:23-cv-01092              Document 49-6      84 11/16/23
                                                             Filed            Page 85 of 434 PageID #: 1111
BCG_ID_10190_LF.txt[11/10/23, 10:57:42 AM]
  Lyrics
  So this ain't the end, I saw you again, today
  I had to turn my heart away
  Smiled like the sun, kisses for everyone
  And tales, it never fails


  You lying so low in the weeds
  I bet you gonna ambush me
  You'd have me down, down, down, down on my knees
  Now wouldn't you, barracuda? Oh


  Back over time we were all trying for free
  You met the porpoise and me, uh-huh
  No right, no wrong you're selling a song, a name
  Whisper game


  And if the real thing don't do the trick
  You better make up something quick
  You gonna burn, burn, burn, burn, burn to the wick
  Ooh, barracuda, oh yeah


  "Sell me, sell you" the porpoise said
  Dive down deep now to save my head, you
  I think that you got the blues too


  All that night and all the next
  Swam without looking back
  Made for the western pools, silly, silly fools


  The real thing don't do the trick, no
  You better make up something quick
  You gonna burn, burn, burn, burn, burn it to the wick
  Ohh, barra-barracuda, yeah

  WRITERS

  Roger Douglas Fisher, Michael Joseph Derosier, Nancy Lamoureaux Wilson, Ann Wilson Dustin

  PUBLISHERS

  Lyrics © Universal Music Publishing Group




             Case 3:23-cv-01092              Document 49-6      85 11/16/23
                                                             Filed            Page 86 of 434 PageID #: 1112
BCG_ID_10194_LF.txt[11/10/23, 10:57:42 AM]
  Lyrics
  There may be trouble ahead
  But while there's moonlight and music
  And love and romance
  Let's face the music and dance

  Before the fiddlers have fled
  Before they ask us to pay the bill
  And while we still have that chance
  Let's face the music and dance

  Soon, we'll be without the moon
  Humming a different tune, and then
  There may be teardrops to shed
  So while there's moonlight and music
  And love and romance
  Let's face the music and dance, dance
  Let's face the music and dance
  WRITERS
  Irving Berlin
  PUBLISHERS
  Lyrics © Sony/ATV Music Publishing LLC




             Case 3:23-cv-01092              Document 49-6      86 11/16/23
                                                             Filed            Page 87 of 434 PageID #: 1113
BCG_ID_10197_LF.txt[11/10/23, 10:57:42 AM]
  Lyrics
  We're not gonna take it
  No, we ain't gonna take it
  We're not gonna take it anymore


  We've got the right to choose it
  There ain't no way we'll lose it
  This is our life, this is our song


  We'll fight the powers that be, just
  Don't pick our destiny 'cause
  You don't know us, you don't belong


  We're not gonna take it
  No, we ain't gonna take it
  We're not gonna take it anymore


  Oh, you're so condescending
  Your gall is never ending
  We don't want nothin', not a thing from you


  Your life is trite and jaded
  Boring and confiscated
  If that's your best, your best won't do


  Whoa
  Whoa


  We're right (yeah)
  We're free (yeah)
  We'll fight (yeah)
  You'll see (yeah)


  Whoa, whoa, we're not gonna take it
  No, we ain't gonna take it
  We're not gonna take it anymore


  We're not gonna take it
  No, we ain't gonna take it
  We're not gonna take it anymore


  No way

             Case 3:23-cv-01092              Document 49-6      87 11/16/23
                                                             Filed            Page 88 of 434 PageID #: 1114
BCG_ID_10201_LF.txt[11/10/23, 10:57:42 AM]
  Whoa
  Whoa


  We're right (yeah)
  We're free (yeah)
  We'll fight (yeah)
  You'll see (yeah)


  We're not gonna take it
  No, we ain't gonna take it
  We're not gonna take it anymore


  We're not gonna take it (no)
  No, we ain't gonna take it
  We're not gonna take it anymore


  Just you try and make us


  We're not gonna take it (come on)
  No, we ain't gonna take it
  (You're all worthless and weak)
  We're not gonna take it anymore
  (Now drop and give me twenty)


  We're not gonna take it
  (A pledge pin)
  No, we ain't gonna take it
  (On your uniform)
  We're not gonna take it anymore

  WRITERS

  Daniel Dee Snider

  PUBLISHERS

  Lyrics © Universal Music Publishing Group




             Case 3:23-cv-01092              Document 49-6      88 11/16/23
                                                             Filed            Page 89 of 434 PageID #: 1115
BCG_ID_10201_LF.txt[11/10/23, 10:57:42 AM]
  Lyrics
  Beauty queen of only eighteen
  She had some trouble with herself
  He was always there to help her
  She always belonged to someone else
  I drove for miles and miles
  And wound up at your door
  I've had you so many times
  But somehow I want more


  I don't mind spendin' everyday
  Out on your corner in the pourin' rain
  Look for the girl with the broken smile
  Ask her if she wants to stay a while


  And she will be loved
  And she will be loved


  Tap on my window, knock on my door
  I want to make you feel beautiful
  I know I tend to get so insecure
  Doesn't matter anymore
  It's not always rainbows and butterflies
  It's compromise that moves us along, yeah
  My heart is full, and my door's always open
  You come anytime you want, yeah


  I don't mind spendin' everyday
  Out on your corner in the pourin' rain
  Look for the girl with the broken smile
  Ask her if she wants to stay awhile


  And she will be loved
  And she will be loved
  And she will be loved
  And she will be loved


  I know where you hide alone in your car
  Know all of the things that make you who you are
  I know that goodbye means nothing at all
  Comes back and makes me catch her every time she falls
  Yeah


  Tap on my window, knock on my door
  I want to make you feel beautiful

             Case 3:23-cv-01092              Document 49-6      89 11/16/23
                                                             Filed            Page 90 of 434 PageID #: 1116
BCG_ID_10208_LF.txt[11/10/23, 10:57:42 AM]
  I don't mind spendin' everyday
  Out on your corner in the pourin' rain, oh
  Look for the girl with the broken smile
  Ask her if she wants to stay awhile


  And she will be loved
  And she will be loved
  And she will be loved
  And she will be loved


  Please don't try so hard to say goodbye
  I don't mind spendin' everyday
  Out on your corner in the pourin' rain
  Please don't try so hard to say goodbye

  WRITERS

  Adam Noah Levine, Jesse Royal Carmichael, Ryan Michael Dusick, James Burgon Valentine, Michael Allen Madden

  PUBLISHERS

  Lyrics © Universal Music Publishing Group




             Case 3:23-cv-01092              Document 49-6      90 11/16/23
                                                             Filed            Page 91 of 434 PageID #: 1117
BCG_ID_10208_LF.txt[11/10/23, 10:57:42 AM]
  Lyrics
  It's easier to run
  Replacing this pain with something numb
  It's so much easier to go
  Than face all this pain here all alone


  Something has been taken from deep inside of me
  A secret I've kept locked away
  No one can ever see
  Wounds so deep they never show
  They never go away
  Like moving pictures in my head
  For years and years they've played


  If I could change I would take back the pain I would
  Retrace every wrong move that I made I would
  If I could stand up and take the blame I would
  If I could take all the shame to the grave I would
  If I could change I would take back the pain I would
  Retrace every wrong move that I made I would
  If I could stand up and take the blame I would
  I would take all the shame to the grave


  It's easier to run
  Replacing this pain with something numb
  It's so much easier to go
  Than face all this pain here all alone


  Sometimes I remember the darkness of my past
  Bringing back these memories I wish I didn't have
  Sometimes I think of letting go and never looking back
  And never moving forward so there'd never be a past


  If I could change I would take back the pain I would
  Retrace every wrong move that I made I would
  If I could stand up and take the blame I would
  If I could take all the shame to the grave I would
  If I could change I would take back the pain I would
  Retrace every wrong move that I made I would
  If I could stand up and take the blame I would
  I would take all the shame to the grave


  Just washing it aside
  All of the helplessness inside
  Pretending I don't feel misplaced
  Is so much simpler than change

             Case 3:23-cv-01092              Document 49-6      91 11/16/23
                                                             Filed            Page 92 of 434 PageID #: 1118
BCG_ID_10209_LF.txt[11/10/23, 10:57:42 AM]
  It's easier to run
  Replacing this pain with something numb
  It's so much easier to go
  Than face all this pain here all alone


  It's easier to run
  If I could change I would take back the pain I would
  Retrace every wrong move that I made
  It's easier to go
  If I could change I would take back the pain I would
  Retrace every wrong move that I made I would
  If I could stand up and take the blame I would
  I would take all the shame to the grave

  WRITERS

  Brad Delson, Chester Charles Bennington, Dave Farrell, Joseph Hahn, Mike Shinoda, Robert G. Bourdon

  PUBLISHERS

  Lyrics © Universal Music Publishing Group




             Case 3:23-cv-01092              Document 49-6      92 11/16/23
                                                             Filed            Page 93 of 434 PageID #: 1119
BCG_ID_10209_LF.txt[11/10/23, 10:57:42 AM]
  Lyrics
  There's a place off Ocean Avenue
  Where I used to sit and talk with you
  We were both sixteen and it felt so right
  Sleeping all day, staying up all night
  Staying up all night


  There's a place on the corner of Cherry Street
  We would walk on the beach in our barefeet
  We were both eighteen and it felt so right
  Sleeping all day, staying up all night
  Staying up all night


  If I could find you now things would get better
  We could leave this town and run forever
  Let your waves crash down on me
  And take me away, yeah yeah


  There's a piece of you that's here with me
  It's everywhere I go, it's everything I see
  When I sleep I dream and it gets me by
  I can make believe that you're here tonight
  That you're here tonight


  If I could find you now things would get better
  We could leave this town and run forever
  I know somewhere, somehow we'll be together
  Let your waves crash down on me
  And take me away, yeah


  I remember the look in your eyes
  When I told you that this was goodbye
  You were begging me not tonight
  Not here, not now
  We're looking up at the same night sky
  We keep pretending the sun will not rise
  We'll be together for one more night
  Somewhere, somehow


  If I could find you now things would get better
  We could leave this town and run forever
  I know somewhere, somehow we'll be together
  Let your waves crash down on me
  And take me away, yeah yeah

  WRITERS

             Case 3:23-cv-01092              Document 49-6      93 11/16/23
                                                             Filed            Page 94 of 434 PageID #: 1120
BCG_ID_10210_LF.txt[11/10/23, 10:57:42 AM]
  Benjamin Eric Harper, William Ryan Key, Peter Michael Mosely, Longineu Warren Parsons III, Sean Michael
  Wellman-Mackin

  PUBLISHERS

  Lyrics © Universal Music Publishing Group




             Case 3:23-cv-01092              Document 49-6      94 11/16/23
                                                             Filed            Page 95 of 434 PageID #: 1121
BCG_ID_10210_LF.txt[11/10/23, 10:57:42 AM]
  Lyrics
  I am a little bit of loneliness, a little bit of disregard
  Handful of complaints but I can't help the fact
  That everyone can see these scars
  I am what I want you to want, what I want you to feel
  But it's like no matter what I do, I can't convince you
  To just believe this is real
  So I, let go watching you turn your back like you always do
  Face away and pretend that I'm not
  But I'll be here 'cause you're all that I've got


  I can't feel the way I did before
  Don't turn your back on me
  I won't be ignored
  Time won't heal this damage anymore
  Don't turn your back on me I won't be ignored


  I am, a little bit insecure, a little unconfident
  'Cause you don't understand I do what I can
  But sometimes I don't make sense
  I am, what you never want to say, but I've never had a doubt
  It's like no matter what I do I can't convince you for once just to hear me out
  So I, let go watching you turn your back like you always do
  You face away and pretend that I'm not
  But I'll be here 'cause you're all that I've got


  I can't feel the way I did before
  Don't turn your back on me
  I won't be ignored
  Time won't heal this damage anymore
  Don't turn your back on me I won't be ignored


  You hear me out now
  You're gonna listen to me like it or not
  Right now, hear me out now
  You're gonna listen to me like it or not
  Right now


  I can't feel the way I did before
  Don't turn your back on me
  I won't be ignored


  I can't feel the way I did before
  Don't turn your back on me
  I won't be ignored
  Time won't heal this damage anymore
  Don't turn your back on me I won't be ignored
             Case 3:23-cv-01092              Document 49-6      95 11/16/23
                                                             Filed              Page 96 of 434 PageID #: 1122
BCG_ID_10212_LF.txt[11/10/23, 10:57:42 AM]
  I can't feel
  Don't turn your back on me
  I won't be ignored
  Time won't heal
  Don't turn your back on me I won't be ignored

  WRITERS

  Brad Delson, Chester Charles Bennington, Dave Farrell, Joseph Hahn, Mike Shinoda, Robert G. Bourdon

  PUBLISHERS

  Lyrics © Universal Music Publishing Group, Warner Chappell Music, Inc.




             Case 3:23-cv-01092              Document 49-6      96 11/16/23
                                                             Filed            Page 97 of 434 PageID #: 1123
BCG_ID_10212_LF.txt[11/10/23, 10:57:42 AM]
  Lyrics
  No matter how many times that you told me you wanted to leave
  No matter how many breaths that you took you still couldn't breathe
  No matter how many nights that you'd lie wide awake to the sound of the poison rain
  Where did you go? Where did you go?
  Where did you go?


  As days go by, the night's on fire


  Tell me, would you kill to save a life?
  Tell me, would you kill to prove you're right?
  Crash, crash
  Burn, let it all burn
  This hurricane's chasing us all underground


  No matter how many deaths that I die I will never forget
  No matter how many lives I live I will never regret
  There is a fire inside of this heart and a riot about to explode into flames
  Where is your God? Where is your God?
  Where is your God?


  Do you really want? Do you really want me?
  Do you really want me dead or alive to torture for my sins?
  Do you really want?
  Do you really want me?
  Do you really want me dead or alive to live a lie?


  Tell me, would you kill to save a life?
  Tell me, would you kill to prove you're right?
  Crash, crash
  Burn, let it all burn
  This hurricane's chasing us all underground


  The promises we made were not enough (never playing the game again)
  The prayers that we had prayed were like a drug (never gonna end me, yeah)
  The secrets that we sold were never known (never sing a song)
  The love we had, the love we had
  We had to let it go


  (Never giving in, again)
  (Never giving in, again)


  Tell me, would you kill to save a life?
  Tell me, would you kill to prove you're right?
  Crash, crash
             Case 3:23-cv-01092              Document 49-6      97 11/16/23
                                                             Filed               Page 98 of 434 PageID #: 1124
BCG_ID_10219_LF.txt[11/10/23, 10:57:42 AM]
  Burn, let it all burn
  This hurricane's chasing us all underground


  This hurricane
  Oh, oh, oh-oh
  This hurricane
  Oh, oh, oh-oh
  This hurricane
  Oh, oh, oh-oh


  Do you really want? Do you really want me?
  Do you really want me dead or alive to torture for my sins?
  Do you really want?
  Do you really want me?
  Do you really want me dead or alive to live a lie?

  WRITERS

  Jared Leto

  PUBLISHERS

  Lyrics © Universal Music Publishing Group




             Case 3:23-cv-01092              Document 49-6      98 11/16/23
                                                             Filed            Page 99 of 434 PageID #: 1125
BCG_ID_10219_LF.txt[11/10/23, 10:57:42 AM]
  Lyrics
  When I was young I'd listen to the radio
  Waitin' for my favorite songs
  When they played I'd sing along, it made me smile


  Those were such happy times and not so long ago
  How I wondered where they'd gone
  But they're back again just like a long lost friend
  All the songs I loved so well


  Every sha-la-la-la
  Every wo-o-wo-o, still shines
  Every shing-a-ling-a-ling, that they're startin' to sing's, so fine


  When they get to the part
  Where he's breakin' her heart
  It can really make me cry, just like before
  It's yesterday once more


  Lookin' back on how it was in years gone by
  And the good times that I had
  Makes today seem rather sad, so much has changed.


  It was songs of love that I would sing to then
  And I'd memorize each word
  Those old melodies still sound so good to me
  As they melt the years away


  Every sha-la-la-la
  Every wo-o-wo-o, still shines
  Every shing-a-ling-a-ling, that they're startin' to sing's so fine


  All my best memories come back clearly to me
  Some can even make me cry, just like before
  It's yesterday once more


  Every sha-la-la-la
  Every wo-o-wo-o, still shines
  Every shing-a-ling-a-ling, that they're startin' to sing's so fine


  Every sha-la-la-la
  Every wo-o-wo-o, still shines
  Every shing-a-ling-a-ling, that they're startin' to sing's so fine

             Case 3:23-cv-01092              Document 49-6        99 11/16/23
                                                              Filed             Page 100 of 434 PageID #: 1126
BCG_ID_10222_LF.txt[11/10/23, 10:57:42 AM]
  WRITERS

  John Bettis, Richard Lynn Carpenter

  PUBLISHERS

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  Warner Chappell Music, Inc.




             Case 3:23-cv-01092              Document 49-6      10011/16/23
                                                             Filed            Page 101 of 434 PageID #: 1127
BCG_ID_10222_LF.txt[11/10/23, 10:57:42 AM]
  Lyrics
  Go ahead as you waste your days with thinking
  When you fall, everyone stands
  Another day, and you've had your fill of sinking
  With the life held in your
  Hands are shaking cold
  These hands are meant to hold


  Speak to me
  When all you got to keep is strong
  Move along, move along like I know you do
  And even when your hope is gone
  Move along, move along just to make it through
  Move along
  Move along


  So a day when you've lost yourself completely
  Could be a night when your life ends
  Such a heart that will lead you to deceiving
  All the pain held in your
  Hands are shaking cold
  Your hands are mine to hold


  Speak to me
  When all you got to keep is strong
  Move along, move along like I know you do
  And even when your hope is gone
  Move along, move along just to make it through
  Move along
  (Go on, go on, go on, go on)


  When everything is wrong, we move along
  (Go on, go on, go on, go on)
  When everything is wrong, we move along
  Along, along, along


  When all you got to keep is strong
  Move along, move along like I know you do
  And even when your hope is gone
  Move along, move along just to make it through
  When all you got to keep is strong
  Move along, move along like I know you do
  And even when your hope is gone
  Move along, move along just to make it through
  When all you got to keep is strong
  Move along, move along like I know you do (Know you do)
  And even when your hope is gone
  Move along, move along just to make it through
             Case 3:23-cv-01092              Document 49-6      10111/16/23
                                                             Filed            Page 102 of 434 PageID #: 1128
BCG_ID_10234_LF.txt[11/10/23, 10:57:42 AM]
  (Move along)
  (Go on, go on, go on, go on)
  Right back what is wrong
  We move along
  (Go on, go on, go on, go on)
  Right back what is wrong
  We move along
  (Go on, go on, go on, go on)
  Right back what is wrong
  We move along
  (Go on, go on, go on, go on)
  Right back what is wrong
  We move along

  WRITERS

  Nick Don Wheeler, Tyson V. Ritter

  PUBLISHERS

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             Case 3:23-cv-01092              Document 49-6      10211/16/23
                                                             Filed            Page 103 of 434 PageID #: 1129
BCG_ID_10234_LF.txt[11/10/23, 10:57:42 AM]
  Lyrics
  I feel it in my fingers, I feel it in my toes
  Well, love is all around me and so the feeling grows
  It's written on the wind, it's everywhere I go
  So if you really love me, come on and let it show


  You know I love you, I always will
  My mind's made up by the way that I feel
  There's no beginning, there'll be no end
  'Cause on my love, you can depend


  I see your face before me, as I lay on my bed
  I kinda get to thinking of all the things you said
  You gave your promise to me, and I gave mine to you
  I need someone beside me in everything I do


  You know I love you, I always will
  My mind's made up by the way that I feel
  There's no beginning, there'll be no end
  'Cause on my love, you can depend


  It's written on the wind, it's everywhere I go
  So if you really love me, come on and let it show
  Come on and let it show
  Come on and let it show
  Come on and let it show
  Come on and let it show
  Come on and let it show

  WRITERS

  Reg Presley

  PUBLISHERS

  Lyrics © Universal Music Publishing Group




             Case 3:23-cv-01092              Document 49-6      10311/16/23
                                                             Filed            Page 104 of 434 PageID #: 1130
BCG_ID_10240_LF.txt[11/10/23, 10:57:43 AM]
  Lyrics
  Just a castaway, an island lost at sea, oh
  Another lonely day, no one here but me, oh
  More loneliness any man could bear
  Rescue me before I fall into despair, oh


  I'll send an SOS to the world
  I'll send an SOS to the world
  I hope that someone gets my
  I hope that someone gets my
  I hope that someone gets my


  Message in a bottle, yeah
  Message in a bottle, yeah


  A year has passed since I wrote my note
  I should have known this right from the start
  Only hope can keep me together
  Love can mend your life but love can break your heart


  I'll send an SOS to the world
  I'll send an SOS to the world
  I hope that someone gets my
  I hope that someone gets my
  I hope that someone gets my


  Message in a bottle, yeah
  Message in a bottle, yeah
  Oh, message in a bottle, yeah
  Message in a bottle, yeah


  Walked out this morning, don't believe what I saw
  Hundred billion bottles washed up on the shore
  Seems I'm not alone in being alone
  Hundred billion castaways looking for a home


  I'll send an SOS to the world
  I'll send an SOS to the world
  I hope that someone gets my
  I hope that someone gets my
  I hope that someone gets my


  Message in a bottle, yeah
  Message in a bottle, yeah
  Message in a bottle, whoa
             Case 3:23-cv-01092              Document 49-6      10411/16/23
                                                             Filed            Page 105 of 434 PageID #: 1131
BCG_ID_10241_LF.txt[11/10/23, 10:57:43 AM]
  Message in a bottle, yeah


  Sendin' out an SOS
  Sendin' out an SOS
  I'm sendin' out an SOS
  I'm sendin' out an SOS
  Sendin' out an SOS
  Sendin' out an SOS
  Sendin' out an SOS
  Sendin' out an SOS
  Sendin' out an SOS
  Sendin' out an SOS
  Sendin' out an SOS
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  Sendin' out an SOS
  Sendin' out an SOS

  WRITERS

  Gordon Sumner

  PUBLISHERS

  Lyrics © Universal Music Publishing Group




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                                                             Filed            Page 106 of 434 PageID #: 1132
BCG_ID_10241_LF.txt[11/10/23, 10:57:43 AM]
  Lyrics
  Your little brother never tells you but he loves you so
  You said your mother only smiled on her tv show
  You're only happy when your sorry head is filled with dope
  I hope you make it to the day you're twenty-eight years old


  You're dripping like a saturated sunrise
  You're spilling like an overflowing sink
  You're ripped at every edge but you're a masterpiece
  And now you're tearing through the pages and the ink


  Everything is blue
  His pills, his hands, his jeans
  And now I'm covered in the colors pulled apart at the seams
  And it's blue
  And it's blue


  Everything is grey
  His hair, his smoke, his dreams
  And now he's so devoid of color
  He don't know what it means
  And he's blue
  And he's blue


  You were a vision in the morning when the light came through
  I know I've only felt religion when I've lied with you
  You said you'll never be forgiven till your boys are too
  And I'm still waking every morning but it's not with you


  You're dripping like a saturated sunrise
  You're spilling like an overflowing sink
  You're ripped at every edge but you're a masterpiece
  And now you're tearing through the pages and the ink


  Everything is blue
  His pills, his hands, his jeans
  And now I'm covered in the colors pulled apart at the seams
  And it's blue
  And it's blue


  Everything is grey
  His hair, his smoke, his dreams
  And now he's so devoid of color
  He don't know what it means
  And he's blue
  And he's blue
             Case 3:23-cv-01092              Document 49-6      10611/16/23
                                                             Filed            Page 107 of 434 PageID #: 1133
BCG_ID_10245_LF.txt[11/10/23, 10:57:43 AM]
  You were red, and you liked me because I was blue
  But you touched me, and suddenly I was a lilac sky
  Then you decided purple just wasn't for you


  Everything is blue
  His pills, his hands, his jeans
  And now I'm covered in the colors pulled apart at the seams
  And it's blue
  And it's blue


  Everything is grey
  His hair, his smoke, his dreams
  And now he's so devoid of color
  He don't know what it means
  And he's blue
  And he's blue


  Everything is blue, everything is blue
  Everything is blue, everything is blue

  WRITERS

  Ashley Frangipane, Dylan Bauld

  PUBLISHERS

  Lyrics © Universal Music Publishing Group




             Case 3:23-cv-01092              Document 49-6      10711/16/23
                                                             Filed            Page 108 of 434 PageID #: 1134
BCG_ID_10245_LF.txt[11/10/23, 10:57:43 AM]
  Lyrics
  You are the hole in my head
  You are the space in my bed
  You are the silence in between
  What I thought and what I said


  You are the night-time fear
  You are the morning when it's clear
  When it's over you're the start
  You're my head, you're my heart


  No light, no light in your bright blue eyes
  I never knew daylight could be so violent
  A revelation in the light of day
  You can't choose what stays and what fades away
  And I'd do anything to make you stay
  No light, no light (no light)
  Tell me what you want me to say


  And through the crowd I was crying out and
  In your place there were a thousand other faces
  I was disappearing in plain sight
  Heaven help me I need to make it right


  You want a revelation
  You want to get right
  But it's a conversation
  I just can't have tonight
  You want a revelation
  Some kind of resolution
  You want a revelation


  No light, no light in your bright blue eyes
  I never knew daylight could be so violent
  A revelation in the light of day
  You can't choose what stays and what fades away
  And I'd do anything to, to make you stay
  No light, no light (no light)
  Tell me what you want me to say


  Would you leave me
  If I told you what I've done?
  And would you leave me
  If I told you what I've become?


  'Cause it's so easy
             Case 3:23-cv-01092              Document 49-6      10811/16/23
                                                             Filed            Page 109 of 434 PageID #: 1135
BCG_ID_10251_LF.txt[11/10/23, 10:57:43 AM]
  To sing it to a crowd
  But it's so hard, my love
  To say it to you out loud


  No light, no light in your bright blue eyes
  I never knew daylight could be so violent
  A revelation in the light of day
  You can't choose what stays and what fades away
  And I'd do anything to make you stay
  No light, no light (no light)
  Tell me what you want me to say


  You want a revelation
  You want to get right
  But it's a conversation
  I just can't have tonight
  You want a revelation
  Some kind of resolution
  You want a revelation


  You want a revelation
  You want to get right
  But, it's a conversation
  I just can't have tonight
  You want a revelation
  Some kind of resolution
  Tell me what you want me to say

  WRITERS

  Florence Leontine Mary Welch, Isabella Janet Florentina Summers

  PUBLISHERS

  Lyrics © Universal Music Publishing Group




             Case 3:23-cv-01092              Document 49-6      10911/16/23
                                                             Filed            Page 110 of 434 PageID #: 1136
BCG_ID_10251_LF.txt[11/10/23, 10:57:43 AM]
  Lyrics
  Forfeit the game before somebody else
  Takes you out of the frame and puts your name to shame
  Cover up your face, you can't run the race
  The pace is too fast, you just won't last


  You love the way I look at you
  While taking pleasure in the awful things you put me through
  You take away if I give in
  My life, my pride is broken


  You like to think you're never wrong
  (You live what you've learned)
  You have to act like you're someone
  (You live what you've learned)
  You want someone to hurt like you
  (You live what you've learned)
  You want to share what you've been through
  (You live what you've learned)


  You love the things I say I'll do
  The way I'll hurt myself again just to get back at you
  You take away when I give in
  My life, my pride is broken


  You like to think you're never wrong
  (You live what you've learned)
  You have to act like you're someone
  (You live what you've learned)
  You want someone to hurt like you
  (You live what you've learned)
  You want to share what you've been through
  (You live what you've learned)


  Forfeit the game before somebody else
  Takes you out of the frame and puts your name to shame
  Cover up your face, you can't run the race
  The pace is too fast, you just won't last


  Forfeit the game before somebody else
  Takes you out of the frame and puts your name to shame
  Cover up your face, you can't run the race
  The pace is too fast, you just won't last


  You like to think you're never wrong
  (You live what you've learned)
             Case 3:23-cv-01092              Document 49-6      11011/16/23
                                                             Filed            Page 111 of 434 PageID #: 1137
BCG_ID_10259_LF.txt[11/10/23, 10:57:43 AM]
  You have to act like you're someone
  (You live what you've learned)
  You want someone to hurt like you
  (You live what you've learned)
  You want to share what you've been through
  (You live what you've learned)


  You like to think you're never wrong
  (Forfeit the game) (you live what you've learned)
  You have to act like you're someone
  (Forfeit the game) (you live what you've learned)
  You want someone to hurt like you
  (Forfeit the game) (you live what you've learned)
  You want to share what you've been through
  (You live what you've learned)

  WRITERS

  Brad Delson, Chester Charles Charles Bennington, Joseph Hahn, Mike Shinoda, Robert G. G. Bourdon

  PUBLISHERS

  Lyrics © Universal Music Publishing Group




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                                                             Filed            Page 112 of 434 PageID #: 1138
BCG_ID_10259_LF.txt[11/10/23, 10:57:43 AM]
  Lyrics
  For you, there'll be no more crying
  For you, the sun will be shining
  And I feel that when I'm with you
  It's alright, I know it's right


  To you, I'll give the world
  To you, I'll never be cold
  'Cause I feel that when I'm with you
  It's alright, I know it's right


  And the songbirds are singing, like they know the score
  And I love you, I love you, I love you, like never before


  And I wish you all the love in the world
  But most of all, I wish it from myself


  And the songbirds keep singing, like they know the score
  And I love you, I love you, I love you
  Like never before, like never before, like never before

  WRITERS

  Christine McVie

  PUBLISHERS

  Lyrics © Universal Music Publishing Group




             Case 3:23-cv-01092              Document 49-6      11211/16/23
                                                             Filed            Page 113 of 434 PageID #: 1139
BCG_ID_10261_LF.txt[11/10/23, 10:57:43 AM]
  Lyrics
  Every breath you take and every move you make
  Every bond you break, every step you take, I'll be watching you
  Every single day and every word you say
  Every game you play, every night you stay, I'll be watching you


  Oh, can't you see you belong to me?
  How my poor heart aches with every step you take


  Every move you make, and every vow you break
  Every smile you fake, every claim you stake, I'll be watching you


  Since you've gone I've been lost without a trace
  I dream at night, I can only see your face
  I look around but it's you I can't replace
  I feel so cold and I long for your embrace
  I keep crying, "Baby, baby, please"


  Oh, can't you see you belong to me?
  How my poor heart aches with every step you take


  Every move you make and every vow you break
  Every smile you fake, every claim you stake, I'll be watching you
  Every move you make, every step you take, I'll be watching you


  I'll be watching you
  Every breath you take, every move you make
  Every bond you break, every step you take (I'll be watching you)
  Every single day, every word you say
  Every game you play, every night you stay (I'll be watching you)
  Every move you make, every vow you break
  Every smile you fake, every claim you stake (I'll be watching you)
  Every single day, every word you say
  Every game you play, every night you stay (I'll be watching you)


  Every breath you take, every move you make
  Every bond you break, every step you take (I'll be watching you)
  Every single day, every word you say
  Every game you play, every night you stay (I'll be watching you)
  Every move you make, every vow you break
  Every smile you fake, every claim you stake (I'll be watching you)
  Every single day, every word you say
  Every game you play, every night you stay (I'll be watching you)

  WRITERS

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BCG_ID_10283_LF.txt[11/10/23, 10:57:43 AM]
  Gordon Sumner

  PUBLISHERS

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BCG_ID_10283_LF.txt[11/10/23, 10:57:43 AM]
  Lyrics
  You ready?! Let's go!
  Yeah, for those of you that wanna know what we're all about
  It's like this y'all (c'mon)


  This is ten percent luck
  Twenty percent skill
  Fifteen percent concentrated power of will
  Five percent pleasure
  Fifty percent pain
  And a hundred percent reason to remember the name


  He doesn't need his name up in lights
  He just wants to be heard whether it's the beat or the mic
  He feels so unlike everybody else, alone
  In spite of the fact that some people still think that they know him
  But fuck 'em, he knows the code, it's not about the salary
  It's about reality and making some noise
  Making a story, making sure his clique stays up
  That means when he puts it down, Tak's pickin' it up


  Who the hell is he anyway, he never really talks much
  Never concerned with status but still leavin' them star struck
  Humbled through opportunities given despite the fact
  That many misjudge him because he makes a livin' from writing raps
  Put it together himself, now the picture connects
  Never asking for someone's help, or to get some respect
  He's only focused on what he wrote; his will is beyond reach
  And now it all unfolds, the skill of an artist


  This is twenty percent skill, eighty percent beer
  Be a hundred percent clear 'cause Ryu is ill
  Who would've thought that he'd be the one to set the west in flames
  Then heard him wreckin' with The Crystal Method, Name Of The Game
  Came back, dropped Megadef, took 'em to church
  I like bleach, man, Ryu had the stupidest verse
  This dude is the truth, now everybody be givin' him guest spots
  His stock's through the roof; I heard he fuckin' with S-Dot


  This is ten percent luck
  Twenty percent skill
  Fifteen percent concentrated power of will
  Five percent pleasure
  Fifty percent pain
  And a hundred percent reason to remember the name


  They call him Ryu he's sick, and he's spittin' fire and Mike
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                                                             Filed            Page 116 of 434 PageID #: 1142
BCG_ID_10288_LF.txt[11/10/23, 10:57:43 AM]
  Got him out the dryer he's hot, found him in Fort Minor with Tak
  What a fuckin' nihilist porcupine; he's a prick; he's a cock
  The type women want to be with and rappers hope he get shot
  Eight years in the makin' patiently waitin' to blow
  Now the record with Shinoda's takin' over the globe
  He's got a partner in crime; his shit is equally dope
  You won't believe the kind of shit that comes out of this kid's throat


  He's not your every day on the block
  He knows how to work with what he's got
  Makin' his way to the top
  He often gets a comment on his name
  People keep asking him was it given at birth
  Or does it stand for an acronym?
  No, he's livin' proof that he rockin' the booth
  He'll get you buzzin' quicker than a shot of vodka with juice
  Him and his crew are known around as one of the best
  Dedicated to what they do and give a hundred percent


  Forget Mike, nobody really knows how or why he works so hard
  It seems like he's never got time
  Because he writes every note and he writes every line
  And I've seen him at work when that light goes on in his mind
  It's like a design is written in his head every time
  Before he even touches a key or speaks in a rhyme
  And those motherfuckers he runs with, the kids that he signed
  Ridiculous, without even trying, how do they do it?


  This is ten percent luck
  Twenty percent skill
  Fifteen percent concentrated power of will
  Five percent pleasure
  Fifty percent pain
  And a hundred percent reason to remember the name


  This is ten percent luck
  Twenty percent skill
  Fifteen percent concentrated power of will
  Five percent pleasure
  Fifty percent pain
  And a hundred percent reason to remember the name


  Yeah
  Fort Minor
  M-Shinoda
  Styles of Beyond
  Ryu
  Takbir
  Machine Shop
            Case 3:23-cv-01092               Document 49-6      11611/16/23
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BCG_ID_10288_LF.txt[11/10/23, 10:57:43 AM]
  WRITERS

  MIKE SHINODA, MATTHEW RYAN MAGINN, TAKBIR KHALID BASHIR

  PUBLISHERS

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                                                             Filed            Page 118 of 434 PageID #: 1144
BCG_ID_10288_LF.txt[11/10/23, 10:57:43 AM]
  Lyrics
  Crimson flames tied through my ears, rollin' high and mighty traps
  Pounced with fire on flaming roads using ideas as my maps
  "We'll meet on edges, soon," said I, proud 'neath heated brow
  Ah, but I was so much older then, I'm younger than that now


  Half-wracked prejudice leaped forth, "rip down all hate," I screamed
  Lies that life is black and white spoke from my skull, I dreamed
  Romantic facts of musketeers foundationed deep, somehow
  Ah, but I was so much older then, I'm younger than that now


  Girls' faces formed the forward path from phony jealousy
  To memorizing politics of ancient history
  Flung down by corpse evangelists, unthought of, though somehow
  Ah, but I was so much older then. I'm younger than that now


  A self-ordained professor's tongue too serious to fool
  Spouted out that liberty is just equality in school
  "Equality," I spoke the word as if a wedding vow
  Ah, but I was so much older then, I'm younger than that now


  In a soldier's stance, I aimed my hand at the mongrel dogs who teach
  Fearing not that I'd become my enemy in the instant that I preach
  My existence led by confusion boats, mutiny from stern to bow
  Ah, but I was so much older then, I'm younger than that now


  Yes, my guard stood hard when abstract threats too noble to neglect
  Deceived me into thinking I had something to protect
  Good and bad, I define these terms quite clear, no doubt, somehow
  Ah, but I was so much older then I'm younger than that now

  WRITERS

  Bob Dylan

  PUBLISHERS

  Lyrics © Universal Music Publishing Group




             Case 3:23-cv-01092              Document 49-6      11811/16/23
                                                             Filed            Page 119 of 434 PageID #: 1145
BCG_ID_10298_LF.txt[11/10/23, 10:57:43 AM]
  Lyrics
  You spurn my natural emotions
  You make me feel I'm dirt and I'm hurt
  And if I start a commotion
  I run the risk of losing you and that's worse


  Ever fallen in love with someone
  Ever fallen in love, in love with someone
  Ever fallen in love, in love with someone
  You shouldn't have fallen in love with?


  I can't see much of a future
  Unless we find out what's to blame, what a shame
  And we won't be together much longer
  Unless we realize that we are the same


  Ever fallen in love with someone
  Ever fallen in love, in love with someone
  Ever fallen in love, in love with someone
  You shouldn't have fallen in love with


  You disturb my natural emotions
  You make me feel I'm dirt and I'm hurt
  And if I start a commotion
  I'll only end up losing you and that's worse


  Ever fallen in love with someone
  Ever fallen in love, in love with someone
  Ever fallen in love, in love with someone
  You shouldn't have fallen in love with?


  Ever fallen in love with someone
  Ever fallen in love, in love with someone
  Ever fallen in love, in love with someone
  You shouldn't have fallen in love with?


  Ever fallen in love with someone
  Ever fallen in love, in love with someone
  Ever fallen in love, in love with someone
  You shouldn't have fallen in love with?


  Fallen in love with
  Ever fallen in love with someone
  You shouldn't have fallen in love with?

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                                                             Filed            Page 120 of 434 PageID #: 1146
BCG_ID_10300_LF.txt[11/10/23, 10:57:43 AM]
  WRITERS

  Peter Shelley

  PUBLISHERS

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             Case 3:23-cv-01092              Document 49-6      12011/16/23
                                                             Filed            Page 121 of 434 PageID #: 1147
BCG_ID_10300_LF.txt[11/10/23, 10:57:43 AM]
  Lyrics
  "Show me, show me, show me how you do that trick
  The one that makes me scream", she said
  "The one that makes me laugh", she said
  And threw her arms around my neck


  Show me how you do it
  And I promise you, I promise that
  I'll run away with you
  I'll run away with you


  Spinning on that dizzy edge
  Kissed her face and kissed her head
  Dreamed of all the different ways
  I had to make her glow
  "Why are you so far away?", she said
  "Why won't you ever know that I'm in love with you
  That I'm in love with you?"


  You
  Soft and only
  You
  Lost and lonely
  You
  Strange as angels
  Dancing in the deepest oceans
  Twisting in the water
  You're just like a dream
  You're just like a dream


  Daylight licked me into shape
  I must've been asleep for days
  And moving lips to breathe her name
  I opened up my eyes
  And found myself alone, alone
  Alone above a raging sea
  That stole the only girl I loved
  And drowned her deep inside of me


  You
  Soft and lonely
  You
  Lost and lonely
  You
  Just like heaven

  WRITERS

             Case 3:23-cv-01092              Document 49-6      12111/16/23
                                                             Filed            Page 122 of 434 PageID #: 1148
BCG_ID_10305_LF.txt[11/10/23, 10:57:44 AM]
  Robert James Smith, Porl Thompson, Laurence Andrew Tolhurst, Boris Williams, Simon Johnathon Gallup

  PUBLISHERS

  Lyrics © Universal Music Publishing Group




             Case 3:23-cv-01092              Document 49-6      12211/16/23
                                                             Filed            Page 123 of 434 PageID #: 1149
BCG_ID_10305_LF.txt[11/10/23, 10:57:44 AM]
  Lyrics
  Are you ready Steve? Uh-huh
  Andy? Yeah
  Mick? Okay
  Alright fellas, let's go


  Oh it's been getting so hard
  Living with the things you do to me, uh huh
  My dreams are getting so strange
  I'd like to tell you everything I see


  Oh, I see a man at the back as a matter of fact
  His eyes are as red as the sun
  And the girl in the corner let no one ignore her
  'Cause she thinks she's the passionate one


  Oh yeah, it was like lightning
  Everybody was frightening
  And the music was soothing
  And they all started grooving


  Yeah, yeah-yeah-yeah-yeah
  And the man in the back said everyone attack
  And it turned into a ballroom blitz
  And the girl in the corner said boy I want to warn you
  It'll turn into a ballroom blitz
  Ballroom blitz, ballroom blitz
  Ballroom blitz, ballroom blitz


  I'm reaching out for something
  Touching nothing's all I ever do
  Oh I softly call you over
  When you appear there's nothing left of you, uh huh


  And the man in the back is ready to crack
  As he raises his hands to the sky
  And the girl in the corner is everyone's mourner
  She could kill you with a wink of her eye


  Oh yeah it was electric
  So perfectly hectic
  And the band started leaving
  'Cause they all stopped breathing


  Yeah, yeah-yeah-yeah
             Case 3:23-cv-01092              Document 49-6      12311/16/23
                                                             Filed            Page 124 of 434 PageID #: 1150
BCG_ID_10309_LF.txt[11/10/23, 10:57:44 AM]
  And the man in the back said everyone attack
  And it turned into a ballroom blitz
  And the girl in the corner said boy I want to warn you
  It'll turn into a ballroom blitz
  Ballroom blitz


  Oh yeah, it was like lightning
  Everybody was frightening
  And the music was soothing
  And they all started grooving


  Yeah, yeah-yeah-yeah-yeah
  And the man in the back said everyone attack
  And it turned into a ballroom blitz
  And the girl in the corner said boy I want to warn you
  It'll turn into a ballroom blitz
  Ballroom blitz, ballroom blitz
  Ballroom blitz, ballroom blitz


  It's it's a ballroom blitz
  It's it's a ballroom blitz
  It's it's a ballroom blitz
  Yeah, it's a ballroom blitz

  WRITERS

  Michael Donald Chapman, Nicholas Barry Chinn

  PUBLISHERS

  Lyrics © Universal Music Publishing Group




             Case 3:23-cv-01092              Document 49-6      12411/16/23
                                                             Filed            Page 125 of 434 PageID #: 1151
BCG_ID_10309_LF.txt[11/10/23, 10:57:44 AM]
  Lyrics
  Well she got her daddy's car
  And she cruised through the hamburger stand now
  Seems she forgot all about the library
  Like she told her old man now
  And with the radio blasting
  Goes cruising just as fast as she can now


  And she'll have fun fun fun
  'Til her daddy takes the T-bird away
  (Fun fun fun 'til her daddy takes the T-bird away)


  Well the girls can't stand her
  'Cause she walks looks and drives like an ace now
  (You walk like an ace now you walk like an ace)
  She makes the Indy 500 look like a Roman chariot race now
  (You look like an ace now you look like an ace)
  A lotta guys try to catch her
  But she leads them on a wild goose chase now
  (You drive like an ace now you drive like an ace)


  And she'll have fun fun fun
  'Til her daddy takes the T-bird away
  (Fun fun fun 'til her daddy takes the T-bird away)


  Well you knew all along
  That your dad was gettin' wise to you now
  (You shouldn't have lied now you shouldn't have lied)
  And since he took your set of keys
  You've been thinking that your fun is all through now
  (You shouldn't have lied now you shouldn't have lied)


  But you can come along with me
  'Cause we gotta a lot of things to do now
  (You shouldn't have lied now you shouldn't have lied)


  And we'll have fun fun fun now that daddy took the T-bird away
  (Fun fun fun now that daddy took the T-bird away)
  And we'll have fun fun fun now that daddy took the T-bird away
  (Fun fun fun now that daddy took the T-bird away)
  (Wo wo wo wo woo woo woo)
  (Fun fun now that daddy took the T-bird away)
  (Fun fun now that daddy took the T-bird away)
  (Fun fun now that daddy took the T-bird away)
  (Fun fun now that daddy took the T-bird away)
  (Fun fun now that daddy took the T-bird away)
  (Fun fun now that daddy took the T-bird away)
             Case 3:23-cv-01092              Document 49-6      12511/16/23
                                                             Filed            Page 126 of 434 PageID #: 1152
BCG_ID_10315_LF.txt[11/10/23, 10:57:44 AM]
  WRITERS

  Michael Love, Brian Wilson

  PUBLISHERS

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                                                             Filed            Page 127 of 434 PageID #: 1153
BCG_ID_10315_LF.txt[11/10/23, 10:57:44 AM]
  Lyrics
  I cannot take this anymore
  I'm saying everything I've said before
  All these words they make no sense
  I find bliss in ignorance
  Less I hear the less you'll say
  But you'll find that out anyway
  Just like before


  Everything you say to me
  Takes me one step closer to the edge
  And I'm about to break
  I need a little room to breathe
  'Cause I'm one step closer to the edge
  And I'm about to break


  I find the answers aren't so clear
  Wish I could find a way to disappear
  All these thoughts they make no sense
  I find bliss in ignorance
  Nothing seems to go away
  Over and over again
  Just like before


  Everything you say to me
  Takes me one step closer to the edge
  And I'm about to break
  I need a little room to breathe
  'Cause I'm one step closer to the edge
  And I'm about to break


  Everything you say to me
  Takes me one step closer to the edge
  And I'm about to break
  I need a little room to breathe
  'Cause I'm one step closer to the edge
  And I'm about to, break


  Shut up when I'm talking to you
  Shut up, shut up, shut up
  Shut up when I'm talking to you
  Shut up, shut up, shut up
  Shut up, I'm about to break


  Everything you say to me
  Takes me one step closer to the edge
  And I'm about to break
             Case 3:23-cv-01092              Document 49-6      12711/16/23
                                                             Filed            Page 128 of 434 PageID #: 1154
BCG_ID_10317_LF.txt[11/10/23, 10:57:44 AM]
  I need a little room to breathe
  'Cause I'm one step closer to the edge
  And I'm about to break


  Everything you say to me
  Takes me one step closer to the edge
  And I'm about to break
  I need a little room to breathe
  'Cause I'm one step closer to the edge
  And I'm about to, break

  WRITERS

  Brad Delson, Chester Charles Bennington, Joseph Hahn, Mike Shinoda, Robert G. Bourdon

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             Case 3:23-cv-01092              Document 49-6      12811/16/23
                                                             Filed            Page 129 of 434 PageID #: 1155
BCG_ID_10317_LF.txt[11/10/23, 10:57:44 AM]
  Lyrics
  Oh, God said to Abraham, "Kill me a son"
  Abe said, "Man, you must be puttin' me on"
  God said, "No" Abe say, "What?"
  God say, "You can do what you want, Abe, but
  The next time you see me comin', you better run"
  Well, Abe said, "Where d'you want this killin' done?"
  God said, "Out on Highway 61"


  Well, Georgia Sam, he had a bloody nose
  Welfare department, they wouldn't give him no clothes
  He asked poor Howard, "Where can I go?"
  Howard said, "There's only one place I know"
  Sam said, "Tell me quick, man, I got to run"
  Oh, Howard just pointed with his gun
  And said, "That way, down Highway 61"


  Well, Mack the Finger said to Louie the King
  "I got forty red-white-and-blue shoestrings
  And a thousand telephones that don't ring
  Do you know where I can get rid of these things?"
  And Louie the King said, "Let me think for a minute, son"
  Then he said, "Yes, I think it can be easily done
  Just take everything down to Highway 61"


  Now, the fifth daughter on the twelfth night
  Told the first father that things weren't right
  "My complexion," she says, "is much too white"
  He said, "Come here and step into the light"
  He said, "Hmm, you're right, let me tell the second mother this has been done"
  But the second mother was with the seventh son
  And they were both out on Highway 61


  Now, the roving gambler he was very bored
  Trying to create a next world war
  He found a promoter who nearly fell off the floor
  He said, "I never engaged in this kind of thing before
  But yes, I think it can be very easily done
  We'll just put some bleachers out in the sun
  And have it on Highway 61"

  WRITERS

  BOB DYLAN

  PUBLISHERS

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             Case 3:23-cv-01092              Document 49-6      12911/16/23
                                                             Filed            Page 130 of 434 PageID #: 1156
BCG_ID_10326_LF.txt[11/10/23, 10:57:44 AM]
  Lyrics
  Bah-da bah-da-da-da
  Bah-da bah-da-da-da
  Bah-da bah-da-da-da


  Monday, Monday (bah-da bah-da-da-da)
  So good to me (bah-da bah-da-da-da)
  Monday mornin', it was all I hoped it would be
  Oh Monday mornin', Monday mornin' couldn't guarantee (bah-da bah-da-da-da)
  That Monday evenin' you would still be here with me


  Monday, Monday, can't trust that day
  Monday, Monday, sometimes it just turns out that way
  Oh Monday mornin' you gave me no warnin' of what was to be
  Oh Monday, Monday, how could you leave and not take me


  Every other day, every other day
  Every other day, every other day of the week is fine, yeah
  But whenever Monday comes, but whenever Monday comes
  But whenever Monday comes, you can find me cryin' all of the time


  Monday, Monday (bah-da bah-da-da-da)
  So good to me (bah-da bah-da-da-da)
  Monday mornin', it was all I hoped it would be
  But Monday mornin', Monday mornin' couldn't guarantee
  That Monday evenin' you would still be here with me


  Every other day, every other day
  Every other day, every other day of the week is fine, yeah
  But whenever Monday comes, but whenever Monday comes
  But whenever Monday comes, you can find me cryin' all of the time


  Monday, Monday (bah-da bah-da-da-da)
  Can't trust that day (bah-da bah-da-da-da)
  Monday, Monday (bah-da bah-da-da-da)
  It just turns out that way (bah-da bah-da-da-da)
  Whoa Monday, Monday (bah-da bah-da-da-da)
  Won't go away (bah-da bah-da-da-da)
  Monday, Monday (bah-da bah-da-da-da)
  It's here to stay (bah-da bah-da-da-da)
  Oh Monday, Monday (bah-da bah-da-da-da)
  Whoa Monday, Monday (bah-da bah-da-da-da)

  WRITERS

  John Edmund Andrew Phillips

             Case 3:23-cv-01092              Document 49-6      13011/16/23
                                                             Filed            Page 131 of 434 PageID #: 1157
BCG_ID_10328_LF.txt[11/10/23, 10:57:44 AM]
  PUBLISHERS

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                                                             Filed            Page 132 of 434 PageID #: 1158
BCG_ID_10328_LF.txt[11/10/23, 10:57:44 AM]
  Lyrics
  Sittin' in the mornin' sun
  I'll be sittin' when the evenin' comes
  Watching the ships roll in
  Then I watch 'em roll away again, yeah
  I'm sittin' on the dock of the bay
  Watchin' the tide roll away, ooh
  I'm just sittin' on the dock of the bay
  Wastin' time


  I left my home in Georgia
  Headed for the 'Frisco Bay
  'Cause I've had nothin' to live for
  It look like nothing's gonna come my way
  So I'm just gon' sit on the dock of the bay
  Watchin' the tide roll away, ooh
  I'm sittin' on the dock of the bay
  Wastin' time


  Look like nothing's gonna change
  Everything, still remains the same
  I can't do what ten people tell me to do
  So I guess I'll remain the same, yes


  Sittin' here restin' my bones
  And this loneliness won't leave me alone, listen
  Two thousand miles, I roam
  Just to make this dock my home
  Now I'm just gon' sit, at the dock of the bay
  Watchin' the tide roll away, ooh
  Sittin' on the dock of the bay
  Wastin' time

  WRITERS

  Steve Cropper, Otis Redding

  PUBLISHERS

  Lyrics © Universal Music Publishing Group




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                                                             Filed            Page 133 of 434 PageID #: 1159
BCG_ID_10330_LF.txt[11/10/23, 10:57:44 AM]
  Lyrics
  I dreamed I was missing
  You were so scared
  But no one would listen
  'Cause no one else cared
  After my dreaming
  I woke with this fear
  What am I leaving
  When I'm done here?
  So, if you're asking me, I want you to know


  When my time comes
  Forget the wrong that I've done
  Help me leave behind some reasons to be missed
  And don't resent me
  And when you're feeling empty
  Keep me in your memory
  Leave out all the rest
  Leave out all the rest


  Don't be afraid
  I've taken my beating
  I've shared what I've made
  I'm strong on the surface
  Not all the way through
  I've never been perfect
  But neither have you
  So, if you're asking me, I want you to know


  When my time comes
  Forget the wrong that I've done
  Help me leave behind some reasons to be missed
  And don't resent me
  And when you're feeling empty
  Keep me in your memory
  Leave out all the rest
  Leave out all the rest


  Forgetting
  All the hurt inside you've learned to hide so well
  Pretending
  Someone else can come and save me from myself
  I can't be who you are


  When my time comes
  Forget the wrong that I've done
  Help me leave behind some reasons to be missed
  And don't resent me
             Case 3:23-cv-01092              Document 49-6      13311/16/23
                                                             Filed            Page 134 of 434 PageID #: 1160
BCG_ID_10331_LF.txt[11/10/23, 10:57:44 AM]
  And when you're feeling empty
  Keep me in your memory
  Leave out all the rest
  Leave out all the rest


  Forgetting
  All the hurt inside you've learned to hide so well
  Pretending
  Someone else can come and save me from myself
  I can't be who you are
  I can't be who you are

  WRITERS

  Rob Bourdon, Brad Delson, Mike Shinoda, Dave Farrell, Joe Hahn, Chester Bennington

  PUBLISHERS

  Lyrics © Universal Music Publishing Group, Warner Chappell Music, Inc.




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BCG_ID_10331_LF.txt[11/10/23, 10:57:44 AM]
  Lyrics
  You could say I lost my faith in science and progress
  You could say I lost my belief in the holy Church
  You could say I lost my sense of direction
  You could say all of this and worse, but
  If I ever lose my faith in you
  There'd be nothing left for me to do


  Some would say I was a lost man in a lost world
  You could say I lost my faith in the people on TV
  You could say I'd lost my belief in our politicians
  They all seemed like game show hosts to me
  If I ever lose my faith in you
  There'd be nothing left for me to do
  I could be lost inside their lies without a trace
  But every time I close my eyes I see your face


  I never saw no miracle of science
  That didn't go from a blessing to a curse
  I never saw no military solution
  That didn't always end up as something worse, but
  Let me say this first
  If I ever lose my faith in you
  There'd be nothing left for me to do

  WRITERS

  GORDON SUMNER

  PUBLISHERS

  Lyrics © Universal Music Publishing Group




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BCG_ID_10336_LF.txt[11/10/23, 10:57:44 AM]
  Lyrics
  I may not always love you
  But long as there are stars above you
  You never need to doubt it
  I'll make you so sure about it


  God only knows what I'd be without you


  If you should ever leave me
  Well, life would still go on, believe me
  The world could show nothing to me
  So what good would living do me?


  God only knows what I'd be without you


  God only knows what I'd be without you
  If you should ever leave me
  Though life would still go on, believe me
  The world could show nothing to me
  So what good would living do me?


  God only knows what I'd be without you


  God only knows what I'd be without you
  God only knows what I'd be without you
  God only knows what I'd be without you
  God only knows what I'd be without you (God only knows)
  God only knows what I'd be without you (what I'd be without you)
  God only knows what I'd be without you (God only knows)
  God only knows what I'd be without you (what I'd be without you)
  God only knows what I'd be without you (God only knows)
  God only knows what I'd be without you (what I'd be without you)
  God only knows what I'd be without you (God only knows)
  God only knows what I'd be without you (what I'd be without you)
  God only knows what I'd be without you

  WRITERS

  Brian Douglas Wilson, Tony Asher

  PUBLISHERS

  Lyrics © Universal Music Publishing Group




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BCG_ID_10340_LF.txt[11/10/23, 10:57:44 AM]
  Lyrics
  Everyone considered him the coward of the county
  He'd never stood one single time to prove the county wrong
  His mama named him Tommy, but folks just called him Yellow
  But something always told me, they were reading Tommy wrong


  He was only ten years old when his daddy died in prison
  I looked after Tommy, 'cause he was my brother's son
  I still recall the final words my brother said to Tommy
  "Son, my life is over, but yours has just begun"


  "Promise me, son, not to do the things I've done
  Walk away from trouble if you can
  Now it won't mean you're weak if you turn the other cheek
  I hope you're old enough to understand
  Son, you don't have to fight to be a man"


  There's someone for everyone and Tommy's love was Becky
  In her arms, he didn't have to prove he was a man
  One day while he was working, the Gatlin boys came calling
  They took turns at Becky an' there was three of them


  Tommy opened up the door and saw Becky crying
  The torn dress, the shattered look was more than he could stand
  He reached above the fireplace and took down his daddy's picture
  As his tears fell on his daddy's face, he heard these words again


  "Promise me, Son, not to do the things I've done
  Walk away from trouble if you can
  Now it won't mean you're weak if you turn the other cheek
  I hope you're old enough to understand
  Son, you don't have to fight to be a man"


  The Gatlin boys just laughed at him when he walked into the bar room
  One of them got up and met him half way cross the floor
  When Tommy turned around they said, "Hey look! Old Yellow's leaving"
  But you could've heard a pin drop
  When Tommy stopped and locked the door


  Twenty years of crawling was bottled up inside him
  He wasn't holding nothing back, he let 'em have it all
  When Tommy left the bar room, not a Gatlin boy was standing
  He said, "This one's for Becky", as he watched the last one fall
  And I heard him say


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BCG_ID_10347_LF.txt[11/10/23, 10:57:44 AM]
  "I promised you, Dad, not to do the things you've done
  I walk away from trouble when I can
  Now please don't think I'm weak, I didn't turn the other cheek
  And Papa, I should hope you understand
  Sometimes you gotta fight when you're a man"


  Everyone considered him the coward of the county

  WRITERS

  Roger Dale Bowling, Billy Edd Wheeler

  PUBLISHERS

  Lyrics © Universal Music Publishing Group




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                                                             Filed            Page 139 of 434 PageID #: 1165
BCG_ID_10347_LF.txt[11/10/23, 10:57:44 AM]
  Lyrics
  I remember when I was a lad
  Times were hard and things were bad
  But there's a silver linin' behind every cloud
  Just poor people, that 's all we were
  Tryin' to make a living out of black-land dirt
  But we'd get together in a family circle singing loud


  Daddy sang bass, mama sang tenor
  Me and little brother would join right in there
  Singing seems to help a troubled soul
  One of these days and it won't be long
  I'll rejoin them in a song
  I'm gonna join the family circle at the throne


  No, the circle won't be broken
  By and by, Lord, by and by
  Daddy sang bass, mama sang tenor
  Me and little brother would join right in there
  In the sky, Lord, in the sky


  Now I remember after work, mama would call in all of us
  You could hear us singing for a country mile
  Now little brother has done gone on
  But I'll rejoin him in a song
  We'll be together again up yonder in a little while


  Daddy sang bass, mama sang tenor
  Me and little brother would join right in there
  'Cause singing seems to help a troubled soul
  One of these days and it won't be long
  I'll rejoin them in a song
  I'm gonna join the family circle at the throne


  Oh no, the circle won't be broken
  By and by, Lord, by and by
  Daddy sang bass, mama sang tenor
  Me and little brother would join right in there
  In the sky, Lord, in the sky
  In the sky, Lord, in the sky

  WRITERS

  Carl Perkins

  PUBLISHERS

  Lyrics © Universal Music Publishing Group
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BCG_ID_10348_LF.txt[11/10/23, 10:57:45 AM]
             Case 3:23-cv-01092              Document 49-6      14011/16/23
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BCG_ID_10348_LF.txt[11/10/23, 10:57:45 AM]
  Lyrics
  Make up your mind
  Decide to walk with me
  Around the lake tonight
  Around the lake tonight
  By my side
  By my side
  I'm not gonna lie
  I'll not be a gentleman
  Behind the boathouse
  I'll show you my dark secret
  I'm not gonna lie
  I want you for mine
  My blushing bride
  My lover, be my lover, yeah


  Don't be afraid
  I didn't mean to scare you
  So help me, Jesus
  I can promise you
  You'll stay as beautiful
  With dark hair
  And soft skin, forever
  Forever


  Make up your mind
  Make up your mind
  And I'll promise you
  I will treat you well
  My sweet angel
  So help me, Jesus
  (Hey, hey, hey)
  Give it up to me
  Give it up to me
  Do you wanna be
  My angel?
  Give it up to me
  Give it up to me
  Do you wanna be
  My angel?
  Give it up to me
  Give it up to me
  Do you wanna be
  My angel?
  So help me


  Be my angel
  Be my angel
  Be my angel
  Do you wanna die?
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BCG_ID_10353_LF.txt[11/10/23, 10:57:45 AM]
  Do you wanna die?
  Do you wanna die?
  Do you wanna die?
  Do you wanna die?
  Do you wanna die?
  Do you wanna die?
  Do you wanna die?
  Well, I promise you
  I will treat you well
  My sweet angel
  So help me, Jesus
  Jesus
  Jesus
  Jesus

  WRITERS

  Todd Lewis

  PUBLISHERS

  Lyrics © Universal Music Publishing Group




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BCG_ID_10353_LF.txt[11/10/23, 10:57:45 AM]
  Lyrics
  A warning to the people
  The good and the evil
  This is war
  To the soldier, the civilian
  The martyr, the victim
  This is war


  It's the moment of truth and the moment to lie
  And the moment to live and the moment to die
  The moment to fight, the moment to fight
  To fight, to fight, to fight


  To the right to the left
  We will fight to the death
  To the edge of the earth
  It's a brave new world from the last to the first
  To the right, to the left
  We will fight to the death
  To the edge of the earth
  It's a brave new world
  It's a brave new world


  (Whoa-oh, whoa-oh)


  A warning to the prophet, the liar, the honest
  This is war
  Oh, to the leader, the pariah
  The victor, the messiah
  This is war


  It's the moment of truth and the moment to lie
  And the moment to live and the moment to die
  The moment to fight, the moment to fight
  To fight, to fight, to fight


  To the right, to the left
  We will fight to the death
  To the edge of the earth
  It's a brave new world from the last to the first
  To the right, to the left
  We will fight to the death
  To the edge of the earth
  It's a brave new world
  It's a brave new world
  It's a brave new world

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BCG_ID_10370_LF.txt[11/10/23, 10:57:45 AM]
  I do believe in the light
  Raise your hands into the sky
  The fight is done, the war is won
  Lift your hands towards the sun
  Towards the sun (it's the moment of truth and the moment to lie)
  (It's the moment to live and the moment to die) towards the sun
  (It's the moment of truth and the moment to lie, it's the moment to live)
  Towards the sun (and the moment to die, the moment to fight)
  (The moment to fight, the moment to fight)
  The war is won (fight, fight, fight, fight, fight, fight, fight)


  To the right, to the left
  We will fight to the death
  To the edge of the earth
  It's a brave new world from the last to the first
  To the right, to the left
  We will fight to the death
  To the edge of the earth
  It's a brave new world
  It's a brave new world
  It's a brave new world


  A brave new world
  The war is won
  The war is won
  A brave new world

  WRITERS

  Jared Leto

  PUBLISHERS

  Lyrics © Universal Music Publishing Group




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BCG_ID_10370_LF.txt[11/10/23, 10:57:45 AM]
  Lyrics
  Happiness hit her like a train on a track
  Coming towards her, stuck, still no turning back
  She hid around corners and she hid under beds
  She killed it with kisses, and from it she fled
  With every bubble she sank with a drink
  And washed it away down the kitchen sink


  The dog days are over
  The dog days are done
  The horses are coming
  So you better run


  Run fast for your mother, run fast for your father
  Run for your children, for your sisters and brothers
  Leave all your love and your longing behind
  You can't carry it with you if you want to survive


  The dog days are over
  The dog days are done
  Can you hear the horses?
  'Cause here they come


  And I never wanted anything from you
  Except everything you had
  And what was left after that too, oh


  Happiness hit her like a bullet in the back
  Struck from a great height
  By someone who should know better than that


  The dog days are over
  The dog days are done
  Can you hear the horses?
  'Cause here they come


  Run fast for your mother, run fast for your father
  Run for your children, for your sisters and brothers
  Leave all your love and your longing behind
  You can't carry it with you if you want to survive


  The dog days are over
  The dog days are done
  Can you hear the horses?
  'Cause here they come
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BCG_ID_10372_LF.txt[11/10/23, 10:57:45 AM]
  The dog days are over
  The dog days are done
  The horses are coming
  So you better run


  The dog days are over
  The dog days are done
  The horses are coming
  So you better run

  WRITERS

  Florence Leontine Mary Welch, Isabella Janet Florentina Summers

  PUBLISHERS

  Lyrics © Universal Music Publishing Group, Downtown Music Publishing




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                                                             Filed            Page 147 of 434 PageID #: 1173
BCG_ID_10372_LF.txt[11/10/23, 10:57:45 AM]
  Lyrics
  The only two things in life that make it worth livin'
  Is guitars that tune good and firm feelin' women
  I don't need my name in the marquee lights
  I got my song and I got you with me tonight
  Maybe it's time we got back to the basics of love


  Let's go to Luckenbach, Texas
  With Waylon and Willie and the boys
  This successful life we're livin'
  Got us feuding like the Hatfields and McCoys
  Between Hank Williams' pain songs and
  Newbury's train songs and "Blue Eyes Cryin' in the Rain"
  Out in Luckenbach, Texas, ain't nobody feelin' no pain


  So baby, let's sell your diamond ring
  Buy some boots and faded jeans and go away
  This coat and tie is choking me
  In your high society, you cry all day
  We've been so busy keepin' up with the Jones
  Four car garage and we're still building on
  Maybe it's time we got back to the basics of love


  Let's go to Luckenbach, Texas
  With Waylon and Willie and the boys
  This successful life we're livin' got us feudin'
  Like the Hatfield and McCoys
  Between Hank Williams' pain songs and
  Newbury's train songs and "Blue Eyes Cryin' in the Rain"
  Out in Luckenbach, Texas, ain't nobody feelin' no pain


  Let's go to Luckenbach, Texas
  Willie and Waylon and the boys
  This successful life we're livin's got us feudin'
  Like the Hatfield and McCoys
  Between Hank Williams' pain songs
  And Jerry Jeff's train songs and "Blue Eyes Cryin' in the Rain"
  Out in Luckenbach, Texas, there ain't nobody feelin' no pain

  WRITERS

  Bobby Emmons, Chips Moman

  PUBLISHERS

  Lyrics © Universal Music Publishing Group




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                                                             Filed            Page 148 of 434 PageID #: 1174
BCG_ID_10373_LF.txt[11/10/23, 10:57:45 AM]
  Lyrics
  It starts with one thing
  I don't know why
  It doesn't even matter how hard you try
  Keep that in mind
  I designed this rhyme
  To explain in due time
  All I know
  Time is a valuable thing
  Watch it fly by as the pendulum swings
  Watch it count down to the end of the day
  The clock ticks life away


  It's so unreal
  Didn't look out below
  Watch the time go right out the window
  Trying to hold on, didn't even know
  I wasted it all just to watch you go
  I kept everything inside
  And even though I tried, it all fell apart
  What it meant to me
  Will eventually be a memory of a time when


  I tried so hard
  And got so far
  But in the end
  It doesn't even matter
  I had to fall
  To lose it all
  But in the end
  It doesn't even matter


  One thing, I don't know why
  It doesn't even matter how hard you try
  Keep that in mind
  I designed this rhyme
  To remind myself how
  I tried so hard
  In spite of the way you were mocking me
  Acting like I was part of your property
  Remembering all the times you fought with me
  I'm surprised it got so far
  Things aren't the way they were before
  You wouldn't even recognize me anymore
  Not that you knew me back then
  But it all comes back to me in the end
  You kept everything inside
  And even though I tried, it all fell apart
  What it meant to me will eventually be a memory of a time when

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                                                             Filed            Page 149 of 434 PageID #: 1175
BCG_ID_10377_LF.txt[11/10/23, 10:57:45 AM]
  I tried so hard
  And got so far
  But in the end
  It doesn't even matter
  I had to fall
  To lose it all
  But in the end
  It doesn't even matter


  I've put my trust in you
  Pushed as far as I can go
  For all this
  There's only one thing you should know
  I've put my trust in you
  Pushed as far as I can go
  For all this
  There's only one thing you should know


  I tried so hard
  And got so far
  But in the end
  It doesn't even matter
  I had to fall
  To lose it all
  But in the end
  It doesn't even matter

  WRITERS

  Brad Delson, Chester Charles Bennington, Joseph Hahn, Mike Shinoda, Robert G. Bourdon

  PUBLISHERS

  Lyrics © Universal Music Publishing Group




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BCG_ID_10377_LF.txt[11/10/23, 10:57:45 AM]
  Lyrics
  Come up to meet you
  Tell you I'm sorry
  You don't know how lovely you are
  I had to find you
  Tell you I need you
  Tell you I set you apart


  Tell me your secrets
  And ask me your questions
  Oh, let's go back to the start
  Running in circles, coming up tails
  Heads on a science apart


  Nobody said it was easy
  It's such a shame for us to part
  Nobody said it was easy
  No one ever said it would be this hard
  Oh, take me back to the start


  I was just guessing at numbers and figures
  Pulling your puzzles apart
  Questions of science, science and progress
  Do not speak as loud as my heart


  Tell me you love me
  Come back and haunt me
  Oh, and I rush to the start
  Running in circles, chasing our tails
  Coming back as we are


  Nobody said it was easy
  Oh, it's such a shame for us to part
  Nobody said it was easy
  No one ever said it would be so hard
  I'm going back to the start


  (Oh, ooh)
  (Ah, ooh)
  (Oh, ooh)
  (Oh, ooh)

  WRITERS

  Christopher Anthony John Martin, Guy Rupert Berryman, Jonathan Mark Buckland, William Champion

  PUBLISHERS
             Case 3:23-cv-01092              Document 49-6      15011/16/23
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BCG_ID_10381_LF.txt[11/10/23, 10:57:45 AM]
  Lyrics © Universal Music Publishing Group




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BCG_ID_10381_LF.txt[11/10/23, 10:57:45 AM]
  Lyrics
  Sweet creature
  Had another talk about where it's going wrong
  But we're still young
  We don't know where we're going
  But we know where we belong


  And oh we started
  Two hearts in one home
  It's hard when we argue
  We're both stubborn
  I know, but oh


  Sweet creature, sweet creature
  Wherever I go, you bring me home
  Sweet creature, sweet creature
  When I run out of road, you bring me home


  Sweet creature
  We're running through the garden
  Oh, where nothing bothered us
  But we're still young
  I always think about you and how we don't speak enough


  And oh we started
  Two hearts in one home
  I know, it's hard when we argue
  We're both stubborn
  I know, but oh


  Sweet creature, sweet creature
  Wherever I go, you bring me home
  Sweet creature, sweet creature
  When I run out of road, you bring me home


  I know when we started
  Just two hearts in one home
  It gets harder when we argue
  We're both stubborn
  I know, but oh


  Sweet creature, sweet creature
  Wherever I go, you bring me home
  Sweet creature, sweet creature
  When I run out of road, you bring me home
  You'll bring me home
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BCG_ID_10382_LF.txt[11/10/23, 10:57:45 AM]
  WRITERS

  Thomas Edward Percy Hull, Harry Edward Styles

  PUBLISHERS

  Lyrics © Universal Music Publishing Group




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                                                             Filed            Page 154 of 434 PageID #: 1180
BCG_ID_10382_LF.txt[11/10/23, 10:57:45 AM]
  Lyrics
  He woke up from dreaming and put on his shoes
  Started making his way past two in the morning
  He hasn't been sober for days


  Leaning now into the breeze
  Remembering Sunday, he falls to his knees
  They had breakfast together
  But two eggs don't last
  Like the feeling of what he needs


  Now this place seems familiar to him
  She pulled on his hand with a devilish grin
  She led him upstairs, she led him upstairs
  Left him dying to get in


  Forgive me, I'm trying to find
  My calling, I'm calling at night
  I don't mean to be a bother
  But have you seen this girl?
  She's been running through my dreams
  And it's driving me crazy, it seems
  I'm going to ask her to marry me


  Even though she doesn't believe in love
  He's determined to call her bluff
  Who could deny these butterflies?
  They're filling his gut


  Waking the neighbors, unfamiliar faces
  He pleads though he tries
  But he's only denied
  Now he's dying to get inside


  Forgive me, I'm trying to find
  My calling, I'm calling at night
  I don't mean to be a bother
  But have you seen this girl?
  She's been running through my dreams
  And it's driving me crazy, it seems
  I'm going to ask her to marry me


  The neighbors said she moved away
  Funny how it rained all day
  I didn't think much of it then
  But it's starting to all make sense
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BCG_ID_10384_LF.txt[11/10/23, 10:57:45 AM]
  Oh, I can see now that all of these clouds
  Are following me in my desperate endeavor
  To find my whoever, wherever she may be


  I'm not coming back (forgive me)
  I've done something so terrible
  I'm terrified to speak (I'm not calling, I'm not calling)
  But you'd expect that from me
  I'm mixed up, I'll be blunt, now the rain is just (You're driving me crazy, I'm)
  Washing you out of my hair and out of my mind
  Keeping an eye on the world,
  From so many thousands of feet off the ground, I'm over you now
  I'm at home in the clouds, and towering over your head


  Well I guess I'll go home now
  I guess I'll go home now
  I guess I'll go home now
  I guess I'll go home

  WRITERS

  Alexander William Gaskarth, Jack Bassam Barakat, Robert Ryan Dawson, Zachary Steven Merrick

  PUBLISHERS

  Lyrics © Universal Music Publishing Group




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BCG_ID_10384_LF.txt[11/10/23, 10:57:45 AM]
  Lyrics
  Never look back, we said
  How was I to know I'd miss you so?
  Loneliness up ahead, emptiness behind
  Where do I go?


  And you didn't hear
  All my joy through my tears
  All my hopes through my fears
  Did you now, still I miss you somehow


  From the bottom of my broken heart
  There's just a thing or two I'd like you to know
  You were my first love
  You were my true love
  From the first kisses to the very last rose
  From the bottom of my broken heart
  Even though time may find me somebody new
  You were my real love, I never knew love
  'Til there was you
  From the bottom of my broken heart


  Baby, I said
  Please stay, give our love a chance for one more day
  We could have worked things out
  Taking time is what love's all about


  But you put a dart through my dreams
  Through my heart
  And I'm back where I started again
  Never thought it would end


  From the bottom of my broken heart
  There's just a thing or two I'd like you to know
  You were my first love,
  You were my true love
  From the first kisses to the very last rose
  From the bottom of my broken heart
  Even though time may find me somebody new
  You were my real love, I never knew love
  'Til there was you
  From the bottom of my broken heart


  You promised yourself
  But to somebody else
  And you made it so perfectly clear
  Still I wish you were here now
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                                                             Filed            Page 157 of 434 PageID #: 1183
BCG_ID_10391_LF.txt[11/10/23, 10:57:46 AM]
  From the bottom of my broken heart
  There's just a thing or two I'd like you to know
  You were my first love
  You were my true love
  From the first kisses to the very last rose


  From the bottom of my broken heart
  Even though time may find me somebody new
  You were my real love, I never knew love
  'Til there was you
  From the bottom of my broken heart


  Never look back, we said
  How was I to know I'd miss you so?

  WRITERS

  ERIC FOSTER WHITE

  PUBLISHERS

  Lyrics © Universal Music Publishing Group




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                                                             Filed            Page 158 of 434 PageID #: 1184
BCG_ID_10391_LF.txt[11/10/23, 10:57:46 AM]
  Lyrics
  Memories consume like opening the wounds
  I'm picking me apart again
  You all assume
  I'm safe here in my room
  Unless I try to start again
  I don't want to be the one the battles always choose
  'Cause inside I realize that I'm the one confused


  I don't know what's worth fighting for
  Or why I have to scream
  I don't know why I instigate
  And say what I don't mean
  I don't know how I got this way
  I know it's not alright
  So I'm breaking the habit
  I'm breaking the habit tonight


  Clutching my cure
  I tightly lock the door
  I try to catch my breath again
  I hurt much more than any time before
  I have no options left again
  I don't want to be the one the battles always choose
  'Cause inside I realize that I'm the one confused


  I don't know what's worth fighting for
  Or why I have to scream
  I don't know why I instigate
  And say what I don't mean
  I don't know how I got this way
  I'll never be alright
  So I'm breaking the habit
  I'm breaking the habit tonight


  I'll paint it on the walls
  'Cause I'm the one at fault
  I'll never fight again
  And this is how it ends


  I don't know what's worth fighting for
  Or why I have to scream
  But now I have some clarity to show you what I mean
  I don't know how I got this way
  I'll never be alright
  So I'm breaking the habit
  I'm breaking the habit
  I'm breaking the habit tonight
             Case 3:23-cv-01092              Document 49-6      15811/16/23
                                                             Filed            Page 159 of 434 PageID #: 1185
BCG_ID_10392_LF.txt[11/10/23, 10:57:46 AM]
  WRITERS

  Brad Delson, Chester Charles Bennington, Dave Farrell, Joseph Hahn, Mike Shinoda, Robert G. Bourdon

  PUBLISHERS

  Lyrics © Universal Music Publishing Group




             Case 3:23-cv-01092              Document 49-6      15911/16/23
                                                             Filed            Page 160 of 434 PageID #: 1186
BCG_ID_10392_LF.txt[11/10/23, 10:57:46 AM]
  Lyrics
  I used to rule the world
  Seas would rise when I gave the word
  Now in the morning, I sleep alone
  Sweep the streets I used to own


  I used to roll the dice
  Feel the fear in my enemy's eyes
  Listen as the crowd would sing
  Now the old king is dead, long live the king
  One minute, I held the key
  Next the walls were closed on me
  And I discovered that my castles stand
  Upon pillars of salt and pillars of sand


  I hear Jerusalem bells a-ringin'
  Roman Cavalry choirs are singin'
  Be my mirror, my sword and shield
  My missionaries in a foreign field
  For some reason, I can't explain
  Once you'd gone, there was never, never an honest word
  And that was when I ruled the world


  It was a wicked and wild wind
  Blew down the doors to let me in
  Shattered windows and the sound of drums
  People couldn't believe what I'd become
  Revolutionaries wait
  For my head on a silver plate
  Just a puppet on a lonely string
  Oh, who would ever want to be king?


  I hear Jerusalem bells a-ringin'
  Roman Cavalry choirs are singing
  Be my mirror, my sword and shield
  My missionaries in a foreign field
  For some reason, I can't explain
  I know Saint Peter won't call my name
  Never an honest word
  But that was when I ruled the world


  Oh-oh-oh, oh-oh, oh
  Oh-oh-oh, oh-oh, oh
  Oh-oh-oh, oh-oh, oh
  Oh-oh-oh, oh-oh, oh
  Oh-oh-oh, oh-oh, oh


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                                                             Filed            Page 161 of 434 PageID #: 1187
BCG_ID_10394_LF.txt[11/10/23, 10:57:46 AM]
  I hear Jerusalem bells a-ringin'
  Roman Cavalry choirs are singin'
  Be my mirror, my sword and shield
  My missionaries in a foreign field
  For some reason I can't explain
  I know Saint Peter won't call my name
  Never an honest word
  But that was when I ruled the world

  WRITERS

  Christopher A. J. Martin, Guy Rupert Berryman, Jonathan Mark Buckland, William Champion

  PUBLISHERS

  Lyrics © Universal Music Publishing Group




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                                                             Filed            Page 162 of 434 PageID #: 1188
BCG_ID_10394_LF.txt[11/10/23, 10:57:46 AM]
  Lyrics
  Well, it's not far down to paradise
  At least it's not for me
  And if the wind is right you can sail away
  And find tranquility
  Oh, the canvas can do miracles
  Just you wait and see, believe me


  It's not far to never never land
  No reason to pretend
  And if the wind is right you can find the joy
  Of innocence again
  Oh, the canvas can do miracles
  Just you wait and see, believe me


  Sailing
  Takes me away to where I've always heard it could be
  Just a dream and the wind to carry me
  Soon I will be free


  Fantasy
  It gets the best of me
  When I'm sailing


  All caught up in the reverie
  Every word is a symphony
  Won't you believe me?


  Sailing
  Takes me away to where I've always heard it could be
  Just a dream and the wind to carry me
  And soon I will be free


  Well, it's not far back to sanity
  At least it's not for me
  And if the wind is right you can sail away
  And find serenity
  Oh, the canvas can do miracles
  Just you wait and see, really, believe me


  Sailing
  Takes me away to where I've always heard it could be
  Just a dream and the wind to carry me
  And soon I will be free

  WRITERS
             Case 3:23-cv-01092              Document 49-6      16211/16/23
                                                             Filed            Page 163 of 434 PageID #: 1189
BCG_ID_10399_LF.txt[11/10/23, 10:57:46 AM]
  Carter Burwell

  PUBLISHERS

  Lyrics © Universal Music Publishing Group




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                                                             Filed            Page 164 of 434 PageID #: 1190
BCG_ID_10399_LF.txt[11/10/23, 10:57:46 AM]
  Lyrics
  Take a look at my girlfriend
  She's the only one I got
  Not much of a girlfriend
  Never seem to get a lot


  Take a jumbo across the water
  Like to see America
  See the girls in California
  I'm hoping it's going to come true
  But there's not a lot I can do


  Could we have kippers for breakfast
  Mummy dear, mummy dear
  They got to have 'em in Texas
  'Cause everyone's a millionaire


  I'm a winner, I'm a sinner
  Do you want my autograph
  I'm a loser, what a joker
  I'm playing my jokes upon you
  While there's nothing better to do


  Ba-ba-ba-dow, ba-bow-dum-doo-de-dow-de-dow, de
  Ba-ba-ba-dow, ba-bow-dum-de-doo-de-dow
  Na na na, nana na na na na


  Don't you look at my girlfriend (girlfriend)
  She's the only one I got
  Not much of a girlfriend (girlfriend)
  Never seem to get a lot (what's she got, not a lot)


  Take a jumbo cross the water
  Like to see America
  See the girls in California
  I'm hoping it's going to come true
  But there's not a lot I can do


  Ba-ba-ba-dow, ba-bow-dum-doo-de-dow-de-dow, de
  Ba-ba-ba-dow, ba-bow-dum-de-doo-de-dow


  Hey oh, hey oh, hey oh, hey oh,
  Hey oh, hey oh, hey oh, hey oh
  Na na na, nana na na na nana

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                                                             Filed            Page 165 of 434 PageID #: 1191
BCG_ID_10402_LF.txt[11/10/23, 10:57:46 AM]
  WRITERS

  RICHARD DAVIES, ROGER HODGSON

  PUBLISHERS

  Lyrics © Universal Music Publishing Group




             Case 3:23-cv-01092              Document 49-6      16511/16/23
                                                             Filed            Page 166 of 434 PageID #: 1192
BCG_ID_10402_LF.txt[11/10/23, 10:57:46 AM]
  Lyrics
  S (s, s, s,).....A (a,a,a).....F(f,f,f)....E(e,e,e).....T(t,t,t)....Y(y,y,y)
  Safety (Safety) Dance! (Dance)
  Ah we can dance if we want to, we can leave your friends behind
  Cause your friends don't dance and if they don't dance
  Well they're are no friends of mine
  I say, we can go where we want to, A place where they will never find
  And we can act like we come from out of this world
  Leave the real one far behind,
  and we can dance


  Ah we can dance if we want to, we can leave your friends behind
  Cause your friends don't dance and if they don't dance
  Well they're are no friends of mine
  I say, we can go where we want to, A place where they will never find
  And we can act like we come from out of this world
  Leave the real one far behind,
  and we can dance


  And Sing!


  Ah we can go when we want to the night is young and so am I
  And we can dress real neat from our hearts to our feet
  and surprise 'em with the victory cry


  I Say we can act if want to if we don't nobody will
  And you can act real rude and totally removed
  And i can act like an imbecile
  I say we can dance, we can dance everything out control
  We can dance, we can dance we're doing it pole to pole
  We can dance, we can dance everybody look at your hands
  We can dance, we can dance everybody's takin' the chance


  Safety dance


  Oh well the safety dance


  Ah yes the safety dance


  S (s, s, s,).....A (a,a,a).....F(f,f,f)....E(e,e,e).....T(t,t,t)....Y(y,y,y)
  safety(safety, safety, safety) dance (dance, dance, dance)
  We can dance if we want to, we've got all your life and mine
  As long as we abuse it, never gonna lose it
  Everything'll work out right
  I say, we can dance if we want to we can leave your friends behind
             Case 3:23-cv-01092              Document 49-6          16611/16/23
                                                                 Filed            Page 167 of 434 PageID #: 1193
BCG_ID_10410_LF.txt[11/10/23, 10:57:46 AM]
  Cause your friends don't dance and if they don't dance
  Well they're no friends of mine
  I say we can dance, we can dance everythings out control
  We can dance, we can dance we're doing it from pole to pole
  We can dance, we can dance everybody look at your hands
  We can dance, we can dance everybody's takin' the chance
  Oh Well the safety dance
  ah yes the safety dance
  Oh well the safety dance
  Oh well the safety dance
  Oh yes the safety dance
  Oh the safety dance yeah
  Oh it's the safety dance
  It's the safety dance
  Well it's the safety dance
  Oh it's the safety dance
  Oh it's the safety dance
  Oh it's the safety dance
  Oh it's the safety dance

  WRITERS

  Ivan Doroschuk

  PUBLISHERS

  Lyrics © Universal Music Publishing Group




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                                                             Filed            Page 168 of 434 PageID #: 1194
BCG_ID_10410_LF.txt[11/10/23, 10:57:46 AM]
  Lyrics
  A long long time ago
  I can still remember how
  That music used to make me smile
  And I knew if I had my chance
  That I could make those people dance
  And maybe they'd be happy for a while


  But February made me shiver
  With every paper I'd deliver
  Bad news on the doorstep
  I couldn't take one more step


  I can't remember if I cried
  When I read about his widowed bride
  Something touched me deep inside
  The day the music died
  So


  Bye, bye Miss American Pie
  Drove my Chevy to the levee but the levee was dry
  And them good ole boys were drinking whiskey and rye
  Singin' this'll be the day that I die
  This'll be the day that I die


  Did you write the book of love
  And do you have faith in God above
  If the Bible tells you so?
  Now, do you believe in rock and roll?
  Can music save your mortal soul?
  And can you teach me how to dance real slow?


  Well, I know that you're in love with him
  'Cause I saw you dancin' in the gym
  You both kicked off your shoes
  Man, I dig those rhythm and blues


  I was a lonely teenage broncin' buck
  With a pink carnation and a pickup truck
  But I knew I was out of luck
  The day the music died
  I started singin'


  Bye, bye Miss American Pie
  Drove my Chevy to the levee but the levee was dry
  Them good ole boys were drinking whiskey and rye
             Case 3:23-cv-01092              Document 49-6      16811/16/23
                                                             Filed            Page 169 of 434 PageID #: 1195
BCG_ID_10414_LF.txt[11/10/23, 10:57:46 AM]
  And singin' this'll be the day that I die
  This'll be the day that I die


  Now, for ten years we've been on our own
  And moss grows fat on a rolling stone
  But, that's not how it used to be


  When the jester sang for the king and queen
  In a coat he borrowed from James Dean
  And a voice that came from you and me


  Oh, and while the king was looking down
  The jester stole his thorny crown
  The courtroom was adjourned
  No verdict was returned


  And while Lennon read a book on Marx
  The quartet practiced in the park
  And we sang dirges in the dark
  The day the music died
  We were singin'


  Bye, bye Miss American Pie
  Drove my Chevy to the levee but the levee was dry
  Them good ole boys were drinking whiskey and rye
  And singin' this'll be the day that I die
  This'll be the day that I die


  Helter skelter in a summer swelter
  The birds flew off with a fallout shelter
  Eight miles high and falling fast


  It landed foul on the grass
  The players tried for a forward pass
  With the jester on the sidelines in a cast


  Now the half-time air was sweet perfume
  While the sergeants played a marching tune
  We all got up to dance
  Oh, but we never got the chance


  'Cause the players tried to take the field
  The marching band refused to yield
  Do you recall what was revealed
  The day the music died?
           Case 3:23-cv-01092 Document 49-6              16911/16/23
                                                      Filed            Page 170 of 434 PageID #: 1196
BCG_ID_10414_LF.txt[11/10/23, 10:57:46 AM]
  We started singin'


  Bye, bye Miss American Pie
  Drove my Chevy to the levee but the levee was dry
  Them good ole boys were drinking whiskey and rye
  And singin' this'll be the day that I die
  This'll be the day that I die


  Oh, and there we were all in one place
  A generation lost in space
  With no time left to start again


  So come on Jack be nimble, Jack be quick
  Jack Flash sat on a candlestick
  'Cause fire is the devil's only friend


  Oh, and as I watched him on the stage
  My hands were clenched in fists of rage
  No angel born in Hell
  Could break that Satan's spell


  And as the flames climbed high into the night
  To light the sacrificial rite
  I saw Satan laughing with delight
  The day the music died
  He was singin'


  Bye, bye Miss American Pie
  Drove my Chevy to the levee but the levee was dry
  Them good ole boys were drinking whiskey and rye
  Singin' this'll be the day that I die
  This'll be the day that I die


  I met a girl who sang the blues
  And I asked her for some happy news
  But she just smiled and turned away


  I went down to the sacred store
  Where I'd heard the music years before
  But the man there said the music wouldn't play


  And in the streets the children screamed
  The lovers cried, and the poets dreamed
  But not a word was spoken
  The church bells all were broken
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                                                      Filed            Page 171 of 434 PageID #: 1197
BCG_ID_10414_LF.txt[11/10/23, 10:57:46 AM]
  And the three men I admire most
  The Father, Son, and the Holy Ghost
  They caught the last train for the coast
  The day the music died
  And they were singing


  Bye, bye Miss American Pie
  Drove my Chevy to the levee but the levee was dry
  And them good ole boys were drinking whiskey and rye
  Singin' this'll be the day that I die
  This'll be the day that I die


  They were singing
  Bye, bye Miss American Pie
  Drove my Chevy to the levee but the levee was dry
  Them good ole boys were drinking whiskey and rye
  Singin' this'll be the day that I die

  WRITERS

  Don McLean

  PUBLISHERS

  Lyrics © Universal Music Publishing Group




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                                                             Filed            Page 172 of 434 PageID #: 1198
BCG_ID_10414_LF.txt[11/10/23, 10:57:46 AM]
  Lyrics
  When the road gets dark
  And you can no longer see
  Just let my love throw a spark
  And have a little faith in me


  And when the tears you cry
  Are all you can believe
  Just give these loving arms a try
  And have a little faith in me
  And


  [Chorus]
  Have a little faith in me
  Have a little faith in me
  Have a little faith in me
  Have a little faith in me


  When your secret heart
  Cannot speak so easily
  Come here darlin'
  From a whisper start
  To have a little faith in me


  And when your back's against the wall
  Just turn around and you will see
  I will catch, I will catch your fall baby
  Just have a little faith in me


  [Chorus]

  WRITERS

  JOHN HIATT

  PUBLISHERS

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             Case 3:23-cv-01092              Document 49-6      17211/16/23
                                                             Filed            Page 173 of 434 PageID #: 1199
BCG_ID_10415_LF.txt[11/10/23, 10:57:47 AM]
  Lyrics
  Don't think me unkind
  Words are hard to find
  They're only cheques I've left unsigned
  From the banks of chaos in my mind


  And when their eloquence escapes me
  Their logic ties me up and rapes me


  De-do-do-do, de-da-da-da
  Is all I want to say to you
  De-do-do-do, de-da-da-da
  Their innocence will pull me through
  De-do-do-do, de-da-da-da
  Is all I want to say to you
  De-do-do-do, de-da-da-da
  They're meaningless and all that's true


  Poets, priests and politicians
  Have words to thank for their positions
  Words that scream for your submission
  And no one's jamming their transmission


  'Cause when their eloquence escapes you
  Their logic ties you up and rapes you


  De-do-do-do, de-da-da-da
  Is all I want to say to you
  De-do-do-do, de-da-da-da
  Their innocence will pull me through
  De-do-do-do, de-da-da-da
  Is all I want to say to you
  De-do-do-do, de-da-da-da
  They're meaningless and all that's true


  De-do-do-do, de-da-da-da
  Is all I want to say to you
  De-do-do-do, de-da-da-da
  Their innocence will pull me through
  De-do-do-do, de-da-da-da
  Is all I want to say to you
  De-do-do-do, de-da-da-da
  They're meaningless and all that's true

  WRITERS

  Gordon Sumner
             Case 3:23-cv-01092              Document 49-6      17311/16/23
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BCG_ID_10428_LF.txt[11/10/23, 10:57:47 AM]
  PUBLISHERS

  Lyrics © Universal Music Publishing Group




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                                                             Filed            Page 175 of 434 PageID #: 1201
BCG_ID_10428_LF.txt[11/10/23, 10:57:47 AM]
  Lyrics
  Darkness at the break of noon
  Shadows even the silver spoon
  The handmade blade, the child's balloon
  Eclipses both the sun and moon
  To understand you know too soon
  There is no sense in trying


  Pointed threats, they bluff with scorn
  Suicide remarks are torn
  From the fool's gold mouthpiece
  The hollow horn plays wasted words
  Proves to warn that he not busy being born
  Is busy dying


  Temptation's page flies out the door
  You follow, find yourself at war
  Watch waterfalls of pity roar
  You feel to moan but unlike before
  You discover that you'd just be
  One more person crying


  So don't fear if you hear
  A foreign sound to your ear
  It's alright, Ma, I'm only sighing


  As some warn victory, some downfall
  Private reasons great or small
  Can be seen in the eyes of those that call
  To make all that should be killed to crawl
  While others say don't hate nothing at all
  Except hatred


  Disillusioned words like bullets bark
  As human gods aim for their mark
  Made everything from toy guns that spark
  To flesh-colored Christs that glow in the dark
  It's easy to see without looking too far
  That not much is really sacred


  While preachers preach of evil fates
  Teachers teach that knowledge waits
  Can lead to hundred-dollar plates
  Goodness hides behind its gates
  But even the president of the United States
  Sometimes must have to stand naked

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                                                             Filed            Page 176 of 434 PageID #: 1202
BCG_ID_10431_LF.txt[11/10/23, 10:57:47 AM]
  An' though the rules of the road have been lodged
  It's only people's games that you got to dodge
  And it's alright, Ma, I can make it


  Advertising signs that con you
  Into thinking you're the one
  That can do what's never been done
  That can win what's never been won
  Meantime life outside goes on
  All around you


  You lose yourself, you reappear
  You suddenly find you got nothing to fear
  Alone you stand with nobody near
  When a trembling distant voice, unclear
  Startles your sleeping ears to hear
  That somebody thinks they really found you


  A question in your nerves is lit
  Yet you know there is no answer fit to satisfy
  Insure you not to quit
  To keep it in your mind and not fergit
  That it is not he or she or them or it
  That you belong to


  Although the masters make the rules
  For the wise men and the fools
  I got nothing, Ma, to live up to


  For them that must obey authority
  That they do not respect in any degree
  Who despise their jobs, their destinies
  Speak jealously of them that are free
  Do what they do just to be nothing more than something they invest in


  While some on principles baptized
  To strict party platform ties
  Social clubs in drag disguise
  Outsiders they can freely criticize
  Tell nothing except who to idolize
  And then say God bless him


  While one who sings with his tongue on fire
  Gargles in the rat race choir
  Bent out of shape from society's pliers
  Cares not to come up any higher
             Case 3:23-cv-01092              Document 49-6      17611/16/23
                                                             Filed            Page 177 of 434 PageID #: 1203
BCG_ID_10431_LF.txt[11/10/23, 10:57:47 AM]
  But rather get you down in the hole that he's in


  But I mean no harm nor put fault
  On anyone that lives in a vault
  But it's alright, Ma, if I can't please him


  Old lady judges watch people in pairs
  Limited in sex, they dare
  To push fake morals, insult and stare
  While money doesn't talk, it swears
  Obscenity, who really cares
  Propaganda, all is phony


  While them that defend what they cannot see
  With a killer's pride, security
  It blows the minds most bitterly
  For them that think death's honesty
  Won't fall upon them naturally
  Life sometimes must get lonely


  My eyes collide head-on with stuffed graveyards
  False gods, I scuff
  At pettiness which plays so rough
  Walk upside-down inside handcuffs
  Kick my legs to crash it off
  Say okay, I have had enough
  What else can you show me


  And if my thought-dreams could be seen
  They'd probably put my head in a guillotine
  But it's alright, Ma, it's life, and life only

  WRITERS

  BOB DYLAN

  PUBLISHERS

  Lyrics © Universal Music Publishing Group




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                                                             Filed            Page 178 of 434 PageID #: 1204
BCG_ID_10431_LF.txt[11/10/23, 10:57:47 AM]
  Lyrics
  Up on the hill
  People never stare
  They just don't care
  Chinese music under banyan trees
  Here at the dude ranch above the sea
  Aja
  When all my dime dancin' is through
  I run to you


  Up on the hill
  They've got time to burn
  There's no return
  Double helix in the sky tonight
  Throw out the hardware
  Let's do it right
  Aja
  When all my dime dancin' is through
  I run to you


  Up on the hill
  They think I'm okay
  Or so they say
  Chinese music always sets me free
  Angular banjoes
  Sound good to me
  Aja
  When all my dime dancin' is through
  I run to you

  WRITERS

  DONALD JAY FAGEN, WALTER CARL BECKER

  PUBLISHERS

  Lyrics © Universal Music Publishing Group




             Case 3:23-cv-01092              Document 49-6      17811/16/23
                                                             Filed            Page 179 of 434 PageID #: 1205
BCG_ID_10433_LF.txt[11/10/23, 10:57:47 AM]
  Lyrics
  They asked me how I knew
  My true love was true
  I of course replied
  Something here inside cannot be denied
  They said "someday you'll find all who love are blind"
  When your heart's on fire,
  You must realize, smoke gets in your eyes


  So I chaffed them and I gaily laughed
  To think they could doubt my love
  Yet today my love has flown away,
  I am without my love (without my love)


  Now laughing friends deride
  Tears I cannot hide
  So I smile and say
  When a lovely flame dies, smoke gets in your eyes


  (Smoke gets in your eyes, smoke gets in your eyes)


  Smoke gets in your eyes

  WRITERS

  Otto Harbach, Jerome Kern

  PUBLISHERS

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                                                             Filed            Page 180 of 434 PageID #: 1206
BCG_ID_10435_LF.txt[11/10/23, 10:57:47 AM]
  Lyrics
  Greeting cards have all been sent
  The Christmas rush is through
  But I still have one wish to make
  A special one for you


  Merry Christmas darling
  We're apart that's true
  But I can dream and in my dreams
  I'm Christmasing with you


  Holidays are joyful
  There's always something new
  But ev'ryday's a holiday
  When I'm near to you


  The lights on my tree
  I wish you could see
  I wish it ev'ry day
  Logs on the fire
  Fill me with desire
  To see you and to say


  That I wish you Merry Christmas (Merry Christmas darling)
  Happy New Year too
  I've just one wish on this Christmas Eve
  (On this Christmas Eve)
  I wish I were with you


  The logs on the fire
  Fill me with desire
  To see you and to say


  That I wish you Merry Christmas (Merry Christmas darling)
  Happy New Year too
  I've just one wish on this Christmas Eve
  (On this Christmas Eve)
  I wish I were with you
  I wish I were with you


  (Merry Christmas, Merry Christmas, Merry Christmas)
  (Merry Christmas darling

  WRITERS

  Frank Pooler, Richard Lynn Carpenter
             Case 3:23-cv-01092              Document 49-6      18011/16/23
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BCG_ID_10442_LF.txt[11/10/23, 10:57:47 AM]
  PUBLISHERS

  Lyrics © Universal Music Publishing Group




             Case 3:23-cv-01092              Document 49-6      18111/16/23
                                                             Filed            Page 182 of 434 PageID #: 1208
BCG_ID_10442_LF.txt[11/10/23, 10:57:47 AM]
  Lyrics
  You'll remember me when the west wind moves
  Upon the fields of barley
  You'll forget the sun in his jealous sky
  As we walk in fields of gold


  So she took her love for to gaze awhile
  Upon the fields of barley
  In his arms she fell as her hair came down
  Among the fields of gold


  Will you stay with me? Will you be my love?
  Among the fields of barley
  We'll forget the sun in his jealous sky
  As we lie in fields of gold


  See the west wind move like a lover so
  Upon the fields of barley
  Feel her body rise when you kiss her mouth
  Among the fields of gold


  I never made promises lightly
  And there have been some that I've broken
  But I swear in the days still left
  We'll walk in fields of gold
  We walk in fields of gold


  Many years have passed since those summer days
  Among the fields of barley
  See the children run as the sun goes down
  Among the fields of gold


  You'll remember me when the west wind moves
  Upon the fields of barley
  You can tell the sun in his jealous sky
  When we walked in fields of gold
  When we walked in fields of gold
  When we walked in fields of gold

  WRITERS

  Gordon Sumner

  PUBLISHERS

  Lyrics © Universal Music Publishing Group

             Case 3:23-cv-01092              Document 49-6      18211/16/23
                                                             Filed            Page 183 of 434 PageID #: 1209
BCG_ID_10445_LF.txt[11/10/23, 10:57:47 AM]
  Lyrics
  'Twas in another lifetime, one of toil and blood
  When blackness was a virtue the road was full of mud
  I came in from the wilderness, a creature void of form
  Come in, she said
  I'll give ya shelter from the storm


  And if I pass this way again, you can rest assured
  I'll always do my best for her, on that I give my word
  In a world of steel-eyed death, and men who are fighting to be warm
  Come in, she said
  I'll give ya shelter from the storm


  Not a word was spoke between us, there was little risk involved
  Everything up to that point had been left unresolved
  Try imagining a place where it's always safe and warm
  Come in, she said
  I'll give ya shelter from the storm


  I was burned out from exhaustion, buried in the hail
  Poisoned in the bushes an' blown out on the trail
  Hunted like a crocodile, ravaged in the corn
  Come in, she said
  I'll give ya shelter from the storm


  Suddenly I turned around and she was standin' there
  With silver bracelets on her wrists and flowers in her hair
  She walked up to me so gracefully and took my crown of thorns
  Come in, she said
  I'll give ya shelter from the storm


  Now there's a wall between us, somethin' there's been lost
  I took too much for granted, I got my signals crossed
  Just to think that it all began on an uneventful morn
  Come in, she said
  I'll give ya shelter from the storm


  Well, the deputy walks on hard nails and the preacher rides a mount
  But nothing really matters much, it's doom alone that counts
  And the one-eyed undertaker, he blows a futile horn
  Come in, she said
  I'll give ya shelter from the storm


  I've heard newborn babies wailin' like a mournin' dove
  And old men with broken teeth stranded without love
  Do I understand your question, man, is it hopeless and forlorn
             Case 3:23-cv-01092              Document 49-6      18311/16/23
                                                             Filed            Page 184 of 434 PageID #: 1210
BCG_ID_10446_LF.txt[11/10/23, 10:57:47 AM]
  Come in, she said
  I'll give ya shelter from the storm


  In a little hilltop village, they gambled for my clothes
  I bargained for salvation and she gave me a lethal dose
  I offered up my innocence I got repaid with scorn
  Come in, she said
  I'll give ya shelter from the storm


  Well, I'm livin' in a foreign country but I'm bound to cross the line
  Beauty walks a razor's edge, someday I'll make it mine
  If I could only turn back the clock to when God and her were born
  Come in, she said
  I'll give ya shelter from the storm

  WRITERS

  Bob Dylan

  PUBLISHERS

  Lyrics © Universal Music Publishing Group




             Case 3:23-cv-01092              Document 49-6      18411/16/23
                                                             Filed            Page 185 of 434 PageID #: 1211
BCG_ID_10446_LF.txt[11/10/23, 10:57:47 AM]
  Lyrics
  Ten years ago, on a cold dark night
  There was someone killed 'neath the town hall light
  There were few at the scene, but they all agreed
  That the slayer who ran looked a lot like me


  The judge said, "Son what is your alibi?
  If you were somewhere else then you won't have to die"
  I spoke not a word though it meant my life
  For I had been in the arms of my best friend's wife


  She walks these hills in a long black veil
  She visits my grave when the night winds wail
  Nobody knows, nobody sees
  Nobody knows but me


  The scaffold is high, and eternity nears
  She stood in the crowd and shed not a tear
  But sometimes at night when the cold wind mourns
  In a long black veil she cries over my bones


  She walks these hills in a long black veil
  She visits my grave when the night winds wail
  Nobody knows, nobody sees
  Nobody knows but me, nobody knows but me, nobody knows but me

  WRITERS

  Danny Dill, Marijohn Wilkin

  PUBLISHERS

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             Case 3:23-cv-01092              Document 49-6      18511/16/23
                                                             Filed            Page 186 of 434 PageID #: 1212
BCG_ID_10448_LF.txt[11/10/23, 10:57:47 AM]
  Lyrics
  Well, she was an American girl
  Raised on promises
  She couldn't help thinkin' that there
  Was a little more to life
  Somewhere else
  After all it was a great big world
  With lots of places to run to
  Yeah, and if she had to die tryin'
  She had one little promise
  She was gonna keep


  Oh yeah, alright
  Take it easy baby
  Make it last all night
  She was an American girl


  Well, it was kind of cold that night
  She stood alone on her balcony
  Yeah, she could hear the cars roll by
  Out on 441
  Like waves crashin' on the beach
  And for one desperate moment there
  He crept back in her memory
  God it's so painful
  Something that's so close
  And still so far out of reach


  Oh yeah, alright
  Take it easy, baby
  Make it last all night
  She was an American girl


  Ooh
  Uh-huh-huh
  Uh-huh-huh
  Oh yeah

  WRITERS

  Tom Petty

  PUBLISHERS

  Lyrics © Universal Music Publishing Group




             Case 3:23-cv-01092              Document 49-6      18611/16/23
                                                             Filed            Page 187 of 434 PageID #: 1213
BCG_ID_10449_LF.txt[11/10/23, 10:57:48 AM]
  Lyrics
  Nobody feels any pain
  Tonight as I stand inside the rain
  Everybody knows
  That baby's got new clothes
  But lately I see her ribbons and her bows
  Have fallen from her curls


  She takes just like a woman, yeah, she does
  She makes love just like a woman, yeah, she does
  And she aches just like a woman
  But she breaks just like a little girl


  Queen Mary
  She's my friend
  Yes, I believe I'll go see her again
  Nobody has to guess
  That baby can't be blessed
  'Til she finally sees that she's like all the rest
  With her fog, her amphetamine and her pearls


  She takes just like a woman, yes
  She makes love just like a woman, yeah, she does
  And she aches just like a woman
  But she breaks just like a little girl


  Yeah, it was raining from the first
  And I was dying there of thirst
  So I came in here
  And your long-time curse hurts
  But what's worse
  Is this pain in here
  I can't stay in here
  Ain't it clear that


  I just can't fit
  Yes, I believe it's time for us to quit
  But when we meet again
  Introduced as friends
  Please don't let on that you knew me when
  I was hungry and it was your world


  Ah, you fake just like a woman, yes, you do
  You make love just like a woman, yes, you do
  Then you ache just like a woman
  But you break just like a little girl

             Case 3:23-cv-01092              Document 49-6      18711/16/23
                                                             Filed            Page 188 of 434 PageID #: 1214
BCG_ID_10458_LF.txt[11/10/23, 10:57:48 AM]
  WRITERS

  Bob Dylan

  PUBLISHERS

  Lyrics © Universal Music Publishing Group




             Case 3:23-cv-01092              Document 49-6      18811/16/23
                                                             Filed            Page 189 of 434 PageID #: 1215
BCG_ID_10458_LF.txt[11/10/23, 10:57:48 AM]
  Lyrics
  I watch how the moon
  Sits in the sky in the dark night
  Shining with the light from the sun
  And the sun doesn't give light to the moon assuming
  The moon's going to owe it one
  It makes me think of how you act to me
  You do
  Favors then rapidly, you just
  Turn around and start asking me about
  Things you want back from me
  I'm sick of the tension, sick of the hunger
  Sick of you acting like I owe you this
  Find another place to feed your greed
  While I find a place to rest
  I want to be in another place
  I hate when you say you don't understand
  (You'll see it's not meant to be)
  I want to be in the energy, not with the enemy
  A place for my head


  Maybe someday I'll be just like you and
  Step on people like you do and
  Run away all the people I thought I knew
  I remember back then who you were
  You used to be calm, used to be strong
  Used to be generous but you should've known
  That you'd
  Wear out your welcome now you see
  How quiet it is all alone
  I'm so
  Sick of the tension, sick of the hunger
  Sick of you acting like I owe you this
  Find another place to feed your greed
  While I find a place to rest
  I'm so
  Sick of the tension, sick of the hunger
  Sick of you acting like I owe you this
  Find another place to feed your greed
  While I find a place to rest


  I want to be in another place
  I hate when you say you don't understand
  (You'll see it's not meant to be)
  I want to be in the energy, not with the enemy
  A place for my head


  You try to take the best of me
  Go away
  You try to take the best of me
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                                                             Filed            Page 190 of 434 PageID #: 1216
BCG_ID_10459_LF.txt[11/10/23, 10:57:48 AM]
  Go away
  You try to take the best of me
  Go away
  You try to take the best of me
  Go away
  You try to take the best of me
  Go away
  You try to take the best of me
  Go away
  You try to take the best of me
  Go away
  You try to take the best of me
  Go away


  I want to be in another place
  I hate when you say you don't understand
  (You'll see it's not meant to be)
  I want to be in the energy, not with the enemy
  A place for my head


  Stay away


  I'm so sick of the tension, sick of the hunger (stay)
  Sick of you acting like I owe you this
  Find another place to feed your greed (a-)
  While I find a place to rest


  I'm so sick of the tension, sick of the hunger (-way)
  Sick of you acting like I owe you this
  Find another place, to feed your greed (stay away from me)
  While I find a place to rest

  WRITERS

  Brad Delson, Chester Charles Bennington, Joseph Hahn, Mark Wakefield, Mike Shinoda, Robert G. Bourdon, Dave
  Farrell

  PUBLISHERS

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                                                             Filed            Page 191 of 434 PageID #: 1217
BCG_ID_10459_LF.txt[11/10/23, 10:57:48 AM]
  Lyrics
  Just a young gun with the quick fuse
  I was uptight, wanna let loose
  I was dreaming of bigger things
  And wanna leave my own life behind
  Not a yes sir, not a follower
  Fit the box, fit the mold
  Have a seat in the foyer, take a number
  I was lightning before the thunder


  Thunder, thunder
  Thunder, thun', thunder
  Thun-thun-thunder, thunder, thunder
  Thunder, thun', thunder
  Thun-thun-thunder, thunder


  Thunder, feel the thunder
  Lightning then the thunder
  Thunder, feel the thunder
  Lightning then the thunder
  Thunder, thunder
  Thunder


  Kids were laughing in my classes
  While I was scheming for the masses
  Who do you think you are?
  Dreaming 'bout being a big star
  They say you're basic, they say you're easy
  You're always riding in the back seat
  Now I'm smiling from the stage while
  You were clapping in the nose bleeds


  Thunder
  Thunder, thun', thunder
  Thun-thun-thunder, thunder, thunder
  Thunder, thun', thunder
  Thun-thun-thunder, thunder


  Thunder, feel the thunder
  Lightning then the thunder
  Thunder, feel the thunder
  Lightning then the thunder
  Thunder


  Thunder, feel the thunder
  Lightning then the thunder, thunder

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                                                             Filed            Page 192 of 434 PageID #: 1218
BCG_ID_10463_LF.txt[11/10/23, 10:57:48 AM]
  Thunder, feel the thunder
  Lightning then the thunder, thunder
  Thunder, feel the thunder
  Lightning then the thunder, thunder
  Thunder, feel the thunder
  Lightning then the thunder, thunder
  Thunder, feel the thunder
  Lightning then the thunder, thunder


  Thunder, thunder, thunder
  Thun-thun-thunder, thunder
  Thunder, thunder, thunder
  Thun-thun-thunder, thunder
  Thunder, thunder, thunder
  Thun-thun-thunder, thunder
  Thunder, thunder, thunder
  Thun-thun-thunder, thunder

  WRITERS

  Alexander Junior Grant, Benjamin Arthur McKee, Daniel Coulter Reynolds, Daniel James Platzman, Daniel Wayne
  Sermon, Jayson M. DeZuzio

  PUBLISHERS

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                                                             Filed            Page 193 of 434 PageID #: 1219
BCG_ID_10463_LF.txt[11/10/23, 10:57:48 AM]
  Lyrics
  You must leave now, take what you need, you think will last
  But whatever you wish to keep, you better grab it fast
  Yonder stands your orphan with his gun
  Crying like a fire in the sun
  Look out, the saints are comin' through
  And it's all over now, baby blue


  The highway is for gamblers, better use your sense
  Take what you have gathered from coincidence
  The empty-handed painter from your streets
  Is drawing crazy patterns on your sheets
  The sky, too, is folding under you
  And it's all over now, baby blue


  All your seasick sailors, they are rowing home
  Your empty-handed army is all going home
  You lover who just walked out your door
  Has taken all his blankets from the floor
  The carpet, too, is moving under you
  And it's all over now, baby blue


  Leave your stepping stones behind now, something calls for you
  Forget the dead you've left, they will not follow you
  The vagabond who's rapping at your door
  Is standing in the clothes that you once wore
  Strike another match, go start anew
  And it's all over now, baby blue

  WRITERS

  Bob Dylan

  PUBLISHERS

  Lyrics © Universal Music Publishing Group




             Case 3:23-cv-01092              Document 49-6      19311/16/23
                                                             Filed            Page 194 of 434 PageID #: 1220
BCG_ID_10465_LF.txt[11/10/23, 10:57:48 AM]
  Lyrics
  It's undeniable
  That we should be together
  It's unbelievable
  How I used to say
  That I'd fall never
  The bases you need to know
  If you don't know
  Just how I feel
  Then let me show you now
  That I'm for real
  If all things in time
  Time will reveal, yeah-yeah


  One
  You're like a dream come true
  Two
  Just wanna be with you
  Three
  Girl, it's plain to see
  That you're the only one for me
  And four
  Repeat steps one through three
  Five
  Make you fall in love with me
  If ever I believe my work is done
  Then I'll start back at one, yeah-yeah


  It's so incredible
  The way things work themselves out
  And all emotional
  Once you know what it's all about, hey
  And undesirable for us to be apart
  I never would have made it very far
  'Cause you know you've got the keys to my heart


  'Cause one
  You're like a dream come true
  Two
  Just wanna be with you
  Three
  Girl, it's plain to see
  That you're the only one for me
  And four
  Repeat steps one through three
  Five
  Make you fall in love with me
  If ever I believe my work is done
  Then I'll start back

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                                                             Filed            Page 195 of 434 PageID #: 1221
BCG_ID_10468_LF.txt[11/10/23, 10:57:48 AM]
  Say farewell to the dark of night
  I see the coming of the sun
  I feel like a little child
  Whose life has just begun
  You came and breathed new life
  Into this lonely heart of mine
  You threw out the lifeline
  Just in the nick of time


  One
  You're like a dream come true
  Two
  Just wanna be with you
  Three
  Girl, it's plain to see
  That you're the only one for me
  And four
  Repeat steps one through three
  Five
  Make you fall in love with me
  If ever I believe my work is done
  Then I'll start back at one

  WRITERS

  Brian Kelly Mcknight

  PUBLISHERS

  Lyrics © Universal Music Publishing Group




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                                                             Filed            Page 196 of 434 PageID #: 1222
BCG_ID_10468_LF.txt[11/10/23, 10:57:48 AM]
  Lyrics
  Jeremiah was a bullfrog
  Was a good friend of mine
  I never understood a single word he said
  But I helped him a-drink his wine
  And he always had some mighty fine wine


  Singin' joy to the world
  All the boys and girls now
  Joy to the fishes in the deep blue sea
  Joy to you and me


  And if I were the king of the world
  Tell you what I'd do
  I'd throw away the cars and the bars and the war
  Make sweet love to you


  Sing it now, joy to the world
  All the boys and girls
  Joy to the fishes in the deep blue sea
  Joy to you and me


  You know I love the ladies
  Love to have my fun
  I'm a high life flyer and a rainbow rider
  A straight shootin' son-of-a-gun
  I said a straight shootin' son-of-a-gun


  Joy to the world
  All the boys and girls
  Joy to the fishes in the deep blue sea
  Joy to you and me


  Joy to the world
  All the boys and girls
  Joy to the world
  Joy to you and me


  Joy to the world
  All the boys and girls
  Joy to the fishes in the deep blue sea
  Joy to you and me


  Joy to the world
  Joy to you and me
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                                                             Filed            Page 197 of 434 PageID #: 1223
BCG_ID_10477_LF.txt[11/10/23, 10:57:48 AM]
  Joy to the world
  All the boys and girls now
  Joy to the fishes in the deep blue sea
  Joy to you and me


  Joy to the world
  All the boys and girls
  Joy to the fishes in the deep blue sea
  Joy to you and me


  Joy to the world
  All the boys and girls

  WRITERS

  Hoyt Wayne Axton

  PUBLISHERS

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                                                             Filed            Page 198 of 434 PageID #: 1224
BCG_ID_10477_LF.txt[11/10/23, 10:57:48 AM]
  Lyrics
  You may be an ambassador to England or France
  You may like to gamble, you might like to dance
  You may be the heavyweight champion of the world
  You may be a socialite with a long string of pearls


  But you're gonna have to serve somebody, yes indeed
  You're gonna have to serve somebody
  Well, it may be the devil or it may be the Lord
  But you're gonna have to serve somebody


  You might be a rock 'n' roll addict prancing on the stage
  You might have drugs at your command, women in a cage
  You may be a business man or some high-degree thief
  They may call you doctor or they may call you chief


  But you're gonna have to serve somebody, yes you are
  You're gonna have to serve somebody (serve somebody)
  Well, it may be the devil or it may be the Lord
  But you're gonna have to serve somebody


  You may be a state trooper, you might be a young Turk
  You may be the head of some big TV network
  You may be rich or poor, you may be blind or lame
  You may be living in another country under another name


  But you're gonna have to serve somebody, yes you are
  You're gonna have to serve somebody (serve somebody)
  Well, it may be the devil or it may be the Lord
  But you're gonna have to serve somebody (serve somebody)


  You may be a construction worker working on a home
  You may be living in a mansion or you might live in a dome
  You might own guns and you might even own tanks
  You might be somebody's landlord, you might even own banks


  But you're gonna have to serve somebody (serve somebody)
  Yes, you're gonna have to serve somebody (serve somebody)
  Well, it may be the devil or it may be the Lord
  But you're gonna have to serve somebody (serve somebody)


  You may be a preacher with your spiritual pride
  You may be a city councilman taking bribes on the side
  You may be workin' in a barbershop, you may know how to cut hair
  You may be somebody's mistress, may be somebody's heir
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                                                             Filed            Page 199 of 434 PageID #: 1225
BCG_ID_10479_LF.txt[11/10/23, 10:57:48 AM]
  But you're gonna have to serve somebody
  Yes, you're gonna have to serve somebody (serve somebody)
  Well, it may be the devil or it may be the Lord
  But you're gonna have to serve somebody (serve somebody)


  Might like to wear cotton, might like to wear silk
  Might like to drink whiskey, might like to drink milk
  You might like to eat caviar, you might like to eat bread
  You may be sleeping on the floor, sleeping in a king sized bed


  But you're gonna have to serve somebody (serve somebody) yes, indeed
  You're gonna have to serve somebody (serve somebody)
  Well, it may be the devil or it may be the Lord
  But you're gonna have to serve somebody


  You may call me Terry, you may call me Timmy
  You may call me Bobby, you may call me Zimmy
  You may call me R.J., you may call me Ray
  You may call me anything but no matter what you say


  Still, you're gonna have to serve somebody (serve somebody)
  Yes, you're gonna have to serve somebody (serve somebody)
  Well, it may be the devil or it may be the Lord
  But you're gonna have to serve somebody
  Ah, yeah
  (Serve somebody)

  WRITERS

  Bob Dylan

  PUBLISHERS

  Lyrics © Universal Music Publishing Group




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                                                             Filed            Page 200 of 434 PageID #: 1226
BCG_ID_10479_LF.txt[11/10/23, 10:57:48 AM]
  Lyrics
  When she was just a girl, she expected the world
  But it flew away from her reach
  So she ran away in her sleep and dreamed of
  Para-para-paradise, para-para-paradise, para-para-paradise
  Every time she closed her eyes


  When she was just a girl, she expected the world
  But it flew away from her reach and the bullets catch in her teeth
  Life goes on, it gets so heavy
  The wheel breaks the butterfly, every tear a waterfall
  In the night, the stormy night, she'd close her eyes
  In the night, the stormy night, away she'd fly


  And dream of para-para-paradise
  Para-para-paradise
  Para-para-paradise


  (Oh-oh-oh-oh-oh, oh-oh-oh)


  She'd dream of para-para-paradise
  Para-para-paradise
  Para-para-paradise


  (Oh-oh-oh-oh-oh, oh-oh)


  La-la-la-la-la-la-la
  La-la-la-la-la-la-la-la-la-la
  And so lying underneath those stormy skies
  She'd say, "Oh-oh-oh-oh-oh
  I know the sun must set to rise"


  This could be para-para-paradise
  Para-para-paradise


  This could be para-para-paradise
  (Oh-oh-oh-oh-oh, oh-oh-oh)


  This could be para-para-paradise
  Para-para-paradise


  This could be para-para-paradise
  (Oh-oh-oh-oh-oh, oh-oh)
             Case 3:23-cv-01092              Document 49-6      20011/16/23
                                                             Filed            Page 201 of 434 PageID #: 1227
BCG_ID_10480_LF.txt[11/10/23, 10:57:48 AM]
  This could be para-para-paradise
  Para-para-paradise


  This could be para-para-paradise
  (Oh-oh-oh-oh-oh, oh-oh)

  WRITERS

  Christopher Anthony John Martin, Guy Rupert Berryman, Jonathan Mark Buckland, William Champion, Brian Peter
  George Eno

  PUBLISHERS

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             Case 3:23-cv-01092              Document 49-6      20111/16/23
                                                             Filed            Page 202 of 434 PageID #: 1228
BCG_ID_10480_LF.txt[11/10/23, 10:57:48 AM]
  Lyrics
  Though I've tried before to tell her
  Of the feelings I have for her in my heart
  Every time that I come near her
  I just lose my nerve as I've done from the start


  Every little thing she does is magic
  Everything she do just turns me on
  Even though my life before was tragic
  Now I know my love for her goes on


  Do I have to tell the story
  Of a thousand rainy days since we first met?
  It's a big enough umbrella
  But it's always me that ends up getting wet


  Every little thing she does is magic
  Everything she do just turns me on
  Even though my life before was tragic
  Now I know my love for her goes on


  I resolved to call her up a thousand times a day
  And ask her if she'll marry me in some old fashioned way
  But my silent fears have gripped me long before I reach the phone
  Long before my tongue has tripped me, must I always be alone?


  Every little thing she does is magic
  Everything she do just turns me on
  Even though my life before was tragic
  Now I know my love for her goes on
  Every little thing she does is magic
  Everything she do just turns me on
  Even though my life before was tragic
  Now I know my love for her goes on


  Oh yeah, oh yeah, oh yeah
  Every little thing, every little thing
  Every little thing, every little thing
  Every little, every little, every little
  Every little thing she does
  Every little thing she does
  Every little thing she does
  Every little thing she does
  Thing she does is magic


  Ee-oh, ee-oh, ee-oh, ee-oh
             Case 3:23-cv-01092              Document 49-6      20211/16/23
                                                             Filed            Page 203 of 434 PageID #: 1229
BCG_ID_10491_LF.txt[11/10/23, 10:57:49 AM]
  Ee-oh, ee-oh, ee-oh, ee-oh
  Ee-oh, ee-oh, ee-oh, ee-oh
  Ee-oh, ee-oh, ee-oh, ee-oh


  Every little thing
  Every little thing
  Every little thing she do is
  Magic, magic, magic
  Magic, magic, magic


  Hey, oh, yo, oh
  Ee-oh


  Do I have to tell the story
  Of a thousand rainy days since we first met?
  It's a big enough umbrella
  But it's always me that ends up getting wet

  WRITERS

  Gordon Sumner

  PUBLISHERS

  Lyrics © Universal Music Publishing Group




             Case 3:23-cv-01092              Document 49-6      20311/16/23
                                                             Filed            Page 204 of 434 PageID #: 1230
BCG_ID_10491_LF.txt[11/10/23, 10:57:49 AM]
  Lyrics
  Lie awake in bed at night
  And think about your life
  Do you want to be different?
  Try to let go of the truth
  The battles of your youth
  'Cause this is just a game


  It's a beautiful lie
  It's a perfect denial
  Such a beautiful lie to believe in
  So beautiful, beautiful lie makes me


  It's time to forget about the past
  To wash away what happened last
  Hide behind an empty face
  Don't ask too much the same
  'Cause this is just a game


  It's a beautiful lie
  It's a perfect denial
  Such a beautiful lie to believe in
  So beautiful, beautiful lie makes me
  Lie, beautiful, oh


  Everyone's looking at me
  I'm running 'round in circles
  Plagued with a quiet desperation's building higher
  I've got to remember this is just a game


  So beautiful, beautiful
  It's a beautiful lie
  So beautiful, beautiful
  It's a beautiful lie


  So beautiful, beautiful
  It's a beautiful lie
  So beautiful, beautiful
  It's a beautiful lie


  It's a beautiful lie
  It's a perfect denial
  Such a beautiful lie to believe in
  So beautiful, beautiful lie makes me

  WRITERS
             Case 3:23-cv-01092              Document 49-6      20411/16/23
                                                             Filed            Page 205 of 434 PageID #: 1231
BCG_ID_10503_LF.txt[11/10/23, 10:57:49 AM]
  JARED LETO

  PUBLISHERS

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             Case 3:23-cv-01092              Document 49-6      20511/16/23
                                                             Filed            Page 206 of 434 PageID #: 1232
BCG_ID_10503_LF.txt[11/10/23, 10:57:49 AM]
  Lyrics
  So this is what you meant
  When you said that you were spent
  And now it's time to build from the bottom of the pit, right to the top
  Don't hold back
  Packing my bags and giving the Academy a rain check


  I don't ever want to let you down
  I don't ever want to leave this town
  'Cause after all
  This city never sleeps at night


  It's time to begin, isn't it?
  I get a little bit bigger but then I'll admit
  I'm just the same as I was
  Now don't you understand
  I'm never changing who I am


  So this is where you fell
  And I am left to sell
  The path to heaven runs through miles of clouded hell right to the top
  Don't look back
  Turning to rags and giving the commodities a rain check


  I don't ever want to let you down
  I don't ever want to leave this town
  'Cause after all
  This city never sleeps at night


  It's time to begin, isn't it?
  I get a little bit bigger but then I'll admit
  I'm just the same as I was
  Now don't you understand
  I'm never changing who I am


  It's time to begin, isn't it?
  I get a little bit bigger but then I'll admit
  I'm just the same as I was
  Now don't you understand
  I'm never changing who I am


  This road never looked so lonely
  This house doesn't burn down slowly
  To ashes
  To ashes

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                                                             Filed            Page 207 of 434 PageID #: 1233
BCG_ID_10504_LF.txt[11/10/23, 10:57:49 AM]
  It's time to begin, isn't it?
  I get a little bit bigger but then I'll admit
  I'm just the same as I was
  Now don't you understand
  I'm never changing who I am


  It's time to begin, isn't it?
  I get a little bit bigger but then I'll admit
  I'm just the same as I was
  Now don't you understand
  I'm never changing who I am

  WRITERS

  Benjamin Arthur McKee, Daniel Coulter Reynolds, Daniel Wayne Sermon

  PUBLISHERS

  Lyrics © Universal Music Publishing Group




             Case 3:23-cv-01092              Document 49-6      20711/16/23
                                                             Filed            Page 208 of 434 PageID #: 1234
BCG_ID_10504_LF.txt[11/10/23, 10:57:49 AM]
  Lyrics
  Yeah


  Sunday morning, rain is falling
  Steal some covers, share some skin
  Clouds are shrouding us in moments unforgettable
  You twist to fit the mold that I am in


  But things just get so crazy, living life gets hard to do
  And I would gladly hit the road, get up and go if I knew
  That someday it would lead me back to you
  That someday it would lead me back to you (someday)


  That may be all I'll need (all I need)
  In darkness, she is all I see (all I see)
  Come and rest your bones with me
  Driving slow on Sunday morning
  And I never want to leave


  Fingers trace your every outline
  Paint a picture with my hands
  Back and forth we sway like branches in a storm
  Change the weather, still together when it ends


  That may be all I'll need
  In darkness, she is all I see
  Come and rest your bones with me
  Driving slow on Sunday morning
  And I never want to leave, yeah


  Oh, ah yeah
  But things just get so crazy, living life gets hard to do
  Sunday morning, rain is falling and I'm calling out to you
  Singing, someday it'll bring me back to you
  Find a way to bring myself back home to you


  You may not know that may be all I'll need
  In darkness, she is all I see (you are all I see)
  Come and rest your bones with me
  Driving slow on Sunday morning (and I never want to leave)
  Driving slow (yeah, yeah, ah, yeah, yeah)


  Ah yeah, yeah (all I need)
  Ah yeah, yeah
  Ah yeah, yeah
             Case 3:23-cv-01092              Document 49-6      20811/16/23
                                                             Filed            Page 209 of 434 PageID #: 1235
BCG_ID_10505_LF.txt[11/10/23, 10:57:49 AM]
  Ah yeah, yeah
  There's flower in your hair
  I'm a flower in your hair, oh, oh yeah, yeah
  Yeah, yeah, ah, whoa, oh, yeah whoo

  WRITERS

  Adam Levine, James B. Valentine, Jesse Royal Carmichael, Michael Allen Madden, Ryan Michael Dusick

  PUBLISHERS

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             Case 3:23-cv-01092              Document 49-6      20911/16/23
                                                             Filed            Page 210 of 434 PageID #: 1236
BCG_ID_10505_LF.txt[11/10/23, 10:57:49 AM]
  Lyrics
  The rusted chains of prison moons
  Are shattered by the sun
  I walk a road, horizons change
  The tournament's begun
  The purple piper plays his tune
  The choir softly sing
  Three lullabies in an ancient tongue
  For the court of the crimson king


  (Ah-ah-ah)
  (Ah-ah-ah)
  (Ah-ah-ah)


  The keeper of the city keys
  Put shutters on the dreams
  I wait outside the pilgrim's door
  With insufficient schemes
  The black queen chants
  The funeral march
  The cracked brass bells will ring
  To summon back the fire witch
  To the court of the crimson king


  (Ah-ah-ah)
  (Ah-ah-ah)
  (Ah-ah-ah)


  (Ah-ah-ah)
  (Ah-ah-ah)


  (Ah-ah-ah)
  (Ah-ah-ah)


  The gardener plants an evergreen
  Whilst trampling on a flower
  I chase the wind of a prism ship
  To taste the sweet and sour
  The pattern juggler lifts his hand
  The orchestra begin
  As slowly turns the grinding wheel
  In the court of the crimson king


  (Ah-ah-ah)
  (Ah-ah-ah)
  (Ah-ah-ah)
             Case 3:23-cv-01092              Document 49-6      21011/16/23
                                                             Filed            Page 211 of 434 PageID #: 1237
BCG_ID_10509_LF.txt[11/10/23, 10:57:49 AM]
  On soft gray mornings widows cry
  The wise men share a joke
  I run to grasp divining signs
  To satisfy the hoax
  The yellow jester does not play
  But gentle pulls the strings
  And smiles as the puppets dance
  In the court of the crimson king


  (Ah-ah-ah)
  (Ah-ah-ah)
  (Ah-ah-ah)


  (Ah-ah-ah)
  (Ah-ah-ah)

  WRITERS

  Greg Lake, Ian Mcdonald, Michael Rex Giles, Peter John Sinfield, Robert Fripp

  PUBLISHERS

  Lyrics © Universal Music Publishing Group




             Case 3:23-cv-01092              Document 49-6      21111/16/23
                                                             Filed            Page 212 of 434 PageID #: 1238
BCG_ID_10509_LF.txt[11/10/23, 10:57:49 AM]
  Lyrics
  It won't be easy, you'll think it strange
  When I try to explain how I feel
  That I still need your love after all that I've done


  You won't believe me
  All you will see is a girl you once knew
  Although she's dressed up to the nines
  At sixes and sevens with you


  I had to let it happen, I had to change
  Couldn't stay all my life down at heel
  Looking out of the window, staying out of the sun


  So I chose freedom
  Running around, trying everything new
  But nothing impressed me at all
  I never expected it to


  Don't cry for me Argentina
  The truth is I never left you
  All through my wild days
  My mad existence
  I kept my promise
  Don't keep your distance


  And as for fortune, and as for fame
  I never invited them in
  Though it seemed to the world they were all I desired


  They are illusions
  They are not the solutions they promised to be
  The answer was here all the time
  I love you and hope you love me


  Don't cry for me Argentina


  Don't cry for me Argentina
  The truth is I never left you
  All through my wild days
  My mad existence
  I kept my promise
  Don't keep your distance


             Case 3:23-cv-01092              Document 49-6      21211/16/23
                                                             Filed            Page 213 of 434 PageID #: 1239
BCG_ID_10512_LF.txt[11/10/23, 10:57:49 AM]
  Have I said too much?
  There's nothing more I can think of to say to you
  But all you have to do is look at me to know
  That every word is true

  WRITERS

  Andrew Lloyd Webber, Tim Rice

  PUBLISHERS

  Lyrics © Universal Music Publishing Group




             Case 3:23-cv-01092              Document 49-6      21311/16/23
                                                             Filed            Page 214 of 434 PageID #: 1240
BCG_ID_10512_LF.txt[11/10/23, 10:57:49 AM]
  Lyrics
  Once upon a time you dressed so fine
  Threw the bums a dime in your prime, didn't you?
  People call say 'beware doll, you're bound to fall'
  You thought they were all kidding you
  You used to laugh about
  Everybody that was hanging out
  Now you don't talk so loud
  Now you don't seem so proud
  About having to be scrounging your next meal


  How does it feel, how does it feel?
  To be without a home
  Like a complete unknown, like a rolling stone


  Ahh you've gone to the finest schools, alright Miss Lonely
  But you know you only used to get juiced in it
  Nobody's ever taught you how to live out on the street
  And now you're gonna have to get used to it
  You say you never compromise
  With the mystery tramp, but now you realize
  He's not selling any alibis
  As you stare into the vacuum of his eyes
  And say do you want to make a deal?


  How does it feel, how does it feel?
  To be on your own, with no direction home
  A complete unknown, like a rolling stone


  Ah you never turned around to see the frowns
  On the jugglers and the clowns when they all did tricks for you
  You never understood that it ain't no good
  You shouldn't let other people get your kicks for you
  You used to ride on a chrome horse with your diplomat
  Who carried on his shoulder a Siamese cat
  Ain't it hard when you discovered that
  He really wasn't where it's at
  After he took from you everything he could steal


  How does it feel, how does it feel?
  To be on your own, with no direction home
  Like a complete unknown, like a rolling stone


  Ahh princess on a steeple and all the pretty people
  They're all drinking, thinking that they've got it made
  Exchanging all precious gifts
  But you better take your diamond ring, you better pawn it babe
             Case 3:23-cv-01092              Document 49-6      21411/16/23
                                                             Filed            Page 215 of 434 PageID #: 1241
BCG_ID_10513_LF.txt[11/10/23, 10:57:49 AM]
  You used to be so amused
  At Napoleon in rags and the language that he used
  Go to him he calls you, you can't refuse
  When you ain't got nothing, you got nothing to lose
  You're invisible now, you've got no secrets to conceal


  How does it feel, ah how does it feel?
  To be on your own, with no direction home
  Like a complete unknown, like a rolling stone

  WRITERS

  Bob Dylan

  PUBLISHERS

  Lyrics © Universal Music Publishing Group




             Case 3:23-cv-01092              Document 49-6      21511/16/23
                                                             Filed            Page 216 of 434 PageID #: 1242
BCG_ID_10513_LF.txt[11/10/23, 10:57:49 AM]
  Lyrics
  While she lays sleeping, I stay out late at night and play my songs
  And sometimes all the nights can be so long
  And it's good when I finally make it home, all alone
  While she lays dreaming, I try to get undressed without the light
  And quietly she says how was your night?
  And I come to her and say, it was all right, and I hold her tight


  And she believes in me, I'll never know just what she sees in me
  I told her someday if she was my girl, I could change the world
  With my little songs, I was wrong
  But she has faith in me, and so I go on trying faithfully
  And who knows maybe on some special night, if my song is right
  I will find a way, find a way


  While she lays waiting, I stumble to the kitchen for a bite
  Then I see my old guitar in the night
  Just waiting for me like a secret friend, and there's no end
  While she lays crying, I fumble with a melody or two
  And I'm torn between the things that I should do
  And she says to wake her up when I am through, God her love is true.


  And she believes in me, I'll never know just what she sees in me
  I told her someday if she was my girl, I could change the world
  With my little songs, I was wrong
  But she has faith in me, and so I go on trying faithfully
  And who knows maybe on some special night, if my song is right
  I will find a way, find a way

  WRITERS

  STEVE GIBB

  PUBLISHERS

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             Case 3:23-cv-01092              Document 49-6      21611/16/23
                                                             Filed            Page 217 of 434 PageID #: 1243
BCG_ID_10522_LF.txt[11/10/23, 10:57:50 AM]
  Lyrics
  I don't drink coffee, I take tea, my dear
  I like my toast done on one side
  And you can hear it in my accent when I talk
  I'm an Englishman in New York


  See me walking down Fifth Avenue
  A walking cane here at my side
  I take it everywhere I walk
  I'm an Englishman in New York


  Oh, I'm an alien, I'm a legal alien
  I'm an Englishman in New York
  Oh, I'm an alien, I'm a legal alien
  I'm an Englishman in New York


  If "manners maketh man" as someone said
  He's the hero of the day
  It takes a man to suffer ignorance and smile
  Be yourself no matter what they say


  Oh, I'm an alien, I'm a legal alien
  I'm an Englishman in New York
  Oh, I'm an alien, I'm a legal alien
  I'm an Englishman in New York


  Modesty, propriety can lead to notoriety
  You could end up as the only one
  Gentleness, sobriety are rare in this society
  At night a candle's brighter than the sun


  Takes more than combat gear to make a man
  Takes more than a license for a gun
  Confront your enemies, avoid them when you can
  A gentleman will walk but never run


  If "manners maketh man" as someone said
  He's the hero of the day
  It takes a man to suffer ignorance and smile
  Be yourself no matter what they say
  Be yourself no matter what they say
  Be yourself no matter what they say


  Be yourself no matter what they say (oh, I'm an alien, I'm a legal alien)
  Be yourself no matter what they say (I'm an Englishman in New York)
             Case 3:23-cv-01092              Document 49-6      21711/16/23
                                                             Filed            Page 218 of 434 PageID #: 1244
BCG_ID_10529_LF.txt[11/10/23, 10:57:50 AM]
  Be yourself no matter what they say (oh, I'm an alien, I'm a legal alien)
  Be yourself no matter what they say (I'm an Englishman in New York)
  Be yourself no matter what they say (oh, I'm an alien, I'm a legal alien)
  Be yourself no matter what they say (I'm an Englishman in New York)
  Be yourself no matter what they say (oh, I'm an alien, I'm a legal alien)
  Be yourself no matter what they say (I'm an Englishman in New York)
  Be yourself no matter what they say

  WRITERS

  Gordon Sumner

  PUBLISHERS

  Lyrics © Universal Music Publishing Group




             Case 3:23-cv-01092              Document 49-6      21811/16/23
                                                             Filed            Page 219 of 434 PageID #: 1245
BCG_ID_10529_LF.txt[11/10/23, 10:57:50 AM]
  Lyrics
  I don't know who to trust, no surprise
  (Everyone feels so far away from me)
  Happy thoughts sift through dust and the lies
  (Trying not to break but I'm so tired of this deceit)


  (Every time I try to make myself get back up on my feet)
  (All I ever think about is this)
  (All the tiring time between)
  (And how trying to put my trust in you just takes so much out of me)


  Take everything from the inside and throw it all away
  'Cause I swear for the last time I won't trust myself with you


  Tension is building inside steadily
  (Everyone feels so far away from me)
  Happy thoughts forcing their way out of me
  (Trying not to break but I'm so tired of this deceit)
  (Every time I try to make myself get back up on my feet)
  (All I ever think about is this)
  (All the tiring time between)
  (And how trying to put my trust in you just takes so much out of me)


  Take everything from the inside and throw it all away
  'Cause I swear for the last time I won't trust myself with you


  I won't waste myself on you
  You
  You
  Waste myself on you
  You
  You


  I'll take everything from the inside and throw it all away
  'Cause I swear for the last time I won't trust myself with you


  Everything from the inside and just throw it all away
  'Cause I swear for the last time I won't trust myself with you
  You, you, you

  WRITERS

  Brad Delson, Chester Charles Bennington, Dave Farrell, Joseph Hahn, Mike Shinoda, Robert G. Bourdon

  PUBLISHERS

             Case 3:23-cv-01092              Document 49-6      21911/16/23
                                                             Filed            Page 220 of 434 PageID #: 1246
BCG_ID_10531_LF.txt[11/10/23, 10:57:50 AM]
  Lyrics © Universal Music Publishing Group, Warner Chappell Music, Inc.




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                                                             Filed            Page 221 of 434 PageID #: 1247
BCG_ID_10531_LF.txt[11/10/23, 10:57:50 AM]
  Lyrics
  It's empty in the valley of your heart
  The sun, it rises slowly as you walk
  Away from all the fears
  And all the faults you've left behind


  The harvest left no food for you to eat
  You cannibal, you meat-eater, you see
  But I have seen the same
  I know the shame in your defeat


  But I will hold on hope
  And I won't let you choke
  On the noose around your neck


  And I'll find strength in pain
  And I will change my ways
  I'll know my name as it's called again


  'Cause I have other things to fill my time
  You take what is yours and I'll take mine
  Now let me at the truth
  Which will refresh my broken mind


  So tie me to a post and block my ears
  I can see widows and orphans through my tears
  I know my call despite my faults
  And despite my growing fears


  But I will hold on hope
  And I won't let you choke
  On the noose around your neck


  And I'll find strength in pain
  And I will change my ways
  I'll know my name as it's called again


  So come out of your cave walking on your hands
  And see the world hanging upside down
  You can understand dependence
  When you know the maker's hand


  So make your siren's call
  And sing all you want
             Case 3:23-cv-01092              Document 49-6      22111/16/23
                                                             Filed            Page 222 of 434 PageID #: 1248
BCG_ID_10532_LF.txt[11/10/23, 10:57:50 AM]
  I will not hear what you have to say


  'Cause I need freedom now
  And I need to know how
  To live my life as it's meant to be


  And I will hold on hope
  And I won't let you choke
  On the noose around your neck


  And I'll find strength in pain
  And I will change my ways
  I'll know my name as it's called again

  WRITERS

  Benjamin Walter David Lovett, Edward James Milton Dwane, Marcus Oliver Johnstone Mumford, Winston Aubrey
  Aladar Marshall

  PUBLISHERS

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                                                             Filed            Page 223 of 434 PageID #: 1249
BCG_ID_10532_LF.txt[11/10/23, 10:57:50 AM]
  Lyrics
  Haha, well now
  We call this the act of mating
  But there are several other very important differences
  Between human beings and animals that you should know about


  (I'd appreciate your input)


  Sweat, baby, sweat, baby sex is a Texas drought
  Me and you do the kind of stuff that only Prince would sing about
  So put your hands down my pants and I'll bet you'll feel nuts
  Yes, I'm Siskel, yes, I'm Ebert
  And you're getting two thumbs up
  You've had enough of two-hand touch
  You want it rough, you're out of bounds
  I want you smothered, want you covered
  Like my Waffle House hash browns
  Comin' quicker than FedEx, never reaching apex
  Just like Coca-Cola stock, you are inclined
  To make me rise an hour early just like Daylight Savings Time


  (Do it now)
  You and me, baby, ain't nothin' but mammals
  So let's do it like they do on the Discovery Channel
  (Do it again now)
  You and me, baby, ain't nothin' but mammals
  So let's do it like they do on the Discovery Channel
  (Gettin' horny now)


  Love, the kind you clean up with a mop and bucket
  Like the lost catacombs of Egypt, only God knows where we stuck it
  Hieroglyphics, let me be Pacific, I wanna be down in your South Seas
  But I got this notion that the motion of your ocean
  Means small craft advisory
  So if I capsize in your thighs, high tide, B-5, you sunk my battleship
  Please turn me on, I'm Mr. Coffee with an automatic drip
  So show me yours, I'll show you mine, "Tool Time"
  You'll Lovett just like Lyle
  And then we'll do it doggy style
  So we can both watch X-Files


  (Do it now)
  You and me, baby, ain't nothin' but mammals
  So let's do it like they do on the Discovery Channel
  (Do it again now)
  You and me, baby, ain't nothin' but mammals
  So let's do it like they do on the Discovery Channel
  (Gettin' horny now)
             Case 3:23-cv-01092              Document 49-6      22311/16/23
                                                             Filed            Page 224 of 434 PageID #: 1250
BCG_ID_10533_LF.txt[11/10/23, 10:57:50 AM]
  You and me, baby, ain't nothin' but mammals
  So let's do it like they do on the Discovery Channel
  (Do it again now)
  You and me, baby, ain't nothin' but mammals
  So let's do it like they do on the Discovery Channel


  (Do it now)
  You and me, baby, ain't nothin' but mammals
  So let's do it like they do on the Discovery Channel
  (Do it again now)
  You and me, baby, ain't nothin' but mammals
  So let's do it like they do on the Discovery Channel
  (Gettin' horny now)

  WRITERS

  James M. Franks

  PUBLISHERS

  Lyrics © Universal Music Publishing Group




             Case 3:23-cv-01092              Document 49-6      22411/16/23
                                                             Filed            Page 225 of 434 PageID #: 1251
BCG_ID_10533_LF.txt[11/10/23, 10:57:50 AM]
  Lyrics
  Grandma's hands
  Clapped in church on Sunday morning
  Grandma's hands
  Played a tambourine so well
  Grandma's hands
  Used to issue out a warning
  She'd say, "Billy don't you run so fast
  Might fall on a piece of glass
  "Might be snakes there in that grass"
  Grandma's hands


  Grandma's hands
  Soothed a local unwed mother
  Grandma's hands
  Used to ache sometimes and swell
  Grandma's hands
  Used to lift her face and tell her,
  "Baby, Grandma understands
  That you really love that man
  Put yourself in Jesus hands"
  Grandma's hands


  Grandma's hands
  Used to hand me piece of candy
  Grandma's hands
  Picked me up each time I fell
  Grandma's hands
  Boy, they really came in handy
  She'd say, "Matty don' you whip that boy
  What you want to spank him for?
  He didn' drop no apple core"
  But I don't have Grandma anymore


  If I get to Heaven I'll look for
  Grandma's hands

  WRITERS

  Bill Withers

  PUBLISHERS

  Lyrics © Universal Music Publishing Group




             Case 3:23-cv-01092              Document 49-6      22511/16/23
                                                             Filed            Page 226 of 434 PageID #: 1252
BCG_ID_10544_LF.txt[11/10/23, 10:57:50 AM]
  Lyrics
  Makin' my way downtown
  Walkin' fast, faces pass and I'm homebound
  Starin' blankly ahead, just making my way
  Makin' a way through the crowd


  And I need you
  And I miss you
  And now I wonder


  If I could fall into the sky
  Do you think time would pass me by?
  'Cause you know I'd walk a thousand miles
  If I could just see you tonight


  It's always times like these when I think of you
  And I wonder if you ever think of me
  'Cause everything's so wrong and I don't belong
  Living in your precious memory


  'Cause I'll need you
  And I'll miss you
  And now I wonder


  If I could fall into the sky
  Do you think time would pass me by?
  Oh 'cause you know I'd walk a thousand miles
  If I could just see you tonight


  And I, I don't wanna let you know
  I, I drown in your memory
  I, I don't wanna let this go
  I, I don't


  Makin' my way downtown
  Walkin' fast, faces pass and I'm homebound
  Starin' blankly ahead, just making my way
  Makin' a way through the crowd


  And I still need you
  And I still miss you
  And now I wonder


  If I could fall into the sky
             Case 3:23-cv-01092              Document 49-6      22611/16/23
                                                             Filed            Page 227 of 434 PageID #: 1253
BCG_ID_10545_LF.txt[11/10/23, 10:57:50 AM]
  Do you think time would pass us by?
  'Cause you know I'd walk a thousand miles
  If I could just see you


  If I could fall into the sky
  Do you think time would pass me by?
  'Cause you know I'd walk a thousand miles
  If I could just see you
  If I could just hold you
  Tonight

  WRITERS

  Vanessa Carlton

  PUBLISHERS

  Lyrics © Kanjian Music, Universal Music Publishing Group




             Case 3:23-cv-01092              Document 49-6      22711/16/23
                                                             Filed            Page 228 of 434 PageID #: 1254
BCG_ID_10545_LF.txt[11/10/23, 10:57:50 AM]
  Lyrics
  Days swiftly come and go
  I'm dreaming of her
  She's seeing other guys
  Emotions they stir
  The sun is gone
  The nights are long
  And I am left while the tears fall


  Did you think that I would cry
  On the phone?
  Do you know what it feels like
  Being alone?
  I'll find someone new


  Swing, swing, swing from the tangles of
  My heart is crushed by a former love
  Can you help me find a way
  To carry on again


  Wish cast into the sky
  I'm moving on
  Sweet beginnings to arise
  She knows I was wrong
  The notes are old
  They bend, they fold
  And so do I to a new love


  Did you think that I would cry
  On the phone?
  Do you know what it feels like
  Being alone?
  I'll find someone new


  Swing, swing, swing from the tangles of
  My heart is crushed by a former love
  Can you help me find a way
  To carry on again


  Bury me
  You thought your problems were gone
  Carry me
  Away, away, away


  Swing, swing, swing from the tangles of
  My heart is crushed by a former love
             Case 3:23-cv-01092              Document 49-6      22811/16/23
                                                             Filed            Page 229 of 434 PageID #: 1255
BCG_ID_10549_LF.txt[11/10/23, 10:57:50 AM]
  Can you help me find a way
  To carry on again


  Swing, swing, swing from the tangles of
  My heart is crushed by a former love
  Can you help me find a way
  To carry on again


  Swing, swing, swing from the tangles of
  My heart is crushed by a former love
  Can you help me find a way
  To carry on again

  WRITERS

  Nick Don Wheeler, Tyson V Ritter

  PUBLISHERS

  Lyrics © BMG Rights Management, Universal Music Publishing Group




             Case 3:23-cv-01092              Document 49-6      22911/16/23
                                                             Filed            Page 230 of 434 PageID #: 1256
BCG_ID_10549_LF.txt[11/10/23, 10:57:50 AM]
  Lyrics
  If you're going to San Francisco
  Be sure to wear some flowers in your hair
  If you're going to San Francisco
  You're gonna meet some gentle people there


  For those who come to San Francisco
  Summertime will be a love-in there
  In the streets of San Francisco
  Gentle people with flowers in their hair


  All across the nation
  Such a strange vibration
  People in motion
  There's a whole generation
  With a new explanation
  People in motion
  People in motion


  For those who come to San Francisco
  Be sure to wear some flowers in your hair
  If you come to San Francisco
  Summertime will be a love-in there


  If you come to San Francisco
  Summertime will be a love-in there

  WRITERS

  John Edmund Andrew Phillips

  PUBLISHERS

  Lyrics © Universal Music Publishing Group




             Case 3:23-cv-01092              Document 49-6      23011/16/23
                                                             Filed            Page 231 of 434 PageID #: 1257
BCG_ID_10558_LF.txt[11/10/23, 10:57:51 AM]
  Lyrics
  I was born in the wagon of a travellin' show
  My Mama used to dance for
  The money they'd throw
  Papa would do whatever he could
  Preach a little gospel
  Sell a couple bottles of doctor good


  Gypsys, tramps and thieves
  We'd hear it from the people of the town
  They'd call us gypsies, tramps and thieves
  But every night all the men would come around
  And lay their money down


  Picked up a boy just south of Mobile
  Gave him a ride, filled him with a hot meal
  I was sixteen, he was twenty-one
  Rode with us to Memphis
  And Papa would'a shot him if
  He knew what he'd done


  Gypsys, tramps and thieves
  We'd hear it from the people of the town
  They'd call us gypsies, tramps and thieves
  But every night all the men would come around
  And lay their money down


  I never had schoolin' but he taught me well
  With his smooth southern style
  Three months later I'm a gal in trouble
  And I haven't seen him for a while, oh
  I haven't seen him for a while, oh


  She was born in the wagon of a travelin' show
  Her Mama had to dance for
  The money they'd throw
  Grandpa'd do whatever he could
  Preach a little gospel
  Sell a couple bottles of doctor good


  Gypsys, tramps and thieves
  We'd hear it from the people of the town
  They'd call us gypsies, tramps and thieves
  But every night all the men would come around
  And lay their money down


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                                                             Filed            Page 232 of 434 PageID #: 1258
BCG_ID_10567_LF.txt[11/10/23, 10:57:51 AM]
  Gypsys, tramps and thieves
  We'd hear it from the people of the town
  They'd call us gypsies, tramps and thieves
  But every night all the men would come around
  And lay their money down

  WRITERS

  Bob Stone

  PUBLISHERS

  Lyrics © Universal Music Publishing Group




             Case 3:23-cv-01092              Document 49-6      23211/16/23
                                                             Filed            Page 233 of 434 PageID #: 1259
BCG_ID_10567_LF.txt[11/10/23, 10:57:51 AM]
  Lyrics
  I'm tryin' to tell you somethin' 'bout my life
  Maybe give me insight between black and white
  And the best thing you've ever done for me
  Is to help me take my life less seriously
  It's only life after all, yeah


  Well darkness has a hunger that's insatiable
  And lightness has a call that's hard to hear
  I wrap my fear around me like a blanket
  I sailed my ship of safety 'til I sank it
  I'm crawling on your shores


  And I went to the doctor, I went to the mountains
  I looked to the children, I drank from the fountains
  There's more than one answer to these questions
  Pointing me in a crooked line
  And the less I seek my source for some definitive
  The closer I am to fine, yeah
  The closer I am to fine, yeah


  And I went to see the doctor of philosophy
  With a poster of Rasputin and a beard down to his knee
  He never did marry or see a B-Grade movie
  He graded my performance, he said he could see through me
  I spent four years prostrate to the higher mind
  Got my paper and I was free


  I went to the doctor, I went to the mountains
  I looked to the children, I drank from the fountains
  There's more than one answer to these questions
  Pointing me in a crooked line
  And the less I seek my source for some definitive
  The closer I am to fine, yeah
  The closer I am to fine, yeah


  I stopped by the bar at three A.M.
  To seek solace in a bottle, or possibly a friend
  And I woke up with a headache like my head against a board
  Twice as cloudy as I'd been the night before
  And I went in seeking clarity


  I went to the doctor, I went to the mountains
  I looked to the children, I drank from the fountains
  We go to the doctor, we go to the mountains
  We look to the children, we drink from the fountain
  Yeah, we go to the Bible, we go through the work out
             Case 3:23-cv-01092              Document 49-6      23311/16/23
                                                             Filed            Page 234 of 434 PageID #: 1260
BCG_ID_10570_LF.txt[11/10/23, 10:57:51 AM]
  We read up on revival, we stand up for the lookout
  There's more than one answer to these questions
  Pointing me in a crooked line
  And the less I seek my source for some definitive
  The closer I am to fine
  The closer I am to fine
  The closer I am to fine, yeah

  WRITERS

  Amy Elizabeth Ray, Emily Ann Saliers

  PUBLISHERS

  Lyrics © Universal Music Publishing Group




             Case 3:23-cv-01092              Document 49-6      23411/16/23
                                                             Filed            Page 235 of 434 PageID #: 1261
BCG_ID_10570_LF.txt[11/10/23, 10:57:51 AM]
  Lyrics
  I would say I'm sorry
  If I thought that it would change your mind
  But I know that this time
  I have said too much
  Been too unkind


  I tried to laugh about it
  Cover it all up with lies
  I tried to laugh about it
  Hiding the tears in my eyes
  'Cause boys don't cry
  Boys don't cry


  I would break down at your feet
  And beg forgiveness, plead with you
  But I know that it's too late
  And now there's nothing I can do


  So I try to laugh about it
  Cover it all up with lies
  I try to laugh about it
  Hiding the tears in my eyes
  'Cause boys don't cry
  Boys don't cry


  I would tell you that I loved you
  If I thought that you would stay
  But I know that it's no use
  And you've already gone away


  Misjudged your limits
  Pushed you too far
  Took you for granted
  Thought that you needed me more, more, more


  Now I would do most anything
  To get you back by my side
  But I just keep on laughing
  Hiding the tears in my eyes
  'Cause boys don't cry
  Boys don't cry


  Boys don't cry

  WRITERS
             Case 3:23-cv-01092              Document 49-6      23511/16/23
                                                             Filed            Page 236 of 434 PageID #: 1262
BCG_ID_10571_LF.txt[11/10/23, 10:57:51 AM]
  Laurence Andrew Tolhurst, Michael Stephen Dempsey, Robert James Smith

  PUBLISHERS

  Lyrics © Universal Music Publishing Group




             Case 3:23-cv-01092              Document 49-6      23611/16/23
                                                             Filed            Page 237 of 434 PageID #: 1263
BCG_ID_10571_LF.txt[11/10/23, 10:57:51 AM]
  Lyrics
  Get your motor runnin'
  Head out on the highway
  Lookin' for adventure
  And whatever comes our way


  Yeah, darlin', go make it happen
  Take the world in a love embrace
  Fire all of your guns at once and
  Explode into space


  I like smoke and lightnin'
  Heavy metal thunder
  Racin' with the wind
  And the feelin' that I'm under


  Yeah, darlin', go make it happen
  Take the world in a love embrace
  Fire all of your guns at once and
  Explode into space


  Like a true nature's child
  We were born, born to be wild
  We can climb so high
  I never wanna die


  Born to be wild
  Born to be wild


  Get your motor runnin'
  Head out on the highway
  We're lookin' for adventure
  And whatever comes our way


  Yeah, darlin' go make it happen
  Take the world in a love embrace
  Fire all of your guns at once and
  Explode into space


  Like a true nature's child
  We were born, born to be wild
  We can climb so high
  I never wanna die


             Case 3:23-cv-01092              Document 49-6      23711/16/23
                                                             Filed            Page 238 of 434 PageID #: 1264
BCG_ID_10574_LF.txt[11/10/23, 10:57:51 AM]
  Born to be wild
  Born to be wild

  WRITERS

  Mars Bonfire

  PUBLISHERS

  Lyrics © Universal Music Publishing Group




             Case 3:23-cv-01092              Document 49-6      23811/16/23
                                                             Filed            Page 239 of 434 PageID #: 1265
BCG_ID_10574_LF.txt[11/10/23, 10:57:51 AM]
  Lyrics
  Another day has gone
  I'm still all alone
  How could this be
  You're not here with me
  You never said goodbye
  Someone tell me why
  Did you have to go
  And leave my world so cold


  Everyday I sit and ask myself
  How did love slip away
  Something whispers in my ear and says


  That you are not alone
  For I am here with you
  Though you're far away
  I am here to stay


  But you are not alone
  I am here with you
  Though we're far apart
  You're always in my heart
  You are not alone


  Alone, alone
  Why, alone


  Just the other night
  I thought I heard you cry
  Asking me to come
  And hold you in my arms
  I can hear your prayers
  Your burdens I will bear
  But first I need your hand
  Then forever can begin


  Everyday I sit and ask myself
  How did love slip away
  Something whispers in my ear and says


  That you are not alone
  For I am here with you
  Though you're far away
  I am here to stay

             Case 3:23-cv-01092              Document 49-6      23911/16/23
                                                             Filed            Page 240 of 434 PageID #: 1266
BCG_ID_10581_LF.txt[11/10/23, 10:57:51 AM]
  But you are not alone
  And I am here with you
  Though we're far apart
  You're always in my heart
  For you are not alone


  Whisper three words and I'll come runnin'
  And I and girl you know that I'll be there
  I'll be there


  You are not alone
  I am here with you
  Though you're far away
  I am here to stay


  For you are not alone
  I am here with you
  Though we're far apart
  You're always in my heart


  For you are not alone (you are not alone)
  For I am here with you (I am here with you)
  Though you're far away (though you're far away)
  (You and me) I am here to stay


  For you are not alone (you are always in my heart)
  For I am here with you though we're far apart
  You're always in my heart


  For you are not alone not alone, oh

  WRITERS

  Robert S. Kelly

  PUBLISHERS

  Lyrics © Universal Music Publishing Group




             Case 3:23-cv-01092              Document 49-6      24011/16/23
                                                             Filed            Page 241 of 434 PageID #: 1267
BCG_ID_10581_LF.txt[11/10/23, 10:57:51 AM]
  Lyrics
  Well, I took a walk around the world to ease my troubled mind
  I left my body lying somewhere in the sands of time
  But I watched the world float to the dark side of the moon
  I feel there's nothing I can do, yeah


  I watched the world float to the dark side of the moon
  After all I knew, it had to be something to do with you
  I really don't mind what happens now and then
  As long as you'll be my friend at the end


  If I go crazy, then will you still call me Superman?
  If I'm alive and well, will you be there and holding my hand?
  I'll keep you by my side with my superhuman might
  Kryptonite


  You called me strong, you called me weak
  But still your secrets, I will keep
  You took for granted all the times, I never let you down
  You stumbled in and bumped your head
  If not for me then you'd be dead
  I picked you up and put you back on solid ground


  If I go crazy, then will you still call me Superman?
  If I'm alive and well, will you be there and holding my hand?
  I'll keep you by my side with my superhuman might
  Kryptonite


  If I go crazy, then will you still call me Superman?
  If I'm alive and well, will you be there holding my hand?
  I'll keep you by my side with my superhuman might
  Kryptonite, yeah
  If I go crazy, then will you still call me Superman?
  If I'm alive and well, will you be there and holding my hand?
  I'll keep you by my side with my superhuman might
  Kryptonite


  Whoa, whoa, whoa
  Whoa, whoa, whoa
  Whoa, whoa, whoa

  WRITERS

  Bradley Kirk Arnold, Matthew Darrick Roberts, Robert Todd Harrell

  PUBLISHERS

             Case 3:23-cv-01092              Document 49-6      24111/16/23
                                                             Filed            Page 242 of 434 PageID #: 1268
BCG_ID_10585_LF.txt[11/10/23, 10:57:51 AM]
  Lyrics © Universal Music Publishing Group




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                                                             Filed            Page 243 of 434 PageID #: 1269
BCG_ID_10585_LF.txt[11/10/23, 10:57:51 AM]
  Lyrics
  I don't know how to love him.
  What to do, how to move him.
  I've been changed, yes really changed.
  In these past few days, when I've seen myself,
  I seem like someone else.
  I don't know how to take this.
  I don't see why he moves me.
  He's a man. He's just a man.
  And I've had so many men before,
  In very many ways,
  He's just one more.
  Should I bring him down?
  Should I scream and shout?
  Should I speak of love,
  Let my feelings out?
  I never thought I'd come to this.
  What's it all about?
  Don't you think it's rather funny,
  I should be in this position.
  I'm the one who's always been
  So calm, so cool, no lover's fool,
  Running every show.
  He scares me so.
  I never thought I'd come to this.
  What's it all about?
  Yet, if he said he loved me,
  I'd be lost. I'd be frightened.
  I couldn't cope, just couldn't cope.
  I'd turn my head. I'd back away.
  I wouldn't want to know.
  He scares me so.
  I want him so.
  I love him so.

  WRITERS

  Andrew Lloyd Webber, Tim Rice

  PUBLISHERS

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             Case 3:23-cv-01092              Document 49-6      24311/16/23
                                                             Filed            Page 244 of 434 PageID #: 1270
BCG_ID_10590_LF.txt[11/10/23, 10:57:52 AM]
  Lyrics
  (I bet, I bet my life)
  (I bet my life)
  (I bet my life)
  (I bet my life)


  I know I took the path that you would never want for me
  I know I let you down, didn't I?
  So many sleepless nights where you were waiting up on me
  Well I'm just a slave unto the night


  Now remember when I told you that's the last you'll see of me
  Remember when I broke you down to tears
  I know I took the path that you would never want for me
  I gave you hell through all the years


  So I, I bet my life, I bet my life
  I bet my life for you
  I, I bet my life, I bet my life
  I bet my life for you


  I've been around the world and never in my wildest dreams
  Would I come running home to you
  I've told a million lies but now I tell a single truth
  There's you in everything I do


  Now remember when I told you that's the last you'll see of me
  Remember when I broke you down to tears
  I know I took the path that you would never want for me
  I gave you hell through all the years


  So I, I bet my life, I bet my life
  I bet my life for you
  I, I bet my life, I bet my life
  I bet my life for you


  Don't tell me that I'm wrong
  I've walked that road before
  And left you on your own
  And please believe them when they say
  That it's left for yesterday
  And the records that I've played
  Please forgive me for all I've done


  So I, I bet my life, I bet my life
             Case 3:23-cv-01092              Document 49-6      24411/16/23
                                                             Filed            Page 245 of 434 PageID #: 1271
BCG_ID_10596_LF.txt[11/10/23, 10:57:52 AM]
  I bet my life for you
  I, I bet my life, I bet my life
  I bet my life for you


  I, I bet my, I bet my, I bet my
  I, I bet my, I bet my, I bet my

  WRITERS

  Daniel Coulter Reynolds, Daniel Wayne Sermon, Benjamin Arthur McKee, Daniel James Platzman

  PUBLISHERS

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                                                             Filed            Page 246 of 434 PageID #: 1272
BCG_ID_10596_LF.txt[11/10/23, 10:57:52 AM]
  Lyrics
  Hello, again, hello
  Just called to say hello
  I couldn't sleep at all tonight
  And I know it's late
  I couldn't wait


  Hello, my friend, hello
  Just called to let you know
  I think about you every night
  When I'm here alone
  And you're there at home
  Hello


  Maybe it's been crazy
  And maybe I'm to blame
  But I put my heart above my head
  We've been through it all and you love me just the same
  And when your not there
  I just need to hear


  Hello, my friend, hello
  It's good to need you so
  It's good to love you like I do
  And I feel this way when I hear you say
  Hello


  Hello, my friend, hello
  Just called to let you know
  I think about you every night
  And I know it's late but I could't wait
  Hello

  WRITERS

  ALAN LINDGREN, NEIL DIAMOND

  PUBLISHERS

  Lyrics © Universal Music Publishing Group




             Case 3:23-cv-01092              Document 49-6      24611/16/23
                                                             Filed            Page 247 of 434 PageID #: 1273
BCG_ID_10602_LF.txt[11/10/23, 10:57:52 AM]
  Lyrics
  Won't you let me walk you home from school?
  Won't you let me meet you at the pool?
  Maybe Friday I can
  Get tickets for the dance
  And I'll take you, ooh-ooh


  Won't you tell your dad, "Get off my back"
  Tell him what we said 'bout 'Paint It Black'
  Rock and Roll is here to stay
  Come inside where it's okay
  And I'll shake you, ooh-ooh


  Won't you tell me what you're thinking of?
  Would you be an outlaw for my love?
  If it's so, well, let me know
  If it's no, well, I can go
  I won't make you, ooh-ooh

  WRITERS

  Alex Chilton, Christopher Bell

  PUBLISHERS

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                                                             Filed            Page 248 of 434 PageID #: 1274
BCG_ID_10604_LF.txt[11/10/23, 10:57:52 AM]
  Lyrics
  Who's peekin' out from under a stairway
  Calling a name that's lighter than air
  Who's bending down to give me a rainbow
  Everyone knows it's Windy


  Who's tripping down the streets of the city
  Smilin' at everybody she sees
  Who's reachin' out to capture a moment
  Everyone knows it's Windy


  And Windy has stormy eyes
  That flash at the sound of lies
  And Windy has wings to fly
  Above the clouds (above the clouds)
  Above the clouds (above the clouds)


  And Windy has stormy eyes
  That flash at the sound of lies
  And Windy has wings to fly
  Above the clouds (above the clouds)
  Above the clouds (above the clouds)


  Who's tripping down the streets of the city
  Smilin' at everybody she sees
  Who's reachin' out to capture a moment
  Everyone knows it's Windy


  Who's tripping down the streets of the city
  Smilin' at everybody she sees
  Who's reachin' out to capture a moment
  Everyone knows it's Windy


  Who's tripping down the streets of the city
  Smilin' at everybody she sees
  Who's reachin' out to capture a moment
  Everyone knows it's Windy


  Who's tripping down the streets of the city
  Smilin' at everybody she sees
  Who's reachin' out to capture a moment
  Everyone knows it's Windy


  Who's tripping down the streets of the city
  Smilin' at everybody she sees
             Case 3:23-cv-01092              Document 49-6      24811/16/23
                                                             Filed            Page 249 of 434 PageID #: 1275
BCG_ID_10609_LF.txt[11/10/23, 10:57:52 AM]
  Who's reachin' out to capture a moment

  WRITERS

  Ruthann Friedman

  PUBLISHERS

  Lyrics © Universal Music Publishing Group, Warner Chappell Music, Inc.




             Case 3:23-cv-01092              Document 49-6      24911/16/23
                                                             Filed            Page 250 of 434 PageID #: 1276
BCG_ID_10609_LF.txt[11/10/23, 10:57:52 AM]
  Lyrics
  Your everlasting summer
  You can see it fading fast
  So you grab a piece of something
  That you think is gonna last
  Well you wouldn't even know a diamond
  If you held it in your hand
  The things you think are precious
  I can't understand


  Are you reelin' in the years
  Stowin' away the time
  Are you gatherin' up the tears
  Have you had enough of mine


  Are you reelin' in the years
  Stowin' away the time
  Are you gatherin' up the tears
  Have you had enough of mine


  You been tellin' me you're a genius
  Since you were seventeen
  In all the time I've known you
  I still don't know what you mean
  The weekend at the college
  Didn't turn out like you planned
  The things that pass for knowledge
  I can't understand


  Are you reelin' in the years
  Stowin' away the time
  Are you gatherin' up the tears
  Have you had enough of mine


  Are you reelin' in the years
  Stowin' away the time
  Are you gatherin' up the tears
  Have you had enough of mine


  I spend a lot of money
  And I spent a lot of time
  The trip we made to Hollywood
  Is etched upon my mind
  After all the things we've done and seen
  You find another man
  The things you think are useless
  I can't understand
             Case 3:23-cv-01092              Document 49-6      25011/16/23
                                                             Filed            Page 251 of 434 PageID #: 1277
BCG_ID_10611_LF.txt[11/10/23, 10:57:52 AM]
  Are you reelin' in the years
  Stowin' away the time
  Are you gatherin' up the tears
  Have you had enough of mine


  Are you reelin' in the years
  Stowin' away the time
  Are you gatherin' up the tears
  Have you had enough of mine

  WRITERS

  Donald Jay Fagen, Walter Carl Becker

  PUBLISHERS

  Lyrics © Universal Music Publishing Group




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                                                             Filed            Page 252 of 434 PageID #: 1278
BCG_ID_10611_LF.txt[11/10/23, 10:57:52 AM]
  Lyrics
  What do I do to ignore them behind me?
  Do I follow my instincts blindly?
  Do I hide my pride from these bad dreams
  And give into sad thoughts that are maddening?
  Do I sit here and try to stand it?
  Or do I try to catch them red-handed?
  Do I trust some and get fooled by phoniness
  Or do I trust nobody and live in loneliness?
  Because I can't hold on when I'm stretched so thin
  I make the right moves but I'm lost within
  I put on my daily fa ade but then
  I just end up getting hurt again


  By myself (myself)
  I ask why, but in my mind find
  I can't rely on myself (myself)
  I ask why, but in my mind I find
  I can't rely on myself


  I can't hold on
  To what I want when I'm stretched so thin
  It's all too much to take in
  I can't hold on
  To anything, watching everything spin
  With thoughts of failure sinking in


  If I turn my back I'm defenseless
  And to go blindly seems senseless
  If I hide my pride and let it all go on
  Then they'll take from me 'til everything is gone
  If I let them go I'll be outdone
  But if I try to catch them I'll be outrun
  If I'm killed by the questions like a cancer
  Then I'll be buried in the silence of the answer


  By myself (myself)
  I ask why, but in my mind find
  I can't rely on myself (myself)
  I ask why, but in my mind I find
  I can't rely on myself


  I can't hold on
  To what I want when I'm stretched so thin
  It's all too much to take in
  I can't hold on
  To anything, watching everything spin
  With thoughts of failure sinking in
             Case 3:23-cv-01092              Document 49-6      25211/16/23
                                                             Filed            Page 253 of 434 PageID #: 1279
BCG_ID_10615_LF.txt[11/10/23, 10:57:52 AM]
  How do you think
  I've lost so much?
  I'm so afraid
  I'm out of touch
  How do you expect
  I will know what to do
  When all I know
  Is what you tell me to


  Don't you (know?)
  I can't tell you how to make it (go)
  No matter what I do, how hard I (try)
  I can't seem to convince myself (why)
  I'm stuck on the outside


  Don't you (know?)
  I can't tell you how to make it (go)
  No matter what I do, how hard I (try)
  I can't seem to convince myself (why)
  I'm stuck on the outside


  I can't hold on
  To what I want when I'm stretched so thin
  It's all too much to take in
  I can't hold on
  To anything, watching everything spin
  With thoughts of failure sinking in


  I can't hold on
  To what I want when I'm stretched so thin
  It's all too much to take in
  I can't hold on
  To anything, watching everything spin
  With thoughts of failure sinking in

  WRITERS

  Brad Delson, Chester Charles Bennington, Joseph Hahn, Mike Shinoda, Robert G. Bourdon

  PUBLISHERS

  Lyrics © Universal Music Publishing Group




             Case 3:23-cv-01092              Document 49-6      25311/16/23
                                                             Filed            Page 254 of 434 PageID #: 1280
BCG_ID_10615_LF.txt[11/10/23, 10:57:52 AM]
  Lyrics
  I am a mountain
  I am a tall tree, oh
  I am a swift wind
  Sweeping the country


  I am a river
  Down in the valley, oh
  I am a vision
  And I can see clearly


  If anybody asks you who I am, just stand up tall, look 'em in the face and say


  I'm that star up in the sky
  I'm that mountain peak up high
  Hey I made it, hmm
  I'm the world's greatest


  I'm that little bit of hope
  When my back's against the ropes
  I can feel it, hmm
  I'm the world's greatest


  I am a giant
  I am an eagle, oh
  I am a lion
  Down in the jungle
  I am a marching band
  I am the people, oh
  I am a helping hand
  I am a hero


  If anybody asks you who I am, just stand up tall look 'em in the face and say


  I'm that star up in the sky
  I'm that mountain peak up high
  Hey I made it, hmm
  I'm the world's greatest


  And I'm that little bit of hope
  When my back's against the ropes
  I can feel it, hmm
  I'm the world's greatest


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                                                             Filed            Page 255 of 434 PageID #: 1281
BCG_ID_10616_LF.txt[11/10/23, 10:57:53 AM]
  In the ring of life
  I'll reign love (I will reign)
  And the world will notice a king (oh, yeah)
  Wherever it's darkest
  I'll shine a light (shine a light)
  And mirrors of success reflect in me (me)
  I'm that star up in the sky (oh, yeah, yeah)
  I'm that mountain peak up high (high)
  Hey I made it (said I made it)
  I'm the world's greatest (I'm that little bit)


  I'm that little bit of hope (of hope, yeah)
  When my back's against the ropes (I can)
  I can feel it (feel it)
  I'm the worlds greatest (whoa)


  I'm that star up in the sky (star up in the sky)
  I'm that mountain peak up high (oh yes I am)
  Hey I made it (I done made it)
  I'm the world's greatest


  I'm that little bit of hope (I'm that little bit of hope, yeah)
  When my back's against the ropes (when my back's against the ropes)
  I can feel it (I can feel)
  I'm the world's greatest (I saw the light)


  I'm that star up in the sky (at the end of the tunnel)
  I'm that mountain peak up high (believe in the pot pf gold)
  Hey I made it (at the of the rainbow)
  I'm the world's greatest (and faith was right there)


  I'm that little bit of hope (to pull me through, yeah)
  When my back's against the ropes (used to be lock doors)
  I can feel it (now I can just walk through)
  I'm the world's greatest


  (He's the greatest) Can you feel it?
  (Can you feel it?) He's the greatest
  (He's the greatest) Can you feel it?
  (Can you feel it?) I saw the light
  (He's the greatest) At the end of the tunnel
  (Can you feel it?) Believe in a pot of gold
  (He's the greatest) At the end of a rainbow
  (Can you feel it?) And faith was right there
  (He's the greatest) To pull me through, yeah

  WRITERS

             Case 3:23-cv-01092              Document 49-6      25511/16/23
                                                             Filed            Page 256 of 434 PageID #: 1282
BCG_ID_10616_LF.txt[11/10/23, 10:57:53 AM]
  Robert S. Kelly

  PUBLISHERS

  Lyrics © Universal Music Publishing Group




             Case 3:23-cv-01092              Document 49-6      25611/16/23
                                                             Filed            Page 257 of 434 PageID #: 1283
BCG_ID_10616_LF.txt[11/10/23, 10:57:53 AM]
  Lyrics
  Starry, starry night
  Paint your palette blue and grey
  Look out on a summer's day
  With eyes that know the darkness in my soul
  Shadows on the hills
  Sketch the trees and the daffodils
  Catch the breeze and the winter chills
  In colors on the snowy linen land


  Now I understand
  What you tried to say to me
  And how you suffered for your sanity
  And how you tried to set them free
  They would not listen, they did not know how
  Perhaps they'll listen now


  Starry, starry night
  Flaming flowers that brightly blaze
  Swirling clouds in violet haze
  Reflect in Vincent's eyes of china blue
  Colors changing hue
  Morning fields of amber grain
  Weathered faces lined in pain
  Are soothed beneath the artist's loving hand


  Now I understand
  What you tried to say to me
  And how you suffered for your sanity
  And how you tried to set them free
  They would not listen, they did not know how
  Perhaps they'll listen now


  For they could not love you
  But still your love was true
  And when no hope was left in sight
  On that starry, starry night
  You took your life, as lovers often do
  But I could have told you, Vincent
  This world was never meant for one
  As beautiful as you


  Starry, starry night
  Portraits hung in empty halls
  Frameless heads on nameless walls
  With eyes that watch the world and can't forget
  Like the strangers that you've met
  The ragged men in ragged clothes
             Case 3:23-cv-01092              Document 49-6      25711/16/23
                                                             Filed            Page 258 of 434 PageID #: 1284
BCG_ID_10618_LF.txt[11/10/23, 10:57:53 AM]
  A silver thorn, a bloody rose
  Lie crushed and broken on the virgin snow


  Now I think I know
  What you tried to say to me
  And how you suffered for your sanity
  And how you tried to set them free
  They would not listen, they're not listening still
  Perhaps they never will

  WRITERS

  Don McLean

  PUBLISHERS

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             Case 3:23-cv-01092              Document 49-6      25811/16/23
                                                             Filed            Page 259 of 434 PageID #: 1285
BCG_ID_10618_LF.txt[11/10/23, 10:57:53 AM]
  Lyrics
  Spring was never waiting for us, dear
  It ran one step ahead
  As we followed in the dance


  MacArthur's Park is melting in the dark
  All the sweet, green icing flowing down
  Someone left the cake out in the rain
  I don't think that I can take it
  'Cause it took so long to bake it
  And I'll never have that recipe again
  Oh, no


  I recall the yellow cotton dress
  Foaming like a wave
  On the ground beneath your knees
  The birds, like tender babies in your hands
  And the old men playing Chinese checkers by the trees


  MacArthur's Park is melting in the dark
  All the sweet, green icing flowing down
  Someone left the cake out in the rain
  I don't think that I can take it
  'Cause it took so long to bake it
  And I'll never have that recipe again
  Oh, no


  MacArthur's Park is melting in the dark
  All the sweet, green icing flowing down
  Someone left my cake out in the rain
  And I don't think that I can take it
  'Cause it took so long to bake it
  And I'll never have that recipe again
  Oh, no, oh

  WRITERS

  Jimmy Webb

  PUBLISHERS

  Lyrics © Universal Music Publishing Group, Spirit Music Group, Warner Chappell Music, Inc.




             Case 3:23-cv-01092              Document 49-6      25911/16/23
                                                             Filed            Page 260 of 434 PageID #: 1286
BCG_ID_10627_LF.txt[11/10/23, 10:57:53 AM]
  Lyrics
  Well, East coast girls are hip
  I really dig those styles they wear
  And the Southern girls with the way they talk
  They knock me out when I'm down there


  The Midwest farmer's daughters really make you feel alright
  And the Northern girls with the way they kiss
  They keep their boyfriends warm at night


  I wish they all could be California (girls)
  I wish they all could be California
  I wish they all could be California girls


  The West coast has the sunshine
  And the girls all get so tanned
  I dig a French bikini on Hawaiian island
  Dolls by a palm tree in the sand


  I been all around this great big world
  And I seen all kinds of girls
  Yeah, but I couldn't wait to get back in the States
  Back to the cutest girls in the world


  I wish they all could be California (girls)
  I wish they all could be California
  I wish they all could be California girls


  I wish they all could be California girls
  (Girls, girls, girls, yeah I dig the)
  I wish they all could be California girls
  (Girls, girls, girls, yeah I dig the)
  I wish they all could be California girls
  (Girls, girls, girls, yeah I dig the)
  I wish they all could be California girls
  (Girls, girls, girls, yeah I dig the)
  I wish they all could be California girls
  (Girls, girls, girls, yeah I dig the)
  I wish they all could be California girls
  (Girls, girls, girls, yeah I dig the)

  WRITERS

  Brian Douglas Wilson, Michael Edward Love

  PUBLISHERS

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BCG_ID_10631_LF.txt[11/10/23, 10:57:53 AM]
  Lyrics © Universal Music Publishing Group




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                                                             Filed            Page 262 of 434 PageID #: 1288
BCG_ID_10631_LF.txt[11/10/23, 10:57:53 AM]
  Lyrics
  How fickle my heart and how woozy my eyes
  I struggle to find any truth in your lies
  And now my heart stumbles on things I don't know
  My weakness I feel I must finally show


  Lend me your hand and we'll conquer them all
  But lend me your heart and I'll just let you fall
  Lend me your eyes I can change what you see
  But your soul you must keep, totally free
  Har har, har har, har har, har har


  Awake my soul, awake my soul
  Awake my soul


  How fickle my heart and how woozy my eyes
  I struggle to find any truth in your lies
  And now my heart stumbles on things I don't know
  My weakness I feel I must finally show
  Har har, har har, har har, har har


  In these bodies we will live, in these bodies we will die
  Where you invest your love, you invest your life
  In these bodies we will live, in these bodies we will die
  And where you invest your love, you invest your life


  Awake my soul, awake my soul
  Awake my soul
  For you were made to meet your maker
  Awake my soul, awake my soul
  Awake my soul
  For you were made to meet your maker
  You were made to meet your maker

  WRITERS

  Benjamin Walter David Lovett, Edward James Milton Dwane, Marcus Oliver Johnstone Mumford, Winston Aubrey
  Aladar Marshall

  PUBLISHERS

  Lyrics © Universal Music Publishing Group




             Case 3:23-cv-01092              Document 49-6       26211/16/23
                                                              Filed            Page 263 of 434 PageID #: 1289
BCG_ID_10632_LF.txt[11/10/23, 10:57:53 AM]
  Lyrics
  Strawberries, cherries and an angel's kiss in spring
  My summer wine is really made from all these things


  I walked in town on silver spurs that jingled to
  A song that I had only sang to just a few
  She saw my silver spurs and said let's pass some time
  And I will give to you summer wine
  Oh, oh summer wine


  Strawberries, cherries and an angel's kiss in spring
  My summer wine is really made from all these things
  Take off your silver spurs and help me pass the time
  And I will give to you summer wine
  Oh, oh summer wine


  My eyes grew heavy and my lips they could not speak
  I tried to get up but I couldn't find my feet
  She reassured me with an unfamiliar line
  And then she gave to me more summer wine
  Oh, oh summer wine


  Strawberries cherries and an angel's kiss in spring
  My summer wine is really made from all these things
  Take off your silver spurs and help me pass the time
  And I will give to you summer wine
  Mmm-mm summer wine


  When I woke up the sun was shining in my eyes
  My silver spurs were gone, my head felt twice its size
  She took my silver spurs, a dollar and a dime
  And left me cravin' for more summer wine
  Oh, oh summer wine


  Strawberries, cherries and an angel's kiss in spring
  My summer wine is really made from all these things
  Take off your silver spurs and help me pass the time
  And I will give to you my summer wine

  WRITERS

  Lee Hazlewood

  PUBLISHERS

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                                                             Filed            Page 264 of 434 PageID #: 1290
BCG_ID_10636_LF.txt[11/10/23, 10:57:53 AM]
  Lyrics
  Pistol shots ring out in the barroom night
  Enter Patty Valentine from the upper hall
  She sees a bartender in a pool of blood
  Cries out, "my God, they killed them all"


  Here comes the story of the Hurricane
  The man the authorities came to blame
  For somethin' that he never done
  Put in a prison cell, but one time he coulda been
  The champion of the world


  Three bodies lyin' there, does Patty see
  And another man named Bello, movin' around mysteriously
  "I didn't do it" he says, and he throws up his hands
  "I was only robbin' the register, I hope you understand"


  "I saw them leavin'" he says, and he stops
  "One of us had better call up the cops"
  And so Patty calls the cops
  And they arrive on the scene
  With their red lights flashin' in a hot New Jersey night


  Meanwhile, far away in another part of town
  Rubin Carter and a couple of friends are drivin' around
  Number one contender for the middleweight crown
  Had no idea what kinda shit was about to go down


  When a cop pulled him over to the side of the road
  Just like the time before and the time before that
  In Paterson that's just the way things go
  If you're black you might as well not show up on the street
  'Less you want to draw the heat


  Alfred Bello had a partner and he had a rap for the cops
  Him and Arthur Dexter Bradley were just out prowlin' around
  He said "I saw two men runnin' out, they looked like middleweights
  Jumped into a white car with out-of-state plates"
  And Miss Patty Valentine just nodded her head
  Cop said "Wait a minute, boys, this one's not dead"
  So they took him to the infirmary
  And though this man could hardly see
  They told him he could identify the guilty men


  Four in the mornin' and they haul Rubin in
  They took him to the hospital and they brought him upstairs
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                                                             Filed            Page 265 of 434 PageID #: 1291
BCG_ID_10639_LF.txt[11/10/23, 10:57:53 AM]
  The wounded man looks up through his one dyin' eye
  Say "Why'd you bring him in here for? He ain't the guy"


  Here's the story of the Hurricane
  The man the authorities came to blame
  For somethin' that he never done
  Put in a prison cell, but one time he coulda been
  The champion of the world


  Four months later, the ghettos are in flame
  Rubin's in South America, fightin' for his name
  While Arthur Dexter Bradley's still in the robbery game
  And the cops are puttin' the screws to him, lookin' for somebody to blame


  "Remember that murder that happened in a bar?"
  "Remember you said you saw the getaway car?"
  "You think you'd like to play ball with the law?"
  "Think it mighta been that fighter that you saw runnin' that night?"
  "Don't forget that you are white"


  Arthur Dexter Bradley said "I'm really not sure"
  The cops said "A poor boy like you, could use this break
  We got you for the motel job and we're talkin' to your friend Bello
  You don't want to have to go back to jail, be a nice fellow
  You'll be doin' society a favor
  That son of a bitch is brave and gettin' braver
  We want to put his ass in stir
  We want to pin this triple murder on him
  He ain't no Gentleman Jim"


  Rubin could take a man out with just one punch
  But he never did like to talk about it all that much
  "It's my work" he'd say, "and I do it for pay
  And when it's over I'd just as soon go on my way"


  Up to some paradise
  Where the trout streams flow and the air is nice
  And ride a horse along a trail
  But then they took him to the jailhouse
  Where they try to turn a man into a mouse


  All of Rubin's cards were marked in advance
  The trial was a pig-circus, he never had a chance
  The judge made Rubin's witnesses drunkards from the slums
  To the white folks who watched, he was a revolutionary bum


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                                                             Filed            Page 266 of 434 PageID #: 1292
BCG_ID_10639_LF.txt[11/10/23, 10:57:53 AM]
  And for the black folks he was just a crazy nigger
  No one doubted that he pulled the trigger
  And though they could not produce the gun
  The D.A. said he was the one who did the deed
  And the all-white jury agreed


  Rubin Carter was falsely tried
  The crime was murder one, guess who testified?
  Bello and Bradley and they both baldly lied
  And the newspapers, they all went along for the ride


  How can the life of such a man
  Be in the palm of some fool's hand?
  To see him obviously framed
  Couldn't help but make me feel ashamed to live in a land
  Where justice is a game


  Now all the criminals in their coats and their ties
  Are free to drink martinis and watch the sun rise
  While Rubin sits like Buddha in a ten-foot cell
  An innocent man in a living hell


  Yes, that's the story of the Hurricane
  But it won't be over 'til they clear his name
  And give him back the time he's done
  Put in a prison cell, but one time he coulda been
  The champion of the world

  WRITERS

  Jacques Levy, Bob Dylan

  PUBLISHERS

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BCG_ID_10639_LF.txt[11/10/23, 10:57:53 AM]
  Lyrics
  The stars lean down to kiss you
  And I lie awake and miss you
  Pour me a heavy dose of atmosphere
  'Cause I'll doze off safe and soundly
  But I'll miss your arms around me
  I'd send a postcard to you, dear
  'Cause I wish you were here

  I'll watch the night turn light blue
  But it's not the same without you
  Because it takes two to whisper quietly
  The silence isn't so bad
  'Til I look at my hands and feel sad
  'Cause the spaces between my fingers
  Are right where yours fit perfectly

  I'll find repose in new ways
  Though I haven't slept in two days
  'Cause cold nostalgia chills me to the bone
  But drenched in vanilla twilight
  I'll sit on the front porch all night
  Waist deep in thought because when
  I think of you I don't feel so alone

  I don't feel so alone
  I don't feel so alone

  As many times as I blink
  I'll think of you tonight

  I'll think of you tonight

  When violet eyes get brighter
  And heavy wings grow lighter
  I'll taste the sky and feel alive again
  And I'll forget the world that I knew
  But I swear I won't forget you
  Oh if my voice could reach back through the past
  I'd whisper in your ear,
  "Oh darling I wish you were here"
  WRITERS
  ADAM R. YOUNG
  PUBLISHERS
  Lyrics © Universal Music Publishing Group, Songtrust Ave




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                                                             Filed            Page 268 of 434 PageID #: 1294
BCG_ID_10643_LF.txt[11/10/23, 10:57:54 AM]
  Lyrics
  While the music played, you worked by candlelight
  Those San Francisco nights
  You were the best in town
  Just by chance you crossed the diamond with the pearl
  You turned it on the world
  That's when you turned the world around


  (Did you feel like Jesus?)
  Did you realize
  That you were a champion in their eyes?


  On the hill the stuff was laced with kerosene
  But yours was kitchen-clean
  Everyone stopped to stare at your technicolor motor home
  Every A-Frame had your number on the wall
  You must have had it all
  You'd go to L.A. on a dare and you'd go it alone


  (Could you live forever?)
  Could you see the day?
  Could you feel your whole world fall apart and fade away?


  Get along, get along, Kid Charlemagne
  Get along, Kid Charlemagne


  Now your patrons have all left you in the red
  Your low-rent friends are dead
  This life can be very strange
  All those Day-Glo freaks who used to paint the face
  They've joined the human race
  Some things will never change


  (Son, you were mistaken)
  You are obsolete
  Look at all the white men on the street


  Get along, get along, Kid Charlemagne
  Get along, Kid Charlemagne


  Clean this mess up else we'll all end up in jail
  Those test tubes and the scale
  Just get it all out of here
  Is there gas in the car?
  Yes, there's gas in the car
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BCG_ID_10645_LF.txt[11/10/23, 10:57:54 AM]
  I think the people down the hall know who you are


  (Careful what you carry)
  'Cause the man is wise
  You are still an outlaw in their eyes


  Get along (get along), get along, Kid Charlemagne (get along)
  Get along, Kid Charlemagne

  WRITERS

  Donald Jay Fagen, Walter Carl Becker

  PUBLISHERS

  Lyrics © Universal Music Publishing Group




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                                                             Filed            Page 270 of 434 PageID #: 1296
BCG_ID_10645_LF.txt[11/10/23, 10:57:54 AM]
  Lyrics
  What if I wanted to break
  Laugh it all off in your face?
  What would you do?
  What if I fell to the floor
  Couldn't take this anymore?
  What would you do, do, do?


  Come, break me down
  Bury me, bury me
  I am finished with you


  What if I wanted to fight
  Beg for the rest of my life?
  What would you do? (Do, do, do)
  You say you wanted more
  What are you waiting for?
  I'm not running from you (from you)


  Come, break me down
  Bury me, bury me
  I am finished with you
  Look in my eyes
  You're killing me, killing me
  All I wanted was you


  I tried to be someone else
  But nothing seemed to change
  I know now, this is who I really am inside
  I've finally found myself
  Fighting for a chance
  I know now, this is who I really am


  Oh, oh
  Oh, oh
  Oh, oh


  Come, break me down
  Bury me, bury me
  I am finished with you, you, you
  Look in my eyes
  You're killing me, killing me
  All I wanted was you


  Come, break me down (bury me, bury me)
  Break me down (bury me, bury me)
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BCG_ID_10646_LF.txt[11/10/23, 10:57:54 AM]
  Break me down(bury me, bury me)


  (Say you wanted more)
  What if I wanted to break
  (What are you waiting for?)
  (Bury me, bury me)
  (I'm not running from you)
  What if I, what if I, what if I, what if I
  (Bury me, bury me)

  WRITERS

  Jared Leto

  PUBLISHERS

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BCG_ID_10646_LF.txt[11/10/23, 10:57:54 AM]
  Lyrics
  Calling out your name
  Calling out your name


  Can you hear me calling
  Out your name?
  You know that I'm falling and I don't know what to say


  I'll speak a little louder
  I'll even shout
  You know that I'm proud and I can't get the words out


  Oh I
  I want to be with you everywhere
  Oh I
  I want to be with you everywhere
  (Wanna be with you everywhere)


  Something's happening
  Happening to me
  My friends say I'm acting peculiarly


  C'mon baby
  We better make a start
  You better make it soon before you break my heart


  Oh I
  I want to be with you everywhere
  Oh I
  I want to be with you everywhere
  (Wanna be with you everywhere)


  Can you hear me calling?
  Out your name
  You know that I'm falling and I don't know what to say


  Oh come along baby
  We better make a start
  You better make it soon before you break my heart


  Oh I
  I want to be with you everywhere
  Oh I
  I want to be with you everywhere
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BCG_ID_10648_LF.txt[11/10/23, 10:57:54 AM]
  Oh I
  I want to be with you everywhere
  Oh I
  I want to be with you everywhere
  (Wanna be with you everywhere)

  WRITERS

  Christine McVie

  PUBLISHERS

  Lyrics © Universal Music Publishing Group




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BCG_ID_10648_LF.txt[11/10/23, 10:57:54 AM]
  Lyrics
  Life's like the road that you travel on
  When there's one day here and the next day gone
  Sometimes you bend and sometimes you stand
  Sometimes you turn your back to the wind


  There's a world outside every darkened door
  Where blues won't haunt you anymore
  Where the brave are free and lovers soar
  Come ride with me to the distant shore


  We won't hesitate
  To break down the garden gate
  There's not much time left today


  Life is a highway
  I wanna ride it all night long
  If you're going my way
  Well, I wanna drive it all night long


  Through all these cities and all these towns
  It's in my blood and it's all around
  I love you now like I loved you then
  This is the road and these are the hands


  From Mozambique to those Memphis nights
  The Khyber Pass to Vancouver's lights
  Knock me down and back up again
  You're in my blood, I'm not a lonely man


  There's no load I can't hold
  A road so rough, this I know
  I'll be there when the light comes in
  Just tell 'em we're survivors
  Life is a highway
  Well, I wanna ride it all night long
  If you're going my way
  I wanna drive it all night long (all night long)
  Uh, gimme, gimme, gimme, gimme, yeah


  Life is a highway
  Well, I wanna ride it all night long (mm, yeah)
  If you're going my way
  I wanna drive it all night long (all night long)


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BCG_ID_10653_LF.txt[11/10/23, 10:57:54 AM]
  There was a distance between you and I (between you and I)
  A misunderstanding once
  But now we look it in the eye, ooh, yeah


  There ain't no load that I can't hold
  A road so rough, this I know
  I'll be there when the light comes in
  Tell 'em we're survivors


  Life is a highway
  Well, I wanna ride it all night long (all night long, yeah, yeah)
  If you're going my way
  Well, I wanna drive it all night long
  (Uh, gimme, gimme, gimme, uh, gimme, gimme, yeah)
  Life is a highway (life is a highway)
  I wanna ride it all night long (ooh, ooh, yeah)
  If you're going my way
  I wanna drive it all night long
  (Come on, gimme, gimme, gimme, gimme, gimme, gimme, yeah)
  Life is a highway
  I wanna ride it all night long
  (Yeah, I wanna drive it all night long, baby)
  If you're going my way
  I wanna drive it all night long (all night long)

  WRITERS

  Thomas William Cochrane

  PUBLISHERS

  Lyrics © Universal Music Publishing Group




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                                                             Filed            Page 276 of 434 PageID #: 1302
BCG_ID_10653_LF.txt[11/10/23, 10:57:54 AM]
  Lyrics
  Heaven, I'm in Heaven
  And my heart beats so that I can hardly speak
  And I seem to find the happiness I seek
  When we're out together dancing, cheek to cheek


  Heaven, I'm in Heaven
  And the cares that hung around me through the week
  Seem to vanish like a gambler's lucky streak
  When we're out together dancing, cheek to cheek


  Oh, I love to climb a mountain
  And to reach the highest peak
  But it doesn't thrill me half as much
  As dancing cheek to cheek


  Oh, I love to go out fishing
  In a river or a creek
  But I don't enjoy it half as much
  As dancing cheek to cheek


  Oh, dance with me
  I want my arm about you
  The charm about you
  Will carry me through to


  Heaven, I'm in Heaven
  And my heart beats so that I can hardly speak
  And I seem to find the happiness I seek
  When we're out together dancing cheek to cheek

  WRITERS

  Irving Berlin

  PUBLISHERS

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                                                             Filed            Page 277 of 434 PageID #: 1303
BCG_ID_10663_LF.txt[11/10/23, 10:57:54 AM]
  Lyrics
  Come you masters of war
  You that build the big guns
  You that build the death planes
  You that build all the bombs
  You that hide behind walls
  You that hide behind desks
  I just want you to know
  I can see through your masks


  You that never done nothin'
  But build to destroy
  You play with my world
  Like it's your little toy
  You put a gun in my hand
  And you hide from my eyes
  And you turn and run farther
  When the fast bullets fly


  Like Judas of old
  You lie and deceive
  A world war can be won
  You want me to believe
  But I see through your eyes
  And I see through your brain
  Like I see through the water
  That runs down my drain


  You fasten all the triggers
  For the others to fire
  Then you sit back and watch
  When the death count gets higher
  You hide in your mansion
  While the young people's blood
  Flows out of their bodies
  And is buried in the mud


  You've thrown the worst fear
  That can ever be hurled
  Fear to bring children
  Into the world
  For threatening my baby
  Unborn and unnamed
  You ain't worth the blood
  That runs in your veins


  How much do I know
  To talk out of turn
             Case 3:23-cv-01092              Document 49-6      27711/16/23
                                                             Filed            Page 278 of 434 PageID #: 1304
BCG_ID_10665_LF.txt[11/10/23, 10:57:54 AM]
  You might say that I'm young
  You might say I'm unlearned
  But there's one thing I know
  Though I'm younger than you
  That even Jesus would never
  Forgive what you do


  Let me ask you one question
  Is your money that good?
  Will it buy you forgiveness
  Do you think that it could?
  I think you will find
  When your death takes its toll
  All the money you made
  Will never buy back your soul


  And I hope that you die
  And your death will come soon
  I'll follow your casket
  By the pale afternoon
  And I'll watch while you're lowered
  Down to your deathbed
  And I'll stand over your grave
  'Til I'm sure that you're dead

  WRITERS

  Bob Dylan

  PUBLISHERS

  Lyrics © Universal Music Publishing Group




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                                                             Filed            Page 279 of 434 PageID #: 1305
BCG_ID_10665_LF.txt[11/10/23, 10:57:54 AM]
  Lyrics
  We'll do it all
  Everything
  On our own


  We don't need
  Anything
  Or anyone


  If I lay here
  If I just lay here
  Would you lie with me and just forget the world?


  I don't quite know
  How to say
  How I feel


  Those three words
  Are said too much
  They're not enough


  If I lay here
  If I just lay here
  Would you lie with me and just forget the world?


  Forget what we're told
  Before we get too old
  Show me a garden that's bursting into life


  Let's waste time
  Chasing cars
  Around our heads


  I need your grace
  To remind me
  To find my own


  If I lay here
  If I just lay here
  Would you lie with me and just forget the world?


  Forget what we're told
  Before we get too old
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BCG_ID_10670_LF.txt[11/10/23, 10:57:55 AM]
  Show me a garden that's bursting into life


  All that I am
  All that I ever was
  Is here in your perfect eyes, they're all I can see


  I don't know where
  Confused about how as well
  Just know that these things will never change for us at all


  If I lay here
  If I just lay here
  Would you lie with me and just forget the world?

  WRITERS

  Natah Connolly, Gary Lightbody, Jonathan Quinn, Tom Simpson, Paul Wilson

  PUBLISHERS

  Lyrics © Universal Music Publishing Group




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                                                             Filed            Page 281 of 434 PageID #: 1307
BCG_ID_10670_LF.txt[11/10/23, 10:57:55 AM]
  Lyrics
  Now I've told you this once before
  You can't control me
  If you try to take me down, you're gonna break
  I feel your every nothing that you're doing for me
  I'm picking you out of me
  You run away


  I stand alone, inside
  I stand alone


  You're always hiding behind your so-called goddess
  So, what? You don't think that we can see your face
  Resurrected back before the final fallen
  I'll never rest until I can make my own way
  I'm not afraid of fading


  I stand alone
  Feeling your sting down inside me
  I'm not dying for it
  I stand alone
  Everything that I believe is fading
  I stand alone, inside
  I stand alone


  And now it's my time (now it's my time)
  It's my time to dream (my time to dream)
  Dream of the sky (dream of the sky)
  Make me believe that this place isn't plagued by the poison in me
  Help me decide if my fire will burn out before you can breathe
  Breathe into me


  I stand alone, inside
  I stand alone
  Feeling your sting down inside me
  I'm not dying for it
  I stand alone
  Everything that I believe is fading
  I stand alone, inside
  I stand alone, inside
  I stand alone, inside
  I stand alone, inside

  WRITERS

  Salvatore P. Erna

  PUBLISHERS
             Case 3:23-cv-01092              Document 49-6      28111/16/23
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BCG_ID_10683_LF.txt[11/10/23, 10:57:55 AM]
  Lyrics © Universal Music Publishing Group




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                                                             Filed            Page 283 of 434 PageID #: 1309
BCG_ID_10683_LF.txt[11/10/23, 10:57:55 AM]
  Lyrics
  Day after day I'm more confused
  Yet I look for the light through the pouring rain
  You know that's a game that I hate to lose
  And I'm feelin' the strain, ain't it a shame?


  Oh, give me the beat, boys, and free my soul
  I wanna get lost in your rock and roll and drift away


  Oh, give me the beat, boys, and free my soul
  I wanna get lost in your rock and roll and drift away


  Beginning to think that I'm wastin' time
  I don't understand the things I do
  The world outside looks so unkind
  So I'm countin' on you to carry me through


  Oh, give me the beat, boys, and free my soul
  I wanna get lost in your rock and roll and drift away


  Give me the beat, boys, and free my soul
  I wanna get lost in your rock and roll and drift away


  And when my mind is free
  You know a melody can move me
  And when I'm feelin' blue
  The guitar's comin' through to soothe me


  Thanks for the joy that you've given me
  I want you to know I believe in your song
  Rhythm and rhyme and harmony
  You've helped me along, makin' me strong


  Oh, give me the beat, boys, and free my soul
  I wanna get lost in your rock and roll and drift away


  Give me the beat, boys, and free my soul
  I wanna get lost in your rock and roll and drift away


  Oh, give me the beat, boys, and free my soul (my soul)
  I wanna get lost in your rock and roll and drift away


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                                                             Filed            Page 284 of 434 PageID #: 1310
BCG_ID_10692_LF.txt[11/10/23, 10:57:55 AM]
  Hey, hey, hey, yeah, give me the beat, boys, and free my soul (my soul)
  I wanna get lost in your rock and roll and drift away


  Now, now now, won't ya, won't ya take me?
  Oh, oh, take me, yeah


  I wanna fly
  Early in the morning, won't ya take me?
  Come on and free my soul, nah, nah, nah
  I wanna drift away, yeah

  WRITERS

  Mentor Ralph Williams

  PUBLISHERS

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             Case 3:23-cv-01092              Document 49-6      28411/16/23
                                                             Filed            Page 285 of 434 PageID #: 1311
BCG_ID_10692_LF.txt[11/10/23, 10:57:55 AM]
  Lyrics
  I'm dreaming of a white Christmas
  Just like the ones I used to know
  Where the treetops glisten and children listen
  To hear sleigh bells in the snow

  I'm dreaming of a white Christmas
  With every Christmas card I write
  "May your days be merry and bright
  And may all your Christmases be white

  I'm dreaming of a white Christmas
  Just like the ones I used to know
  Where the treetops glisten and children listen
  To hear sleigh bells in the snow

  I'm dreaming of a white Christmas
  With every Christmas card I write
  May your days be merry and bright
  And may all your Christmases be white
  WRITERS
  Irving Berlin
  PUBLISHERS
  Lyrics © Universal Music Publishing Group




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                                                             Filed            Page 286 of 434 PageID #: 1312
BCG_ID_10695_LF.txt[11/10/23, 10:57:55 AM]
  Lyrics
  It is the night
  My body's weak
  I'm on the run
  No time to sleep
  I've got to ride
  Ride like the wind
  To be free again


  And I've got such a long way to go (such a long way to go)
  To make it to the border of Mexico
  So I'll ride like the wind
  Ride like the wind


  I was born the son of a lawless man
  Always spoke my mind with a gun in my hand
  Lived nine lives
  Gunned down ten
  Gonna ride like the wind


  And I've got such a long way to go (such a long way to go)
  To make it to the border of Mexico
  So I'll ride like the wind
  Ride like the wind


  Gonna ride like the wind


  Accused and tried and told to hang
  I was nowhere in sight when the church bells rang
  Never was the kind to do as I was told
  Gonna ride like the wind before I get old


  It is the night
  My body's weak
  I'm on the run
  No time to sleep
  I've got to ride
  Ride like the wind
  To be free again


  And I've got such a long way to go (such a long way to go)
  To make it to the border of Mexico
  So I'll ride like the wind
  Ride like the wind


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BCG_ID_10700_LF.txt[11/10/23, 10:57:55 AM]
  And I've got a long way to go (such a long way to go)
  To make it to the border of Mexico
  So I'll ride like the wind
  Ride like the wind
  Gonna ride like the wind


  Ride!


  Gonna ride like the wind


  Ride!

  WRITERS

  CHRISTOPHER C. CROSS

  PUBLISHERS

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                                                             Filed            Page 288 of 434 PageID #: 1314
BCG_ID_10700_LF.txt[11/10/23, 10:57:55 AM]
  Lyrics
  There must be some way out of here
  Said the joker to the thief
  There's too much confusion, I can't get no relief
  Businessmen, they drink my wine
  Plowmen dig my earth
  None of them along the line know what any of it is worth


  No reason to get excited,the thief, he kindly spoke
  There are many here among us who feel that life is but a joke
  But you and I, we've been through that, and this is not our fate
  So let us not talk falsely now, the hour is getting late


  All along the watchtower, princes kept the view
  While all the women came and went, barefoot servants, too


  Outside in the distance a wildcat did growl
  Two riders were approaching, the wind began to howl

  WRITERS

  Bob Dylan

  PUBLISHERS

  Lyrics © Universal Music Publishing Group




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                                                             Filed            Page 289 of 434 PageID #: 1315
BCG_ID_10706_LF.txt[11/10/23, 10:57:55 AM]
  Lyrics
  I used to think that I could not go on
  And life was nothing but an awful song
  But now I know the meaning of true love
  I'm leaning on the everlasting arms


  If I can see it, then I can do it
  If I just believe it, there's nothing to it


  I believe I can fly
  I believe I can touch the sky
  I think about it every night and day (Night and day)
  Spread my wings and fly away
  I believe I can soar
  I see me running through that open door
  I believe I can fly
  I believe I can fly
  I believe I can fly hoo


  See I was on the verge of breaking down
  Sometimes silence can seem so loud
  There are miracles in life I must achieve
  But first I know it starts inside of me, ho oh


  If I can see it hoo, then I can be it
  If I just believe it, there's nothing to it


  I believe I can fly
  I believe I can touch the sky
  I think about it every night and day
  Spread my wings and fly away
  I believe I can soar
  I see me running through that open door
  I believe I can fly
  I believe I can fly
  Oh, I believe I can fly hoo


  Hey, 'cause I believe in me, oh


  If I can see it hoo, then I can do it
  If I just believe it, there's nothing to it hey


  I believe I can fly hoo
  I believe I can touch the sky
  I think about it every night and day
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                                                             Filed            Page 290 of 434 PageID #: 1316
BCG_ID_10708_LF.txt[11/10/23, 10:57:55 AM]
  Spread my wings and fly away
  I believe I can soar
  I see me running through that open door
  I believe I can fly (I can fly)
  I believe I can fly (I can fly)
  I believe I can fly (I can fly) hey


  If I just spread my wings (I can fly)
  I can fly (I can fly)
  I can fly (I can fly)
  I can fly,(I can fly) hey
  If I just spread my wings (I can fly)
  I can fly (I can fly)
  (I can fly)
  (I can fly)

  WRITERS

  Robert S. Kelly

  PUBLISHERS

  Lyrics © Universal Music Publishing Group




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BCG_ID_10708_LF.txt[11/10/23, 10:57:55 AM]
  Lyrics
  The cycle repeated
  As explosions broke in the sky
  All that I needed
  Was the one thing I couldn't find
  And you were there at the turn
  Waiting to let me know


  We're building it up
  To break it back down
  We're building it up
  To burn it down
  We can't wait
  To burn it to the ground


  The colors conflicted
  As the flames climbed into the clouds
  I wanted to fix this
  But couldn't stop from tearing it down
  And you were there at the turn
  Caught in the burning glow
  And I was there at the turn
  Waiting to let you know


  We're building it up
  To break it back down
  We're building it up
  To burn it down
  We can't wait
  To burn it to the ground


  You told me yes
  You held me high
  And I believed when you told that lie
  I played soldier, you played king
  And struck me down when I kissed that ring
  You lost that right, to hold that crown
  I built you up, but you let me down
  So when you fall, I'll take my turn
  And fan the flames
  As your blazes burn


  And you were there at the turn
  Waiting to let me know


  We're building it up
  To break it back down
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BCG_ID_10709_LF.txt[11/10/23, 10:57:56 AM]
  We're building it up
  To burn it down
  We can't wait
  To burn it to the ground


  When you fall, I'll take my turn
  And fan the flames
  As your blazes burn


  We can't wait
  To burn it to the ground


  When you fall, I'll take my turn
  And fan the flames
  As your blazes burn


  We can't wait
  To burn it to the ground

  WRITERS

  Chester Charles Bennington, Robert G. Bourdon, Brad Delson, Mike Shinoda, Dave Farrell, Joseph Hahn

  PUBLISHERS

  Lyrics © Universal Music Publishing Group




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BCG_ID_10709_LF.txt[11/10/23, 10:57:56 AM]
  Lyrics
  It's so loud inside my head
  With words that I should have said
  As I drown in my regrets
  I can't take back the words I never said
  I can't take back the words I never said


  I really think the war on terror is a bunch of bullshit
  Just a poor excuse for you to use up all your bullets
  How much money does it take to really make a full clip
  Nine eleven building seven did they really pull it?
  Uh, and a bunch of other cover ups
  Your child's future was the first to go with budget cuts
  If you think that hurts then, wait here comes the uppercut
  The school was garbage in the first place, that's on the up and up
  Keep you at the bottom but tease you with the upper crust
  You get it then they move you so you never keeping up enough
  If you turn on TV all you see's a bunch of "what the fucks"
  Dude is dating so and so blabbering bout such and such
  And that ain't Jersey Shore, homie that's the news
  And these the same people that supposed to be telling us the truth
  Limbaugh is a racist, Glenn Beck is a racist
  Gaza strip was getting bombed, Obama didn't say shit
  That's why I ain't vote for him, next one either
  I'ma part of the problem, my problem is I'm peaceful
  And I believe in the people
  Yeah


  It's so loud inside my head
  With words that I should have said!
  As I drown in my regrets
  I can't take back the words I never said
  I can't take back the words I never said


  Now you can say it ain't our fault if we never heard it
  But if we know better than we probably deserve it
  Jihad is not a holy war, wheres that in the worship?
  Murdering is not Islam!
  And you are not observant
  And you are not a Muslim
  Israel don't take my side 'cause look how far you've pushed them
  Walk with me into the ghetto, this where all the Kush went
  Complain about the liquor store but what you drinking liquor for?
  Complain about the gloom but when'd you pick a broom up?
  Just listening to Pac ain't gone make it stop
  A rebel in your thoughts, ain't gon' make it halt
  If you don't become an actor you'll never be a factor
  Pills with million side effects
  Take 'em when the pains felt
  Wash them down with diet soda
             Case 3:23-cv-01092              Document 49-6      29311/16/23
                                                             Filed            Page 294 of 434 PageID #: 1320
BCG_ID_10712_LF.txt[11/10/23, 10:57:56 AM]
  Killin' off your brain cells
  Crooked banks around the World
  Would gladly give a loan today
  So if you ever miss a payment
  They can take your home away


  It's so loud inside my head
  With words that I should have said!
  As I drown in my regrets
  I can't take back the words I never said, never said
  I can't take back the words I never said


  I think that all the silence is worse than all the violence
  Fear is such a weak emotion that's why I despise it
  We scared of almost everything, afraid to even tell the truth
  So scared of what you think of me, I'm scared of even telling you
  Sometimes I'm like the only person I feel safe to tell it to
  I'm locked inside a cell in me, I know that there's a jail in you
  Consider this your bailing out, so take a breath, inhale a few
  My screams is finally getting free, my thoughts is finally yelling through


  It's so loud inside my head
  With words that I should have said
  As I drown in my regrets
  I can't take back the words I never said

  WRITERS

  Alexander Junior Grant, Holly Hafermann, Wasalu Jaco

  PUBLISHERS

  Lyrics © Universal Music Publishing Group




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                                                             Filed             Page 295 of 434 PageID #: 1321
BCG_ID_10712_LF.txt[11/10/23, 10:57:56 AM]
  Lyrics
  Spent the last year
  Rocky Mountain Way
  Couldn't get much higher
  Out to pasture
  Think it's safe to say
  Time to open fire


  And we don't need the ladies
  Crying 'cause the story's sad


  'Cause the Rocky Mountain Way
  Is better than the way we had


  Well, he's tellin' us this
  And he's tellin' us that
  Changes it every day
  Says it doesn't matter
  Bases are loaded and Casey's at bat
  Playin' it play by play
  Time to change the batter


  And we don't need the ladies
  Crying 'cause the story's sad


  Rocky Mountain Way
  Is better than the way we had

  WRITERS

  Joey Vitale, Joseph Fidler Walsh, Kenneth R. Passarelli, Rocke Grace

  PUBLISHERS

  Lyrics © Universal Music Publishing Group




             Case 3:23-cv-01092              Document 49-6      29511/16/23
                                                             Filed            Page 296 of 434 PageID #: 1322
BCG_ID_10720_LF.txt[11/10/23, 10:57:56 AM]
  Lyrics
  You placed gold on my finger
  You brought love like I've never known
  You gave life to our children
  And to me, a reason to go on


  You're my bread when I'm hungry
  You're my shelter from troubled winds
  You're my anchor in life's ocean
  But most of all, you're my best friend


  When I need hope and inspiration
  You're always strong when I'm tired and weak
  I could search this whole world over
  You'd still be everything that I need


  You're my bread when I'm hungry
  You're my shelter from troubled winds
  You're my anchor in life's ocean
  But most of all, you're my best friend


  You're my bread when I'm hungry
  You're my shelter from troubled winds
  You're my anchor in life's ocean
  But most of all, you're my best friend

  WRITERS

  Wayland D. Holyfield

  PUBLISHERS

  Lyrics © Universal Music Publishing Group




             Case 3:23-cv-01092              Document 49-6      29611/16/23
                                                             Filed            Page 297 of 434 PageID #: 1323
BCG_ID_10722_LF.txt[11/10/23, 10:57:56 AM]
  Lyrics
  Yeah, here we go for the hundredth time
  Hand grenade pins in every line
  Throw 'em up and let something shine
  Going out of my fucking mind


  Filthy mouth, no excuse
  Find a new place to hang this noose
  String me up from atop these roofs
  Knot it tight so I won't get loose


  Truth is, you can stop and stare
  Bled myself out and no one cares
  Dug a trench out, laid down there
  With a shovel up out of reach somewhere


  Yeah, someone pour it in
  Make it a dirt dance floor again
  Say your prayers and stomp it out
  When they bring that chorus in


  I bleed it out
  Digging deeper just to throw it away
  I bleed it out
  Digging deeper just to throw it away
  I bleed it out
  Digging deeper just to throw it away
  Just to throw it away
  Just to throw it away


  I bleed it out
  Go, stop the show
  Choppy words in a sloppy flow
  Shotgun opera, lock and load


  Cock it back and then watch it go
  Mama, help me, I've been cursed
  Death is rolling in every verse
  Candy paint on his brand new hearse


  Can't contain him
  He knows he works
  Fuck, this hurts, I won't lie
  Doesn't matter how hard I try
  Half the words don't mean a thing

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BCG_ID_10726_LF.txt[11/10/23, 10:57:56 AM]
  And I know that I won't be satisfied
  So why try ignoring him?
  Make it a dirt dance floor again
  Say your prayers and stomp it out
  When they bring that chorus in


  I bleed it out
  Digging deeper just to throw it away
  I bleed it out
  Digging deeper just to throw it away
  I bleed it out
  Digging deeper just to throw it away
  Just to throw it away
  Just to throw it away


  I bleed it out
  I've opened up these scars
  I'll make you face this
  I've pulled myself so far
  I'll make you face this now


  I bleed it out
  Digging deeper just to throw it away
  I bleed it out
  Digging deeper just to throw it away
  I bleed it out
  Digging deeper just to throw it away
  Just to throw it away
  Just to throw it away


  I bleed it out
  Digging deeper just to throw it away
  I bleed it out
  Digging deeper just to throw it away
  I bleed it out
  Digging deeper just to throw it away
  Just to throw it away
  Just to throw it away


  I bleed it out
  I bleed it out
  I bleed it out

  WRITERS

  Brad Delson, Chester Charles Bennington, Dave Farrell, Joseph Hahn, Mike Shinoda, Robert G. Bourdon

  PUBLISHERS
             Case 3:23-cv-01092              Document 49-6      29811/16/23
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BCG_ID_10726_LF.txt[11/10/23, 10:57:56 AM]
  Lyrics © Universal Music Publishing Group




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                                                             Filed            Page 300 of 434 PageID #: 1326
BCG_ID_10726_LF.txt[11/10/23, 10:57:56 AM]
  Lyrics
  This is the day of the expanding man
  That shape is my shade
  There where I used to stand
  It seems like only yesterday
  I gazed through the glass
  At ramblers, wild gamblers
  That's all in the past


  You call me a fool
  You say it's a crazy scheme
  This one's for real
  I already bought the dream
  So useless to ask me why
  Throw a kiss and say goodbye
  I'll make it this time
  I'm ready to cross that fine line


  Learn to work the saxophone
  I play just what I feel
  Drink Scotch whiskey all night long
  And die behind the wheel
  They got a name for the winners in the world
  I want a name when I lose
  They call Alabama the Crimson Tide
  Call me Deacon Blues


  My back to the wall
  A victim of laughing chance
  This is for me
  The essence of true romance
  Sharing the things we know and love
  With those of my kind
  Libations
  Sensations
  That stagger the mind


  I crawl like a viper
  Through these suburban streets
  Make love to these women
  Languid and bittersweet
  I rise when the sun goes down
  Cover every game in town
  A world of my own
  I'll make it my home sweet home


  Learn to work the saxophone
  I play just what I feel
             Case 3:23-cv-01092              Document 49-6      30011/16/23
                                                             Filed            Page 301 of 434 PageID #: 1327
BCG_ID_10728_LF.txt[11/10/23, 10:57:56 AM]
  Drink Scotch whiskey all night long
  And die behind the wheel
  They got a name for the winners in the world
  I want a name when I lose
  They call Alabama the Crimson Tide
  Call me Deacon Blues


  This is the night of the expanding man
  I take one last drag
  As I approach the stand
  I cried when I wrote this song
  Sue me if I play too long
  This brother is free
  I'll be what I want to be


  I learned to work the saxophone
  I play just what I feel
  Drink Scotch whiskey all night long
  And die behind the wheel
  They got a name for the winners in the world
  I want a name when I lose
  They call Alabama the Crimson Tide
  Call me Deacon Blues

  WRITERS

  Donald Jay Fagen, Walter Carl Becker

  PUBLISHERS

  Lyrics © Universal Music Publishing Group




             Case 3:23-cv-01092              Document 49-6      30111/16/23
                                                             Filed            Page 302 of 434 PageID #: 1328
BCG_ID_10728_LF.txt[11/10/23, 10:57:56 AM]
  Lyrics
  Yesterday, I got so old
  I felt like I could die
  Yesterday, I got so old
  It made me want to cry


  Go on, go on, just walk away
  Go on, go on, your choice is made
  Go on, go on, and disappear
  Go on, go on, away from here


  And I know I was wrong when I said it was true
  That it couldn't be me and be her in between
  Without you
  Without you


  Yesterday, I got so scared
  I shivered like a child
  Yesterday, away from you
  It froze me deep inside


  Come back, come back, don't walk away
  Come back, come back, come back today
  Come back, come back, why can't you see?
  Come back, come back, come back to me


  And I know I was wrong when I said it was true
  That it couldn't be me and be her in between
  Without you
  Without you
  Without you
  Without you


  Without you
  Without you
  Without you
  Without you

  WRITERS

  Robert James Smith

  PUBLISHERS

  Lyrics © Universal Music Publishing Group


             Case 3:23-cv-01092              Document 49-6      30211/16/23
                                                             Filed            Page 303 of 434 PageID #: 1329
BCG_ID_10733_LF.txt[11/10/23, 10:57:57 AM]
  Lyrics
  They sat together in the park
  As the evening sky grew dark
  She looked at him and he felt a spark
  Tingle to his bones
  'Twas then he felt alone
  And wished that he'd gone straight
  And watched out for a simple twist of fate


  They walked along by the old canal
  A little confused, I remember well
  And stopped into a strange hotel
  With a neon burnin' bright
  He felt the heat of the night
  Hit him like a freight train
  Moving with a simple twist of fate


  A saxophone someplace far-off played
  As she was walkin' on by the arcade
  As the light bust through a beat-up shade
  Where he was waking up
  She dropped a coin into the cup
  Of a blind man at the gate
  And forgot about a simple twist of fate


  He woke up, the room was bare
  He didn't see her anywhere
  He told himself he didn't care
  Pushed the window open wide
  Felt an emptiness inside
  To which he just could not relate
  Brought on by a simple twist of fate


  He hears the ticking of the clocks
  And walks along with a parrot that talks
  Hunts her down by the waterfront docks
  Where the sailors all come in
  Maybe she'll pick him out again
  How long must he wait?
  One more time, for a simple twist of fate


  People tell me it's a sin
  To know and feel too much within
  I still believe she was my twin
  But I lost the ring
  She was born in spring
  But I was born too late
  Blame it on a simple twist of fate
             Case 3:23-cv-01092              Document 49-6      30311/16/23
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BCG_ID_10734_LF.txt[11/10/23, 10:57:57 AM]
  WRITERS

  Bob Dylan

  PUBLISHERS

  Lyrics © Universal Music Publishing Group




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                                                             Filed            Page 305 of 434 PageID #: 1331
BCG_ID_10734_LF.txt[11/10/23, 10:57:57 AM]
  Lyrics
  When the rain is blowing in your face
  And the whole world is on your case
  I could offer you a warm embrace
  To make you feel my love


  When the evening shadows and the stars appear
  And there is no one there to dry your tears
  I could hold you for a million years
  To make you feel my love


  I know you haven't made your mind up yet
  But I will never do you wrong
  I've known it from the moment that we met
  No doubt in my mind where you belong


  I'd go hungry, I'd go black and blue
  I'd go crawling down the avenue
  No, there's nothing that I wouldn't do
  To make you feel my love


  The storms are raging on the rolling sea
  And on the highway of regret
  The winds of change are blowing wild and free
  You ain't seen nothing like me yet


  I could make you happy, make your dreams come true
  Nothing that I wouldn't do
  Go to the ends of the Earth for you
  To make you feel my love
  To make you feel my love

  WRITERS

  Bob Dylan

  PUBLISHERS

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             Case 3:23-cv-01092              Document 49-6      30511/16/23
                                                             Filed            Page 306 of 434 PageID #: 1332
BCG_ID_10735_LF.txt[11/10/23, 10:57:57 AM]
  Lyrics
  Giant steps are what you take
  Walking on the moon
  I hope my leg don't break
  Walking on the moon
  We could walk forever
  Walking on the moon
  We could live together
  Walking on, walking on the moon


  Walking back from your house
  Walking on the moon
  Walking back from your house
  Walking on the moon
  Feet they hardly touch the ground
  Walking on the moon
  My feet don't hardly make no sound
  Walking on, walking on the moon


  Some may say
  I'm wishing my days away
  No way
  And if it's the price I pay
  Some say
  Tomorrow's another day
  You stay
  I may as well play


  Giant steps are what you take
  Walking on the moon
  I hope my leg don't break
  Walking on the moon
  We could walk forever
  Walking on the moon
  We could be together
  Walking on, walking on the moon


  Some may say
  I'm wishing my days away
  No way
  And if it's the price I pay
  Some say
  Tomorrow's another day
  You stay
  I may as well play


  Keep it up, keep it up
  Keep it up, keep it up
             Case 3:23-cv-01092              Document 49-6      30611/16/23
                                                             Filed            Page 307 of 434 PageID #: 1333
BCG_ID_10739_LF.txt[11/10/23, 10:57:57 AM]
  Keep it up, keep it up
  Keep it up, keep it up
  Keep it up, keep it up
  Keep it up, keep it up
  Keep it up, keep it up
  Keep it up, keep it up
  Keep it up, keep it up
  Keep it up, keep it up
  Keep it up, keep it up
  Keep it up, keep it up
  Keep it up, keep it up
  Keep it up, keep it up

  WRITERS

  Gordon Sumner

  PUBLISHERS

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                                                             Filed            Page 308 of 434 PageID #: 1334
BCG_ID_10739_LF.txt[11/10/23, 10:57:57 AM]
  Lyrics
  How dare you say that my behavior is unacceptable
  So condescending unnecessarily critical
  I have the tendency of getting very physical
  So watch your step 'cause if I do you'll need a miracle


  You drain me dry and make me wonder why I'm even here
  The double vision I was seeing is finally clear
  You want to stay but you know very well I want you gone
  Not fit to fuckin' tread the ground I'm walking on


  When it gets cold outside and you got nobody to love
  You'll understand what I mean when I say
  There's no way we're gonna give up
  And like a little girl cries in the face of a monster that lives in her dreams
  Is there anyone out there 'cause it's getting harder and harder to breathe
  Is there anyone out there 'cause it's getting harder and harder to breathe


  What you are doing is screwing things up inside my head
  You should know better you never listened to a word I said
  Clutching your pillow and writhing in a naked sweat
  Hoping somebody someday will do you like I did


  When it gets cold outside and you got nobody to love
  You'll understand what I mean when I say
  There's no way we're gonna give up
  And like a little girl cries in the face of a monster that lives in her dreams
  Is there anyone out there 'cause it's getting harder and harder to breathe
  Is there anyone out there 'cause it's getting harder and harder to breathe


  Does it kill
  Does it burn
  Is it painful to learn
  That it's me that has all the control


  Does it thrill
  Does it sting
  When you feel what I bring
  And you wish that you had me to hold


  When it gets cold outside and you got nobody to love
  You'll understand what I mean when I say
  There's no way we're gonna give up
  And like a little girl cries in the face of a monster that lives in her dreams
  Is there anyone out there 'cause it's getting harder and harder to breathe
  Is there anyone out there 'cause it's getting harder and harder to breathe
             Case 3:23-cv-01092              Document 49-6      30811/16/23
                                                             Filed                 Page 309 of 434 PageID #: 1335
BCG_ID_10740_LF.txt[11/10/23, 10:57:57 AM]
  Is there anyone out there 'cause it's getting harder and harder to breathe

  WRITERS

  Jesse Royal Carmichael, Ryan Michael Dusick, James B. Valentine, Michael Allen Madden, Adam Noah Levine

  PUBLISHERS

  Lyrics © Universal Music Publishing Group




             Case 3:23-cv-01092              Document 49-6      30911/16/23
                                                             Filed             Page 310 of 434 PageID #: 1336
BCG_ID_10740_LF.txt[11/10/23, 10:57:57 AM]
  Lyrics
  We hear you're leaving, that's okay
  I thought our little wild time had just begun
  I guess you kind of scared yourself, you turn and run
  But if you have a change of heart


  Rikki don't lose that number
  You don't want to call nobody else
  Send it off in a letter to yourself
  Rikki don't lose that number
  It's the only one you own
  You might use it if you feel better
  When you get home


  I have a friend in town, he's heard your name
  We can go out driving on Slow Hand Row
  We could stay inside and play games, I don't know
  And you could have a change of heart


  Rikki don't lose that number
  You don't want to call nobody else
  Send it off in a letter to yourself
  Rikki don't lose that number
  It's the only one you own
  You might use it if you feel better
  When you get home


  You tell yourself you're not my kind
  But you don't even know your mind
  And you could have a change of heart


  Rikki don't lose that number
  You don't want to call nobody else
  Send it off in a letter to yourself
  Rikki don't lose that number
  It's the only one you own
  You might use it if you feel better
  When you get home

  WRITERS

  DONALD JAY FAGEN, WALTER CARL BECKER

  PUBLISHERS

  Lyrics © Universal Music Publishing Group


             Case 3:23-cv-01092              Document 49-6      31011/16/23
                                                             Filed            Page 311 of 434 PageID #: 1337
BCG_ID_10741_LF.txt[11/10/23, 10:57:57 AM]
  Lyrics
  I like to dream, yes, yes
  Right between the sound machine
  On a cloud of sound I drift in the night
  Any place it goes is right
  Goes far, flies near
  To the stars away from here


  Well, you don't know what we can find
  Why don't you come with me, little girl
  On a magic carpet ride


  Well, you don't know what we can see
  Why don't you tell your dreams to me
  Fantasy will set you free


  Close your eyes, girl
  Look inside, girl
  Let the sound take you away


  Last night I hold Aladdin's lamp
  And so I wished that I could stay
  Before the thing could answer me
  Well, someone came and took the lamp away
  I looked around, a lousy candle's all I found


  Well, you don't know what we can find
  Why don't you come with me, little girl
  On a magic carpet ride


  Well, you don't know what we can see
  Why don't you tell your dreams to me
  Fantasy will set you free


  Close your eyes, girl
  Look inside, girl
  Let the sound take you away


  You don't know what we can find
  Why don't you come with me, little girl
  On a magic carpet ride


  Well, you don't know what we can see
  Why don't you tell your dreams to me
             Case 3:23-cv-01092              Document 49-6      31111/16/23
                                                             Filed            Page 312 of 434 PageID #: 1338
BCG_ID_10750_LF.txt[11/10/23, 10:57:57 AM]
  Fantasy will set you free

  WRITERS

  John Kay, Rushton John Moreve

  PUBLISHERS

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                                                             Filed            Page 313 of 434 PageID #: 1339
BCG_ID_10750_LF.txt[11/10/23, 10:57:57 AM]
  Lyrics
  Baby, I know you're hurting
  Right now you feel like you could never
  Love again
  Now all I ask is for a chance
  To prove that I love you


  From the first day
  That I saw your smiling face
  Honey, I knew that we would
  Be together forever
  Ooh when I asked you out
  You said no but I found out
  Darling that you'd been hurt
  You felt like you'd never love again
  I deserve a try honey just once
  Give me a chance and I'll prove this all wrong
  You walked in, you were so quick to judge
  But honey he's nothing like me


  I'll never break your heart
  I'll never make you cry
  I'd rather die than live without you
  I'll give you all of me
  Honey, that's no lie


  I'll never break your heart
  I'll never make you cry
  I'd rather die than live without you
  I'll give you all of me
  Honey, that's no lie


  As time goes by
  You will get to know me
  A little more better
  Girl that's the way love goes baby, baby
  And I (I) know you're afraid (know you're afraid)
  To let your feelings show (feelings show)
  And I understand
  Girl, it's time to let go (girl, it's time to let go because)
  I deserve a try (try) honey
  Just once (once)
  Give me a chance (chance) and I'll prove this all wrong (wrong you walked)
  You walked in, you were so quick to judge (quick to judge)
  But honey he's nothing like me
  Darling why can't you see


  I'll never break your heart
             Case 3:23-cv-01092              Document 49-6      31311/16/23
                                                             Filed            Page 314 of 434 PageID #: 1340
BCG_ID_10751_LF.txt[11/10/23, 10:57:58 AM]
  I'll never make you cry
  I'd rather die than live without you
  I'll give you all of me
  Honey, that's no lie


  I'll never break your heart
  I'll never make you cry
  I'd rather die than live without you
  I'll give you all of me
  Honey, that's no lie


  No way, no how (I'll never break your heart girl, I'll never make you cry)
  I swear (Oh I, oh I, I swear)
  No way, no how (I'll never break your heart girl, I'll never make you cry)


  I'll never break your heart
  I'll never make you cry
  I'd rather die than live without you
  I'll give you all of me
  Honey, that's no lie


  I'll never break your heart
  I'll never make you cry
  I'd rather die than live without you
  I'll give you all of me
  Honey, that's no lie


  I'll never break your heart
  I'll never make you cry
  I'd rather die than live without you
  I'll give you all of me
  Honey, that's no lie

  WRITERS

  ALBERT J. MANNO, RONALD E. BROOMFIELD

  PUBLISHERS

  Lyrics © Universal Music Publishing Group




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                                                             Filed             Page 315 of 434 PageID #: 1341
BCG_ID_10751_LF.txt[11/10/23, 10:57:58 AM]
  Lyrics
  Sometimes in our lives we all have pain
  We all have sorrow
  But if we are wise
  We know that there's always tomorrow


  Lean on me, when you're not strong
  And I'll be your friend
  I'll help you carry on
  For it won't be long
  'Til I'm gonna need
  Somebody to lean on


  Please swallow your pride
  If I have things you need to borrow
  For no one can fill those of your needs
  That you won't let show


  You just call on me brother, when you need a hand
  We all need somebody to lean on
  I just might have a problem that you'll understand
  We all need somebody to lean on


  Lean on me, when you're not strong
  And I'll be your friend
  I'll help you carry on
  For it won't be long
  'Til I'm gonna need
  Somebody to lean on


  You just call on me brother, when you need a hand
  We all need somebody to lean on
  I just might have a problem that you'll understand
  We all need somebody to lean on


  If there is a load you have to bear
  That you can't carry
  I'm right up the road
  I'll share your load


  If you just call me (call me)
  If you need a friend (call me) call me uh huh (call me) if you need a friend (call me)
  If you ever need a friend (call me)
  Call me (call me) call me (call me) call me
  (Call me) call me (call me) if you need a friend
  (Call me) call me (call me) call me (call me) call me (call me) call me (call me)
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BCG_ID_10756_LF.txt[11/10/23, 10:57:58 AM]
  WRITERS

  Bill Withers

  PUBLISHERS

  Lyrics © Universal Music Publishing Group




             Case 3:23-cv-01092              Document 49-6      31611/16/23
                                                             Filed            Page 317 of 434 PageID #: 1343
BCG_ID_10756_LF.txt[11/10/23, 10:57:58 AM]
  Lyrics
  I woke up in a dream today
  To the cold of the static, and put my cold feet on the floor
  Forgot all about yesterday
  Remembering I'm pretending to be where I'm not anymore
  A little taste of hypocrisy
  And I'm left in the wake of the mistake, slow to react
  Even though you're so close to me
  You're still so distant, and I can't bring you back


  It's true
  The way I feel
  Was promised by your face
  The sound of your voice
  Painted on my memories
  Even if you're not with me


  I'm with you
  You now I see
  Keeping everything inside (with you)
  You now I see
  Even when I close my eyes


  I hit you and you hit me back
  We fall to the floor, the rest of the day stands still
  Fine line between this and that
  When things go wrong I pretend that the past isn't real
  Now I'm trapped in this memory
  And I'm left in the wake of the mistake, slow to react
  So, even though you're close to me
  You're still so distant, and I can't bring you back


  It's true
  The way I feel
  Was promised by your face
  The sound of your voice
  Painted on my memories
  Even if you're not with me


  I'm with you
  You now I see
  Keeping everything inside (with you)
  You now I see
  Even when I close my eyes


  I'm with you
  You now I see
             Case 3:23-cv-01092              Document 49-6      31711/16/23
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BCG_ID_10758_LF.txt[11/10/23, 10:57:58 AM]
  Keeping everything inside (with you)
  You now I see
  Even when I close my eyes


  No, no matter how far we've come
  I can't wait to see tomorrow
  No matter how far we've come
  I can't wait to see tomorrow
  With you


  You now I see
  Keeping everything inside (with you)
  You now I see
  Even when I close my eyes


  With you
  You now I see
  Keeping everything inside (with you)
  You now I see
  Even when I close my eyes

  WRITERS

  Brad Delson, Chester Charles Bennington, John Robert King, Joseph Hahn, Mike Shinoda, Robert G. Bourdon

  PUBLISHERS

  Lyrics © Universal Music Publishing Group




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                                                             Filed            Page 319 of 434 PageID #: 1345
BCG_ID_10758_LF.txt[11/10/23, 10:57:58 AM]
  Lyrics
  Don't look so sad
  I know it's over
  But life goes on
  And this old world will keep on turning
  Let's just be glad
  We had some time to spend together
  There's no need to watch the bridges
  That were burning


  Lay your head upon my pillow
  Hold your warm and tender body
  Close to mine
  Hear the whisper of the rain drops
  Blowing soft against the window
  And make believe you love me
  One more time
  For the good times


  I'll get along
  You'll find another
  And I'll be here
  If you should find you ever need me
  Don't say a word about tomorrow
  Or forever
  There'll be time enough for sadness
  When you leave me


  Lay your head upon my pillow
  Hold your warm and tender body
  Close to mine
  Hear the whisper of the rain drops
  Blowing soft against the window
  And make believe you love me
  One more time

  WRITERS

  Kristoffer Kristofferson

  PUBLISHERS

  Lyrics © Universal Music Publishing Group, Spirit Music Group, Warner Chappell Music, Inc.




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BCG_ID_10765_LF.txt[11/10/23, 10:57:58 AM]
  Lyrics
  From the top to the bottom
  Bottom to top I stop
  At the core I've forgotten
  In the middle of my thoughts
  Taken far from my safety
  The picture's there
  The memory won't escape me
  But why should I care?


  From the top to the bottom
  Bottom to top I stop
  At the core I've forgotten
  In the middle of my thoughts
  Taken far from my safety
  The picture's there
  The memory won't escape me
  But why should I care?


  There's a place so dark you can't see the end
  (Skies cock back) and shock that which can't defend
  The rain then sends dripping acidic questions
  Forcefully, the power of suggestion
  Then with the eyes shut looking through the rust and rot, and dust
  A small spot of light floods the floor
  And pours over the rusted world of pretend
  And the eyes ease open and it's dark again


  From the top to the bottom
  Bottom to top I stop
  At the core I've forgotten
  In the middle of my thoughts
  Taken far from my safety
  The picture's there
  The memory won't escape me
  But why should I care?


  In the memory you'll find me
  Eyes burning up
  The darkness holding me tightly
  Until the sun rises up


  Moving all around
  Screaming of the ups and downs
  Pollution manifested in perpetual sound
  The wheels go 'round and the sunset creeps
  Behind street lamps, chain-link, and concrete
  A little piece of paper with a picture drawn
             Case 3:23-cv-01092              Document 49-6      32011/16/23
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BCG_ID_10775_LF.txt[11/10/23, 10:57:58 AM]
  Floats on down the street 'til the wind is gone
  And the memory now is like the picture was then
  When the paper's crumpled up it can't be perfect again


  From the top to the bottom
  Bottom to top I stop
  At the core I've forgotten
  In the middle of my thoughts
  Taken far from my safety
  The picture's there
  The memory won't escape me
  But why should I care?


  From the top to the bottom
  Bottom to top I stop
  At the core I've forgotten
  In the middle of my thoughts
  Taken far from my safety
  The picture's there
  The memory won't escape me
  But why should I care?


  In the memory you'll find me
  Eyes burning up
  The darkness holding me tightly
  Until the sun rises up


  Now you got me caught in the act
  You bring the thought back
  Telling you that I see it right through you
  Now you got me caught in the act
  You bring the thought back
  Telling you that I see it right through you
  Now you got me caught in the act
  You bring the thought back
  Telling you that I see it right through you
  Now you got me caught in the act
  You bring the thought back
  Telling you that I see it right through you
  Now you got me caught in the act
  You bring the thought back
  Telling you that I see it right through you
  Now you got me caught in the act
  You bring the thought back
  Telling you that I see it right through you
  Now you got me caught in the act
  You bring the thought back
  Telling you that I see it right through you


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                                                             Filed            Page 322 of 434 PageID #: 1348
BCG_ID_10775_LF.txt[11/10/23, 10:57:58 AM]
  In the memory you'll find me
  Eyes burning up
  The darkness holding me tightly
  Until the sun rises up


  In the memory you'll find me
  Eyes burning up
  The darkness holding me tightly
  Until the sun rises up

  WRITERS

  Brad Delson, Chester Charles Bennington, Dave Farrel, Joseph Hahn, Mark Wakefield, Mike Shidona, Robert G.
  Bourdon

  PUBLISHERS

  Lyrics © Universal Music Publishing Group




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                                                             Filed            Page 323 of 434 PageID #: 1349
BCG_ID_10775_LF.txt[11/10/23, 10:57:58 AM]
  Lyrics
  In the time of my confession, in the hour of my deepest need
  When the pool of tears beneath my feet floods every newborn seed
  There's a dying voice within me reaching out somewhere
  Toiling in the danger and the morals of despair


  Don't have the inclination to look back on any mistake
  Like Cain, I now behold this chain of events that I must break
  In the fury of the moment I can see the master's hand
  In every leaf that trembles, in every grain of sand


  Oh, the flowers of indulgence and the weeds of yesteryear
  Like criminals, they have choked the breath of conscience and good cheer
  The sun beams down upon the steps of time to light the way
  To ease the pain of idleness and the memory of decay


  I gaze into the doorway of temptation's angry flame
  And every time I pass that way I'll always hear my name
  Then onward in my journey I come to understand
  That every hair is numbered like every grain of sand


  I have gone from rags to riches in the sorrow of the night
  In the violence of a summer's dream, in the chill of a wintry light
  In the bitter dance of loneliness fading into space
  In the broken mirror of innocence on each forgotten face


  I hear the ancient footsteps like the motion of the sea
  Sometimes I turn, there's someone there, other times it's only me
  I am hanging in the balance of the reality of man
  Like every sparrow falling, like every grain of sand

  WRITERS

  BOB DYLAN

  PUBLISHERS

  Lyrics © BMG Rights Management, Universal Music Publishing Group




             Case 3:23-cv-01092              Document 49-6      32311/16/23
                                                             Filed            Page 324 of 434 PageID #: 1350
BCG_ID_10780_LF.txt[11/10/23, 10:57:59 AM]
  Lyrics
  Red, red wine
  Go to my head
  Make me forget that I
  Still need her so


  Red, red wine
  It's up to you
  All I can do, I've done
  But memories won't go
  No, memories won't go


  I'd have sworn
  That with time
  Thoughts of you
  Would leave my head
  I was wrong
  And I find
  Just one thing
  Makes me forget


  Red, red wine
  Stay close to me
  Don't let me be alone
  It's tearing apart
  My blue, blue heart


  I'd have sworn
  That with time
  Thoughts of you
  Would leave my head
  I was wrong
  And I find
  Just one thing
  Makes me forget


  Red, red wine
  Stay close to me
  Don't let me be alone
  It's tearing apart
  My blue, blue heart

  WRITERS

  Neil Diamond

  PUBLISHERS

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BCG_ID_10782_LF.txt[11/10/23, 10:57:59 AM]
  Lyrics © Universal Music Publishing Group




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BCG_ID_10782_LF.txt[11/10/23, 10:57:59 AM]
  Lyrics
  I am a lineman for the county
  And I drive the main road
  Searchin' in the sun for another overload
  I hear you singin' in the wire
  I can hear you through the whine
  And the Wichita lineman is still on the line


  I know I need a small vacation
  But it don't look like rain
  And if it snows, that stretch down south won't ever stand the strain
  And I need you more than want you
  And I want you for all time
  And the Wichita lineman is still on the line


  And I need you more than want you
  And I want you for all time
  And the Wichita lineman is still on the line

  WRITERS

  Jimmy Webb

  PUBLISHERS

  Lyrics © Universal Music Publishing Group




             Case 3:23-cv-01092              Document 49-6      32611/16/23
                                                             Filed            Page 327 of 434 PageID #: 1353
BCG_ID_10785_LF.txt[11/10/23, 10:57:59 AM]
  Lyrics
  If blood will flow when flesh and steel are one
  Drying in the color of the evening sun
  Tomorrow's rain will wash the stains away
  But something in our minds will always stay


  Perhaps this final act was meant
  To clinch a lifetime's argument
  That nothing comes from violence and nothing ever could


  For all those born beneath an angry star
  Lest we forget how fragile we are


  On and on the rain will fall
  Like tears from a star
  Like tears from a star
  On and on the rain will say
  How fragile we are
  How fragile we are


  On and on the rain will fall
  Like tears from a star
  Like tears from a star
  On and on the rain will say
  How fragile we are
  How fragile we are
  How fragile we are
  How fragile we are

  WRITERS

  Gordon Sumner

  PUBLISHERS

  Lyrics © Universal Music Publishing Group




             Case 3:23-cv-01092              Document 49-6      32711/16/23
                                                             Filed            Page 328 of 434 PageID #: 1354
BCG_ID_10791_LF.txt[11/10/23, 10:57:59 AM]
  Lyrics
  I was so high, I did not recognize
  The fire burning in her eyes
  The chaos that controlled my mind
  Whispered goodbye as she got on a plane
  Never to return again
  But always in my heart, oh


  This love has taken its toll on me
  She said goodbye too many times before
  And her heart is breaking in front of me
  And I have no choice 'cause I won't say goodbye anymore
  Whoa
  Whoa
  Whoa


  I tried my best to feed her appetite
  Keep her coming every night
  So hard to keep her satisfied, oh
  Kept playing love like it was just a game
  Pretending to feel the same
  Then turn around and leave again, but oh


  This love has taken its toll on me
  She said goodbye too many times before
  And her heart is breaking in front of me
  And I have no choice 'cause I won't say goodbye anymore
  Whoa
  Whoa
  Whoa


  I'll fix these broken things
  Repair your broken wings
  And make sure everything's alright
  (It's alright, it's alright)
  My pressure on your hips
  Sinking my fingertips
  Into every inch of you
  Because I know that's what you want me to do


  This love has taken its toll on me
  She said goodbye too many times before
  Her heart is breaking in front of me
  And I have no choice 'cause I won't say goodbye anymore
  This love has taken its toll on me
  She said goodbye too many times before
  And my heart is breaking in front of me
  She said goodbye too many times before
             Case 3:23-cv-01092              Document 49-6      32811/16/23
                                                             Filed            Page 329 of 434 PageID #: 1355
BCG_ID_10792_LF.txt[11/10/23, 10:57:59 AM]
  This love has taken its toll on me
  She said goodbye too many times before
  Her heart is breaking in front of me
  And I have no choice 'cause I won't say goodbye anymore
  This love

  WRITERS

  Jesse Royal Carmichael, Ryan Michael Dusick, James B. Valentine, Michael Allen Madden, Adam Noah Levine

  PUBLISHERS

  Lyrics © Universal Music Publishing Group




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                                                             Filed            Page 330 of 434 PageID #: 1356
BCG_ID_10792_LF.txt[11/10/23, 10:57:59 AM]
  Lyrics
  I never seen you looking so bad my funky one
  You tell me that your superfine mind has come undone


  [Chorus]
  Any major dude with half a heart surely will tell you my friend
  Any minor world that breaks apart falls together again
  When the demon is at your door
  In the morning it won't be there no more
  Any major dude will tell you


  Have you ever seen a squonk's tears? Well, look at mine
  The people on the street have all seen better times


  [Chorus]


  I can tell you all I know, the where to go, the what to do
  You can try to run but you can't hide from what's inside of you


  [Chorus]

  WRITERS

  DONALD JAY FAGEN, WALTER CARL BECKER

  PUBLISHERS

  Lyrics © BMG Rights Management, Universal Music Publishing Group




             Case 3:23-cv-01092              Document 49-6      33011/16/23
                                                             Filed            Page 331 of 434 PageID #: 1357
BCG_ID_10794_LF.txt[11/10/23, 10:57:59 AM]
  Lyrics
  There is no political solution
  To our troubled evolution
  Have no faith in constitution
  There is no bloody revolution


  We are spirits in the material world
  Are spirits in the material world
  Are spirits in the material world
  Are spirits in the material world


  Our so-called leaders speak
  With words they try to jail you
  They subjugate the meek
  But it's the rhetoric of failure


  We are spirits in the material world
  Are spirits in the material world
  Are spirits in the material world
  Are spirits in the material world


  Where does the answer lie?
  Living from day to day
  If it's something we can't buy
  There must be another way


  We are spirits in the material world
  Are spirits in the material world
  Are spirits in the material world
  Are spirits in the material world
  Are spirits in the material world
  Are spirits in the material world

  WRITERS

  Gordon Sumner

  PUBLISHERS

  Lyrics © Universal Music Publishing Group




             Case 3:23-cv-01092              Document 49-6      33111/16/23
                                                             Filed            Page 332 of 434 PageID #: 1358
BCG_ID_10797_LF.txt[11/10/23, 10:57:59 AM]
  Lyrics
  Boom boom acka-lacka lacka boom
  Boom boom acka-lacka boom boom


  It was a night like this forty million years ago
  I lit a cigarette, picked up a monkey skull to go
  The sun was spitting fire, the sky was blue as ice
  I felt a little tired, so I watched Miami Vice
  And walked the dinosaur, I walked the dinosaur


  Open the door, get on the floor
  Everybody walk the dinosaur
  Open the door, get on the floor
  Everybody walk the dinosaur
  Open the door, get on the floor
  Everybody walk the dinosaur
  Open the door, get on the floor
  Everybody walk the dinosaur


  I met you in a cave, you were painting buffalo
  I said I'd be your slave, follow wherever you go
  That night we split a rattlesnake and danced beneath the stars
  You fell asleep, I stayed awake and watched the passing cars
  And walked the dinosaur, I walked the dinosaur


  Open the door, get on the floor
  Everybody walk the dinosaur
  Open the door, get on the floor
  Everybody walk the dinosaur
  Open the door, get on the floor
  Everybody walk the dinosaur
  Open the door, get on the floor
  Everybody walk the dinosaur


  One night I dreamed of New York
  You and I roasting blue pork
  In the Statue of Liberty's torch
  Elvis landed in a rocket ship
  Healed a couple of leapers and disappeared
  But where was his beard?


  A shadow from the sky much too big to be a bird
  A screaming crashing noise louder than I've ever heard
  It looked like two big silver trees that somehow learned to soar
  Suddenly a summer breeze and a mighty lion's roar
  I killed the dinosaur, I killed the dinosaur

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BCG_ID_10798_LF.txt[11/10/23, 10:57:59 AM]
  Open the door, get on the floor
  Everybody kill the dinosaur
  Open the door, get on the floor
  Everybody kill the dinosaur
  Open the door, get on the floor
  Everybody kill the dinosaur
  Open the door, get on the floor
  Everybody kill the dinosaur
  Repeat chorus 2 one time
  Boom boom acka-lacka lacka boom
  Boom boom acka-lacka boom boom

  WRITERS

  David Jay Weiss, Donald E. Fagenson, Randall Keith Jacobs

  PUBLISHERS

  Lyrics © Universal Music Publishing Group




             Case 3:23-cv-01092              Document 49-6      33311/16/23
                                                             Filed            Page 334 of 434 PageID #: 1360
BCG_ID_10798_LF.txt[11/10/23, 10:57:59 AM]
  Lyrics
  My love she speaks like silence
  Without ideals or violence
  She doesn't have to say she's faithful
  Yet she's true, like ice, like fire
  People carry roses
  And make promises by the hours
  My love she laughs like the flowers
  Valentines can't buy her


  In the dime stores and bus stations
  People talk of situations
  Read books, repeat quotations
  Draw conclusions on the wall
  Some speak of the future
  My love she speaks softly
  She knows there's no success like failure
  And that failure's no success at all


  The cloak and dagger dangles
  Madams light the candles
  In ceremonies of the horsemen
  Even the pawn must hold a grudge
  Statues made of matchsticks
  Crumble into one another
  My love winks, she does not bother
  She knows too much to argue or to judge


  The bridge at midnight trembles
  The country doctor rambles
  Bankers' nieces seek perfection
  Expecting all the gifts that wise men bring
  The wind howls like a hammer
  The night blows rainy
  My love she's like some raven
  At my window with a broken wing

  WRITERS

  Bob Dylan

  PUBLISHERS

  Lyrics © Universal Music Publishing Group




             Case 3:23-cv-01092              Document 49-6      33411/16/23
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BCG_ID_10799_LF.txt[11/10/23, 10:58:00 AM]
  Lyrics
  We've only just begun to live
  White lace and promises
  A kiss for luck and we're on our way
  (We've only begun)


  Before the risin' sun, we fly
  So many roads to choose
  We'll start out walkin' and learn to run
  (And yes, we've just begun)


  Sharing horizons that are new to us
  Watchin the signs along the way
  Talkin' it over, just the two of us
  Workin' together day to day
  Together


  And when the evening comes, we smile
  So much of life ahead
  We'll find a place where there's room to grow
  (And yes, we've just begun)


  Sharing horizons that are new to us
  Watchin' the signs along the way
  Talkin' it over, just the two of us
  Workin' together day to day
  Together
  Together


  And when the evening comes, we smile
  So much of life ahead
  We'll find a place where there's room to grow
  And yes, we've just begun

  WRITERS

  Paul Williams, Roger Nichols

  PUBLISHERS

  Lyrics © Kanjian Music, Universal Music Publishing Group, Tratore, Warner Chappell Music, Inc.




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BCG_ID_10804_LF.txt[11/10/23, 10:58:00 AM]
  Lyrics
  See the people walking down the street
  Fall in line just watching all their feet
  They don't know where they want to go
  But they're walking in time


  They got the beat
  They got the beat
  They got the beat
  Yeah, they got the beat


  All the kids just getting out of school
  They can't wait to hang out and be cool
  Hang around 'til quarter after twelve
  That's when they fall in line


  They got the beat
  They got the beat
  Kids got the beat
  Yeah, kids got the beat


  Go-go music really makes us dance
  Doing the pony puts us in a trance
  The Watusi, just give us a chance
  That's when we fall in line


  'Cause we got the beat
  We got the beat
  We got the beat
  Yeah, we got it!


  We got the beat
  We got the beat
  We got the beat
  Everybody get on your feet
  We got the beat
  We know you can dance to the beat
  We got the beat
  Jump back, get down
  We got the beat
  Round and round and round


  We got the beat
  We got the beat
  We got the beat
  We got the beat
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                                                             Filed            Page 337 of 434 PageID #: 1363
BCG_ID_10806_LF.txt[11/10/23, 10:58:00 AM]
  We got the beat
  We got the beat
  We got the beat
  We got the beat
  We got the beat
  We got the beat
  We got the beat
  We got the beat
  We got the beat
  We got the beat

  WRITERS

  Charlotte Caffey

  PUBLISHERS

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BCG_ID_10806_LF.txt[11/10/23, 10:58:00 AM]
  Lyrics
  Young teacher, the subject
  Of schoolgirl fantasy
  She wants him so badly
  Knows what she wants to be


  Inside her there's longing
  This girl's an open page
  Book marking, she's so close now
  This girl is half his age


  Don't stand, don't stand so
  Don't stand so close to me
  Don't stand, don't stand so
  Don't stand so close to me


  Her friends are so jealous
  You know how bad girls get
  Sometimes it's not so easy
  To be the teacher's pet


  Temptation, frustration
  So bad it makes him cry
  Wet bus stop, she's waiting
  His car is warm and dry


  Don't stand, don't stand so
  Don't stand so close to me
  Don't stand, don't stand so
  Don't stand so close to me


  Loose talk in the classroom
  To hurt they try and try
  Strong words in the staffroom
  The accusations fly


  It's no use, he sees her
  He starts to shake and cough
  Just like the old man in
  That book by Nabakov


  Don't stand, don't stand so
  Don't stand so close to me
  Don't stand, don't stand so
  Don't stand so close to me
             Case 3:23-cv-01092              Document 49-6      33811/16/23
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BCG_ID_10813_LF.txt[11/10/23, 10:58:00 AM]
  Don't stand, don't stand so
  Don't stand so close to me
  Don't stand, don't stand so
  Don't stand so close to me
  Don't stand, don't stand so
  Don't stand so close to me
  Don't stand, don't stand so
  Don't stand so close to me
  Don't stand, don't stand so
  Don't stand so close to me
  Don't stand, don't stand so
  Don't stand so close to me

  WRITERS

  Gordon Sumner

  PUBLISHERS

  Lyrics © Universal Music Publishing Group




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                                                             Filed            Page 340 of 434 PageID #: 1366
BCG_ID_10813_LF.txt[11/10/23, 10:58:00 AM]
  Lyrics
  Round round get around, I get around, yeah
  (Get around round round I get around, ooh-ooh) I get around
  Fom town to town (get around round round I get around)
  I'm a real cool head (get around round round I get around)
  I'm makin' real good bread (get around round round I get around)


  I'm gettin' bugged driving up and down the same old strip
  I gotta find a new place where the kids are hip
  My buddies and me are getting real well known
  Yeah, the bad guys know us and they leave us alone


  I get around (get around round round I get around)
  From town to town (get around round round I get around)
  I'm a real cool head (get around round round I get around)
  I'm makin' real good bread (get around round round I get around)


  I get around (round, get around-round-round, ooh)
  (Wah-wah-ooh)
  (Wah-wah-ooh)
  (Wah-wah-ooh)


  We always take my car 'cause it's never been beat
  And we've never missed yet with the girls we meet
  None of the guys go steady 'cause it wouldn't be right
  To leave their best girl home now on Saturday night


  I get around (get around round round I get around)
  From town to town (get around round round I get around)
  I'm a real cool head (get around round round I get around)
  I'm makin' real good bread (get around round round I get around)


  I get around (round, ah-ah-ah-ah-ah-ah-ah-ah)


  Round round get around, I get around, yeah


  Get around round round I get around (ooh-ooh-ooh-ooh)
  Get around round round I get around (wah-wah-ooh)
  Get around round round I get around (ooh-ooh-ooh-ooh)
  Get around round round I get around (ooh-ooh-ooh-ooh)
  Get around round round I get around (ooh-ooh-ooh-ooh)
  Get around round round I get around (ooh-ooh-ooh-ooh)
  Get around round round I get around (ooh-ooh-ooh-ooh)
  Get around round round I get around (ooh-ooh-ooh-ooh)
  Get around round round I get around (ooh-ooh-ooh-ooh)
             Case 3:23-cv-01092              Document 49-6      34011/16/23
                                                             Filed            Page 341 of 434 PageID #: 1367
BCG_ID_10816_LF.txt[11/10/23, 10:58:00 AM]
  WRITERS

  Brian Wilson, Michael Love

  PUBLISHERS

  Lyrics © Universal Music Publishing Group




             Case 3:23-cv-01092              Document 49-6      34111/16/23
                                                             Filed            Page 342 of 434 PageID #: 1368
BCG_ID_10816_LF.txt[11/10/23, 10:58:00 AM]
  Lyrics
  Take me down to the river bend
  Take me down to the fighting end
  Wash the poison from off my skin
  Show me how to be whole again


  Fly me up on a silver wing
  Past the black where the sirens sing
  Warm me up in a nova's glow
  And drop me down to the dream below


  'Cause I'm only a crack in this castle of glass
  Hardly anything there for you to see
  For you to see


  Bring me home in a blinding dream
  Through the secrets that I have seen
  Wash the sorrow from off my skin
  And show me how to be whole again


  'Cause I'm only a crack in this castle of glass
  Hardly anything there for you to see
  For you to see


  'Cause I'm only a crack in this castle of glass
  Hardly anything else I need to be


  'Cause I'm only a crack in this castle of glass
  Hardly anything there for you to see
  For you to see
  For you to see

  WRITERS

  Brad Delson, Chester Charles Bennington, Dave Farrell, Joseph Hahn, Mike Shinoda, Robert G. Bourdon

  PUBLISHERS

  Lyrics © Universal Music Publishing Group




             Case 3:23-cv-01092              Document 49-6      34211/16/23
                                                             Filed            Page 343 of 434 PageID #: 1369
BCG_ID_10820_LF.txt[11/10/23, 10:58:00 AM]
  Lyrics
  Guess who just got back today
  Them wild-eyed boys that had been away
  Haven't changed, had much to say
  But man, I still think them cats are crazy
  They were askin' if you were around
  How you was, where you could be found
  Told them you were livin' downtown
  Drivin' all the old men crazy


  The boys are back in town, the boys are back in town
  I said, the boys are back in town, the boys are back in town
  The boys are back in town, the boys are back in town
  The boys are back in town, the boys are back in town


  You know that chick that used to dance a lot
  Every night, she'd be on the floor, shakin' what she'd got
  Man, when I tell you she was cool, she was red hot
  I mean, she was steamin'
  And that time over at Johnny's place
  Well, this chick got up and she slapped Johnny's face
  Man, we just fell about the place
  If that chick don't want to know, forget her


  The boys are back in town, the boys are back in town
  I said, the boys are back in town, the boys are back in town
  The boys are back in town, the boys are back in town
  The boys are back in town, the boys are back in town


  Spread the word around
  Guess who's back in town?
  You spread the word around


  Friday night, they'll be dressed to kill
  Down at Dino's Bar 'n' Grill
  The drink will flow and blood will spill
  And if the boys want to fight, you better let 'em
  That jukebox in the corner blastin' out my favorite song
  The nights are getting warmer, it won't be long
  Won't be long 'til the summer comes
  Now that the boys are here again


  The boys are back in town, the boys are back in town
  The boys are back in town, the boys are back in town
  The boys are back in town, the boys are back in town
  The boys are back in town, the boys are back in town
  (The boys are back, the boys are back)
             Case 3:23-cv-01092              Document 49-6      34311/16/23
                                                             Filed            Page 344 of 434 PageID #: 1370
BCG_ID_10828_LF.txt[11/10/23, 10:58:01 AM]
  The boys are back in town again
  Been hangin' down at Dino's
  The boys are back in town again

  WRITERS

  Philip Parris Lynott

  PUBLISHERS

  Lyrics © Universal Music Publishing Group




             Case 3:23-cv-01092              Document 49-6      34411/16/23
                                                             Filed            Page 345 of 434 PageID #: 1371
BCG_ID_10828_LF.txt[11/10/23, 10:58:01 AM]
  Lyrics
  Well since she put me down I've been out doin' in my head
  I come in late at night and in the mornin' I just lay in bed


  Well, Rhonda you look so fine (look so fine)
  And I know it wouldn't take much time
  For you to help me Rhonda
  Help me get her out of my heart


  Help me Rhonda
  Help, help me Rhonda
  Help me Rhonda
  Help, help me Rhonda
  Help me Rhonda
  Help, help me Rhonda
  Help me Rhonda
  Help, help me Rhonda
  Help me Rhonda
  Help, help me Rhonda
  Help me Rhonda
  Help, help me Rhonda
  Help me Rhonda yeah
  Get her out of my heart


  She was gonna be my wife
  And I was gonna be her man
  (Oh Rhonda)
  But she let another guy come between us
  And it shattered our plans
  (Oh Rhonda)


  Well, Rhonda you caught my eye (caught my eye)
  And I can give you lotsa reasons why
  You gotta help me Rhonda
  Help me get her out of my heart


  Help me Rhonda
  Help, help me Rhonda
  Help me Rhonda
  Help, help me Rhonda
  Help me Rhonda
  Help, help me Rhonda
  Help me Rhonda
  Help, help me Rhonda
  Help me Rhonda
  Help, help me Rhonda
  Help me Rhonda
  Help, help me Rhonda
             Case 3:23-cv-01092              Document 49-6      34511/16/23
                                                             Filed            Page 346 of 434 PageID #: 1372
BCG_ID_10832_LF.txt[11/10/23, 10:58:01 AM]
  Help me Rhonda yeah
  Get her out of my heart


  Help me Rhonda
  Help, help me Rhonda
  Help me Rhonda
  Help, help me Rhonda
  Help me Rhonda
  Help, help me Rhonda
  Help me Rhonda
  Help, help me Rhonda
  Help me Rhonda
  Help, help me Rhonda
  Help me Rhonda
  Help, help me Rhonda
  Help me Rhonda yeah
  Get her out of my heart

  WRITERS

  Michael Love, Brian Wilson

  PUBLISHERS

  Lyrics © Universal Music Publishing Group




             Case 3:23-cv-01092              Document 49-6      34611/16/23
                                                             Filed            Page 347 of 434 PageID #: 1373
BCG_ID_10832_LF.txt[11/10/23, 10:58:01 AM]
  Lyrics
  There's a little black spot on the sun today
  It's the same old thing as yesterday
  There's a black hat caught in a high tree top
  There's a flag pole rag and the wind won't stop
  I have stood here before inside the pouring rain
  With the world turning circles running 'round my brain
  I guess I'm always hoping that you'll end this reign
  But it's my destiny to be the king of pain


  There's a little black spot on the sun today, that's my soul up there
  It's the same old thing as yesterday, that's my soul up there
  There's a black hat caught in a high tree top, that's my soul up there
  There's a flag pole rag and the wind won't stop, that's my soul up there
  I have stood here before inside the pouring rain
  With the world turning circles running 'round my brain
  I guess I'm always hoping that you'll end this reign
  But it's my destiny to be the king of pain


  There's a fossil that's trapped in a high cliff wall, that's my soul up there
  There's a dead salmon frozen in a waterfall, that's my soul up there
  There's a blue whale beached by a springtide's ebb, that's my soul up there
  There's a butterfly trapped in a spider's web, that's my soul up there
  I have stood here before inside the pouring rain
  With the world turning circles running 'round my brain
  I guess I'm always hoping that you'll end this reign
  But it's my destiny to be the king of pain


  There's a king on a throne with his eyes torn out
  There's a blind man looking for a shadow of doubt
  There's a rich man sleeping on a golden bed
  There's a skeleton choking on a crust of bread


  King of pain


  There's a red fox torn by a huntmen's pack, that's my soul up there
  There's a black winged gull with a broken back, that's my soul up there
  There's a little black spot on the sun today
  It's the same old thing as yesterday
  I have stood here before inside the pouring rain
  With the world turning circles running 'round my brain
  I guess I'm always hoping that you'll end this reign
  But it's my destiny to be the king of pain
  King of pain
  King of pain, king of pain
  I'll always be king of pain
  I'll always be king of pain
  I'll always be king of pain
             Case 3:23-cv-01092              Document 49-6      34711/16/23
                                                             Filed                Page 348 of 434 PageID #: 1374
BCG_ID_10833_LF.txt[11/10/23, 10:58:01 AM]
  I'll always be king of pain

  WRITERS

  Gordon Sumner

  PUBLISHERS

  Lyrics © Universal Music Publishing Group




             Case 3:23-cv-01092              Document 49-6      34811/16/23
                                                             Filed            Page 349 of 434 PageID #: 1375
BCG_ID_10833_LF.txt[11/10/23, 10:58:01 AM]
  Lyrics
  I can''t stand the rain ''gainst my window
  Bringing back sweet memories
  Ican''t stand the rain ''gainst my window
  ''Cause he''s not here with me
  Hey window pain do you remember
  How sweet it used to be
  When we were together
  Everything was so grand, yes it was
  Now that we''ve parted
  There''s one sound that I just can''t stand...
  Alone with the pillow
  Where his head used to lay, yeah
  I know you''ve got some sweet memories
  But like a window you ain''t got nothin'' to say
  I can''t stand the rain ''gainst my window
  Bringing back sweet memories, hey
  I can''t stand the rain, ooh
  ''Gainst my window, oh no no
  ''Cause he''s not here with me, uh
  Alone with the pillow uh uh
  Where his head used to lay, yeah
  I know you''ve got some sweet memories
  But like a window you ain''t got nothin'' to say, hey hey
  Uh, uh, I can''t stand the rain...
  (I can''t I can''t I can''t can''t stand the rain)...
  Baby, uh, uh, uh, hey hey
  Ooh, ooh, uh, uh, hey
  Don''t you know, ''t you think...
  No no ooh oooohh hey hey hey hey hey, no
  Dum dum dum dum dum dum dum dum dum dum dum
  Oohh !... Get off my window...
  (I can''t I can''t I can''t can''t stand the rain)...
  Get off my window now, get off my window
  Get off my window nah, I can''t stand the rain
  I can''t stand the rain, ooh, can''t stand the rain, oh

  WRITERS

  Ann Peebles, Bernard Miller, Don Bryant

  PUBLISHERS

  Lyrics © Universal Music Publishing Group, O/B/O DistroKid




             Case 3:23-cv-01092              Document 49-6       34911/16/23
                                                              Filed            Page 350 of 434 PageID #: 1376
BCG_ID_10836_LF.txt[11/10/23, 10:58:01 AM]
  Lyrics
  Little deuce coupe
  You don't know what I got
  Little deuce coupe
  You don't know what I got

  Well I'm not braggin' babe so don't put me down
  But I've got the fastest set of wheels in town
  When something comes up to me he don't even try
  'Cause if I had a set of wings man I know she could fly
  She's my little deuce coupe
  You don't know what I got
  (My little deuce coupe)
  (You don't know what I got)

  Just a little deuce coupe with a flat head mill
  But she'll walk a Thunderbird like (she's) it's standin's 'till
  She's ported and relieved and she's stroked and bored.
  She'll do a hundred and forty with the top end floored
  She's my little deuce coupe
  You don't know what I got
  (My little deuce coupe)
  (You don't know what I got)

  She's got a competition clutch with the four on the floor
  And she purrs like a kitten 'till the lake pipes roar
  And if that ain't enough to make you flip your lid
  There's one more thing, I got the pink slip daddy

  And comin' off the line when the light turns green
  Well she blows 'em outta the water like you never seen
  I get pushed out of shape and it's hard to steer
  When I get rubber in all four gears

  She's my little deuce coupe
  You don't know what I got
  (My little deuce coupe)
  (You don't know what I got)
  She's my little deuce coupe
  You don't know what I got
  (My little deuce coupe)
  (You don't know what I got)
  She's my little deuce coupe
  You don't know what I got
  WRITERS
  ROGER CHRISTIAN, BRIAN WILSON
  PUBLISHERS
  Lyrics © Sony/ATV Music Publishing LLC




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                                                              Filed            Page 351 of 434 PageID #: 1377
BCG_ID_10837_LF.txt[11/10/23, 10:58:01 AM]
  Lyrics
  You are so beautiful
  To me
  You are so beautiful
  To me
  Can't you see
  You're everything I hoped for
  You're everything I need
  You are so beautiful
  To me


  You are so beautiful
  To me
  You are so beautiful
  To me
  Can't you see
  You're everything I hoped for
  Everything I need
  You are so beautiful
  To me

  WRITERS

  Bruce Carleton Fisher, Billy Preston

  PUBLISHERS

  Lyrics © Universal Music Publishing Group, Warner Chappell Music, Inc.




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                                                             Filed            Page 352 of 434 PageID #: 1378
BCG_ID_10844_LF.txt[11/10/23, 10:58:01 AM]
  Lyrics
  You can get it if you really want
  You can get it if you really want
  You can get it if you really want
  But you must try, try and try
  Try and try, you'll succeed at last


  Persecution you must bear
  Win or lose you've got to get your share
  Got your mind set on a dream
  You can get it, though harder them seem now


  You can get it if you really want
  You can get it if you really want
  You can get it if you really want
  But you must try, try and try
  Try and try, you'll succeed at last
  I know it, listen


  Rome was not built in a day
  Opposition will come your way
  But the hotter the battle you see
  It's the sweeter the victory, now


  You can get it if you really want
  You can get it if you really want
  You can get it if you really want
  But you must try, try and try
  Try and try, you'll succeed at last


  You can get it if you really want
  You can get it if you really want
  You can get it if you really want
  But you must try, try and try
  Try and try, you'll succeed at last


  You can get it if you really want - don't you know it?
  You can get it if you really want - don't I've showen it
  You can get it if you really want

  WRITERS

  JIMMY CLIFF

  PUBLISHERS

  Lyrics © Universal Music Publishing Group
             Case 3:23-cv-01092              Document 49-6      35211/16/23
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BCG_ID_10845_LF.txt[11/10/23, 10:58:02 AM]
             Case 3:23-cv-01092              Document 49-6      35311/16/23
                                                             Filed            Page 354 of 434 PageID #: 1380
BCG_ID_10845_LF.txt[11/10/23, 10:58:02 AM]
  Lyrics
  Your cruel device
  Your blood, like ice
  One look could kill
  My pain, your thrill


  [Chorus]
  I want to love you but I better not touch
  I want to hold you but my senses tell me to stop
  I want to kiss you but I want it too much
  I want to taste you but your lips are venomous poison


  You're poison running through my veins
  You're poison, I don't want to break these chains


  Your mouth, so hot
  Your web, I'm caught
  Your skin, so wet
  Black lace on sweat


  [Chorus]


  You're poison running through my veins
  You're poison, I don't want to break these chains


  Run deep inside my veins
  Its burning deep inside my veins
  One look could kill
  My pain, your thrill


  [Chorus]


  You're poison running through my veins
  You're poison, I don't want to break these chains


  Poison


  [Chorus]


  You're poison running through my veins
  You're poison, I don't want to break these chains

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BCG_ID_10847_LF.txt[11/10/23, 10:58:02 AM]
  Poison

  WRITERS

  WAYNE KRAMER

  PUBLISHERS

  Lyrics © Warner Chappell Music, Inc.




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                                                             Filed            Page 356 of 434 PageID #: 1382
BCG_ID_10847_LF.txt[11/10/23, 10:58:02 AM]
  Lyrics
  Whiskey bottles, and brand new cars
  Oak tree you're in my way
  There's too much coke and too much smoke
  Look what's going on inside you
  Ooooh that smell
  Can't you smell that smell
  Ooooh that smell
  The smell of death surrounds you


  Angel of darkness is upon you
  Stuck a needle in your arm
  So take another toke, have a blow for your nose
  One more drink fool, will drown you
  Ooooh that smell
  Can't you smell that smell
  Ooooh that smell
  The smell of death surrounds you


  Now they call you Prince Charming
  Can't speak a word when you're full of 'ludes
  Say you'll be all right come tomorrow
  But tomorrow might not be here for you (yeah you)
  Ooooh that smell
  Can't you smell that smell
  Ooooh that smell
  The smell of death surrounds you


  Hey, you're a fool you
  Stick them needles in your arm
  I know I been there before


  One little problem that confronts you
  Got a monkey on your back
  Just one more fix, Lord might do the trick
  One hell of a price for you to get your kicks
  Ooooh that smell
  Can't you smell that smell
  Ooooh that smell
  The smell of death surrounds you
  Ooooh that smell
  Can't you smell that smell
  Ooooh that smell
  The smell of death surrounds you


  Hey, you're a fool you
  Stick them needles in your arm
  You're just a fool, just a fool, just a fool
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                                                             Filed            Page 357 of 434 PageID #: 1383
BCG_ID_10853_LF.txt[11/10/23, 10:58:02 AM]
  WRITERS

  Allen Collins, Ronnie Van Zant

  PUBLISHERS

  Lyrics © Universal Music Publishing Group




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                                                             Filed            Page 358 of 434 PageID #: 1384
BCG_ID_10853_LF.txt[11/10/23, 10:58:02 AM]
  Lyrics
  I remember black skies
  The lightning all around me
  I remember each flash
  As time began to blur
  Like a startling sign
  That fate had finally found me
  And your voice was all I heard
  That I get what I deserve


  So give me reason
  To prove me wrong
  To wash this memory clean
  Let the floods cross
  The distance in your eyes
  Give me reason
  To fill this hole
  Connect this space between
  Let it be enough to reach the truth that lies
  Across this new divide


  There was nothing inside
  The memories left abandoned
  There was nowhere to hide
  The ashes fell like snow
  And the ground caved in
  Between where we were standing
  And your voice was all I heard
  That I get what I deserve


  So give me reason
  To prove me wrong
  To wash this memory clean
  Let the floods cross
  The distance in your eyes
  Across this new divide


  In every loss in every lie
  In every truth that you deny
  And each regret and each goodbye
  Was a mistake too great to hide
  And your voice was all I heard
  That I get what I deserve


  So give me reason
  To prove me wrong
  To wash this memory clean
  Let the floods cross
             Case 3:23-cv-01092              Document 49-6      35811/16/23
                                                             Filed            Page 359 of 434 PageID #: 1385
BCG_ID_10855_LF.txt[11/10/23, 10:58:02 AM]
  The distance in your eyes
  Give me reason
  To fill this hole
  Connect this space between
  Let it be enough to reach the truth that lies
  Across this new divide
  Across this new divide
  Across this new divide

  WRITERS

  Brad Delson, Chester Charles Bennington, Dave Farrell, Joseph Hahn, Mike Shinoda, Robert G. Bourdon

  PUBLISHERS

  Lyrics © Universal Music Publishing Group




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                                                             Filed            Page 360 of 434 PageID #: 1386
BCG_ID_10855_LF.txt[11/10/23, 10:58:02 AM]
  Lyrics
  You walk into the room with your pencil in your hand
  You see somebody naked and you say, "Who is that man?"
  You try so hard but you don't understand
  Just what you will say when you get home
  Because something is happening here but you don't know what it is
  Do you, Mr. Jones?


  You raise up your head and you ask, "Is this where it is?"
  And somebody points to you and says, "It's his"
  And you say, "What's mine?" and somebody else says, "Well, what is?"
  And you say, "Oh my God, am I here all alone?"
  But something is happening and you don't know what it is
  Do you, Mr. Jones?


  You hand in your ticket and you go watch the geek
  Who immediately walks up to you when he hears you speak
  And says, "How does it feel to be such a freak?"
  And you say, "Impossible!" as he hands you a bone
  And something is happening here but you don't know what it is
  Do you, Mr. Jones?


  You have many contacts among the lumberjacks
  To get you facts when someone attacks your imagination
  But nobody has any respect, anyway they already expect you to all give a check
  To tax-deductible charity organizations


  Ah, you've been with the professors and they've all liked your looks
  With great lawyers you have discussed lepers and crooks
  You've been through all of F. Scott Fitzgerald's books
  You're very well-read, it's well-known
  But something is happening here and you don't know what it is
  Do you, Mr. Jones?


  Well, the sword swallower, he comes up to you and then he kneels
  He crosses himself and then he clicks his high heels
  And without further notice, he asks you how it feels
  And he says, "Here is your throat back, thanks for the loan"
  And you know something is happening but you don't know what it is
  Do you, Mr. Jones?


  Now, you see this one-eyed midget shouting the word "Now"
  And you say, "For what reason?" and he says, "How"
  And you say, "What does this mean?" and he screams back, "You're a cow!
  Give me some milk or else go home"
  And you know something's happening but you don't know what it is
  Do you, Mr. Jones?
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BCG_ID_10858_LF.txt[11/10/23, 10:58:02 AM]
  Well, you walk into the room like a camel, and then you frown
  You put your eyes in your pocket and your nose on the ground
  There ought to be a law against you comin' around
  You should be made to wear earphones
  'Cause something is happening and you don't know what it is
  Do you, Mr. Jones?

  WRITERS

  Bob Dylan

  PUBLISHERS

  Lyrics © Universal Music Publishing Group




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BCG_ID_10858_LF.txt[11/10/23, 10:58:02 AM]
  Lyrics
  If you love somebody
  Better tell them why they're here 'cause
  They just may run away from you


  You'll never know what went well
  Then again it just depends on
  How long of time is left for you


  I've had the highest mountains
  I've had the deepest rivers
  You can have it all but life keeps movin'


  Now take it in but don't look down


  'Cause I'm on top of the world, ayy
  I'm on top of the world, ayy
  Waiting on this for a while now
  Paying my dues to the dirt
  I've been waiting to smile, ayy
  Been holding it in for a while, ayy
  Take you with me if I can
  Been dreaming of this since a child
  I'm on top of the world


  I've tried to cut these corners
  Try to take the easy way out
  I kept on falling short of something


  I coulda gave up then but
  Then again I couldn't have 'cause
  I've traveled all this way for something


  I take it in but don't look down


  'Cause I'm on top of the world, ayy
  I'm on top of the world, ayy
  Been waiting on this for a while now
  Paying my dues to the dirt
  I've been waiting to smile, ayy
  Been holding it in for a while, ayy
  Take you with me if I can
  Been dreaming of this since a child
  I'm on top of the world

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BCG_ID_10861_LF.txt[11/10/23, 10:58:03 AM]
  'Cause I'm on top of the world, ayy
  I'm on top of the world, ayy
  Waiting on this for a while now
  Paying my dues to the dirt
  I've been waiting to smile, ayy
  Been holding it in for a while, ayy
  Take you with me if I can
  Been dreaming of this since a child


  And I know it's hard when you're falling down
  And it's a long way up when you hit the ground
  But get up now, get up, get up now


  And I know it's hard when you're falling down
  And it's a long way up when you hit the ground
  Get up now, get up, get up now


  'Cause I'm on top of the world, ayy
  I'm on top of the world, ayy
  Waiting on this for a while now
  Paying my dues to the dirt
  I've been waiting to smile, ayy
  Been holding it in for a while, ayy
  Take you with me if I can
  Been dreaming of this since a child
  I'm on top of the world

  WRITERS

  Alexander Junior Grant, Benjamin Arthur McKee, Daniel Coulter Reynolds, Daniel Wayne Sermon

  PUBLISHERS

  Lyrics © Universal Music Publishing Group




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                                                             Filed            Page 364 of 434 PageID #: 1390
BCG_ID_10861_LF.txt[11/10/23, 10:58:03 AM]
  Lyrics
  Mama told me when I was young
  "Come sit beside me, my only son
  And listen closely to what I say
  And if you do this it'll help you some sunny day, ah yeah"


  "Oh, take your time, don't live too fast
  Troubles will come and they will pass
  You'll find a woman, yeah, and you'll find love
  And don't forget, son, there is someone up above"


  "And be a simple kind of man
  Oh, be something you love and understand
  Baby, be a simple kind of man
  Oh, won't you do this for me, son, if you can"


  "Forget your lust for the rich man's gold
  All that you need is in your soul
  And you can do this, oh baby, if you try
  All that I want for you my son, is to be satisfied"


  "And be a simple kind of man
  Oh, be something you love and understand
  Baby, be a simple kind of man
  Oh, won't you do this for me, son, if you can"


  Oh yes, I will


  "Boy, don't you worry, you'll find yourself
  Follow your heart and nothing else
  And you can do this, oh baby, if you try
  All that I want for you my son, is to be satisfied"


  "And be a simple kind of man
  Oh, be something you love and understand
  Baby, be a simple kind of man
  Oh, won't you do this for me, son, if you can"


  Baby, be a simple, be a simple man
  Oh, be something you love and understand
  Baby, be a simple kind of man

  WRITERS

  Ronnie Van Zant, Gary Robert Rossington
             Case 3:23-cv-01092              Document 49-6      36411/16/23
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BCG_ID_10878_LF.txt[11/10/23, 10:58:03 AM]
  PUBLISHERS

  Lyrics © Universal Music Publishing Group




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                                                             Filed            Page 366 of 434 PageID #: 1392
BCG_ID_10878_LF.txt[11/10/23, 10:58:03 AM]
  Lyrics
  Song sung blue
  Everybody knows one
  Song sung blue
  Every garden grows one


  Me and you are subject to the blues now and then
  But when you take the blues and make a song
  You sing them out again
  Sing them out again


  Song sung blue
  Weeping like a willow
  Song sung blue
  Sleeping on my pillow


  Funny thing, but you can sing it with a cry in your voice
  And before you know, it get to feeling good
  You simply got no choice


  Me and you are subject to the blues now and then
  But when you take the blues and make a song
  You sing them out again


  Song sung blue
  Weeping like a willow
  Song sung blue
  Sleeping on my pillow


  Funny thing, but you can sing it with a cry in your voice
  And before you know, it started feeling good
  You simply got no choice


  Song sung blue
  Song sung blue
  Funny thing, but you can sing it with a cry in your voice

  WRITERS

  NEIL DIAMOND

  PUBLISHERS

  Lyrics © Universal Music Publishing Group


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BCG_ID_10886_LF.txt[11/10/23, 10:58:03 AM]
  Lyrics
  God bless us, everyone
  We're a broken people living under loaded gun
  And it can't be outfought
  It can't be outdone
  It can't be outmatched
  It can't be outrun
  No


  God bless us, everyone
  We're a broken people living under loaded gun
  And it can't be outfought
  It can't be outdone
  It can't be outmatched
  It can't be outrun
  No


  And when I close my eyes tonight
  To symphonies of blinding light
  (God bless us, everyone
  We're a broken people living under loaded gun, oh)
  Like memories in cold decay
  Transmissions echoing away
  Far from the world of you and I
  Where oceans bleed into the sky


  God save us, everyone
  Will we burn inside the fires of a thousand suns?
  For the sins of our hand
  The sins of our tongue
  The sins of our father
  The sins of our young
  No


  God save us, everyone
  Will we burn inside the fires of a thousand suns?
  For the sins of our hand
  The sins of our tongue
  The sins of our father
  The sins of our young
  No


  And when I close my eyes tonight
  To symphonies of blinding light
  (God save us, everyone
  Will we burn inside the fires of a thousand suns? Oh)
  Like memories in cold decay
  Transmissions echoing away
             Case 3:23-cv-01092              Document 49-6      36711/16/23
                                                             Filed            Page 368 of 434 PageID #: 1394
BCG_ID_10888_LF.txt[11/10/23, 10:58:03 AM]
  Far from the world of you and I
  Where oceans bleed into the sky


  Oh, like memories in cold decay
  Transmissions echoing away
  Far from the world of you and I
  Where oceans bleed into the sky


  Lift me up
  Let me go
  Lift me up
  Let me go
  Lift me up
  Let me go
  Lift me up
  Let me go
  Lift me up
  Let me go
  Lift me up
  Let me go
  Lift me up
  Let me go
  Lift me up
  Let me go
  Lift me up
  Let me go
  Lift me up (it can't be outfought, it can't be outdone)
  Let me go (it can't outmatched, it can't be outrun now)


  God bless us, everyone
  We're a broken people living under loaded gun
  And it can't be outfought
  It can't be outdone
  It can't outmatched
  It can't be outrun
  No


  God bless us, everyone
  We're a broken people living under loaded gun
  And it can't be outfought
  It can't be outdone
  It can't outmatched
  It can't be outrun

  WRITERS

  Brad Delson, Chester Charles Bennington, Dave Farrell, Joseph Hahn, Mike Shinoda, Robert G. Bourdon

  PUBLISHERS

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                                                             Filed            Page 369 of 434 PageID #: 1395
BCG_ID_10888_LF.txt[11/10/23, 10:58:03 AM]
  Lyrics © Universal Music Publishing Group, Songtrust Ave




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BCG_ID_10888_LF.txt[11/10/23, 10:58:03 AM]
  Lyrics
  (One, two, three)


  (Turn it up)


  Big wheels keep on turning
  Carry me home to see my kin
  Singing songs about the Southland
  I miss Alabamy once again and I think it's a sin, yes


  Well, I heard Mister Young sing about her (southern man)
  Well, I heard ol' Neil put her down
  Well, I hope Neil Young will remember
  A southern man don't need him around, anyhow


  Sweet home Alabama
  Where the skies are so blue
  Sweet home Alabama
  Lord, I'm coming home to you


  In Birmingham they love the Governor, boo, boo, boo
  Now we all did what we could do
  Now Watergate does not bother me
  Does your conscience bother you? Tell the truth


  Sweet home Alabama
  Where the skies are so blue
  Sweet home Alabama
  Lord, I'm coming home to you, here I come Alabama


  (Oh oh oh, Alabama, oh oh oh, Alabama)
  (Oh oh oh, Alabama, oh oh oh, Alabama)


  Now Muscle Shoals has got the Swampers
  And they've been known to pick a song or two (yes, they do)
  Lord, they get me off so much
  They pick me up when I'm feeling blue, now how 'bout you?


  Sweet home Alabama
  Where the skies are so blue
  Sweet home Alabama
  Lord, I'm coming home to you


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                                                             Filed            Page 371 of 434 PageID #: 1397
BCG_ID_10889_LF.txt[11/10/23, 10:58:03 AM]
  Sweet home Alabama, oh, sweet home, baby
  Where the skies are so blue and the governor's true
  Sweet home Alabama, Lordy
  Lord, I'm coming home to you, yeah yeah


  My, Montgomery's got the answer

  WRITERS

  Ronnie Van Zant, Gary Robert Rossington, Edward C. King

  PUBLISHERS

  Lyrics © Universal Music Publishing Group




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                                                             Filed            Page 372 of 434 PageID #: 1398
BCG_ID_10889_LF.txt[11/10/23, 10:58:03 AM]
  Lyrics
  Shadows are falling and I been here all day
  It's too hot to sleep and time is running away
  Feel like my soul has turned into steel
  I've still got the scars that the sun didn't let me heal


  There's not even room enough to be anywhere
  It's not dark yet, but it's getting there
  Well my sense of humanity is going down the drain
  Behind every beautiful thing, there's been some kind of pain


  She wrote me a letter and she wrote it so kind
  She put down in writin' what was in her mind
  I just don't see why I should even care
  It's not dark yet, but it's getting there


  Well I been to London and I been to gay Paree
  I followed the river and I got to the sea
  I've been down to the bottom of a whirlpool of lies
  I ain't lookin' for nothin' in anyone's eyes


  Sometimes my burden is more than I can bear
  It's not dark yet, but it's getting there


  I was born here and I'll die here, against my will
  I know it looks like I'm movin' but I'm standin' still


  Every nerve in my body is so naked and numb
  I can't even remember what it was I came here to get away from
  Don't even hear the murmur of a prayer
  It's not dark yet, but it's getting there

  WRITERS

  Bob Dylan

  PUBLISHERS

  Lyrics © Universal Music Publishing Group




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                                                             Filed            Page 373 of 434 PageID #: 1399
BCG_ID_10892_LF.txt[11/10/23, 10:58:03 AM]
  Lyrics
  All this feels strange and untrue
  And I won't waste a minute without you
  My bones ache, my skin feels cold
  And I'm getting so tired and so old


  The anger swells in my guts
  And I won't feel these slices and cuts
  I want so much to open your eyes
  'Cause I need you to look into mine


  Tell me that you'll open your eyes
  Tell me that you'll open your eyes
  Tell me that you'll open your eyes
  Tell me that you'll open your eyes


  Get up, get out, get away from these liars
  'Cause they don't get your soul or your fire
  Take my hand, knot your fingers through mine
  And we'll walk from this dark room for the last time


  Every minute from this minute now
  We can do what we like anywhere
  I want so much to open your eyes
  'Cause I need you to look into mine


  Tell me that you'll open your eyes
  Tell me that you'll open your eyes
  Tell me that you'll open your eyes
  Tell me that you'll open your eyes


  Tell me that you'll open your eyes
  Tell me that you'll open your eyes
  Tell me that you'll open your eyes
  Tell me that you'll open your eyes


  All this feels strange and untrue
  And I won't waste a minute without you

  WRITERS

  Gary Lightbody, Jonathan Graham Quinn, Nathan Connolly, Paul Wilson, Tom Simpson

  PUBLISHERS

  Lyrics © Kanjian Music, BMG Rights Management, Universal Music Publishing Group, Sony/ATV Music Publishing
             Case 3:23-cv-01092              Document 49-6      37311/16/23
                                                             Filed            Page 374 of 434 PageID #: 1400
BCG_ID_10893_LF.txt[11/10/23, 10:58:04 AM]
  LLC, Royalty Network, Capitol CMG Publishing, Songtrust Ave




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                                                             Filed            Page 375 of 434 PageID #: 1401
BCG_ID_10893_LF.txt[11/10/23, 10:58:04 AM]
  Lyrics
  Christopher Robin and I walked along
  Under branches lit up by the moon.
  Posing our questions to owl and eeyore
  As our days disappeared all too soon.
  But I've wandered much further today than I should
  And I can't seeem to find my way back to the wood.
  So, help me if you can I've got to get
  Back to the house at Pooh corner by one.
  You;d be surprised there's so much to be done,
  Count all the bees in the hive,
  Chase all the clouds from the sky.
  Back to the days of Christopher Robin and Pooh.
  Winnie the Pooh doesn't know what to do,


  Got a honey jar stuck on his nose.
  He came to me asking help and advice
  And from here no one knows where he goes.
  So I sent him to ask of te Owl if he's there,
  How to loosen a jar from the nose of a bear
  So, help me if you can I've got to get
  Back to the house at Pooh corner by one
  You'd be surprised there's so much to be done,
  Count all the bees in the hive,
  Chase all the clouds from the sky .
  Back to the days of Christopher Robin and Pooh,
  Back to the days of Christopher Robin,
  Back to the ways of Pooh

  WRITERS

  KENNETH CLARK LOGGINS

  PUBLISHERS

  Lyrics © Universal Music Publishing Group




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                                                             Filed            Page 376 of 434 PageID #: 1402
BCG_ID_10894_LF.txt[11/10/23, 10:58:04 AM]
  Lyrics
  How many roads must a man walk down
  Before you call him a man?
  How many seas must a white dove sail
  Before she sleeps in the sand?
  Yes, 'n' how many times must the cannon balls fly
  Before they're forever banned?
  The answer, my friend, is blowin' in the wind
  The answer is blowin' in the wind


  Yes, 'n' how many years can a mountain exist
  Before it is washed to the sea?
  Yes, 'n' how many years can some people exist
  Before they're allowed to be free?
  Yes, 'n' how many times can a man turn his head
  And pretend that he just doesn't see?
  The answer, my friend, is blowin' in the wind
  The answer is blowin' in the wind


  Yes, 'n' how many times must a man look up
  Before he can see the sky?
  Yes, 'n' how many ears must one man have
  Before he can hear people cry?
  Yes, 'n' how many deaths will it take 'til he knows
  That too many people have died?
  The answer, my friend, is blowin' in the wind
  The answer is blowin' in the wind

  WRITERS

  Bob Dylan

  PUBLISHERS

  Lyrics © CONSALAD CO., Ltd.




             Case 3:23-cv-01092              Document 49-6      37611/16/23
                                                             Filed            Page 377 of 434 PageID #: 1403
BCG_ID_10895_LF.txt[11/10/23, 10:58:04 AM]
  Lyrics
  Father of mine
  Tell me where have you been
  You know I just closed my eyes
  My whole world disappeared
  Father of mine
  Take me back to the day
  Yeah, when I was still your golden boy
  Back before you went away


  I remember the blue skies
  Walking the block
  I loved it when you held me high
  I loved to hear you talk
  You would take me to the movie
  You would take me to the beach
  Take me to a place inside
  That is so hard to reach


  Father of mine
  Tell me where did you go
  You had the world inside your hand
  But you did not seem to know
  Father of mine
  Tell me what do you see
  When you look back at your wasted life
  And you don't see me


  I was ten years old
  Doing all that I could
  Wasn't easy for me to be a scared white boy
  In a black neighborhood
  Sometimes you would send me a birthday card
  With a five dollar bill
  Yeah, I never understood you then
  And I guess I never will


  Daddy gave me a name
  My dad he gave me a name (then he walked away)
  Daddy gave me a name (then he walked away)
  My dad he gave me a name


  Daddy gave me a name
  Daddy gave me a name (then he walked away)
  Daddy gave me a name (then he walked away)
  My daddy gave me a name


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BCG_ID_10899_LF.txt[11/10/23, 10:58:04 AM]
  Yeah, yeah, oh yeah


  Father of mine
  Tell me where have you been
  Yeah, I just closed my eyes
  And the world disappeared
  Father of mine
  Tell me how do you sleep
  With the children you abandoned
  And the wife I saw you beat


  I will never be safe
  I will never be sane
  I will always be weird inside
  I will always be lame
  Now I'm a grown man
  With a child of my own
  And I swear I'm not going to let her know
  All the pain I have known


  Then he walked away
  Daddy gave me a name
  Then he walked away
  My daddy gave me a name
  Then he walked away
  My daddy gave me a name
  Then he walked away
  My daddy gave me a name
  Then he walked away (yeah)
  Then he walked away (yeah)
  Then he walked away (oh, yeah)

  WRITERS

  Art Alexakis, Craig Montoya, Greg Eklund

  PUBLISHERS

  Lyrics © Universal Music Publishing Group




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                                                             Filed            Page 379 of 434 PageID #: 1405
BCG_ID_10899_LF.txt[11/10/23, 10:58:04 AM]
  Lyrics
  A falling star
  Fell from your heart
  And landed in my eyes
  I screamed aloud
  As it tore through them
  And now it's left me blind


  The stars, the moon, they have all been blown out
  You left me in the dark
  No dawn, no day, I'm always in this twilight
  In the shadow of your heart


  And in the dark, I can hear your heartbeat
  I tried to find the sound
  But then it stopped, and I was in the darkness
  So darkness I became


  The stars, the moon, they have all been blown out
  You left me in the dark
  No dawn, no day, I'm always in this twilight
  In the shadow of your heart


  I took the stars from our eyes, and then I made a map
  And knew that somehow I could find my way back
  Then I heard your heart beating
  You were in the darkness too
  So I stayed in the darkness with you


  The stars, the moon, they have all been blown out
  You left me in the dark
  No dawn, no day, I'm always in this twilight
  In the shadow of your heart


  The stars, the moon, they have all been blown out
  You left me in the dark
  No dawn, no day, I'm always in this twilight
  In the shadow of your heart

  WRITERS

  Florence Leontine Mary Welch, Isabella Janet Florentina Summers

  PUBLISHERS

  Lyrics © Universal Music Publishing Group

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                                                             Filed            Page 380 of 434 PageID #: 1406
BCG_ID_10902_LF.txt[11/10/23, 10:58:04 AM]
  Lyrics
  Now this is a story all about how
  My life got flipped, turned upside down
  And I'd like to take a minute
  Just sit right there
  I'll tell you how I became the prince of a town called Bel-Air


  In West Philadelphia born and raised
  On the playground was where I spent most of my days
  Chillin' out, maxin,' relaxin' all cool
  And all shootin' some b-ball outside of the school
  When a couple of guys who were up to no good
  Started making trouble in my neighborhood
  I got in one little fight and my mom got scared
  And said, "You're movin' with your auntie and uncle in Bel-Air"


  I begged and pleaded with her day after day
  But she packed my suitcase and sent me on my way
  She gave me a kiss and then she gave me my ticket
  I put my Walkman on and said, "I might as well kick it"


  First class, yo this is bad
  Drinking orange juice out of a champagne glass
  Is this what the people of Bel-Air living like?
  Hmm, this might be alright


  But wait I hear they're prissy, bourgeois and all that
  Is this the type of place that they should send this cool cat?
  I don't think so, I'll see when I get there
  I hope they're prepared for the prince of Bel-Air


  Well, uh, the plane landed and when I came out
  There was a dude looked like a cop standing there with my name out
  I ain't tryna get arrested yet, I just got here
  I sprang with the quickness like lightning, disappeared


  I whistled for a cab and when it came near
  The license plate said "fresh" and it had dice in the mirror
  If anything I could say that this cab was rare
  But I thought, "Nah, forget it, yo, holmes, to Bel-Air"


  I pulled up to a house about seven or eight
  And I yelled to the cabbie, "Yo, holmes, smell ya later"
  Looked at my kingdom, I was finally there
  To sit on my throne as the Prince of Bel-Air

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BCG_ID_10906_LF.txt[11/10/23, 10:58:04 AM]
  WRITERS

  Jeffrey Townes, Willard C. Smith, Quincy III Jones

  PUBLISHERS

  Lyrics © Universal Music Publishing Group, Sony/ATV Music Publishing LLC




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BCG_ID_10906_LF.txt[11/10/23, 10:58:04 AM]
  Lyrics
  When I see your smile
  Tears run down my face
  I can't replace
  And now that I'm strong I have figured out
  How this world turns cold
  And it breaks through my soul and I know
  I'll find deep inside me
  I can be the one


  I will never let you fall
  I'll stand up with you forever
  I'll be there for you through it all
  Even if saving you sends me to heaven


  It's okay
  It's okay
  It's okay


  Seasons are changing and waves are crashing and
  Stars are falling all for us
  Days grow longer and nights grow shorter
  I can show you I'll be the one


  I will never let you fall
  I'll stand up with you forever
  I'll be there for you through it all
  Even if saving you sends me to heaven
  'Cause you're my
  You're my, my
  My true love
  My whole heart
  Please don't throw that away
  'Cause I'm here for you
  Please don't walk away and
  Please tell me you'll stay, yeah
  Whoa
  Stay, whoa, whoa
  Use me as you will
  Pull my strings just for a thrill
  And I know I'll be okay
  Though my skies are turning grey (grey)


  I will never let you fall
  I'll stand up with you forever
  I'll be there for you through it all
  Even if saving you sends me to heaven

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BCG_ID_10917_LF.txt[11/10/23, 10:58:05 AM]
  I will never let you fall
  I'll stand up with you forever
  I'll be there for you through it all
  Even if saving you send me to heaven

  WRITERS

  Ronnie Winter

  PUBLISHERS

  Lyrics © Universal Music Publishing Group




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                                                             Filed            Page 384 of 434 PageID #: 1410
BCG_ID_10917_LF.txt[11/10/23, 10:58:05 AM]
  Lyrics
  Wake in a sweat again
  Another day's been laid to waste
  In my disgrace
  Stuck in my head again
  Feels like I'll never leave this place
  There's no escape
  I'm my own worst enemy


  I've given up
  I'm sick of feeling
  Is there nothing you can say?
  Take this all away
  I'm suffocating
  Tell me what the fuck is wrong with me


  I don't know what to take
  Thought I was focused, but I'm scared
  I'm not prepared
  I hyperventilate
  Looking for help somehow, somewhere
  And no one cares
  I'm my own worst enemy


  I've given up
  I'm sick of feeling
  Is there nothing you can say?
  Take this all away
  I'm suffocating
  Tell me what the fuck is wrong with me


  God


  Put me out of my misery
  Put me out of my misery
  Put me out of my
  Put me out of my fucking misery


  I've given up
  I'm sick of feeling
  Is there nothing you can say?
  Take this all away
  I'm suffocating
  Tell me what the fuck is wrong with me

  WRITERS

             Case 3:23-cv-01092              Document 49-6      38411/16/23
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BCG_ID_10918_LF.txt[11/10/23, 10:58:05 AM]
  Brad Delson, Chester Charles Bennington, Dave Farrell, Joseph Hahn, Mike Shinoda, Robert G. Bourdon

  PUBLISHERS

  Lyrics © Universal Music Publishing Group




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BCG_ID_10918_LF.txt[11/10/23, 10:58:05 AM]
  Lyrics
  I ain't lookin' to compete with you
  Beat or cheat or mistreat you
  Simplify you, classify you
  Deny, defy or crucify you
  All I really want to do
  Is, baby, be friends with you


  No, and I ain't lookin' to fight with you
  Frighten you or uptighten you
  Drag you down or drain you down
  Chain you down or bring you down
  All I really want to do
  Is, baby, be friends with you


  I ain't lookin' to block you up
  Shock or knock or lock you up
  Analyze you, categorize you
  Finalize you or advertise you
  All I really want to do
  Is, baby, be friends with you


  I don't want to straight-face you
  Race or chase you, track or trace you
  Or disgrace you or displace you
  Or define you or confine you
  All I really want to do
  Is, baby, be friends with you


  I don't want to meet your kin
  Make you spin or do you in
  Or select you or dissect you
  Or inspect you or reject you
  All I really want to do
  Is, baby, be friends with you


  I don't want to fake you out
  Take or shake or forsake you out
  I ain't lookin' for you to feel like me
  See like me or be like me
  All I really want to do
  Is, baby, be friends with you

  WRITERS

  Bob Dylan

  PUBLISHERS
             Case 3:23-cv-01092              Document 49-6      38611/16/23
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BCG_ID_10922_LF.txt[11/10/23, 10:58:05 AM]
  Lyrics © Universal Music Publishing Group




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                                                             Filed            Page 388 of 434 PageID #: 1414
BCG_ID_10922_LF.txt[11/10/23, 10:58:05 AM]
  Lyrics
  I don't practice Santeria, I ain't got no crystal ball
  Well, I had a million dollars but I'd, I'd spend it all
  If I could find that Heina and that Sancho that she's found
  Well, I'd pop a cap in Sancho and I'd slap her down


  What I really want to know
  Ah, baby, mm
  What I really want to say
  I can't define
  Well it's love that I need
  Oh, my soul will have to wait 'til I get back and find
  Heina of my own
  Daddy's gonna love one and all
  I feel the break, feel the break
  Feel the break and I got to live it up, oh yeah huh


  Well, I swear that I, well I really want to know
  Ah, baby, what I really want to say, I can't define
  That love, make it go, my soul will have to


  Ooh, what I really want to say, ah baby
  What I really want to say, is I've got mine
  And I'll make it, yes, I'm going up
  Tell Sanchito that if he knows what is good for him
  He best go run and hide
  Daddy's got a new .45
  And I won't think twice to stick that barrel straight down Sancho's throat
  Believe me when I say that I got something for his punk ass


  What I really want know, my baby
  Ooh, what I really want to say is there's just one way back
  And I'll make it, yeah, my soul will have to wait


  Yeah, yeah, yeah

  WRITERS

  Bradley James Nowell, Eric John Wilson, Floyd I Iv Gaugh

  PUBLISHERS

  Lyrics © Universal Music Publishing Group




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                                                             Filed             Page 389 of 434 PageID #: 1415
BCG_ID_10931_LF.txt[11/10/23, 10:58:05 AM]
  Lyrics
  She paints her nails and she don't know
  He's got her best friend on the phone
  She'll wash her hair
  His dirty clothes are all he gives to her
  And he's got posters on the wall
  Of all the girls he wished she was
  And he means everything to her


  Her boyfriend, he don't know
  Anything about her
  He's too stoned, Nintendo
  I wish that I could make her see
  She's just the flavor of the week


  It's Friday night and she's all alone
  He's a million miles away
  She's dressed to kill
  But the TV's on
  He's connected to the sound
  And he's got pictures on the wall
  Of all the girls he's loved before
  And she knows all his favorite songs


  Her boyfriend, he don't know
  Anything about her
  He's too stoned, Nintendo
  I wish that I could make her see
  She's just the flavor of the week


  Yeah


  Her boyfriend, he don't know
  Anything about her
  He's too stoned, he's too stoned
  He's too stoned, he's too stoned


  Her boyfriend, he don't know
  Anything about her
  He's too stoned, Nintendo
  I wish that I could make her see
  She's just the flavor of the week


  Yeah she's the flavor of the week
  But she makes me weak

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BCG_ID_10932_LF.txt[11/10/23, 10:58:05 AM]
  WRITERS

  Stacy Jones

  PUBLISHERS

  Lyrics © Universal Music Publishing Group




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                                                             Filed            Page 391 of 434 PageID #: 1417
BCG_ID_10932_LF.txt[11/10/23, 10:58:05 AM]
  Lyrics
  You would not believe your eyes
  If ten million fireflies
  Lit up the world as I fell asleep
  'Cause they fill the open air
  And leave teardrops everywhere
  You'd think me rude but I would just stand and stare


  I'd like to make myself believe that planet Earth turns slowly
  It's hard to say that I'd rather stay awake when I'm asleep
  'Cause everything is never as it seems


  'Cause I'd get a thousand hugs
  From ten thousand lightning bugs
  As they tried to teach me how to dance
  A foxtrot above my head
  A sock hop beneath my bed
  A disco ball is just hanging by a thread (thread, thread)


  I'd like to make myself believe that planet Earth turns slowly
  It's hard to say that I'd rather stay awake when I'm asleep
  'Cause everything is never as it seems (when I fall asleep)


  Leave my door open just a crack
  Please take me away from here
  'Cause I feel like such an insomniac
  Please take me away from here
  Why do I tire of counting sheep?
  Please take me away from here
  When I'm far too tired to fall asleep


  To ten million fireflies
  I'm weird 'cause I hate goodbyes
  I got misty eyes as they said farewell (they said farewell)
  But I'll know where several are
  If my dreams get real bizarre
  'Cause I saved a few and I keep them in a jar (jar, jar, jar)


  I'd like to make myself believe that planet Earth turns slowly
  It's hard to say that I'd rather stay awake when I'm asleep
  'Cause everything is never as it seems (when I fall asleep)


  I'd like to make myself believe that planet Earth turns slowly
  It's hard to say that I'd rather stay awake when I'm asleep
  'Cause everything is never as it seems (when I fall asleep)

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                                                              Filed            Page 392 of 434 PageID #: 1418
BCG_ID_10934_LF.txt[11/10/23, 10:58:06 AM]
  (I'd like to make myself believe that planet Earth turns slowly)
  (It's hard to say that I'd rather stay awake when I'm asleep)
  (Because my dreams are bursting at the seams)

  WRITERS

  Adam R. Young

  PUBLISHERS

  Lyrics © Universal Music Publishing Group




             Case 3:23-cv-01092              Document 49-6      39211/16/23
                                                             Filed            Page 393 of 434 PageID #: 1419
BCG_ID_10934_LF.txt[11/10/23, 10:58:06 AM]
  Lyrics
  Whenever I'm alone with you
  You make me feel like I am home again
  Whenever I'm alone with you
  You make me feel like I am whole again


  Whenever I'm alone with you
  You make me feel like I am young again
  Whenever I'm alone with you
  You make me feel like I am fun again


  However far away
  I will always love you
  However long I stay
  I will always love you
  Whatever words I say
  I will always love you
  I will always love you


  (Fly me to the moon)


  Whenever I'm alone with you
  You make me feel like I am free again
  Whenever I'm alone with you
  You make me feel like I am clean again


  However far away
  I will always love you
  However long I stay
  I will always love you
  Whatever words I say
  I will always love you
  I will always love you

  WRITERS

  Robert James Smith, Roger O'Donnell, Porl Thompson, Laurence Andrew Tolhurst, Boris Williams, Simon Johnathon
  Gallup

  PUBLISHERS

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                                                             Filed            Page 394 of 434 PageID #: 1420
BCG_ID_10948_LF.txt[11/10/23, 10:58:06 AM]
  Lyrics
  When this began
  I had nothing to say
  And I'd get lost in the nothingness inside of me
  (I was confused)
  And I let it all out to find that
  I'm not the only person with these things in mind (inside of me)
  But all the vacancy the words revealed
  Is the only real thing that I got left to feel (nothing to lose)
  Just stuck, hollow and alone
  And the fault is my own
  And the fault is my own


  I want to heal, I want to feel
  What I thought was never real
  I want to let go of the pain I felt so long (erase all the pain 'til it's gone)
  I want to heal, I want to feel
  Like I'm close to something real
  I want to find something I've wanted all along
  Somewhere I belong


  And I've got nothing to say
  I can't believe I didn't fall right down on my face (I was confused)
  Looking everywhere only to find
  That it's not the way I had imagined it all in my mind (so what am I?)
  What do I have but negativity?
  'Cause I can't justify the way everyone is looking at me (nothing to lose)
  Nothing to gain, hollow and alone
  And the fault is my own
  And the fault is my own


  I want to heal, I want to feel
  What I thought was never real
  I want to let go of the pain I've held so long (erase all the pain 'til it's gone)
  I want to heal, I want to feel
  Like I'm close to something real
  I want to find something I've wanted all along
  Somewhere I belong


  I will never know myself until I do this on my own
  And I will never feel
  Anything else until my wounds are healed
  I will never be
  Anything 'til I break away from me
  I will break away, I'll find myself today


  I want to heal, I want to feel
  What I thought was never real
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                                                                Filed                  Page 395 of 434 PageID #: 1421
BCG_ID_10951_LF.txt[11/10/23, 10:58:06 AM]
  I want to let go of the pain I felt so long (erase all the pain 'til it's gone)
  I want to heal, I want to feel
  Like I'm close to something real
  I want to find something I've wanted all along
  Somewhere I belong


  I want to heal I want to feel like I'm
  Somewhere I belong
  I want to heal I want to feel like I'm somewhere I belong
  Somewhere I belong

  WRITERS

  Brad Delson, Chester Charles Bennington, Dave Farrell, Joseph Hahn, Mike Shinoda, Robert G. Bourdon

  PUBLISHERS

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BCG_ID_10951_LF.txt[11/10/23, 10:58:06 AM]
  Lyrics
  Crawling in my skin
  These wounds, they will not heal
  Fear is how I fall
  Confusing what is real


  There's something inside me that pulls beneath the surface
  Consuming, confusing
  This lack of self control I fear is never ending
  Controlling
  I can't seem
  To find myself again
  My walls are closing in
  (Without a sense of confidence
  I'm convinced that there's just too much pressure to take)
  I've felt this way before
  So insecure


  Crawling in my skin
  These wounds, they will not heal
  Fear is how I fall
  Confusing what is real


  Discomfort endlessly has pulled itself upon me
  Distracting, reacting
  Against my will, I stand beside my own reflection
  It's haunting how I can't seem


  To find myself again
  My walls are closing in
  (Without a sense of confidence
  I'm convinced that there's just too much pressure to take)
  I've felt this way before
  So insecure


  Crawling in my skin
  These wounds, they will not heal
  Fear is how I fall
  Confusing what is real


  Crawling in my skin
  These wounds, they will not heal
  Fear is how I fall
  Confusing, confusing what is real


  There's something inside me that pulls beneath the surface
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                                                             Filed            Page 397 of 434 PageID #: 1423
BCG_ID_10962_LF.txt[11/10/23, 10:58:06 AM]
  Consuming (confusing what is real)
  This lack of self control I fear is never ending
  Controlling (confusing what is real)

  WRITERS

  Mike Shinoda, Brad Delson, Chester Charles Bennington, Joseph Hahn, Robert G. Bourdon

  PUBLISHERS

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BCG_ID_10962_LF.txt[11/10/23, 10:58:06 AM]
  Lyrics
  When you try your best but you don't succeed
  When you get what you want but not what you need
  When you feel so tired but you can't sleep
  Stuck in reverse


  When the tears come streaming down your face
  When you lose something you can't replace
  When you love someone but it goes to waste
  Could it be worse?


  Lights will guide you home
  And ignite your bones
  And I will try to fix you


  High up above or down below
  When you're too in love to let it go
  If you never try you'll never know
  Just what you're worth


  Lights will guide you home
  And ignite your bones
  And I will try to fix you


  Tears stream down your face
  When you lose something you cannot replace
  Tears stream down your face
  And I


  Tears stream down your face
  I promise you I will learn from my mistakes
  Tears stream down your face
  And I


  Lights will guide you home
  And ignite your bones
  And I will try to fix you

  WRITERS

  Christopher Anthony John Martin, Guy Rupert Berryman, Jonathan Mark Buckland, William Champion

  PUBLISHERS

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                                                             Filed            Page 399 of 434 PageID #: 1425
BCG_ID_10963_LF.txt[11/10/23, 10:58:06 AM]
  Lyrics
  In my place, in my place
  Were lines that I couldn't change
  I was lost, oh yeah


  And I was lost, I was lost
  Crossed lines I shouldn't have crossed
  I was lost, oh yeah


  Yeah, how long must you wait for it?
  Yeah, how long must you pay for it?
  Yeah, how long must you wait for it?
  Oh, for it?


  I was scared, I was scared
  Tired and underprepared
  But I'll wait for it


  And if you go, if you go
  And leave me down here on my own
  Then I'll wait for you, yeah


  Yeah, how long must you wait for it?
  Yeah, how long must you pay for it?
  Yeah, how long must you wait for it?
  Oh, for it?


  Sing it, please, please, please
  Come back, come sing to me, to me, me
  Come on and sing it out, now, now
  Come on and sing it out to me, me
  Come back and sing it


  In my place, in my place
  Were lines that I couldn't change
  And I was lost, oh yeah, oh yeah

  WRITERS

  Christopher Anthony John Martin, Guy Rupert Berryman, Jonathan Mark Buckland, William Champion

  PUBLISHERS

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                                                             Filed            Page 400 of 434 PageID #: 1426
BCG_ID_10975_LF.txt[11/10/23, 10:58:06 AM]
  Lyrics
  It's down to this
  I've got to make this life make sense
  Can anyone tell what I've done?
  I miss the life
  I miss the colors of the world
  Can anyone tell where I am?


  'Cause now again I found myself so far down
  Away from the sun that shines into the darkest place
  I'm so far down
  Away from the sun again
  Away from the sun again


  Well, I'm over this
  I'm tired of living and I'm dark
  Can anyone see me down here?
  The feeling's gone
  There's nothing left to lift me up
  Back into the world I know


  'Cause now again I found myself so far down
  Away from the sun that shines into the darkest place
  I'm so far down, away from the sun
  That shines to light the way for me
  To find my way back into the arms
  That care about the ones like me
  I'm so far down
  Away from the sun again
  Oh no, yeah, oh no


  It's down to this
  I've got to make this life make sense
  And now I can't tell what I've done
  Now again I found myself so far down, away from the sun
  That shines to light the way for me


  'Cause now again I found myself so far down
  Away from the sun that shines into the darkest place
  I'm so far down, away from the sun
  That shines to light the way for me
  To find my way back into the arms
  That care about the ones like me
  I'm so far down
  Away from the sun again
  Oh no, yeah
  I'm gone

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BCG_ID_10977_LF.txt[11/10/23, 10:58:07 AM]
  WRITERS

  Bradley Kirk Arnold, Matt Roberts, Christopher Lee Henderson, Robert Todd Harrell

  PUBLISHERS

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                                                             Filed            Page 402 of 434 PageID #: 1428
BCG_ID_10977_LF.txt[11/10/23, 10:58:07 AM]
  Lyrics
  I'll never smile again
  Until I smile at you
  I'll never laugh again
  What good would it do?
  For tears would fill my eyes
  My heart would realize
  That our romance is through


  I'll never love again
  I'm so in love with you
  I'll never thrill again
  To somebody new
  Within my heart
  I know I will never start
  To smile again
  Until I smile at you

  WRITERS

  Glenn Osser, Ruth Lowe

  PUBLISHERS

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                                                             Filed            Page 403 of 434 PageID #: 1429
BCG_ID_10990_LF.txt[11/10/23, 10:58:07 AM]
  Lyrics
  I'm sailing away
  Set an open course for the virgin sea
  'Cause I've got to be free
  Free to face the life that's ahead of me
  On board I'm the captain
  So climb aboard
  We'll search for tomorrow
  On every shore and I'll try
  Oh Lord, I'll try
  To carry on


  I look to the sea
  Reflections in the waves spark my memory
  Some happy some sad
  I think of childhood friends and the dreams we had
  We live happily forever
  So the story goes
  But somehow we missed out
  On that pot of gold
  But we'll try best that we can
  To carry on


  A gathering of angels
  Appeared above my head
  They sang to me this song of hope
  And this is what they said
  They said, come sail away, come sail away
  Come sail away with me (lads)
  Come sail away, come sail away
  Come sail away with me
  Come sail away, come sail away
  Come sail away with me (baby)
  Come sail away, come sail away
  Come sail away with me


  I thought that they were angels
  But to my surprise
  We climbed aboard their starship
  We headed for the skies


  Singing, come sail away, come sail away
  Come sail away with me (lads)
  Come sail away, come sail away
  Come sail away with me
  Come sail away, come sail away
  Come sail away with me
  Come sail away, come sail away
  Come sail away with me
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                                                             Filed            Page 404 of 434 PageID #: 1430
BCG_ID_10991_LF.txt[11/10/23, 10:58:07 AM]
  Come sail away, come sail away
  Come sail away with me
  Come sail away, come sail away
  Come sail away with me
  Come sail away, come sail away
  Come sail away with me
  Come sail away, come sail away
  Come sail away with me
  Come sail away, come sail away
  Come sail away with me
  Come sail away, come sail away
  Come sail away with me

  WRITERS

  Dennis De Young

  PUBLISHERS

  Lyrics © Universal Music Publishing Group




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                                                             Filed            Page 405 of 434 PageID #: 1431
BCG_ID_10991_LF.txt[11/10/23, 10:58:07 AM]
  Lyrics
  Say it's true, there's nothing like me and you
  Not alone, tell me you feel it too
  And I would runaway
  I would runaway, yeah, yeah
  I would runaway
  I would runaway with you


  'Cause I have fallen in love
  With you, no never have
  I'm never gonna stop falling in love (with you)


  Close the door, lay down upon the floor
  And by candlelight, make love to me through the night
  'Cause I have runaway
  I have runaway, yeah, yeah
  I have runaway, runaway
  I have runaway with you


  'Cause I have fallen in love
  With you, no never have
  I'm never gonna stop falling in love with you (with you)


  And I would runaway
  I would runaway, yeah
  I would runaway
  I would runaway with you


  'Cause I have fallen in love
  With you, no never have
  I'm never gonna stop falling in love with you


  Fallen in love with you
  No never, ever, I'm never gonna stop falling in love with you
  With you, my love
  With you, with you
  Ya, da, da, da, da, da, da, da, da, da, da, da, ya, da, da, da

  WRITERS

  James Corr, Sharon Corr, Caroline Corr, Andrea Jane Corr

  PUBLISHERS

  Lyrics © Universal Music Publishing Group


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                                                             Filed            Page 406 of 434 PageID #: 1432
BCG_ID_10996_LF.txt[11/10/23, 10:58:07 AM]
  Lyrics
  Can this be true?
  Tell me, can this be real?
  How can I put into words what I feel?
  My life was complete
  I thought I was whole
  Why do I feel like I'm losing control?


  I never thought that love could feel like this
  And you've changed my world with just one kiss
  How can it be that right here with me
  There's an angel?
  It's a miracle


  Your love is like a river
  Peaceful and deep
  Your soul is like a secret
  That I never could keep
  When I look into your eyes
  I know that it's true
  God must have spent
  A little more time on you
  (A little more time) (I'm sure He did)
  (Yes, He did, baby)


  In all of creation, all things great and small
  You are the one that surpasses them all
  More precious than any diamond or pearl
  They broke the mold when you came in this world


  And I'm trying hard to figure out
  Just how I ever did without
  The warmth of your smile
  The heart of a child
  It's deep inside
  Leaves me purified


  Your love is like a river
  Peaceful and deep
  Your soul is like a secret
  That I never could keep
  When I look into your eyes
  I know that it's true
  God must have spent
  A little more time on you


  (On you, on you, on you, you) Yes, He did, babe
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                                                             Filed            Page 407 of 434 PageID #: 1433
BCG_ID_10998_LF.txt[11/10/23, 10:58:07 AM]
  Yes He did (on you, on you, on you, you)
  (On you, on you, on you, you)
  (On you, on you, on you, you)


  Never thought that love could feel like this
  And you've changed my world with just one kiss
  How can it be that right here with me
  There's an angel?
  It's just a miracle


  Your love is like a river
  Peaceful and deep
  Your soul is like a secret
  That I never could keep
  When I look into your eyes
  I know that it's true
  God must have spent
  A little more time on you


  God must have spent
  A little more time on you (on you, on you)
  On you
  A little more time
  You, you

  WRITERS

  Carl Allen Sturken, Evan A Rogers

  PUBLISHERS

  Lyrics © Universal Music Publishing Group




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                                                             Filed            Page 408 of 434 PageID #: 1434
BCG_ID_10998_LF.txt[11/10/23, 10:58:07 AM]
  Lyrics
  You consider me the young apprentice
  Caught between the Scylla and Charibdes
  Hypnotized by you if I should linger
  Staring at the ring around your finger


  I have only come here seeking knowledge
  Things they would not teach me of in college
  I can see the destiny you sold turned into a shining band of gold


  I'll be wrapped around your finger
  I'll be wrapped around your finger
  Mephistopheles is not your name
  I know what you're up to just the same
  I will listen hard to your tuition
  You will see it come to its fruition
  I'll be wrapped around your finger
  I'll be wrapped around your finger


  Devil and the deep blue sea behind me
  Vanish in the air you'll never find me
  I will turn your face to alabaster
  When you'll find your servant is your master


  You'll be wrapped around my finger
  You'll be wrapped around my finger
  You'll be wrapped around my finger

  WRITERS

  Gordon Sumner

  PUBLISHERS

  Lyrics © Universal Music Publishing Group




             Case 3:23-cv-01092              Document 49-6      40811/16/23
                                                             Filed            Page 409 of 434 PageID #: 1435
BCG_ID_10999_LF.txt[11/10/23, 10:58:07 AM]
  Lyrics
  If I leave here tomorrow
  Would you still remember me?
  For I must be traveling on now
  'Cause there's too many places I've got to see


  But if I stay here with you, girl
  Things just couldn't be the same
  'Cause I'm as free as a bird now
  And this bird you cannot change
  Oh, oh, oh, oh
  And the bird you cannot change
  And this bird, you cannot change
  Lord knows, I can't change


  Bye-bye baby, it's been sweet love, yeah, yeah
  Though this feelin' I can't change
  Please don't take it so badly
  'Cause Lord knows, I'm to blame


  If I stay here with you, girl
  Things just couldn't be the same
  'Cause I'm as free as a bird now
  And this bird you cannot change
  Oh, oh, oh, oh
  And the bird you cannot change
  And this bird, you cannot change


  Lord knows, I can't change
  Lord help me, I can't change
  Lord, I can't change
  Won't you fly high, free bird, yeah

  WRITERS

  Allen Collins, Ronnie Van Zant

  PUBLISHERS

  Lyrics © Universal Music Publishing Group




             Case 3:23-cv-01092              Document 49-6      40911/16/23
                                                             Filed            Page 410 of 434 PageID #: 1436
BCG_ID_11005_LF.txt[11/10/23, 10:58:08 AM]
  Lyrics
  In the mornin' you go gunnin' for the man who stole your water
  And you fire 'til he is done in but they catch you at the border
  And the mourners are all singin' as they drag you by your feet
  But the hangman isn't hangin' and they put you on the street


  You go back, Jack, do it again, wheel turnin' 'round and 'round
  You go back, Jack, do it again


  When you know she's no high climber then you find your only friend
  In a room with your two-timer, and you're sure you're near the end
  Then you love a little wild one and she brings you only sorrow
  All the time you know she's smilin' you'll be on your knees tomorrow, yeah


  You go back, Jack, do it again, wheel turnin' 'round and 'round
  You go back, Jack, do it again


  Now you swear and kick and beg us that you're not a gamblin' man
  Then you find you're back in Vegas with a handle in your hand
  Your black cards can make you money so you hide them when you're able
  In the land of milk and honey, you must put them on the table, yeah


  You go back, Jack, do it again, wheel turnin' 'round and 'round
  You go back, Jack, do it again

  WRITERS

  Donald Jay Fagen, Walter Carl Becker, Donald Fagen

  PUBLISHERS

  Lyrics © Universal Music Publishing Group, Royalty Network




             Case 3:23-cv-01092              Document 49-6      41011/16/23
                                                             Filed            Page 411 of 434 PageID #: 1437
BCG_ID_11007_LF.txt[11/10/23, 10:58:08 AM]
  Lyrics
  One toke over the line sweet Jesus
  One toke over the line
  Sittin' downtown in a railway station
  One toke over the line


  Awaitin' for the train that goes home, sweet Mary
  Hopin' that the train is on time
  Sittin' downtown in a railway station
  One toke over the line


  Whoooo do you love, I hope it's me
  I've bin a changin', as you can plainly see
  I felt the joy and I learned about the pain that my momma said
  If I should choose to make a part of me, surely strike me dead
  Now I'm one toke over the line sweet Jesus
  One toke over the line
  Sittin' downtown in a railway station
  One toke over the line
  I'm waitin' for the train that goes home sweet Mary
  Hopin' that the train is on time
  Sittin' downtown in a railway station
  One toke over the line


  I bin away a country mile
  Now I'm returnin' showin' off a smile
  I met all the girls and loved myself a few
  Ended by surprise like everything else I've been through
  It opened up my eyes and now I'm
  One toke over the line sweet Jesus
  One toke over the line
  Sittin' downtown in a railway station
  Don't you just know I waitin' for the train that goes home sweet Mary
  Hopin' that the train is on time
  Sittin' downtown in a railway station
  One toke over the line


  Don't you just know I waitin' for the train that goes home sweet Mary
  Hopin' that the train is on time
  Sittin' downtown in a railway station
  One toke over the line


  I want to be
  One toke over the line sweet Jesus
  One toke over the line
  Sittin' downtown in a railway station
  One toke over the line
  Don't you just know I waitin' for the train that goes home sweet Mary
             Case 3:23-cv-01092              Document 49-6      41111/16/23
                                                             Filed            Page 412 of 434 PageID #: 1438
BCG_ID_11012_LF.txt[11/10/23, 10:58:08 AM]
  Hopin' that the train is on time
  Sittin' downtown in a railway station
  One toke over the line
  Sittin' downtown in a railway station
  One toke over line
  One toke, one toke over the line

  WRITERS

  MICHAEL BREWER, TOM SHIPLEY

  PUBLISHERS

  Lyrics © Universal Music Publishing Group




             Case 3:23-cv-01092              Document 49-6      41211/16/23
                                                             Filed            Page 413 of 434 PageID #: 1439
BCG_ID_11012_LF.txt[11/10/23, 10:58:08 AM]
  Lyrics
  Who's the black private dick that's a sex machine to all the chicks?
  (Shaft)
  You're damn right


  Who is the man that would risk his neck for his brother man?
  (Shaft)
  Can you dig it?


  Who's the cat that won't cop out when there's danger all about?
  (Shaft)
  Right on


  They say this cat Shaft is a bad mother
  (Shut your mouth)
  But I'm talkin' 'bout Shaft
  (Then we can dig it)


  He's a complicated man
  But no one understands him but his woman
  (John Shaft)

  WRITERS

  Isaac Hayes

  PUBLISHERS

  Lyrics © Universal Music Publishing Group, Warner Chappell Music, Inc.




             Case 3:23-cv-01092              Document 49-6      41311/16/23
                                                             Filed            Page 414 of 434 PageID #: 1440
BCG_ID_11017_LF.txt[11/10/23, 10:58:08 AM]
  Lyrics
  I've had my share of life's ups and downs
  But fate's been kind, the downs have been few
  I guess you could say that I've been lucky
  Well, I guess you could say that it's all because of you


  If anyone should ever write my life story
  For whatever reason there might be
  Oh, you'll be there between each line of pain and glory
  'Cause you're the best thing that ever happened to me
  Ah, you're the best thing that ever happened to me


  Oh, there have been times when times were hard
  But always somehow I made it, I made it through
  'Cause for every moment that I've spent hurting
  There was a moment that I spent, ah, just loving you


  If anyone should ever write my life story
  For whatever reason there might be
  Oh, you'll be there between each line of pain and glory
  'Cause you're the best thing that ever happened to me
  Ah, you're the best thing that ever happened to me
  I know, you're the best thing, oh, that ever happened to me

  WRITERS

  JAMES D. WEATHERLY

  PUBLISHERS

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  Ave, Warner Chappell Music, Inc.




             Case 3:23-cv-01092              Document 49-6      41411/16/23
                                                             Filed            Page 415 of 434 PageID #: 1441
BCG_ID_11019_LF.txt[11/10/23, 10:58:08 AM]
  Lyrics
  I'm tired of being what you want me to be
  Feeling so faithless, lost under the surface
  Don't know what you're expecting of me
  Put under the pressure of walking in your shoes
  (Caught in the undertow, just caught in the undertow)
  Every step that I take is another mistake to you
  (Caught in the undertow, just caught in the undertow)


  I've become so numb, I can't feel you there
  Become so tired, so much more aware
  I'm becoming this, all I want to do
  Is be more like me and be less like you


  Can't you see that you're smothering me?
  Holding too tightly, afraid to lose control
  'Cause everything that you thought I would be
  Has fallen apart right in front of you
  (Caught in the undertow, just caught in the undertow)
  Every step that I take is another mistake to you
  (Caught in the undertow, just caught in the undertow)
  And every second I waste is more than I can take


  I've become so numb, I can't feel you there
  Become so tired, so much more aware
  I'm becoming this, all I want to do
  Is be more like me and be less like you


  And I know I may end up failing too
  But I know you were just like me with someone disappointed in you


  I've become so numb, I can't feel you there
  Become so tired, so much more aware
  I'm becoming this, all I want to do
  Is be more like me and be less like you


  I've become so numb, I can't feel you there
  I'm tired of being what you want me to be
  I've become so numb, I can't feel you there
  I'm tired of being what you want me to be

  WRITERS

  Brad Delson, Chester Charles Bennington, Dave Farrell, Joseph Hahn, Mike Shinoda, Robert G. Bourdon

  PUBLISHERS

             Case 3:23-cv-01092              Document 49-6      41511/16/23
                                                             Filed            Page 416 of 434 PageID #: 1442
BCG_ID_11034_LF.txt[11/10/23, 10:58:08 AM]
  Lyrics © Universal Music Publishing Group, Royalty Network




             Case 3:23-cv-01092              Document 49-6      41611/16/23
                                                             Filed            Page 417 of 434 PageID #: 1443
BCG_ID_11034_LF.txt[11/10/23, 10:58:08 AM]
  Lyrics
  Early one mornin' the sun was shinin'
  I was layin' in bed
  Wondrin' if she'd changed at all
  If her hair was still red
  Her folks they said our lives together
  Sure was gonna be rough
  They never did like
  Mama's homemade dress
  Papa's bank book wasn't big enough
  And I was standin' on the side of the road
  Rain fallin' on my shoes
  Heading out for the east coast
  Lord knows I've paid some dues
  Gettin' through
  Tangled up in blue


  She was married when we first met
  Soon to be divorced
  I helped her out of a jam I guess
  But I used a little too much force
  We drove that car as far as we could
  Abandoned it out west
  Split up on a dark sad night
  Both agreeing it was best
  She turned around to look at me
  As I was walkin' away
  I heard her say over my shoulder
  We'll meet again some day
  On the avenue
  Tangled up in blue


  I had a job in the great north woods
  Working as a cook for a spell
  But I never did like it all that much
  And one day the axe just fell
  So I drifted down to New Orleans
  Where I was looking for to be employed
  Workin' for a while on a fishin' boat
  Right outside of Delacroix
  But all the while I was alone
  The past was close behind
  I seen a lot of women
  But she never escaped my mind
  And I just grew
  Tangled up in blue


  She was workin' in a topless place
  And I stopped in for a beer
  I just kept lookin' at the side of her face
             Case 3:23-cv-01092              Document 49-6      41711/16/23
                                                             Filed            Page 418 of 434 PageID #: 1444
BCG_ID_11036_LF.txt[11/10/23, 10:58:09 AM]
  In the spotlight so clear
  And later on as the crowd thinned out
  I's just about to do the same
  She was standing there in back of my chair
  Said to me, Don't I know your name?
  I muttered somethin' under my breath
  She studied the lines on my face
  I must admit I felt a little uneasy
  When she bent down to tie the laces
  Of my shoe
  Tangled up in blue


  She lit a burner on the stove
  And offered me a pipe
  I thought you'd never say hello, she said
  You look like the silent type
  Then she opened up a book of poems
  And handed it to me
  Written by an Italian poet
  From the thirteenth century
  And everyone of them words rang true
  And glowed like burnin' coal
  Pourin' off of every page
  Like it was written in my soul
  From me to you
  Tangled up in blue


  I lived with them on Montague Street
  In a basement down the stairs
  There was music in the cafŽs at night
  And revolution in the air
  Then he started into dealing with slaves
  And something inside of him died
  She had to sell everything she owned
  And froze up inside
  And when finally the bottom fell out
  I became withdrawn
  The only thing I knew how to do
  Was to keep on keepin' on
  Like a bird that flew
  Tangled up in blue


  So now I'm goin' back again
  I got to get to her somehow
  All the people we used to know
  They're an illusion to me now
  Some are mathematicians
  Some are carpenters' wives
  Don't know how it all got started
  I don't know what they're doin' with their lives
  But me, I'm still on the road
            Case 3:23-cv-01092 Document 49-6            41811/16/23
                                                     Filed            Page 419 of 434 PageID #: 1445
BCG_ID_11036_LF.txt[11/10/23, 10:58:09 AM]
  Headin' for another joint
  We always did feel the same
  We just saw it from a different point of view
  Tangled up in blue

  WRITERS

  Bob Dylan

  PUBLISHERS

  Lyrics © Universal Music Publishing Group




             Case 3:23-cv-01092              Document 49-6      41911/16/23
                                                             Filed            Page 420 of 434 PageID #: 1446
BCG_ID_11036_LF.txt[11/10/23, 10:58:09 AM]
  Lyrics
  Into the night
  Desperate and broken
  The sound of a fight
  Father has spoken


  We were the kings and queens of promise
  We were the victims of ourselves
  Maybe the children of a lesser God
  Between heaven and hell
  Heaven and hell


  Into your eyes
  Hopeless and taken
  We stole our new lives
  In defense of our dreams
  In defense of our dreams


  We were the kings and queens of promise
  We were the victims of ourselves
  Maybe the children of a lesser God
  Between heaven and hell
  Heaven and hell (heaven and hell)


  The age of man is over
  A darkness comes at dawn
  These lessons that we learned here
  Have only just begun


  We were the kings and queens of promise
  We were the victims of ourselves
  Maybe the children of a lesser God
  Between heaven and hell


  We are the kings
  We are the queens
  We are the kings
  We are the queens


  Oh oh oh
  Oh oh oh
  Oh oh oh

  WRITERS

  Jared Leto
             Case 3:23-cv-01092              Document 49-6      42011/16/23
                                                             Filed            Page 421 of 434 PageID #: 1447
BCG_ID_11039_LF.txt[11/10/23, 10:58:09 AM]
  PUBLISHERS

  Lyrics © CONSALAD CO., Ltd., Universal Music Publishing Group




             Case 3:23-cv-01092              Document 49-6      42111/16/23
                                                             Filed            Page 422 of 434 PageID #: 1448
BCG_ID_11039_LF.txt[11/10/23, 10:58:09 AM]
  Lyrics
  I, I love the colorful clothes she wears
  And the way the sunlight plays upon her hair
  I hear the sound of a gentle word
  On the wind that lifts her perfume through the air


  I'm pickin' up good vibrations
  She's giving me excitations
  I'm pickin' up good vibrations (oom bop, bop, good vibrations)
  She's giving me excitations (oom bop, bop, excitations)
  Good good good good vibrations (oom bop, bop)
  She's giving me excitations (oom bop, bop, excitations)
  Good good good good vibrations (oom bop, bop)
  She's giving me excitations (oom bop, bop, excitations)


  Close my eyes
  She's somehow closer now
  Softly smile, I know she must be kind
  When I look in her eyes
  She goes with me to a blossom world


  I'm pickin' up good vibrations
  She's giving me excitations
  I'm pickin' up good vibrations (oom bop, bop, good vibrations)
  She's giving me excitations (oom bop, bop, excitations)
  Good good good good vibrations (oom bop, bop)
  She's giving me excitations (oom bop, bop, excitations)
  Good good good good vibrations (oom bop, bop)
  She's giving me excitations (oom bop, bop, excitations)


  (Ah)
  (Ah my my what elation)
  I don't know where but she sends me there
  (Ah my, my, what a sensation)
  (Ah my, my, what elations)
  (Ah my, my, what)


  Gotta keep those lovin' good vibrations
  A happenin' with her
  Gotta keep those lovin' good vibrations
  A happenin' with her
  Gotta keep those lovin' good vibrations
  A happenin'


  Ah
  Good good good good vibrations (oom bop, bop)
  She's giving me excitations (oom bop, bop, excitations)
             Case 3:23-cv-01092              Document 49-6      42211/16/23
                                                             Filed            Page 423 of 434 PageID #: 1449
BCG_ID_11044_LF.txt[11/10/23, 10:58:09 AM]
  Good good good good vibrations (oom bop, bop)
  She's na, na


  Na, na, na, na, na
  Na, na, na
  Na, na, na, na, na
  Na, na, na
  Do, do, do, do, do
  Do, do, do
  Do, do, do, do, do
  Do, do, do

  WRITERS

  Brian Douglas Wilson, Mike E. Love

  PUBLISHERS

  Lyrics © Universal Music Publishing Group




             Case 3:23-cv-01092              Document 49-6      42311/16/23
                                                             Filed            Page 424 of 434 PageID #: 1450
BCG_ID_11044_LF.txt[11/10/23, 10:58:09 AM]
  Lyrics
  Okay, it's Childish Gambino, homegirl drop it like the NASDAQ
  Move white girls like there's coke up my asscrack
  Move black girls 'cause, man, fuck it, I'll do either
  I love pussy, I love bitches, dude, I should be runnin' PETA
  In Adidas, with some short shorts, B-O-O all over me
  My green is where it's supposed to be, your green is in my grocery
  This Asian dude, I stole his girl, and now he got that Kogi beef
  My dick is like an accent mark, it's all about the over Es
  Hot like a parked car
  I sound weird like nigga with a hard R
  Fly like the logo on my cousin's 440
  Eatin' Oreos like these white girls that blow me
  Vodka for my ladies, whiskey for a grown man
  Hangin' in the islands, lookin' for Earl like Toejam
  I made the beat retarded, so I'm callin' it a slow jam
  Butcher and I know it, man, kill beef, go ham
  These rappers are afraid of him
  'Cause I'm a beast, bitch, "Grr", Invader Zim
  Gambino is a call girl, fuck you, pay me
  Brand new whip for these niggas like slavery
  Told me I was awful and that shit did not faze me
  Tell me how I suck again, my memory is hazy
  "You're my favorite rapper now" Yeah, dude, I better be
  Or you can fuckin' kiss my ass, Human Centipede
  You wanna see my girl? I ain't that dumb
  You wanna see my girl? Check Maxim
  "Man, why does every black actor gotta rap some?"
  I don't know, all I know is I'm the best one


  It's a bonfire, turn the lights out (yeah)
  I'm burnin' everything you muthafuckas talk about
  It's a bonfire (yeah), turn the lights out (uh-huh)
  I'm burnin' everything you muthafuckas talk about


  You know these rapper dudes talk shit, start killin'
  Fuck that, got goons like an archvillain
  I'm from the South, ain't got no accent, don't know why
  So this rap is child's play, I do my name like Princess Di
  Yeah, they say they want the realness, rap about my real life
  Told me I should just quit, "First of all, you talk white!
  Second off, you talk like you haven't given up yet"
  Rap's stepfather, yeah, you hate me but you will respect
  I put in work, ask Ludwig
  Put my soul on the track like shoes did
  Played this for my cousin, now he can't even think straight
  Black and white music? Now, nigga, that's a mixtape
  Shout out to my blerds, they represent the realness
  Shout out to Gambino Girls, my dick is in the buildin'
  I know you hate me 'cause your little cousin play me
  And I like black girls who nerdy, but when they dance they be sayin' "Ow"
             Case 3:23-cv-01092              Document 49-6      42411/16/23
                                                             Filed            Page 425 of 434 PageID #: 1451
BCG_ID_11046_LF.txt[11/10/23, 10:58:09 AM]
  I'm sorry for who followed me
  Chillin' with a Filipina, at your local Jollibee
  Yeah, I'm in her ass like sodomy
  So if you see my hand under the table, don't bother me
  I don't talk soft, that's that other guy
  I'm screamin' "What the fuck is up?" like I ain't see the sky
  The shit I'm doin' this year? Insanity
  Made the beat then murdered it, Casey Anthony
  These rappers won't know what to do
  'Cause all I did was act me like a Loony Tune
  And I'll give you all of me until there's nothin' left
  I swear this summer will be summer Camp, bitch

  WRITERS

  Donald Mckinley Glover II

  PUBLISHERS

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             Case 3:23-cv-01092              Document 49-6      42511/16/23
                                                             Filed            Page 426 of 434 PageID #: 1452
BCG_ID_11046_LF.txt[11/10/23, 10:58:09 AM]
  Lyrics
  Well its been building up inside of me
  For oh I don't know how long
  I don't know why
  But I keep thinking
  Something's bound to go wrong


  But she looks in my eyes
  And makes me realize
  And she says "don't worry, baby"
  Don't worry, baby
  Don't worry, baby
  Everything will turn out alright


  Don't worry, baby
  Don't worry, baby
  Don't worry, baby


  I guess I should've kept my mouth shut
  When I started to brag about my car
  But I can't back down now
  I pushed the other guys too far


  She makes me come alive
  And makes me want to drive
  When she says "don't worry, baby"
  Don't worry, baby
  Don't worry, baby
  Everything will turn out alright


  Don't worry, baby
  Don't worry, baby
  Don't worry, baby


  She told me "baby, when you race today
  Just take along my love with you
  And if you know how much I loved you
  Baby nothing could go wrong with you"


  Oh what she does to me
  When she makes love to me
  And she says "don't worry, baby"
  Don't worry, baby
  Don't worry, baby
  Everything will turn out alright

             Case 3:23-cv-01092              Document 49-6      42611/16/23
                                                             Filed            Page 427 of 434 PageID #: 1453
BCG_ID_11058_LF.txt[11/10/23, 10:58:10 AM]
  Don't worry, baby
  Don't worry, baby
  Don't worry, baby

  WRITERS

  Brian Wilson, Henry Medress, Jay Siegel, Mitchell Margo, Philip Margo, Roger Christian

  PUBLISHERS

  Lyrics © Universal Music Publishing Group, Spirit Music Group




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                                                             Filed            Page 428 of 434 PageID #: 1454
BCG_ID_11058_LF.txt[11/10/23, 10:58:10 AM]
  Lyrics
  Weep for yourself, my man
  You'll never be what is in your heart
  Weep Little Lion Man
  You're not as brave as you were at the start
  Rate yourself and rake yourself
  Take all the courage you have left
  And waste it on fixing all the problems
  That you made in your own head


  But it was not your fault but mine
  And it was your heart on the line
  I really fucked it up this time
  Didn't I, my dear?
  Didn't I, my


  Tremble for yourself, my man
  You know that you have seen this all before
  Tremble Little Lion Man
  You'll never settle any of your scores
  Your grace is wasted in your face
  Your boldness stands alone among the wreck
  Now learn from your mother
  Or else spend your days biting your own neck


  But it was not your fault but mine
  And it was your heart on the line
  I really fucked it up this time
  Didn't I, my dear?


  But it was not your fault but mine
  And it was your heart on the line
  I really fucked it up this time
  Didn't I, my dear?
  Didn't I, my dear?


  Ha
  Ha
  Ha
  Ha
  Ha
  Ha


  But it was not your fault but mine
  And it was your heart on the line
  I really fucked it up this time
  Didn't I, my dear?
             Case 3:23-cv-01092              Document 49-6      42811/16/23
                                                             Filed            Page 429 of 434 PageID #: 1455
BCG_ID_11067_LF.txt[11/10/23, 10:58:10 AM]
  But it was not your fault but mine
  And it was your heart on the line
  I really fucked it up this time
  Didn't I, my dear?
  Didn't I, my dear?

  WRITERS

  Benjamin Walter David Lovett, Edward James Milton Dwane, Marcus Oliver Johnstone Mumford, Winston Aubrey
  Aladar Marshall

  PUBLISHERS

  Lyrics © Universal Music Publishing Group




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                                                             Filed            Page 430 of 434 PageID #: 1456
BCG_ID_11067_LF.txt[11/10/23, 10:58:10 AM]
  Lyrics
  Come gather 'round people
  Wherever you roam
  And admit that the waters
  Around you have grown
  And accept it that soon
  You'll be drenched to the bone
  If your time to you is worth savin'
  And you better start swimmin'
  Or you'll sink like a stone
  For the times they are a-changin'


  Come writers and critics
  Who prophesize with your pen
  And keep your eyes wide
  The chance won't come again
  And don't speak too soon
  For the wheel's still in spin
  And there's no tellin' who
  That it's namin'
  For the loser now
  Will be later to win
  For the times they are a-changin'


  Come senators, congressmen
  Please heed the call
  Don't stand in the doorway
  Don't block up the hall
  For he that gets hurt
  Will be he who has stalled
  The battle outside ragin'
  Will soon shake your windows
  And rattle your walls
  For the times they are a-changin'


  Come mothers and fathers
  Throughout the land
  And don't criticize
  What you can't understand
  Your sons and your daughters
  Are beyond your command
  Your old road is rapidly agin'
  Please get out of the new one
  If you can't lend your hand
  For the times they are a-changin'


  The line it is drawn
  The curse it is cast
  The slow one now
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BCG_ID_11068_LF.txt[11/10/23, 10:58:10 AM]
  Will later be fast
  As the present now
  Will later be past
  The order is rapidly fadin'
  And the first one now
  Will later be last
  For the times they are a-changin'

  WRITERS

  Bob Dylan

  PUBLISHERS

  Lyrics © Universal Music Publishing Group




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BCG_ID_11068_LF.txt[11/10/23, 10:58:10 AM]
  Lyrics
  Love is but the song we sing
  Fear's the way we die
  You can make the mountains ring
  Or make the angels cry
  Though the bird is on the wing
  And you may not know why
  Come on, people now
  Smile on your brother, everybody get together
  Try to love one another right now


  Some will come and some will go
  We will surely pass
  When the one that left us here
  Returns for us at last
  We are but a moment's sunlight
  Fading in the grass
  Come on, people now
  Smile on your brother, everybody get together
  Try to love one another right now


  Come on, people now
  Smile on your brother, everybody get together
  Try to love one another right now


  Come on, people now
  Smile on your brother, everybody get together
  Try to love one another right now


  If you hear the song I sing
  You will understand, listen
  You hold the key to love and fear
  All in your trembling hand
  Just one key unlocks them both
  It's there at your command
  Come on, people now
  Smile on your brother, everybody get together
  Try to love one another right now


  Come on, people now
  Smile on your brother, everybody get together
  Try to love one another right now
  I said, come on, people now
  Smile on your brother, everybody get together
  Try to love one another right now
  Right now, right now

  WRITERS
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BCG_ID_11073_LF.txt[11/10/23, 10:58:10 AM]
  CHESTER POWERS, CHESTER WILLIAM JR. POWERS

  PUBLISHERS

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